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                                      IN THE UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                               BROWARD DIVISION

                                             Case No.: 1:17-cv-22405-FAM


                 ROLAND CORPORATION,

                         Plaintiff,

                 vs.

                 INMUSIC BRANDS, INC.,

                     Defendant.
         ______________________________/



                  FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Roland Corporation (“Plaintiff” or “Roland”) hereby complains of Defendant

  inMusic Brands, Inc., a Florida Corporation (“Defendant”) and alleges as follows:

                                            JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

   pursuant to 35 U.S.C. §§ 271 and 281 and 28 U.S.C. §§ 1331 and 1338 as these claims arise under

   the laws of the United States.

          2.      This Court has personal jurisdiction over Defendant because Defendant has a continuous,

   systematic, and substantial presence within this judicial district, including selling and offering for sale

   infringing products in this judicial district, and by committing acts of infringement in this judicial

   district, including but not limited to selling infringing electronic percussion instrument products directly

   to consumers and/or retailers in this district and selling into the stream of commerce knowing such

   products would be sold in California and this district, which acts form a substantial part of the events or

   omissions giving rise to Roland’s claims.

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           3.      Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(b).

                                                       THE PARTIES

           4.      Plaintiff Roland is a Japanese corporation with its principal place of business in

   Hamamatsu, Japan. Roland further maintains offices in the United States at 5100 S. Eastern Ave., Los

   Angeles, California 90040.

           5.      Plaintiff is informed and believes, and thereon alleges, that Defendant, inMusic Brands,

   Inc., is a Florida Corporation, with an address of 200 Scenic View Drive, Cumberland, Rhode Island

   02864, and is the last registered owner of the U.S. trademark “Alesis,” under which mark the accused

   infringing products are marketed.

           6.      Roland is informed and believes, and thereon alleges, that Defendant has committed

   the acts alleged herein within this judicial district.

                                               GENERAL ALLEGATIONS

           7.      Roland is one of the world’s leading musical instrument and equipment manufacturers

   and designers. The company and its products, particularly in the realm of electronic instruments, are

   instantly and universally recognized for their innovative technology and distinctive style. Since its

   founding, Roland’s engineers and designers have worked continuously to bring new technology and

   breakthrough designs to the market.

           8.      Roland has been actively engaged in the manufacture and sale of high quality electronic

   instruments since at least 1972. Roland is the manufacturer and retailer of several lines of electronic

   instruments that have enjoyed substantial success and are protected by various intellectual property

   owned by Roland.

           9.      On June 10, 2008, the United States Patent and Trademark Office (“USPTO”) duly and

   lawfully issued United States Patent No. 7,385,135 (the “135 Patent”), titled “ELECTRONIC

   PERCUSSION INSTRUMENTAL SYSTEM AND PERCUSSION DETECTING APPARATUS

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   THEREIN.” Roland is the owner by assignment of all right, title, and interest in the 135 Patent, which

   is valid and enforceable. A true and correct copy of the 135 Patent is attached hereto as Exhibit A.

          10.     On July 26, 2005, the USPTO duly and lawfully issued United States Patent No.

   6,921,857 (the “857 Patent”), titled “ELECTRONIC PERCUSSION INSTRUMENTAL SYSTEM AND

   PERCUSSION DETECTING APPARATUS THEREIN.” Roland is the owner by assignment of all

   right, title, and interest in the 857 Patent, which is valid and enforceable. A true and correct copy of the

   857 Patent is attached hereto as Exhibit B.

          11.     On June 29, 2004, the USPTO duly and lawfully issued United States Patent No.

   6,756,535 (the “’535 Patent”), titled “ELECTRONIC PERCUSSION INSTRUMENTAL SYSTEM

   AND PERCUSSION DETECTING APPARATUS THEREIN.” Roland is the owner by assignment of

   all right, title, and interest in the 535 Patent, which is valid and enforceable. A true and correct copy of

   the 535 Patent is attached hereto as Exhibit C.

          12.     On August 7, 2001, the USPTO duly and lawfully issued United States Patent No.

   6,271,458 (the “’458 Patent”), titled “ELECTRONIC PERCUSSION INSTRUMENTAL SYSTEM

   AND PERCUSSION DETECTING APPARATUS THEREIN.” Roland is the owner by assignment of

   all right, title, and interest in the 458 Patent, which is valid and enforceable. A true and correct copy of

   the 458 Patent is attached hereto as Exhibit D.

          13.     On September 19, 2000, the USPTO duly and lawfully issued United States Patent No.

   6,121,538 (the “’538 Patent”), titled “ELECTRONIC PERCUSSION INSTRUMENTAL SYSTEM

   AND PERCUSSION DETECTING APPARATUS THEREIN.” Roland is the owner by assignment of

   all right, title, and interest in the 538 Patent, which is valid and enforceable. A true and correct copy of

   the 538 Patent is attached hereto as Exhibit E.

          14.     On April 19, 2005 the USPTO duly and lawfully issued United States Patent No.

   6,881,885 (the “885 Patent”), titled “ELECTRONIC PAD WITH VIBRATION ISOLATION

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   FEATURES.” Roland is the owner by assignment of all right, title, and interest in the 885 Patent, which

   is valid and enforceable. A true and correct copy of the 885 Patent is attached hereto as Exhibit F.

          15.     On October 14, 2003 the USPTO duly and lawfully issued United States Patent No.

   6,632,989 (the “989 Patent”), titled “ELECTRONIC PAD WITH VIBRATION ISOLATION

   FEATURES.” Roland is the owner by assignment of all right, title, and interest in the 989 Patent,

   which is valid and enforceable. A true and correct copy of the 989 Patent is attached hereto as

   Exhibit G.

          16.     On December 2, 2008, the USPTO duly and lawfully issued United States Patent No.

   7,459,626 (the “626 Patent”), titled “APPARATUS AND METHOD FOR DETECTING

   DISPLACEMENT OF A MOVABLE MEMBER OF AN ELECTRONIC INSTRUMENT.” Roland is

   the owner by assignment of all right, title, and interest in the 6 2 6 Patent, which is valid and enforceable.

   A true and correct copy of the 626 Patent is attached hereto as Exhibit H.

          17.     Defendant manufactures, uses, sells, offers for sale, and/or imports into the United States

   electronic percussion instruments that infringe Roland’s intellectual property rights, including the 135

   Patent, 857 Patent, 535 Patent, 458 Patent, 538 Patent, 885 Patent, 989 Patent, and the 626 Patent (the

   “Asserted Patents”).

          18.     On March 11, 2011, Roland sent a letter notifying Defendant of its potentially

   infringing activity with respect to the 885 Patent and the 989 Patent. A true and correct copy of

   the March 11, 2011 letter is attached hereto as Exhibit I.

          19.     On February 3, 2015, Roland sent a cease and desist letter to counsel for Defendant

   demanding that Defendant immediately cease and desist from further infringing activity with respect to

   the 135 Patent, 857 Patent, 535 Patent, 458 Patent, 5 3 8 Patent, 989 Patent, and 885 Patent. A true and

   correct copy of the February 3, 2015 letter is attached hereto as Exhibit J. That February 3, 2015 letter

   put Defendant on notice of Roland’s patent rights and Defendant’s infringement of Roland’s patents.

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   Despite that knowledge, Defendant continued to infringe Roland’s patent rights with knowledge of an

   objectively high likelihood that its actions constituted infringement of valid patents. Defendant’s

   continued infringement of Roland’s patent rights after receipt of the February 3, 2015 letter constitutes

   an egregious case of culpable conduct.

           20.     Defendant’s acts complained of herein have caused Roland to suffer irreparable

   injury to its business. Roland will suffer substantial loss unless and until Defendant is preliminarily

   and permanently enjoined from its wrongful actions complained of herein.

                                             FIRST CAUSE OF ACTION

                         PATENT INFRINGEMENT OF THE 135 PATENT, 35 U.S.C. § 271

           21.     Roland repeats and re-alleges the allegations of paragraphs 1-20 of this Complaint as

   if set forth fully herein.

           22.    This is a claim for patent infringement under 35 U.S.C. § 271.

           23.     Claim 1 of the 135 Patent recites an electronic percussion instrumental system comprising

   a housing, a head composed of a flexible material having openings therethrough and supported by the

   housing to define a percussion surface, and a percussion detector having a cushioning material and a

   transducer for detecting a percussion impact on the percussion surface and producing an electric signal

   responsive to the percussion impact.

          24.      Defendant, through its agents, employees, and servants has, and continues to,

  knowingly, intentionally, and willfully infringe the 135 Patent by making, using, selling, offering for

  sale, and/or importing electronic percussion instrument products having features that are recited by at

  least claim 1 of the 135 Patent, including for example, Defendant’s Crimson Mesh Kit, Command Kit,

  DM10 X Mesh Kit, 12” Mesh Head Pad, 10” Mesh Head Pad, 8” Mesh Head Pad, 8” Mesh Head

  Bass Drum Pad, and DM10 Studio Mesh Kit (shown below) (collectively “135 infringing products”),

  which were sold and/or offered for sale on the website www.alesis.com by Defendant. Specifically,

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  the 135 infringing products all have a housing, a head made of a flexible material with openings which

  is supported by the housing, and a percussion detector with a cushioning material and a transducer that

  produces an electronic signal in response to percussion impact.

          25.     Defendant has been and is currently infringing the 135 Patent by making, using,

   selling, offering for sale, and/or importing into the United States, electronic percussion instrument

   products.

          26.     Defendant’s acts of infringement of the 135 Patent were undertaken without permission or

   license from Roland. Defendant had actual, pre-suit knowledge of Roland’s rights in the inventive

   concept claimed in the 135 Patent and Defendant’s infringement of the 135 Patent since at least February 3,

   2015, on which a letter identifying the 135 Patent was sent to Defendant. Accordingly, Defendant’s

   actions constitute willful and intentional infringement of the 135 Patent. Defendant infringed the 135

   Patent with reckless disregard of Roland’s patent rights. Defendant knew, or it was so obvious that

   Defendant should have known, that its actions constituted infringement of the 135 Patent.

          27.     Defendant, through its agents, employees, and servants has, and continues to,

   knowingly, intentionally, and willfully infringe the 135 Patent by making, using, selling, offering for

   sale, and/or importing electronic percussion instrument products having features that are recited by at

   least claim 1 of the 135 Patent, including, for example, Defendant’s DM10 Studio Mesh Kit as shown

   below, which was sold and/or offered for sale on the website www.alesis.com by Defendant.




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          28.     Under 35 U.S.C. § 271(g), it is an act of infringement to import into the United States, or

   to sell, offer to sell, or use within the United States a product made by a patented process, unless the

   product of that process has been materially changed by subsequent processes or becomes a trivial and

   nonessential component of another product.

          29.     Defendant is liable for infringement of at least Claim 28 of the 135 Patent under 35

   U.S.C. § 271(g). Upon information and belief, Defendant contracts with a foreign third party to make

   the accused 135 Infringing Products. Defendant then imports and sells, and offers to sell within the

   United States the 135 Infringing Products, which are made by a process claimed in at least Claim 28 of

   the 135 Patent. Defendant does not materially change the imported products and the products are not a

   trivial and nonessential component of another product..




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                                            SECOND CAUSE OF ACTION

                                    PATENT INFRINGEMENT OF THE 857 PATENT

          30.      Roland repeats and re-alleges the allegations of paragraphs 1-29 of this Complaint as if set

  forth fully herein.

          31.      Claim 1 of the 857 Patent recites an electronic percussion instrumental system comprising

  a barrel section having a generally hollow interior and a first end open to the generally hollow interior, a

  head disposed in a tensioned state across the first end of the barrel section to define a percussion surface

  for receiving a percussion impact and a second surface facing opposite the percussion surface, the head

  having a head material through which air may pass, a cushioning member in communication with the

  second surface of the head, while allowing air to pass through the head, and a transducer disposed in

  communication with the cushioning member, to receive percussion impact signals through the cushioning

  member in response to a percussion impact on the percussion surface of the head.

          32.      Defendant, through its agents, employees, and servants has, and continues to,

  knowingly, intentionally, and willfully infringe the 857 Patent by making, using, selling, offering for

  sale, and/or importing electronic percussion instrument products having features that are recited by at

  least claim 1 of the 857 Patent, including for example, Defendant’s Crimson Mesh Kit, Command Kit,

  DM10 X Mesh Kit, 12” Mesh Head Pad, 10” Mesh Head Pad, 8” Mesh Head Pad, 8” Mesh Head

  Bass Drum Pad, and DM10 Studio Mesh Kit (shown below) (collectively “857 infringing products”),

  which were sold and/or offered for sale on the website www.alesis.com by Defendant. Specifically,

  the 857 infringing products all have a barrel section with a generally hollow interior. They also have a

  head tensioned across the barrel section which forms a percussion surface and the head allows air to

  pass through it. They also have a transducer which communicates with a cushion that touches the

  surface of the head and the transducer receives percussion impact signals through the cushion when

  there is a percussion impact on the surface of the head.

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            33.   Defendant has been and is currently infringing the 857 Patent by making, using,

  selling, offering for sale, and/or importing into the United States, electronic percussion instrument

  products.

            34.   Defendant’s acts of infringement of the 857 Patent were undertaken without permission or

  license from Roland. Upon information and belief, Defendant had actual, pre-suit knowledge of Roland’s

  rights in the inventive concept claimed in the 857 Patent and Defendant’s infringement of the 857 Patent

  since at least February 3, 2015, on which a letter identifying the 857 Patent was sent to Defendant.

  Accordingly, Defendant’s actions constitute willful and intentional infringement of the 857 Patent.

  Defendant infringed the 857 Patent with reckless disregard of Roland’s patent rights. Defendant knew, or

  it was so obvious that Defendant should have known, that its actions constituted infringement of the 857

  Patent.

            35.   Defendant, through its agents, employees, and servants has, and continues to,

  knowingly, intentionally, and willfully infringe the 857 Patent by making, using, selling, offering for

  sale, and/or importing electronic percussion instrument products having features that are recited by at

  least claim 1 of the 857 Patent, including, for example, Defendant’s DM10 Studio Mesh Kit as shown

  below, which was sold and/or offered for sale on the website www.alesis.com by Defendant.




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           36.      Defendant is liable for infringement of at least Claim 14 of the 857 Patent under 35

   U.S.C. § 271(g). Upon information and belief, Defendant contracts with a foreign third party to make the

   accused 857 Infringing Products. Defendant then imports and sells, and offers to sell within the United

   States the 857 Infringing Products, which are made by a process claimed in at least Claim 14 of the 857

   Patent. Defendant does not materially change the imported products and the products are not a trivial and

   nonessential component of another product.

                                              THIRD CAUSE OF ACTION

                                 PATENT INFRINGEMENT OF THE 535 PATENT

           37.      Roland repeats and re-alleges the allegations of paragraphs 1-36 of this Complaint as if set

   forth fully herein.

           38.      Claim 1 of the 535 Patent recites an electronic percussion instrumental system comprising

   an electronic percussion instrumental system comprising a barrel section having a first end, a head

   disposed in a tensioned state across the first end of the barrel section to define a percussion surface for

   receiving a percussion impact and a second surface facing opposite the percussion surface, the head having

   a plurality of openings through which air may pass, and a cushioning member and a transducer supported

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   within the barrel section, with the cushioning member in contact with a portion of, but less than the entire

   surface area of the second surface of the head, wherein a portion of the second surface of the head is out of

   contact with the cushioning member to allow air to pass through the openings in the head.

          39.      Defendant, through its agents, employees, and servants has, and continues to,

   knowingly, intentionally, and willfully infringe the 535 Patent by making, using, selling, offering for

   sale, and/or importing electronic percussion instrument products having features that are recited by at

   least claim 1 of the 535 Patent, including for example, Defendant’s Crimson Mesh Kit, Command Kit,

   DM10 X Mesh Kit, 12” Mesh Head Pad, 10” Mesh Head Pad, 8” Mesh Head Pad, 8” Mesh Head Bass

   Drum Pad, and DM10 Studio Mesh Kit (shown below) (collectively “535 infringing products), which

   were sold and/or offered for sale on the website www.alesis.com by Defendant. Specifically, the 535

   infringing products all have a barrel section with a head tensioned across the barrel section which forms

   a percussion surface. They also have a transducer which communicates with a cushion that touches

   some portion of, but not all of, the surface of the head. Some of the portion of the head not touched by

   the cushion allows air to pass through openings in the head.

          40.      Defendant has been and is currently infringing the 535 Patent by making, using,

   selling, offering for sale, and/or importing into the United States, electronic percussion instrument

   products.

          41.      Defendant’s acts of infringement of the 535 Patent were undertaken without permission or

   license from Roland. Upon information and belief, Defendant had actual, pre-suit knowledge of Roland’s

   rights in the inventive concept claimed in the 535 Patent, and Defendant’s infringement of the 535 Patent

   since at least February 3, 2015, on which a letter identifying the 535 Patent was sent to Defendant.

   Accordingly, Defendant’s actions constitute willful and intentional infringement of the 535 Patent.

   Defendant infringed the 535 Patent with reckless disregard of Roland’s patent rights. Defendant knew, or

   it was so obvious that Defendant should have known, that its actions constituted infringement of the 535

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   Patent.

             42.    Defendant, through its agents, employees, and servants has, and continues to, knowingly,

   intentionally, and willfully infringe the 535 Patent by making, using, selling, offering for sale, and/or

   importing electronic percussion instrument products having features that are recited by at least claim 1 of

   the 535 Patent, including, for example, Defendant’s DM10 Studio Mesh Kit as shown below, which was

   sold and/or offered for sale on the website www.alesis.com by Defendant.




             43.    Defendant is liable for infringement of at least Claim 7 of the 535 Patent under 35

   U.S.C. § 271(g). Upon information and belief, Defendant contracts with a foreign third party to make the

   accused 535 Infringing Products. Defendant then imports and sells, and offers to sell within the United

   States the 535 Infringing Products, which are made by a process claimed in at least Claim 7 of the 535

   Patent. Defendant does not materially change the imported products and the products are not a trivial and


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   nonessential component of another product.

                                            FOURTH CAUSE OF ACTION

                                 PATENT INFRINGEMENT OF THE 458 PATENT

           44.      Roland repeats and re-alleges the allegations of paragraphs 1-43 of this Complaint as if set

   forth fully herein.

           45.      Claim 6 of the 458 Patent recites an electronic percussion instrument comprising a

   generally hollow body having an opening into a body interior, a generally flexible, net-like material

   disposed in a tensioned state across the opening of the generally hollow body, the net-like material

   defining a percussion surface for receiving a percussion impact, the net-like material also having openings

   of a size sufficient to allow air to pass therethrough, upon receiving a percussion impact on the percussion

   surface, and    a sensor supported by said generally hollow body, for providing an electronic signal in

   response to a percussion impact on the percussion surface of the generally flexible, net-like material.

           46.      Defendant, through its agents, employees, and servants has, and continues to,

   knowingly, intentionally, and willfully infringe the 458 Patent by making, using, selling, offering for

   sale, and/or importing electronic percussion instrument products having features that are recited by at

   least claim 6 of the 458 Patent, including for example, Defendant’s Crimson Mesh Kit, Command Kit,

   DM10 X Mesh Kit, 12” Mesh Head Pad, 10” Mesh Head Pad, 8” Mesh Head Pad, 8”Mesh Head Bass

   Drum Pad, and DM10 Studio Mesh Kit (shown below) (collectively “458 infringing products”), which

   were sold and/or offered for sale on the website www.alesis.com by Defendant. Specifically, the 458

   infringing products all have a generally hollow body with a flexible, net-like material tensioned across

   the opening of the body. The net-like material defines a percussion surface and has openings to allow

   air to pass through. When a percussion impact is received in the percussion surface, a sensor

   supported by the body, provides an electronic signal in response to the percussion impact.

           47.      Defendant has been and is currently infringing the 458 Patent by making, using,

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   selling, offering for sale, and/or importing into the United States, electronic percussion instrument

   products.

             48.   Defendant’s acts of infringement of the 458 Patent were undertaken without permission or

   license from Roland. Upon information and belief, Defendant had actual, pre-suit knowledge of Roland’s

   rights in the inventive concept claimed in the 458 Patent and Defendant’s infringement of the 458 Patent

   since at least February 3, 2015, on which a letter identifying the 458 Patent was sent to Defendant.

   Accordingly, Defendant’s actions constitute willful and intentional infringement of the 458 Patent.

   Defendant infringed the 458 Patent with reckless disregard of Roland’s patent rights. Defendant knew, or

   it was so obvious that Defendant should have known, that its actions constituted infringement of the 458

   Patent.

             49.   Defendant, through its agents, employees, and servants has, and continues to,

   knowingly, intentionally, and willfully infringe the 458 Patent by making, using, selling, offering for

   sale, and/or importing electronic percussion instrument products having features that are recited by at

   least claim 6 of the 458 Patent, including, for example, Defendant’s DM10 Studio Mesh Kit as shown

   below, which was sold and/or offered for sale on the website www.alesis.com by Defendant.




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           50.      Defendant is liable for infringement of at least Claim 11 of the 458 Patent under 35

   U.S.C. § 271(g). Upon information and belief, Defendant contracts with a foreign third party to make the

   accused 458 Infringing Products. Defendant then imports and sells, and offers to sell within the United

   States the 458 Infringing Products, which are made by a process claimed in at least Claim 11 of the 458

   Patent. Defendant does not materially change the imported products and the products are not a trivial and

   nonessential component of another product.

                                              FIFTH CAUSE OF ACTION

                                 PATENT INFRINGEMENT OF THE 538 PATENT

           51.      Roland repeats and re-alleges the allegations of paragraphs 1-50 of this Complaint as if set

   forth fully herein.

           52.      Claim 1 of the 538 Patent recites an electronic percussion instrument system comprising a

   drum head, a barrel section equipped with a plurality of engaging pins which provide a tension on said

   drum head, a supporting material disposed within the barrel section, adjacent, but spaced, from said head, a

   cushioning member composed of an elastic material disposed in contact with said head, and a transducer


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   for transducing percussion upon said head to electric signal, the transducer being supported by the

   supporting material within the barrel section, with the transducer located between the head and the

   supporting material, and the cushioning member located between the head and the transducer.

          53.       Defendant, through its agents, employees, and servants has, and continues to, knowingly,

   intentionally, and willfully infringe the 538 Patent by making, using, selling, offering for sale, and/or

   importing electronic percussion instrument products having features that are recited by at least claim 1 of

   the 538 Patent, including for example, Defendant’s Crimson Mesh Kit, Command Kit, DM10 X Mesh Kit,

   12” Mesh Head Pad, 10” Mesh Head Pad, 8” Mesh Head Pad, 8”Mesh Head Bass Drum Pad, and DM10

   Studio Mesh Kit (shown below) (collectively the “538 infringing products”), which were sold and/or

   offered for sale on the website www.alesis.com by Defendant. Specifically, the 538 infringing products

   all have a drum head, and a barrel section with engaging pins that tension the drum head. They also have

   a supporting material in the barrel section, adjacent but spaced from the head, and a cushioning member

   made of elastic material that touches the head. They also have a transducer that transduces percussions on

   the head, supported by the supporting material. The transducer is located between the head and the

   supporting material, while the cushioning member is located between the head and the transducer.

          54.       Defendant has been and is currently infringing the 538 Patent by making, using,

   selling, offering for sale, and/or importing into the United States, electronic percussion instrument

   products.

          55.       Defendant’s acts of infringement of the 538 Patent were undertaken without permission or

   license from Roland. Upon information and belief, Defendant had actual, pre-suit knowledge of Roland’s

   rights in the inventive concept claimed in the 538 Patent, and Defendant’s infringement of the 538 Patent

   since at least February 3, 2015, on which a letter identifying the 538 Patent was sent to Defendant.

   Accordingly, Defendant’s actions constitute willful and intentional infringement of the 538 Patent.

   Defendant infringed the 538 Patent with reckless disregard of Roland’s patent rights. Defendant knew, or

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   it was so obvious that Defendant should have known, that its actions constituted infringement of the 538

   Patent.

             56.   Defendant, through its agents, employees, and servants has, and continues to,

   knowingly, intentionally, and willfully infringe the 538 Patent by making, using, selling, offering for

   sale, and/or importing electronic percussion instrument products having features that are recited by at

   least claim 1 of the 538 Patent, including, for example, Defendant’s DM10 Studio Mesh Kit as shown

   below, which was sold and/or offered for sale on the website www.alesis.com by Defendant.




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           57.     Defendant is liable for infringement of at least Claim 29 of the 538 Patent under 35

   U.S.C. § 271(g). Upon information and belief, Defendant contracts with a foreign third party to

   make the accused 538 Infringing Products. Defendant then imports and sells, and offers to sell

   within the United States the 538 Infringing Products, which are made by a process claimed in at

   least Claim 29 of the 538 Patent. Defendant does not materially change the imported products and

   the products are not a trivial and nonessential component of another product.

                                            SIXTH CAUSE OF ACTION

                                PATENT INFRINGEMENT OF THE 885 PATENT

           58.     Roland repeats and re-alleges the allegations of paragraphs 1-57 of this Complaint as

   if set forth fully herein.

           59.     Claim 30 of the 885 Patent recites an electronic pad for mounting on a stand,

   receiving a strike, detecting the strike and outputting a signal representative of the strike, the

   electronic pad comprising a frame having an upper surface with an outer peripheral edge, a cover

   over the upper surface of the frame and defining a striking surface for receiving a strike, a striking

   sensor supported on the frame for providing an electronic signal corresponding to a strike on the

   striking surface, a support structure to pivotally support the frame on a stand for pivotal motion of

   the frame relative to the stand, and a rotation stopper operatively coupled to the frame, for inhibiting

   rotation of the frame relative to the stand, when the frame is mounted on the stand for pivotal

   motion.

           60.       Defendant, through its agents, employees, and servants has, and continues to,

   knowingly, intentionally, and willfully infringe the 885 Patent by making, using, selling, offering for

   sale, and/or importing electronic percussion instrument products having features that are recited by

   at least claim 30 of the 885 Patent, including for example, Defendant’s Crimson Mesh Kit,

   Command Kit, Forge Kit, Nitro Kit, DM10 X Mesh Kit, DM10 X Kit, DM10 Studio Kit, DM8 Pro
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   Kit, DM8 USB Kit, DM 7X Kit, DM7X Session Kit, DM6 USB Kit, Pro X Hi-Hat, DMPad 12” Hi-

   Hat, DMPad 16” 3- Zone Ride, DMPad 14” 3-Zone Ride, DMPad 12” Cymbal, and DM10 Studio

   Mesh Kit (shown below) (collectively the “885 infringing products”), which were sold and/or

   offered for sale on the website www.alesis.com by Defendant. Specifically, the 885 infringing

   products all have an electronic pad for mounting on a stand, receiving a strike, detecting the strike

   and outputting a signal representative of the strike. The electronic pad has an upper surface with an

   outer peripheral edge, a cover over the upper surface of the frame and defines a striking surface for

   receiving a strike. They also have a striking sensor supported on the frame for providing an

   electronic signal corresponding to a strike on the striking surface, a support structure to pivotally

   support the frame on a stand for pivotal motion of the frame relative to the stand, and a rotation

   stopper operatively coupled to the frame, for inhibiting rotation of the frame relative to the stand,

   when the frame is mounted on the stand for pivotal motion.

          61.     Defendant has been and is currently infringing the 885 Patent by making, using,

   selling, offering for sale, and/or importing into the United States, electronic percussion instrument

   products.

          62.     Defendant’s acts of infringement of the 885 Patent were undertaken without

   permission or license from Roland. Upon information and belief, Defendant had actual, pre-suit

   knowledge of Roland’s rights in the inventive concept claimed in the 885 Patent, and Defendant’s

   infringement of the 885 Patent since at least March 11, 2011, on which a letter identifying the 885

   Patent was sent to Defendant. Accordingly, Defendant’s actions constitute willful and intentional

   infringement of the 885 Patent. Defendant infringed the 885 Patent with reckless disregard of

   Roland’s patent rights. Defendant knew, or it was so obvious that Defendant should have known,

   that its actions constituted infringement of the 885 Patent.

          63.     Defendant, through its agents, employees, and servants has, and continues to,

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   knowingly, intentionally, and willfully infringe the 885 Patent by making, using, selling, offering for

   sale, and/or importing electronic percussion instrument products having features that are recited by at

   least claim 30 of the 885 Patent, including, for example, Defendant’s DM10 Studio Mesh Kit as

   shown below, which was sold and/or offered for sale on the website www.alesis.com by Defendant.




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                                                          The ‘989 Patent


                   64.   Liability for inducing infringement of a patent under 35 U.S.C. § 271(b)

        requires a showing of: (1) knowledge of the existence of the patent; (2) direct infringement by

        another; (3) specific intent to induce the infringement; and (4) culpable conduct directed to

        encouraging the infringement.

                   65.   Defendant was aware of the existence of the 885 Patent and Defendant’s

        infringement of the 885 Patent no later than its receipt of Roland’s February 3, 2015 letter

        informing Defendant of its infringement of the 885 Patent.

                   66.   Claim 43 of the 885 Patent is a method claim that recites:

                         A process for mounting an electronic pad on a stand, the process comprising:

                         providing a frame having an upper surface with an outer peripheral edge;



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                         disposing a cover over the upper surface of the frame and defining a striking

        surface on the cover for receiving a strike;

                         supporting a striking sensor on the frame for providing an electronic signal

        corresponding to a strike on the striking surface

                         providing a support structure to pivotally support the frame on a stand for pivotal

        motion of the frame relative to the stand; and

                         coupling a rotation stopper to the frame, for inhibiting rotation of the frame

        relative to the stand, when the frame is mounted on the stand for pivotal motion.

                   67.   When Defendant’s customers assemble the components of Defendant’s

        Crimson Mesh Kit product, Defendant’s customers directly infringe the 885 Patent.

                   68.   Defendant, through its agents, employees, and servants has, and continues to,

        knowingly, intentionally, and willfully induce infringement of at least claim 43 of the 885 Patent

        by making, using, selling, offering for sale, and/or importing electronic percussion instrument

        products having features that are recited by at least claim 30 of the 885 Patent and providing

        instructions on how to assemble the products, including for example, Defendant’s Crimson

        Mesh Kit, Command Kit, Forge Kit, Nitro Kit, DM10 X Mesh Kit, DM10 X Kit, DM10 Studio

        Kit, DM8 Pro Kit, DM8 USB Kit, DM 7X Kit, DM7X Session Kit, DM6 USB Kit, Pro X Hi-Hat,

        DMPad 12” Hi-Hat, DMPad 16” 3- Zone Ride, DMPad 14” 3-Zone Ride, DMPad 12”

        Cymbal, and DM10 Studio Mesh Kit products.

                   69.   Defendant has been and is currently inducing infringement of the 885 Patent

        by making, using, selling, offering for sale, and/or importing into the United States,

        electronic percussion instrument products and providing instructions to customers on how to

        assemble products provided in disassembled form, that when assembled, infringe the 885



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        Patent. Defendant’s instructions to customers on how to assemble the Crimson Mesh Kit,

        made with knowledge of Defendant’s infringement of the 885 Patent constitutes specific

        intent to induce the infringement culpable conduct directed to encouraging the infringement.

                   70.   Defendant’s acts of infringement of the 885 Patent were undertaken without

        permission or license from Roland. Upon information and belief, Defendant had actual, pre-suit

        knowledge of Roland’s rights in the inventive concept claimed in the 885 Patent, and

        Defendant’s infringement of the 885 Patent since at least February 3, 2015, on which a letter

        identifying the 885 Patent was sent to Defendant. Accordingly, Defendant’s actions constitute

        willful and intentional infringement of the 885 Patent. Defendant infringed the 885 Patent with

        reckless disregard of Roland’s patent rights. Defendant knew, or it was so obvious that

        Defendant should have known, that its actions constituted inducing infringement of the 885

        Patent.

                   71.   Defendant, through its agents, employees, and servants has, and continues to,

        knowingly, intentionally, and willfully induce infringement of the 885 Patent by making, using,

        selling, offering for sale, and/or importing electronic percussion instrument products having

        features that are recited by at least claim 43 of the 885 Patent, including, for example,

        Defendant’s Command Kit, which was sold and/or offered for sale on the website

        www.alesis.com by Defendant.

                   72.   Liability for contributory infringement of a patent under 35 U.S.C. § 271(c)

          requires a showing of: (1) knowledge of the existence of the patent; (2) direct infringement by

          another; (3) there has been an offer to sell or sale within the United States or importation into

          the United States of a component of a patented machine; (4) the component constitutes a

          material part of the invention; (5) knowledge that the component is especially made or



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          especially adapted for use in an infringement of the patent; and (6) the component is not a

          staple article or commodity of commerce suitable for substantial non-infringing use.

                   73.   Claim 31 of the 885 Patent recites: An electronic pad according to claim 30,

          wherein the rotation stopper comprises a first member on the frame and a second member for

          fixing to a stand, the first member being pivotal relative to the second member.

                   74.   Defendant’s customers directly infringe Claim 31 of the 885 Patent when they

          install Defendant’s products such as the DM Pad 12” Cymbal, DMPad 12” Hi-Hat, DMPad

          14” 3-Zone Ride, DMPad 16” 3-Zone Ride, Pro X Hi-Hat on an existing drum stand, and

          Defendant contributorily infringes the 885 Patent.

                   75.   Defendant offered to sell and sold within the United States the DM Pad 12”

          Cymbal, which is a component of a patented machine that infringes the 885 Patent. The DM

          Pad 12” Cymbal is a component of a patented machine, and the DM Pad 12” Cymbal

          constitutes a material part of the patented machine, because when it is installed to create a

          patented machine, the DM Pad 12” Cymbal provides a cymbal used by drummers to create a

          cymbal sound.

                   76.   Defendant has and had knowledge at least as of February 3, 2015, and later but

          prior to the filing of this Amended Complaint, that the DM Pad 12” Cymbal is especially

          made or especially adapted for use in an infringement of the 885 Patent.

                   77.   The DM Pad 12” Cymbal is not a staple article or commodity of commerce

          suitable for substantial non-infringing use, as it is especially designed to be used on drum

          stands and mounted with a second member for fixing to a stand, so as to make the first

          member pivotal relative to the second member. Accordingly, Defendant contributorily

          infringed Claim 31 of the 885 Patent.



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                                             SEVENTH CAUSE OF ACTION

                              PATENT INFRINGEMENT OF THE 989 PATENT

                   78.   Roland repeats and re-alleges the allegations of paragraphs 1-77 of this

          Complaint as if set forth fully herein.

                   79.   Claim 1 of the 989 Patent recites an electronic pad receiving a strike, detecting

          the strike and outputting a signal representative of the strike comprising a first frame, a striking

          sensor detecting the strike transmitted to said first frame, a second frame supporting said first

          frame from below, having an attachment hole with a pivotal joint, and a rotation stopper

          member coupled to the second frame for preventing said first frame from circumferentially

          rotating about a pole of a stand, said pole being inserted into said attachment hole, said

          attachment hole located in said rotation stopper member, said pivotal joint being rockably fitted

          into said rotation stopper member with resulting play.

                   80.   Defendant, through its agents, employees, and servants has, and continues to,

          knowingly, intentionally, and willfully infringe the 989 Patent by making, using, selling,

          offering for sale, and/or importing electronic percussion instrument products having

          features that are recited by at least claim 1 of the 989 Patent, including for example,

          Defendant’s Crimson Mesh Kit, Command Kit, Forge Kit, Nitro Kit, DM10 X Mesh Kit,

          DM10 X Kit, DM10 Studio Kit, DM8 Pro Kit, DM8 USB Kit, DM 7X Kit, DM7X Session

          Kit, DM6 USB Kit, Pro X Hi-Hat, DMPad 12” Hi-Hat, DMPad 16” 3- Zone Ride, DMPad

          14” 3-Zone Ride, DMPad 12” Cymbal, and DM10 Studio Mesh Kit (shown below)

          (collectively, the “989 infringing products”), which were sold and/or offered for sale on the

          website www.alesis.com by Defendant. Specifically, the 989 infringing products all have

          an electronic pad for receiving a strike, detecting the strike and outputting a signal



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          representative of the strike. The electronic pad has a first frame, a striking sensor for

          detecting the strike transmitted to said first frame, and a second frame that supports the first

          frame from below. They also have an attachment hole with a pivotal joint, and a rotation

          stopper member coupled to the second frame for preventing the first frame from

          circumferentially rotating about a pole of a stand. The pole is inserted into the attachment

          hole, and the attachment hole is located in the rotation stopper member, with the pivotal

          joint being rockably fitted into the rotation stopper member with resulting play.

                   81.   Defendant has been and is currently infringing the 989 Patent by making,

          using, selling, offering for sale, and/or importing into the United States, electronic

          percussion instrument products.

                   82.   Defendant’s acts of infringement of the 989 Patent were undertaken without

          permission or license from Roland. Upon information and belief, Defendant had actual, pre-

          suit knowledge of Roland’s rights in the inventive concept claimed in the 989 Patent and

          Defendant’s infringement of the 989 Patent since at least March 11, 2011, on which a letter

          identifying the 989 Patent was sent to Defendant. Accordingly, Defendant’s actions constitute

          willful and intentional infringement of the 989 Patent. Defendant infringed the 989 Patent

          with reckless disregard of Roland’s patent rights. Defendant knew, or it was so obvious that

          Defendant should have known, that its actions constituted infringement of the 989 Patent.

                   83.   Defendant, through its agents, employees, and servants has, and continues to,

          knowingly, intentionally, and willfully infringe the 989 Patent by making, using, selling,

          offering for sale, and/or importing electronic percussion instrument products having features

          that are recited by at least claim 1 of the 989 Patent, including, for example, Defendant’s

          DM10 Studio Mesh Kit as shown below, which was sold and/or offered for sale on the



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          website www.alesis.com by Defendant.




                   84.    Liability for contributory infringement of a patent under 35 U.S.C. § 271(c)

          requires a showing of: (1) knowledge of the existence of the patent; (2) direct infringement by

          another; (3) there has been an offer to sell or sale within the United States or importation into

          the United States of a component of a patented machine; (4) the component constitutes a

          material part of the invention; (5) knowledge that the component is especially made or

          especially adapted for use in an infringement of the patent; and (6) the component is not a

          staple article or commodity of commerce suitable for substantial non-infringing use.

                   85.   Defendant’s customers directly infringe Claim 1 of the 989 Patent when they

          install Defendant’s products such as the DM Pad 12” Cymbal, DMPad 12” Hi-Hat, DMPad

          14” 3-Zone Ride, DMPad 16” 3-Zone Ride, Pro X Hi-Hat on an existing drum stand, and



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          Defendant contributorily infringes the 989 Patent.

                   86.   Defendant offered to sell and sold within the United States the DM Pad 12”

          Cymbal, which is a component of a patented machine that infringes the 989 Patent. The DM

          Pad 12” Cymbal is a component of a patented machine, and the DM Pad 12” Cymbal

          constitutes a material part of the patented machine, because when it is installed to create a

          patented machine, the DM Pad 12” Cymbal provides a cymbal used by drummers to create a

          cymbal sound.

                   87.   Defendant has and had knowledge at least as of February 3, 2015, and later but

          prior to the filing of this Amended Complaint, that the DM Pad 12” Cymbal is especially

          made or especially adapted for use in an infringement of the 885 Patent.

                   88.    The DM Pad 12” Cymbal is not a staple article or commodity of commerce

          suitable for substantial non-infringing use, as it is especially designed to be used on drum

          stands and mounted with a second member for fixing to a stand, so as to make the first

          member pivotal relative to the second member. Accordingly, Defendant contributorily

          infringed Claim 1 of the 989 Patent.

                                              EIGHTH CAUSE OF ACTION

                                  PATENT INFRINGEMENT OF THE 626 PATENT

                   89.    Roland repeats and re-alleges the allegations of paragraphs 1-88 of this

          Complaint as if set forth fully herein.

                   90.    Claim 3 of the 626 Patent recites a sensor device for detecting displacement of a

          movable object, with a member providing a detectable electrical characteristic that has a value;

          and




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                   a spring that, upon displacement of the movable object, is compressed and acts with the

          member providing the detectable electrical characteristic; wherein action between the spring

          and the member providing the detectable electrical characteristic causes the value of the

          electrical characteristic to change.

                   91.    Defendant, through its agents, employees, and servants has, and continues to,

          knowingly, intentionally, and willfully infringe the 626 Patent by making, using, selling,

          offering for sale, and/or importing electronic percussion instrument products having features

          that are recited by at least claim 3 of the 626 Patent, including for example, Defendant’s Pro

          X Hi-Hat Cymbal (shown below) (the “626 infringing products”), which were sold and/or

          offered for sale on the website www.alesis.com by Defendant. Specifically, the 626

          infringing products have a moveable object and a sensor device for detecting displacement

          of the moveable object. The sensor device includes a spring and a member that provides a

          detectable electrical characteristic. When the movable object is displaced, the spring

          compresses and acts with the member, providing a detectable electrical characteristic that

          has a value that changes with the action between the spring and the member.

                   92.    Defendant has been and is currently infringing the 626 Patent by making,

          using, selling, offering for sale, and/or importing into the United States, electronic

          percussion instrument products.

                   93.    Defendant’s acts of infringement of the 626 Patent were undertaken without

          permission or license from Roland. Defendant’s actions constitute willful and intentional

          infringement of the 626 Patent. Defendant infringed the 626 Patent with reckless disregard of

          Roland’s patent rights. Defendant knew, or it was so obvious that Defendant should have

          known, that its actions constituted infringement of the 626 Patent.



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                   94.    Defendant is liable for infringement of at least Claim 20 of the 626 Patent under

        35 U.S.C. § 271(g). Upon information and belief, Defendant contracts with a foreign third

        party to make the accused 626 Infringing Products. Defendant then imports and sells, and

        offers to sell within the United States the 626 Infringing Products, which are made by a process

        claimed in at least Claim 20 of the 626 Patent. Defendant does not materially change the

        imported products and the products are not a trivial and nonessential component of another

        product..



                    95.    Roland has, at all times, complied with 35 U.S.C. § 287(a) for all of the

          Asserted Patents.

                    96.    As a direct and proximate result of Defendant’s acts of infringement,

          Defendant has derived and received gains, profits, and advantages in an amount that is not

          presently known to Roland.


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                   97.    Pursuant to 35 U.S.C. § 284, Roland is entitled to damages for Defendant’s

          infringing acts and treble damages together with interests and costs as fixed by this Court.

                   98.    Pursuant to 35 U.S.C. § 285, Roland is entitled to reasonable attorney’s fees for

          the necessity of bringing these claims.

                   99.    Due to the aforesaid infringing acts, Roland has suffered great and

          irreparable injury, for which Roland has no adequate remedy at law.

                   100.   Defendant will continue to infringe Roland’s patent rights to the great and

          irreparable injury of Roland, unless enjoined by this Court.

                                                    PRAYER FOR RELIEF

                   WHEREFORE, Roland prays for judgment in its favor against Defendant for the
          following relief:

                   A.     An Order adjudging Defendant to have willfully infringed the Asserted

          Patents under 35 U.S.C. § 271;

                   B.     Preliminary and permanent injunctions enjoining Defendant, its respective

          officers, directors, agents, servants, employees, and attorneys, and those persons in active

          concert or participation with Defendant, from infringing the Asserted Patents in violation of 35

          U.S.C. § 271;

                   C.     That Defendant be ordered to recall all infringing products from all

          distribution channels, including all retailers;

                   D.     That Roland recover compensatory damages for Defendant’s infringement in an

          amount to be proven at trial, and in no event less than a reasonable royalty, together with

          prejudgment interest at the maximum legal rate;

                   E.     An Order adjudging that this is an exceptional case, and an Order for a trebling


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          of damages and/or exemplary damages because of Defendant’s willful conduct pursuant to 35

          U.S.C. § 284;

                    F.      An award to Roland of the attorney fees, expenses, and costs incurred by

          Roland in connection with this action pursuant to 35 U.S.C. § 285;

                    G.      An award of pre-judgment and post-judgment interest and costs of this

          action against Defendant; and

                    H.    Such other and further relief as this Court may deem just and proper.

                                                                  JURY DEMAND

                   Plaintiff demands a trial by jury on all issues triable by jury.


                   Date: November 2, 2018         Respectfully submitted,

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                            EXHIBIT A
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                                                                                                                 US007385135B2


     c12)   United States Patent                                                             (10)   Patent No.:     US 7,385,135 B2
            Yoshino et al.                                                                   (45)   Date of Patent:      Jun.10,2008

     (54)    ELECTRONIC PERCUSSION                                                      (52)    U.S. Cl. ........................................... 84/738; 84/414
             INSTRUMENTAL SYSTEM AND                                                    (58)    Field of Classification Search .................. 84/414,
             PERCUSSION DETECTING APPARATUS                                                                      84/416,452 P,454, 723, 737, 738, 743
             THEREIN                                                                            See application file for complete search history.

     (75)    Inventors: Kiyoshi Yoshino, Osaka (JP); Kenji                              (56)                       References Cited
                        Hirano, Osaka (JP); Masato Katsuda,                                                U.S. PATENT DOCUMENTS
                        Osaka (JP)
                                                                                                 729,936 A          6/1903 Heybeck
     (73)    Assignee: Roland Corporation, Hamamatsu (JP)
                                                                                                                       (Continued)
     ( *)    Notice:      Subject to any disclaimer, the term of this
                                                                                                      FOREIGN PATENT DOCUMENTS
                          patent is extended or adjusted under 35
                          U.S.C. 154(b) by 0 days.                                      DE            19625570.8-51              6/1996

     (21)    Appl. No.: 111145,584                                                                                     (Continued)

     (22)    Filed:        Jun. 6, 2005                                                                      OTHER PUBLICATIONS
                                                                                        Thirteen (13) Photographs of Syndrum product.
     (65)                    Prior Publication Data
                                                                                        Primary Examiner-Jeffrey Donels
             US 2005/0223880 Al            Oct. 13, 2005
                                                                                        (74) Attorney, Agent, or Firm-Foley & Lardner LLP
                      Related U.S. Application Data
                                                                                        (57)                          ABSTRACT
     (60)    Continuation of application No. 10/627,493, filed on
             Jul. 25, 2003, now Pat. No. 6,921,857, which is a                          An object of the present invention is to provide a percussion
             continuation of application No. 09/845,368, filed on                       detecting apparatus, which is excellent in percussion feeling,
             Apr. 30, 2001, now Pat. No. 6,756,535, which is a                          and the percussion sounds of which are very small, in
             continuation of application No. 09/401,459, filed on                       electronic percussion instrumental system. The percussion
             Sep. 22, 1999, now Pat. No. 6,271,458, which is a                          detecting apparatus is provided with a head prepared from a
             continuation of application No. 09/243,698, filed on                       net-like raw material composed of a first net and a second
             Feb. 3, 1999, now Pat. No. 6,121,538, which is a                           net, the net-like raw material being obtained by such a
             division of application No. 08/886,180, filed on Jul. 1,                   manner that both the nets having been woven in accordance
             1997, now Pat. No. 5,920,026.                                              with plane weaving manner wherein the longitudinal and
                                                                                        transverse fibers cross at right angles are laminated in such
     (30)               Foreign Application Priority Data                               a way that the weave pattern directions thereof intersect
       Jul. 4, 1996         (JP)   ................................... 8-193986         obliquely with each other; and a head sensor which is in
       Jan. 13, 1997        (JP)   ..................................... 9-15846        contact with the center position of the under side in the head
       Jan. 13, 1997        (JP)   ..................................... 9-15847        and detects percussion with respect to the head as electric
                                                                                        signal.
     (51)    Int. Cl.
             GOJD 13132             (2006.01)                                                            35 Claims, 23 Drawing Sheets




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      I 8 Riii-SHOT SENSOR
                                                    GROUP OF                                                                       38
                                          30        KEYS                                                                DIA
                                                    DISPLAY                                                     r----CDHVERTER                   TO SOUND SYSTEll
                                          3 2 ,_.,_U"-11-'-IT'-----'




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        4,714,002   A       12/1987    Cleland                                                      FOREIGN PATENT DOCUMENTS
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        4,947,725   A        8/1990    Nomura
        5,042,356   A   *    8/ 1991   Karch .. ... .. ... ... ... ... ... .. . 84/725   * cited by examiner
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                                                                FIG. 1

      I (} PERCUSSION DETECTING APPARATUS
           '\..      f 4 HEAD SENSOR

l2   HEAD     ~                                           20                     22
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                                    AID
                                                                               DSP
                             VI--~~ CONVERTER                                                WAVEFORM MEMORY
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1 8 Riii-SHOT SENSOR                         GROUP OF           __..._..a.......i. 24              34                38
                                  30         KEYS                                             SOUND            0/A
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                                             DISPLAY
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                                                                US 7,385,135 B2




                                FIG. 2


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          m                                                     64

                                            so
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    U.S. Patent            Jun.10,2008   Sheet 4 of 23       US 7 ,385,135 B2


                                     FIG. 4




                                    FIG. 5




                      58
                                                               12




                     60
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                             FIG. 6


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                                                                                                         )
                                                                                                             '
                                                     ,. 4'            ""                                           ""
                                                                               ,"
                                               "                         ',. ,., ...
                                                                      ,,
                                                                 ""




                                                                          FIRST NET

                                 -·-----· SECOND NET
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                                                                            14
                                                                   /

         FIG. 7                     (a)

                                                          A

                                                          t
          FIG. 7                     (b)                               74


                                                          ic
                                                         80


          FIG. 7                     (c)                               74
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                                FIG. 8



        54




       52




                                FIG. 9
                  16                                      100


                                                                        70
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                               FIG. TO


                                                        102




              so
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                                    FIG, J J


                                       MAIN ROUTINE


                                                START



                                           IN IT IAll ZAT ION   S802


                    TUNING MOOE                                   BRUSH   PERFORMANCE MOOE


         S806                        S8!2                                        S8!8
                                      SET DSP TO NORMAL           SET DSP TO BRUSH
           SET DSP TO TUNING MODE     PERFORMANCE MODE            PERFORMANCE MODE

                                     S874                                        S820
                                      NORMAL PERFORMANCE           BRUSH PERFORMANCE
                                      PROCESSING                   PROCESSING

         SBTO                        S816                                        SB22

           STOP OSP TUNING MOOE       STOP DSP NORMAL             STOP DSP BRUSH
                                      PERFORMANCE MODE            PERFORMANCE MODE
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                                                  FIG, 72
                                         DSP PERCUSSION SIGNAL PROCESSING ROUTINE


                (        START       )

                                         902
                    INPUT SA"PLING
                    DATA S


                                          N


                                     S906
                     RESET Tr li!ER T                    S92
                                                                                         y
                                         908                 TIMER T INCREMENT
           FIRST HALF-WAVE COUNT-FLAG
           cf TURN ON                                    S926.
                                                         COMPARE ABSOLUTE VALUES
                                         9TO              OF max WITH SAMPLE DATA S,
           ..--~~~..__~__,...__
                                                         AND LARGER ONE TO max
            MAXIMUM VALUE DETECTION
            FLAG mf TURN ON                                                                   928
                                                                           MAXIMUM VALUE DETECTION
                                                                           FLAG mf TURN OFF

                                                                                             S930
                                                                          CONVERT ct BY table 1 TO
                                                                          PERCUSSION POINT POSITIONAL
                                                                          INFORMATION AP
                                                                                             5932
                                                                          CONVERT AP BY table 2 TO
                                                                          PERCUSSION FORCE CORRECTING
                                                                          COEFFICIENT K

                                              . s9! 6
                                                                                             S934
                                                                                 y-.maxXK
                              FlRST HALF-WAVE COUNTER
                              ct INCREMENT
                                                                                         rS936
                              rS9 r B                                    SOUNDING FLAG gf OF CPU TURN
                                                                         ON, AND PERCUSSION POINT
          FJRST HALF-WAYE COUNT-FLAG                                     POSITIONAL INFORMATION AP.
          cf TURN OFF
                                                                         PERCUSSION FORCE INFOR"ATION
                                                                         V SET TO CPU



                          1
                                                                                       END
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                                                                                                                                            e
                                                                                                                                            •
                                                                                                                                            00
                                                                                                                                            •
                                 FIG, 13 (b)                              FIG. 13 (a)
                                  (b) OUTPUT WAVEFORM OF HEAD SENSOR-          (a)   POSITION OF PERCUSSION POINT



                                                                                     POSITIOH OF PERCUSSION POIHT A
                                                                                                 POSITION OF PERCUSSION POINT B

                                                                                                           POSITIOH OF PERCUSSION POIHT C
                                                                                                                                            N
POSITIOH OF PERCUSSION POINT A                                                                                                              0
                                                                                                                                            0
                                                                                                                                            QO
                                                                        1 2 HEAD




POSITION OF PERCUSSION POINT B




                                                                          PERIOD OF TIME FOR FIRST HALF-RAVE VARIES
                                                                          DEPENDING OH POSITION OF PERCUSSION POIHT


 POSITIOH OF PERCUSSION POINT C
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                                                                                                                                                              e
                                                                                                                                                              •
                                                                                                                                                              00
                                                                                                                                                              •



                                                 FIG. 14

                                                                             2 2 DSP
                                                                             I

                 t·------- ---- - - - - -----..-.------------

                                                                                 I f'
                                                                         '
                         UEANS FOR DETECTING POSITION OF                                    COUNTING ONLY OURING
                         PERCUSSION POINT IH HEAD
                                                                                                 PERIOD OF""




                                                             ~~                                                                 PERCUSSION POINT POSITIONAL
                                                                                                                                INFORllATIOH IH HEAD
                       DC CUT                                 FIRST HALF-llAVE                            ARITHMETIC 1
                       FILTER.              LP FILTER         DETECTION                COUNTER   ____,... CIRCUIT 1--r----...-
                                                              CIRCUIT
14         12




                 L -    - - - -   - - - -    - - - - -   -   - - - - - "- - -    - - - - - - -   - - -   -   -   -   -   - _,
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                                       FIG. 75

                                    CHARACTERISTIC DIAGRAM OF TABLE 1
         FIRST HALF-WAVE
         COUNT VALUE ct
                                                           HEAD TYPE: SNARE




                           t
        POStTION OF PERCUSSION                t
                                 POSITION OF PERCUSSION
                                                                          PERCUSSION POINT POSITIONAL
                                                                          INFORLIATI ON AP
        PO t NT A (CENTER)
                                 POINT B {INTERMEDIATE)
                                                           POSITION OF PERCUSSION
                                                           POINT C (OUTER CIRCUMFERENCE)



                                         FIG.             16
                                    CHARACTERISTIC DIAGRAM OF TABLE 2

                                                          HEAD TYPE: SNARE
        PERCUSSION FORCE                                              I o o s e
        CORRECTING                                                    medium
        COEFFICIENT K
                                                                      t i g ht




                         t                                              PERCUSSION POINT POSITIONAL
        POSITION OF PERCUSSION
        POINT A (CENTER)       POSITION OF PERCUSSION                   INFORMATION AP
                               POINT B (INTERMEDIATE)             1
                                                           POSITION OF PERCUSSION
                                                           POINT C (OUTER CIRCUMFERENCE)
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                               FIG. 17
                           TUNING PROCESSING ROUTINE


                                     START


                                                                   N




                                                           N



                   s 1406 ....----------..
                                HEAD CHANGE


                                                           N


                   S I 4 f 0 .....----------.
                                 tuning CHANGE

                   S/412
                          -----------.
                          SELECT table 1 OR table Z
                           IN ACCORDANCE WITH (head OR
                          tuning),  AND SET TO DSP


                   s   14 14   DISPLAY PERCUSSION POINT
                               POSITIONAL INFORMATION
                               AP SENT FROM DSP

                                                               N



                                     RETURN
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                                                                                                             e•
                                                                                                             00
                                                                                                             •




                             FIG. 18 (a)
DISPLAYING ·coLUMN OF TUNING TYPE
                   DISPLAYING COLUMN OF HEAD TYPE
                                         DISPLAYING. COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP
                                                MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP

                  2/SNARE           RIM
                                     I
                                                                ~32




                                    TU~ING REFERENCE MARK CORRESPONDING TO PERCUSSION
                                    POINT POSITIONAL MARK IN HEAD
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                                                                                                      e
                                                                                                      •
                                                                                                      00
                                                                                                      •




                  FIG. 18 {b)

DISPLAYING COLUMN OF TUNING TYPE
                    DISPLAYING COLUMN OF HEAD TYPE
                      MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP
                                    DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP

       2/SNARE
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                             ..
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                                      FIG,, 19

                           NORMAL PERFORMANCE PROCESSING ROUTINE



                         START



                                             N




                                                       S!6T8
                                                            SET level XV TO SOUND SOURCE
         S!606                                              IC AS LEVEL INFORMATION

                       level CHANGE                   S7620
                                                     CONVERT PERCUSSION POINT POSITIONAL
                                                     INFORMATION AP INTO FILTER COEFFICIENT.
                                                     AND SET TO SOUND SOURCE IC

                                                       S!622
                              y
         ST6TO                                               SOUNDING FLAG   gf   TURN OFF
             tone CHANGE, AND START ADDRESS.
             END ADDRESS CORRESPONDING TO
             WAVEFORM DATA SET TO SOUND SOURCE
             IC



                                                                       RETURN



         S16T4
           pitch CHANGE. AND CORRESPONDING
           PITCH INFORMATION SET TO SOUND
           SOURCE IC
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                        FIG.                       20


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                                                          .i.--! 2

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                     FIG. 2 1


                  OPERATIONAL PROCEDURE FOR TUNING OPERATION IN HEAO



                                  START



         S!BO                 HEAD TYPE SET


         Sl804               TUNING TYPE SET


             S1806
                      PERCUSS ON PERCUSS I ON PO I NT
                      POSIJIONAL MARK IN HEAD
                                                    ST8T2
             STBO          WATCH DISPLAY UNIT            ENGAGING PIH ADJUST


                                                             y


                                       N

                                                             N

                                       y

                                   END
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                                           FIG. 22

                                     12




                                                                  54




                                           50



                                          FIG. 23
                                12




                                                                 54




                                      50
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                        F !G. 24                      (a)




                          54




                                              54




                    FIG. 24                        (b)




                                                          72
                        54



                                  M      54
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                                                         US 7,385,135 B2
                                   1                                                                     2
               ELECTRONIC PERCUSSION                                       in this case because the head for the acoustic drum is utilized
              INSTRUMENTAL SYSTEM AND                                      as it is, the percussion sound becomes remarkable so that it
           PERCUSSION DETECTING APPARATUS                                  disturbs the performance.
                       THEREIN
                                                                                     OBJECTS AND SUMMARY OF THE
        This is a Continuation Application and claims priority to                             INVENTION
     application No. 10/627,493 filed Jul. 25, 2003, now U.S. Pat.
     No 6,921,857 which in turn is a continuation application No.             The present invention has been made in view of the
     09/845,368 filed Apr. 30, 2001, now U.S. Pat. No. 6,756,535           problems as described above involved in the prior art.
     which in turn is a continuation of application No. 09/401,       10   Accordingly, an object of the present invention is to provide
     459 filed Sep. 22. 1999, now U.S. Pat. No. 6,271,458, which           a percussion detecting apparatus provided with a head as the
     in turn is a continuation of application No. 09/243,698 filed         percussion surface which is excellent in percussion feeling
     Feb. 3, 1999 now U.S. Pat. No. 6,121,538, which in turn is            and in which the percussion sound is extremely quiet in an
     a divisional of application No. 08/886,180 filed Jul. 1, 1997,        electronic percussion instrumental system.
     now U.S. Pat. No. 5,920,026, which is based on Japanese          15      Furthermore, another object of the present invention is to
     Application No. 9-15846 filed Jan. 13, 1997, Japanese                 provide an electronic percussion instrumental system which
     Application No. 9-15847 filed Jan. 13, 1997 and Japanese              is adapted to be easily capable of correct tuning of the head
     Application No. 8-193986 filed Jul. 4, 1996.                          in the case when the head is tuned on the basis of an
                                                                           indication which is suitably given and corresponding to a
              BACKGROUND OF THE INVENTION                             20   position of percussion in the head.
                                                                              Moreover, still another object of the present invention is
                                                                           to provide an electronic percussion instrumental system
        1. Field of the Invention
                                                                           which is adapted to be capable of detecting a correct position
        The present invention relates to an electronic percussion          in percussion by correcting variations in tension of the head
     instrumental system and a percussion detecting apparatus in      25   as a result of tuning of the same.
     the electronic percussion instrumental system, and more                  An yet further object of the present invention is to provide
     particularly to an electronic percussion instrumental system          an electronic percussion instrumental system which is
     which simulates a percussion instrument such as acoustic              adapted to make clear a position of percussion in the head in
     drum sounding musical tone as a result of percussing it with          case of tuning operation to display the tuning state, whereby
     sticks or the like by a player and a percussion detecting        30   the tuning operation can be carried out while confirming the
     apparatus in the electronic percussion instrumental system.           state, so that anybody can easily conduct such tuning opera-
        2. Description of the Related Art                                  tion without requiring any sense of skilled user.
        Heretofore, in an electronic percussion instrumental sys-             In order to achieve the above described objects, the
     tem such as electronic drum simulating acoustic drum, a               present invention is characterized by a percussion detecting
     percussion detecting apparatus provided with a surface to be     35   apparatus in electronic percussion instrumental system com-
     percussed being generally called by the name of"percussion            prising a head the percussion surface of which is composed
     pad" is utilized as a means for detecting percussion.                 of a net-like raw material; and a percussion detecting means
        As such a percussion detecting means as described above,           being in contact with the center position of the aforesaid
     for example, the percussion detecting apparatus disclosed in          head and detecting percussion with respect to the aforesaid
     Japanese Patent Laid-open No. 44357 /1996 has been known.        40   head as electric signal.
     In the percussion detecting apparatus disclosed in Japanese              Therefore, in accordance with the present invention, since
     Patent Laid-open No. 44357/1996, the percussion surface is            the percussion surface of the head is composed of a net-like
     formed by covering a plate-like case with a material of a soft        raw material, extremely good percussion feeling can be
     high-molecular compound.                                              obtained because of the elasticity of the net-like raw mate-
                                                                      45   rial. Besides, since air passes through the openings of
        However, in such percussion detecting apparatus wherein
                                                                           stitches in the net-like raw material, percussion sound in
     the percussion surface is formed by covering the plate-like
                                                                           case of percussing the head becomes extremely small.
     case with a soft high-molecular compound material, there is
                                                                              Furthermore, the present invention is characterized by an
     such a problem that repulsive feeling at the time of per-
                                                                           electronic percussion instrumental system which detects
     cussing the percussion surface is remarkable, so that good
                                                                      50   percussion as electric signal and generates musical tone
     percussion feeling cannot be obtained. In addition, the above
                                                                           based on the electric signal thus detected comprising a head
     described percussion detecting apparatus involves also such
                                                                           the percussion surface of which to be percussed is tunable;
     a problem that there is a fear of disturbing the performance
                                                                           a percussion detecting means for detecting percussion upon
     by the percussion sound, because the percussion sound
                                                                           the aforesaid head as electric signal; a means for detecting
     generated at the time when the percussion surface is per-
                                                                      55   a position of percussion point for performing arithmetic
     cussed is significant.
                                                                           computations by inputting the electric signal detected by
        On one hand, it has been proposed to utilize, as a                 means of the aforesaid percussion detecting means to detect
     percussion detecting means, a percussion surface, the ten-            percussion point positional information; and a display means
     sion of which can be adjusted and is called by the name of            for effecting a display corresponding to the percussion point
     "head" in acoustic drum, which is further provided with a        60   positional information detected by the aforesaid means for
     sensor for detecting percussion.                                      detecting a position of percussion point.
        In the present specification, adjustment for tension of a             Therefore, in accordance with the present invention, since
     percussion surface which is adjustable as in the head of              a display corresponding to the percussion point positional
     acoustic drum will be called by the term "tuning".                    information is effected by means of the display means, the
        In the case when the head of acoustic drum is served for      65   head can be tuned while observing visually the resulting
     a percussion detecting means as described above, there is             display, so that correct tuning of the head can easily be
     such a problem that although percussion feeling is excellent          realized.
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                                   3                                                                     4
        Moreover, the present invention is characterized by an                FIG. 12 is a flowchart of a DSP percussion signal pro-
     electronic percussion instrumental system comprising fur-             cessing routine executed by the DSP;
     ther an arithmetic computation compensating means for                    FIGS. 13(a) and 13(b) are explanatory views for charac-
     compensating the arithmetic computations in the aforesaid             teristic properties of a head composed of a net-like raw
     means for detecting the position of percussion point in               material wherein FIG. 13(a) shows the positions of percus-
     response to a tuning state of the aforesaid head.                     sion point, and FIG. 13(b) shows the output waveforms,
        Therefore, in accordance with the present invention, the           respectively;
     arithmetic computations for detecting the percussion point               FIG. 14 is a functional block diagram showing the con-
     positional information in response to tuning of the head are          stitution of a means for detecting the position of percussion
     compensated, the position of percussion point is also com-       10   point in a DSP in a normal performance mode;
     pensated in response to tuning of the head, whereby it                   FIG. 15 is an explanatory diagram showing the charac-
     becomes possible to display the correct position of percus-           teristic properties of table 1;
     sion point.                                                              FIG. 16 is an explanatory diagram showing the charac-
        Still further, the present invention is characterized by an        teristic properties of table 2;
     electronic percussion instrumental system which detects          15      FIG. 17 is a flowchart of a tuning processing routine
     percussion as electric signal and generates musical tone              executed by the CPU;
     based on the electric signal thus detected comprising a                  FIGS. 18(a), 18(b), and 18(c) are explanatory diagrams
     tunable head; a means for detecting a position of percussion          showing examples of display mode in percussion point
     point for detecting the position of percussion point upon the         positional information AP by means of a display unit
     aforesaid head; and a display means for effecting a display      20   wherein FIG. 18(a) shows the first displaying example, FIG.
     in response to the results detected by the aforesaid means for        lS(b) shows the second displaying example, and FIG. 18(c)
     detecting the position of percussion point; a percussion point        shows figures indicating a variety of the percussion point
     positional mark for tuning being provided on the aforesaid            positional information AP in the display column for the
     head.                                                                 percussion point positional information AP in FIG. 18(b),
        Therefore, in accordance with the present invention, since    25   respectively;
     a tuning operation can be conducted by a user in accordance              FIG. 19 is a flowchart of a normal performance processing
     with such a manner that a place marked with a percussion              routine executed by the CPU;
     point positional mark is percussed by the user, and the result           FIG. 20 is a schematic top view of a percussion detecting
     detected at that time by the position of percussion point             apparatus showing an example of percussion point posi-
     detecting means is confirmed while watching the display          30   tional mark displayed on the top of a head;
     means, tuning operation can simply be carried out without                FIG. 21 is a flowchart showing a typical operational
     relying upon user's sense.                                            procedure for the tuning operation of a head;
                                                                              FIG. 22 is a perspective view showing a modified
           BRIEF DESCRIPTION OF THE DRAWINGS                               example of the percussion detecting apparatus correspond-
                                                                      35   ing to FIG. 2;
        The present invention will become more fully understood               FIG. 23 is a perspective view showing a modified
     from the detailed description given hereinafter and the               example of the percussion detecting apparatus correspond-
     accompanying drawings which are given by way of illus-                ing to FIG. 2;
     tration only, and thus are not !imitative of the present                 FIGS. 24(a) and 24(b) are schematic top views of a
     invention, and wherein:                                          40   percussion detecting apparatuses each showing an example
        FIG. 1 is a constitutional block diagram showing an                of percussion point positional mark displayed on the top of
     example of manner of practice of the electronic percussion            the head wherein FIGS. 24(a) and 24(b) show different
     instrumental system according to the present invention;               examples from each other; and
        FIG. 2 is a perspective view showing a percussion detect-             FIG. 25 is an explanatory view showing another example
     ing apparatus;                                                   45   of display mode in the percussion point positional informa-
        FIG. 3 is a sectional view taken along the line III-III of         tion AP by means of a display unit.
     FIG. 2;
                                                                                     DETAILED DESCRIPTION OF THE
        FIG. 4 is a perspective view showing a head;
                                                                                       PREFERRED EMBODIMENTS
        FIG. 5 is a perspectively exploded view of the head;
                                                                      50
        FIG. 6 is an explanatory view showing a case where
                                                                              An example of manner of practice of the electronic
     directions in weave patterns of a first net and a second net
                                                                           percussion instrumental system and the percussion detecting
     intersect obliquely;
                                                                           apparatus in the electronic percussion instrumental system
        FIGS. 7(a), 7(b), and 7(c) are explanatory views wherein           according to the present invention will be described in detail
     FIG. 7(a) is a fragmentary view taken in the direction of the    55   hereinafter in conjunction with the accompanying drawings.
     arrow A of FIG. 7(b), FIG. 7(b) is a front view, and FIG. 7(c)           FIG. 1 is a constitutional block diagram showing an
     is a fragmentary view taken in the direction of the arrow C           example of manner of practice of the electronic percussion
     of FIG. 7(b), respectively.                                           instrumental system according to the present invention
        FIG. 8 is a sectional view corresponding to FIG. 3 in the          wherein the electronic percussion instrumental system com-
     case when the head is percussed with a stick;                    60   prises a percussion detecting apparatus 10 provided with a
        FIG. 9 is a sectional view corresponding to FIG. 3 in the          head sensor 14 functioning as a percussion detecting means
     case when the rim is percussed with a stick;                          for detecting percussion applied to a head 12 the surface of
        FIG. 10 is a sectional view corresponding to FIG. 3 in the         which is composed of a net-like raw material which will be
     case when the head is either brushed or percussed with a              described hereunder, and a rim-shot sensor 18 for detecting
     brush;                                                           65   percussion applied to a rim 16; an analog-to-digital (AID)
        FIG. 11 is a flowchart of the main routine executed by a           converter 20 which performs analog-to-digital conversion of
     CPU;                                                                  the detected signals output from the head sensor 14 and the
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                                    5                                                                        6
     rim-shot sensor 18 in time-sharing manner and inputs the                of the first net 56 crosses obliquely that of the second net 58"
     converted signals to a DSP 22 which will be mentioned                   means that when the first net 56 wherein the longitudinal and
     hereinafter; the DSP 22 which detects the percussion applied            transverse fibers cross at right angles is superposed on the
     to the head 12, the intensity thereof, the position of percus-          second net 58 wherein the longitudinal and transverse fibers
     sion from the detected signals which are derived from the               cross at right angles, adjacent fibers in the first net 56 and the
     head sensor 14 and which were input from the analog-to-                 second net 58 thus superposed intersect with each other at an
     digital converter 20 as well as performance by means of a               angle a which is smaller than 90 degrees as shown in FIG.
     brush, and in addition, the DSP detecting also the percussion           6.
     applied to the rim 16 and the intensity thereof from the                   Moreover, on the top of the head 12 is provided a
     detected signals which are derived from the rim-shot sensor        10   percussion point positional mark M which is formed with a
     18 and which were input from the analog-to-digital con-                 circular contour by means of printing as shown in FIG. 20
     verter 20 to supply the results thus detected to a CPU 24               and which is used in case of tuning operation.
     which will be described hereunder; the CPU 24 which                        Furthermore, the rim 16 is prepared by integrally molding
     supplies the output from the DSP 22 to a sound source IC 34,            a metallic material and is composed of a flange portion 66
     which will be undermentioned, wherein the output is con-           15   which is positioned around the outer circumference of the
     verted into required performance information, as well as                rim and has hole potions 64 into each of which an engaging
     detects operations of a group of operation keys 30 which will           pin 54 can be inserted, and a rim percussion portion 68
     be mentioned hereinafter, and controls the DSP 22; a read               which is ascendingly formed and extended from the flange
     only memory (ROM) 26 storing a program or the like which                portion 66 around the inner circumference thereof. The top
     is to be executed by the CPU 24, a random access memory            20   of the rim percussion portion 68 is covered with a covering
     (RAM) 28 functioning as a working area required for                     member 70 made from an elastic material such as rubber,
     executing the program by means of the CPU 24; the group                 sponge and the like.
     of operation keys 30 including mode selecting keys for                     A manner for fixing the head 12 and the rim 16 to the
     setting normal performance mode, brush performance mode                 barrel section 50 each of them having the structure described
     or tuning mode, keys for selecting tone color or setting level     25   above is such that the head 12 is first put on the barrel section
     or the like, and the like keys; a display unit 32 for displaying        50, then, the rim 16 is put on the head 12, and the positions
     an operation mode selected by a key in the group of                     of them are adjusted in such a way that each hole portion 64
     operation keys 30, tone colors required for the tone color              of the rim 16 communicates with each tapped hole defined
     selection, and a tuning state in case of tuning mode; the               on each engaging portion 52 of the barrel section 50.
     sound source IC 34 which reads a waveform memory 36                30   Thereafter, each engaging pin 54 is inserted into each hole
     which will be undermentioned on the basis of performance                portion 64 of the rim 16 as well as into each tapped hole
     information from the CPU 24 to form digital musical tone                defined on each engaging portion 52 of the barrel section 50,
     signals and outputs the signals thus formed to a digital-to-            and the thread ridge of each engaging pin 54 is threadedly
     analog (I/A) converter 38 which will be described hereun-               combined with the thread groove in each engaging portion
     der; the waveform memory 36 storing sampling waveform              35   52 of the barrel section 52, so that the head 12 and the rim
     data for forming the musical tone signals; and the digital-             16 are forcedly fixed to the barrel section 50 by means of the
     to-analog converter 38 for converting digital musical tone              locking projection 54a of each engaging pin 54.
     signals supplied from the sound source IC 34 into analog                   More specifically, with the progress of screwing each
     musical tone signals to output the signals thus converted to            engaging pin 54 in the tapped hole in each engaging portion
     a sound system composed of an amplifier, a speaker and the         40   52 of the barrel section 50, the flange portion 66 of the rim
     like.                                                                   16 is pressed downwards in FIG. 3 by means of each locking
        Then, the constitution of the percussion detecting appa-             projection 54a, so that the frame 60 of the head 12 is also
     ratus 10 will be described by referring to FIG. 2 being a               pressed downwards through the flange portion 66. As a
     perspective view showing the percussion detecting appara-               result, the first net 56 and the second net 58 the downward
     tus 10 and FIG. 3 being a sectional view taken along the line      45   movement of which are restricted by an upper end portion
     III-III of FIG. 2.                                                      50a of the barrel section 50, respectively, are stretched over
        The percussion detecting apparatus 10 contains a cylin-              the barrel section 50 with a prescribed tension. Thus, when
     drical barrel section 50, and around the outer circumference            an amount of screwing each engaging pin 54 in each tapped
     of the barrel section 50 are formed protrusively engaging               hole defined on each engaging portion 52 of the barrel
     portions 52 each having a tapped hole (not shown) provided         50   section 50 is adjusted, the tension of the first net 56 and the
     with a thread groove (not shown) with a prescribed interval             second net 58 can be arbitrarily controlled, whereby tuning
     along the diametrical direction of the barrel section. Into the         of the head 12 can be carried out.
     engaging portion 52 is screwed an engaging pin 54 on which                 Furthermore, a head sensor supporting material 72 is
     is formed a thread ridge to be combined with the thread                 placed in the barrel section 50 in such that the head sensor
     groove formed on the engaging portion 52, so that the head         55   supporting material 72 intersects the position of the axial
     12 and the rim 16 are fixed to the barrel section 50 through            center of the barrel section 50. A head sensor 14 is bonded
     the engaging pin 54. Furthermore, a locking projection 54a              to the top of the head sensor supporting material 72 at the
     for locking the rim 16 is formed on the engaging pin 54.                central portion thereof by means of a cushioning double-
        The head 12 is prepared as shown in FIGS. 4 and 5 in such            coated tape 78 which will be described hereinafter so as to
     a manner that a net-like raw material composed of a first net      60   be in contact with the second net 58. In other words, the head
     56 and a second net 58, each of which is woven in accor-                sensor 14 is disposed on the under surface of the net-like raw
     dance with plane weave wherein the longitudinal and trans-              material composed of the first net 56 and the second net 58
     verse fibers cross at right angles, are laminated to one                in the head 12 at the center thereof in contact therewith.
     another so as to cross obliquely their longitudinal and                    As shown in FIGS. 7(a), 7(b), and 7(c), the head sensor
     transverse weave pattern directions, and the net-like raw          65   14 is provided with a disc-shaped piezoelectric element 76
     material thus arranged is bonded to a frame 60. It is to be             containing wires for output signal 74, and to the under
     noted herein that the expression "the weave pattern direction           surface of the piezoelectric element 76 is bonded the cush-
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     ioning double-coated tape 78. A diameter of the cushioning                  Moreover, since the cushioning member 80 of the head
     double-coated tape 78 is made to coincide with an node                   sensor 14 is in contact with the under surface of the center
     diameter of the piezoelectric element 76.                                of the second net 58 of the head 12, oscillation of the head
         Furthermore, to the top of the piezoelectric element 76 is           12 attenuates rapidly so that the output signal attenuates also
     bonded a frustoconical cushioning member 80 made from an                 rapidly, whereby erroneous detecting operation in case of
     elastic material such as rubber, sponge and the like. The                percussing the head 12 in a rapid and repeated manner is
     cushioning member 80 has a bottom surface of a larger                    prevented.
     diameter than that of the piezoelectric element 76, the cross               Further, since the cushioning member 80 bonded to the
     section of which tapers off upwardly, and it is in contact with          top of the piezoelectric 76 of the head sensor 14 is in contact
     the second net 58 at the extreme end of the cushioning              10   with the second net 58 of the head 12 at the site of the
     member 80 of a thin diameter.                                            frustoconical extreme end portion having a thin diameter
         Moreover, in the vicinity of the rim percussion portion 68           and a small area, vibrations of percussion in the head 12 are
     disposed on the upper portion inside the barrel section 50 is            hardly transmitted directly to the piezoelectric element 76,
     bonded the rim-shot sensor 18 by means of the cushioning                 so that damage of the piezoelectric element 76 is suppressed.
     double-coated tape 78. The rim-shot sensor 18 is provided           15      In addition, since a diameter of the cushioning double-
     with the disc-shaped piezoelectric element 76 containing                 coated tape 78 bonded to the under surface of the piezo-
     wires for output signal 74, and to the under surface of the              electric element 76 is made to be equal to the node diameter,
     piezoelectric element 76 is bonded the cushioning double-                sensitivity of the piezoelectric element 76 increases, so that
     coated tape 78. The diameter of the cushioning double-                   delicate variations in the oscillation due to differences in
     coated tape 78 is made to coincide with the node diameter           20   positions percussed can be more precisely detected.
     of the piezoelectric element 76.                                            Still further, since air passes through openings of stitches
         Namely, in the electronic percussion instrumental system             in the net-like raw material composed of the first net 56 and
     according to the present invention, a member obtained by                 the second net 58, percussion sound in the case when the
     removing the cushioning member 80 from the head sensor                   head 12 is percussed is extremely small. Such percussion
     14 is used as the rim-shot sensor 18, whereby improvements          25   sound in case of percussing the head 12 is dependent upon
     in efficiency of parts to be used are intended.                          a ratio of openings in the net-like raw material composed of
         In this electronic percussion instrumental system, a vari-           the first net 56 and the second net 58, and therefore, the
     ety of heads 12 having different diameters as well as a                  higher ratio of openings brings about the smaller percussion
     variety of the barrel sections 50 being adapted for such                 sound. However, an excessive ratio of openings results in
     various heads and the like members are prepared, whereby            30   low tension of the first net 56 and the second net 58 so that
     a size of the head 12 is suitably changed.                               the percussion feeling deteriorates. Accordingly, it is pre-
                                                                              ferred to suitably keep a balance between the percussion
         In the constitution as described above, when the head 12
                                                                              feeling and the ratio of openings.
     is percussed with a stick 100 (see FIG. 8), the head sensor
                                                                                 Yet further, since the rim 16 is covered with the covering
     14 detects the percussion, while when the rim 16 is per-
                                                                         35   member 70, the percussion sound in case of percussing the
     cussed with the stick 100 (see FIG. 9, but it is to be noted
                                                                              rim 16 is also reduced.
     that both the head 12 and the rim 16 are percussed with the
                                                                                 In this respect, the oscillation in case of percussing the rim
     stick 100 in FIG. 9), the rim-shot sensor 18 detects the
                                                                              16 is mostly transmitted to the barrel 50, the performance
     percussion. Further, when the head 12 is brushed or per-
                                                                              played by percussing the rim 16 can be controlled in
     cussed with a brush 102 (see FIG. 10), the head sensor 14
                                                                         40   accordance with output waveforms in the rim-shot sensor 18
     detects the contact of the brush 102 with the head 12.
                                                                              attached to the barrel 50.
         In these circumstances, when the head 12 is percussed                   In the following, electrical processing contents in the
     with the stick 100, extremely good percussion feeling                    electronic percussion instrumental system according to the
     closely resembling the percussion feeling in the case when               present invention will be described by referring to the
     the head of an acoustic drum is percussed can be obtained           45   accompanying flowcharts.
     because of the elasticity of a net-like raw material composed               FIG. 11 is a flowchart of the main routine executed by the
     of the first net 56 and the second net 58.                               CPU 24 wherein when the power is turned on, first, memo-
         In addition, since the first net 56 and the second net 58            ries, registers and the like are initialized (step S802).
     which have been woven in accordance with plane weaving                      Then, it is judged which operational mode has been set,
     manner wherein the longitudinal and transverse fibers cross         50   i.e., it is judged whether a tuning mode which changes
     at right angles are laminated obliquely with each other in the           percussion feeling of the head 12 by adjusting tension in the
     net-like raw material, the tension is uniformized over the               net-like raw material of the head 12, or a normal perfor-
     whole surface of the net-like raw material, so that there is             mance mode which sounds percussion instrumental sounds
     little variations in percussion feeling due to differences in the        by detecting percussion upon the head 12 and percussion
     position percussed, and as a result, output waveforms from          55   upon the rim 16, or a brushing performance mode which
     the head sensor 12 become the ones which are easily                      sounds percussion instrumental sounds by detecting either
     processed.                                                               brushing or percussing the head 12 with the brush 102 has
         As described above, performance played by percussing                 been established (step S804) by supervising an operational
     the head 12 is controlled by output waveforms from the head              state of mode selecting keys of the group of operation keys
     sensor 14 being in contact with the under surface of the            60   30.
     center in the first net 56 and the second net 58 of the head               As a result, when it has been judged that the tuning mode
     12. In this respect, since the head sensor 14 is positioned at           had been set in the step S804, the DSP 22 is set to the tuning
     the center of the first net 56 and the second net 58 of the head         mode, whereby the DSP 22 is adapted to be set so as to
     12, variations in output waveforms due to differences in the             execute the DSP percussion signal processing routine shown
     position of the head 12 percussed become concentric circu-          65   in FIG. 12 (step S806). Thereafter, the tuning processing
     lar form, so that variations in tone color simulating acoustic           routine executed by the CPU 24 shown in FIG. 17 is
     drum are easily expressed.                                               executed (step S808), then, processing for stopping the
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                                    9                                                                     10
     tuning mode by means of the DSP 22 is conducted (step                   removed, and is input to a low pass filter (LP filter) removing
     S810), and the procedure returns to the step S804.                      unnecessary high pass component. Then, the detection sig-
        On one hand, when it has been judged that the normal                 nal from which unnecessary high pass component has been
     performance mode had been set in the step S804, the DSP 22              removed is input to a first half-wave detection circuit. The
     is set to the normal performance mode, whereby the DSP 22               first half-wave detection circuit detects the leading edge of
     is adapted to be set so as to execute the DSP percussion                waveform of the detection signal thus input and the first zero
     signal processing routine shown in FIG. 12 (step S812).                 cross, whereby the first half-wave is detected. A counter
     Thereafter, the normal performance processing routine by                operates for counting during only a period wherein the first
     the CPU 24 shown in FIG. 19 is executed (step S814), then,              half-wave detection circuit detects first half-wave, and an
     processing for stopping the normal performance mode in the         10   arithmetic circuit calculates the position of percussion point
     DSP 22 is conducted (step S816), and the procedure returns              from the count value of the counter. The position of percus-
     to the step S804.                                                       sion point thus calculated is input to the CPU 24 as percus-
        On the other hand, when it has been judged that the                  sion point positional information in head.
     brushing performance mode had been set in the step S804,                   The DSP percussion signal processing routine will be
     the DSP 22 is set to the brushing performance mode (step           15   described herein in detail by referring to FIG. 12 wherein
     S818). Thereafter, the brushing performance processing                  this DSP percussion signal processing routine is executed
     routine by the CPU 24 is executed, then, processing for                 repeatedly in every sampling periods of the analog-to-digital
     stopping the brushing performance mode in the DSP 22 is                 converter 12.
     conducted (step S816), and the procedure returns to the step               It is to be noted that since the above described functional
     S804. It is to be noted that since the processing for brushing     20   block diagram shown in FIG. 14 indicates only the function
     performance mode is not related to the subject matter of the            for detecting percussion point positional information in
     present invention, the detailed description therefor will be            head, a function for detecting percussion force information
     omitted.                                                                shown in FIG. 12 has been omitted. Furthermore, the
        In the following, the DSP percussion signal processing               functions for DC cut filter and LP filter shown in FIG. 14 are
     routine executed by the DSP 22 shown in FIG. 12 will be            25   considered in FIG. 12 to be included in the processing for
     described, and the this processing is based on the following            inputting sampling data S (step S902), so that the clear
     characteristic features.                                                indication thereof is omitted for simplifying the flowchart.
        Namely, when detection signal of the head sensor 14 in                  In the DSP percussion signal processing routine, the
     the case when the head 12 composed of a net-like raw                    sampling data S is first input (step S902), and it is judged
     material is percussed is observed, there is such a character-      30   whether the leading edge has been detected or not (step
     istic that a first half-wave time changes dependent on a                S904). In the case where it was judged that the leading edge
     position of percussion point in a certain frequency band.               had been detected, a timer Tis reset (step S906), then, a first
     More specifically, as shown in FIGS. 13(a) and 13(b), when              count flag cf is turned ON (step S908), and a maximum
     the first half-wave time in the case where the center of the            value detection flag mf is turned ON (step S910).
     head 12 is percussed (position of percussion point A), the         35      The detection of leading edge in the step S904 may be
     first half-wave time in the case where the outer circumfer-             conducted specifically by either a manner wherein a differ-
     ence of the head 12 is percussed (position of percussion                ence between the present sampling data S and the preceding
     point C), and the first half-wave time in the case where the            sampling data is determined; and if the difference is higher
     intermediate point defined between the center and the outer             than the prescribed value which has been previously set, it
     circumference of the head 12 is percussed (position of             40   is judged that there was a leading edge, or a well-known
     percussion point B) are represented by TA, T 0 and TB,                  manner for detecting leading edge of input signal.
     respectively, the relationship between them is expressed as                Furthermore, the timer T is a means for measuring a
     follows.                                                                prescribed period of time for detecting the maximum value
                                                                             of detection signal wherein the prescribed period of time is
                                                                        45   decided by a register time for storing the time which has
         As described above, when the head 12 composed of a                  been previously set.
     net-like raw material is percussed, with the movement of                   The first half-wave count flag cf is a flag representing
     position of the percussion point from the center to the outer           whether counting processing for the first half-wave counter
     circumference, a first half-wave time shortens gradually.               ct is to be made or not. When the first half-wave count flag
         On one hand, when tuning of the head 12 is made high,          50   cf has been turned ON, the counting processing for the first
     i.e., tension of the head 12 is increased, the first half-wave          half-wave counter ct is made, while the counting processing
     times TA, TB, and Tc shorten, respectively, while maintain-             for the first half-wave counter ct is not made in the case
     ing the relationship "TA>TB>Tc"· On the other hand, when                when the first half-wave count flag cf has been turned OFF.
     tuning of the head 12 is made low, i.e., tension of the head               A maximum value detection flag mf is a flag representing
     12 is decreased, the first half-wave times TA' TB' and Tc          55   whether detection processing for the maximum value of
     lengthen, respectively, while maintaining the relationship              input data is to be made or not. When the maximum value
     "TA> TB> Tc"·                                                           detection flag mf has been turned ON, the detection pro-
         FIG. 14 is a functional block diagram showing the con-              cessing for the maximum value is made, while the detection
     stitution of a means for detecting the position of percussion           processing for the maximum value is not made, in the case
     point in a DSP 22. The outline of DSP percussion signal            60   when the maximum value detection flag mf has been turned
     processing routine will be described by referring to FIG. 14.           OFF.
     A detection signal detected by the head sensor 14 is sub-                  In either the case where the processing in step S910 has
     jected to analog-to-digital conversion by means of the                  been completed or the case where it has been judged that the
     analog-to-digital converter 20, and the signal thus converted           leading edge had not been detected in the step S904, the
     is input to a DC cut filter. The DC cut filter means a high pass   65   procedure proceeds to step S912 wherein it is judged
     filter for removing DC component. The DC component of                   whether or not the first half-wave count flag has been turned
     the detection signal thus input to the DC cut filter is                 ON.
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                                   11                                                                   12
        It is to be noted herein that the step S912, step S914, step      the present electronic percussion instrumental system. On
     S916, and step S918 relate to first half-wave count process-         one hand, the tuning type is decided in accordance with a
     ing. In other words, the first half-wave count flag cf is turned     tuning state of the head 12, i.e., in response to tension of the
     ON from the step S912, and the first half-wave counter ct is         head 12 so that "loose", "medium" and "tight" are estab-
     incremental until the first half-wave is completed.                  lished in the present electronic percussion instrumental
        More specifically, when it is judged that the first half-         system.
     wave count flag has not been turned ON, i.e., the first                 As described above, since three kinds of the head type and
     half-wave count flag has been turned OFF, the procedure              three kinds of the tuning type have been established in the
     jumps to step S920 without accompanying the processing in            present electronic percussion instrumental system, so that
     the step S914, the step S916, and the step S918.                  10 the table 1 of total nine kinds is provided.
        On the other hand, when it is judged that the first                  In FIG. 15, characteristics of the respective tuning types
     half-wave count flag has been turned ON in the step S912,            of loose, medium, and tight are indicated in the case where
     it is judged whether or not the first half-wave has been             the head type is SNARE in respect of the table 1. A position
     completed (step S914). Then, when it is judged that the first        of percussion point A (center), a position of percussion point
     half-wave has not been completed, the first half-wave 15 B (intermediate), and a position of percussion point C (outer
     counter ct is made incremental (step S916), while when it is         circumference) in the percussion point positional informa-
     judged that the first half wave has been completed, the first        tion AP correspond to the position of percussion point A, the
     half-wave count flag cf is turned ON (step S918), and the            position of percussion point B, and the position of percus-
     procedure proceeds to the step S920.                                 sion point C in FIG. 10, respectively.
        The completion of the first half-wave in the step S914 20            When completed the processing in the step 930, the
     corresponds to a point of time where the sampling data cross         procedure proceeds to step S932 wherein the percussion
     0 (zero). Judgment whether the sampling data have crossed            point positional information AP is converted into a percus-
     0 (zero) or not may be made at the point of time when sign           sion force correcting coefficient K by employing a table 2
     of the sampling data S turns, the contents of the judgment           which is a percussion force correcting table for converting
     being such that the sampling data have crossed 0 (zero).          25 the percussion positional information AP obtained in the step
        In the step S920, it is judged whether the maximum value          S930 into the percussion force correcting coefficient K (step
     detection flag mfhas been turned ON or not, and as a result,         S932).
     when it is judged that the maximum value detection flag mf              It is to be noted herein that the table 2 which is the
     has not been turned ON, i.e., it is judged that the maximum          percussion force correcting table for converting the percus-
     value detection flag mf has not been turned OFF, the DSP 30 sion positional information AP is selected in response to
     percussion signal processing routine is completed without            head type and tuning type as in the case of the table 1.
     taking a further step any more.                                         As described above, since three kinds of the head type,
        On the other hand, when it is judged that the maximum             i.e., TOM 1, TOM 2, and SNARE as well as three kinds of
     value detection flag mf has been turned ON, it is further            the tuning type, i.e., "loose", "medium, and "tight" have
     judged whether or not a timer T is larger than the register 35 been established in the present electronic percussion instru-
     time (step S922).                                                    mental system, so that the table 2 of total nine kinds is
        As a result, when the timer T is equal to or less than the        provided.
     register time, in other words, during a period where the                In FIG. 16, characteristics of the respective tuning types
     maximum value detection flag mf has been turned ON and               of loose, medium, and tight are indicated in the case where
     the timer Tis equal to or less than the register time in the step 40 the head type is SNARE in respect of the table 2. A position
     S922, the maximum value detection processing is executed             of percussion point A (center), a position of percussion point
     in step S924 and step S926.                                          B (intermediate), and a position of percussion point C (outer
        More specifically, the timer T is made incremental (step          circumference) in the percussion point positional informa-
     S924), the maximum value max is compared with the                    tion AP correspond to the position of percussion point A, the
     absolute value of the sample data S to rewrite the larger 45 position of percussion point B, and the position of percus-
     value into the maximum value max (step S916), and the DSP            sion point C in FIG. 10, respectively.
     percussion signal processing routine is completed.                      For instance, in the example shown in FIG. 16, when the
        Therefore, the maximum value max corresponds to the               tuning type is loose, "K=l" in the position of percussion
     maximum value of a percussion signal within a prescribed             point A (center), "K=4/3" in the position of percussion point
     time and decided by the register time.                            50 B (intermediate), and "K=3" in the position of percussion
        Furthermore, when the maximum value detection pro-                point C (outer circumference).
     cessing is completed as a result of such judgment that the              These head types and tuning types may be represented by
     timer T is larger than the register time in the step S922, the       numerical values, and further the table 1 as well as the table
     maximum value detection flag mf is turned OFF (step S928).           2 are not limited to the nine kinds, respectively.
        Then, the first half-wave counter ct is converted into a 55          When the processing in the step S932 is completed, the
     percussion point positional information AP by employing              procedure proceeds to step S934 wherein compensation
     table 1 which is a percussion point positional table for             arithmetic processing in which the maximum value max is
     converting a first half-wave count value being a value of the        multiplied by the percussion force correcting coefficient K is
     first half-wave counter ct into the percussion point positional      conducted to calculate compensated percussion force infor-
     information AP (step S930).                                       60 mation V.
        It is to be noted herein that the table 1 which is a                 When completed the step S934, the procedure proceeds to
     percussion point positional table for converting a first half-       step S936 wherein a sounding flag gf in the CPU 24 is turned
     wave count value being a value of the first half-wave counter        ON, the percussion point positional information AP and the
     ct into the percussion point positional information AP is            percussion force information V are set in the CPU 24, and
     selected in accordance with head type or tuning type.             65 the DSP percussion signal processing routine is completed.
        The head type is decided in response to a size of the head           Then, the tuning processing routine executed by the CPU
     12 so that TOM 1, TOM 2, and SNARE are established in                in the step S808 will be described by referring to FIG. 17.
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                                   13                                                                  14
        In this tuning processing routine, it is judged whether or          Since a position between the center "CENTER" and the
     not there was an indication of change in a head type or a           rim 16 "RIM" in the head 12 is decided by the percussion
     tuning type by operating a head type setting operation key          point positional information AP, the position thus decided is
     (key for setting the head type) or a tuning type setting            indicated by a black triangle.
     operation key (key for setting the tuning type) contained in 5         Furthermore, the tuning reference mark represented by a
     the group of operation keys 30 (step S1402). At the time of         white triangle shows a position corresponding to the per-
     turning on the power, a register head storing a head type and       cussion point positional mark M indicated in the head 12
     a register tuning storing a tuning type are also set in response    shown in FIG. 20 as described above. Namely, since the
     to the initialized state of the head type setting operation key     percussion point positional mark M shown in FIG. 20 is
     and the tuning type setting operation key in accordance with 10 indicated at the position of intermediate point between the
     the processing of initialization in the step S802, respectively.    center "CENTER" and the rim 16 (RIM) in the head 12, the
                                                                         tuning reference mark represented by a white triangle is also
        After such judgment that change of head type or tuning
                                                                         indicated at the intermediate point between the "CENTER"
     type had been indicated by the operation of the head type           and the "RIM" in FIG. 18(a).
     setting key or the tuning type setting key of the group of 15
                                                                            The manner for displaying the percussion point positional
     operation keys 30 in the step S1402, it is judged whether or
                                                                         information AP on the display 32 is not limited to the
     not the change of head type has been indicated (step S1404).
                                                                         examples shown in FIGS. 18(a), 18(b), and 18(c), but it may
        When it was judged that the change of head type had been         be indicated by either numerical values or a bar graph as in
     indicated, stored contents of the register head are changed in      a level indication.
     accordance with this indication of change (step S1406).          20    When completed the processing in the step S1414, it is
        In either the case where the processing in step S1406 has        judged whether or not a termination key in the group of
     been completed, or the case where it was judged that the            operation keys 30 has been operated (step S1416), so that if
     change of head type had not been indicated in the step              it was judged that the termination key in the group of
     S1404, it is judged whether or not the change of tuning type        operation keys 30 had not been operated, the procedure
     has been indicated (step S1048).                                 25 returns to the step S1402, and the processing is repeated.
        When it was judged that the change of tuning type had               On the other hand, if it was judged that the termination
     been indicated, the stored contents of the register tuning is       key in the group of operation keys 30 had been operated in
     changed in accordance with this indication of change (step          the step S1416, the procedure returns to the main routine.
     S1410).                                                                Then, a normal performance processing routine executed
        In either the case where the processing in step S1410 has 30 by the CPU 24 in the step S814 will be described by
     been completed, or the case where it was judged that the            referring to FIG. 19.
     change of tuning type had not been indicated in the step               In the normal performance processing routine, it is first
     S1408, the table 1 or the table 2 is selected in accordance         judged whether or not a level key (key for setting a volume
     with the stored contents of the register head or the register       of sounding musical tone), a tone color key (key for setting
                                                                      35
     tuning, and it is set to the DSP 22 (step S1412).                   tone color of sounding musical tone), or a tuning key (key
        As a result of conducting the procedure as described             for setting a pitch of sounding musical tone) contained in the
     above, in either the case where the processing in step S1412        group of operation keys 30 has been changed. At the time
     has been completed, or the case where it was judged that            when the power is turned on, a register level for storing
     both the head type setting key or the tuning type setting key 40 level, a register tone for storing tone color, and a register
     in the group of operation keys 30 had not been operated so          pitch for storing pitch are set in response to the initialized
     that no change of the head type and the tuning type had not         state of the level key, the tone color setting key, and the
     been indicated, the percussion point positional information         tuning key, respectively, in accordance with the initialization
     AP sent out from the DSP 22 is displayed on the display unit        processing in the step S802.
     32 (step S1414). More specifically, the percussion point 45            In the step S1602, when it was judged that the level key,
     positional information AP set in the CPU in the DSP                 the tone color setting key, or the tuning key in the group of
     percussion signal processing routine is displayed on the            operation keys 30 had been changed, then, it is judged
     display unit 32.                                                    whether the level key has been changed or not (step S1604).
        In FIGS. 18(a), 18(b) and 18(c) are shown examples of               In this case, if it was judged that the level key had been
     manner of displaying the percussion point positional infor- 50 changed, the stored contents in the register level are changed
     mation AP displayed on the display unit 32 in the step S1414        in accordance with the former change (step S1606).
     wherein FIG. 18(a) shows a first displaying example, FIG.              In either the case where the processing in step S1606 has
     lS(b) shows a second displaying example, and FIG. 18(c)             been completed, or the case where it was judged that the
     shows marks representing a variety of percussion point              level key had not been changed in the step S1604, it is
     positional information AP being displayed in a display 55 judged whether or not the tone color key has been changed
     colunm for the percussion point positional information AP in        (step S1608).
     FIG. 18(b), respectively. In FIGS. 18(a) and 18(b), it is              In this case, when it was judged that the tone color key
     arranged in such that numbers which have been previously            had been changed, stored contents of a register tone are
     assigned to respective tuning types are displayed in the            changed in accordance with the former change, and a start
     displaying colunm of tuning type.                                60 address and an end address of waveform data corresponding
        In FIG. lS(a ), "CENTER" indicates the center position of        to the stored contents of the register tone are set in the sound
     the head 12, and "RIM" indicates a position of the rim 16.          source IC 34 (step S1610).
     Furthermore, a black triangle is a mark indicating the                 In either the case where the processing in step S1610 has
     percussion point positional information AP, while a white           been completed, or the case where it was judged that the tone
     triangle is a tuning reference mark indicated in a position 65 color key had not been changed in the step S1608, it is
     corresponding to the percussion point positional mark M             judged whether or not the tuning operation key has been
     indicated in the head 12 (see FIG. 20).                             changed (step S1612).
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                                   15                                                                   16
        It is to be noted that the "tuning" in this step S1612 is        FIG. 21 illustrates the operational procedure of the tuning
     different from the above described tuning of the head, and it       operation effected by a user after selecting the tuning mode
     means that a pitch is adjusted with respect to sounding             by the user.
     musical tone (sound of a percussion instrument).                       Namely, when the user selects the tuning mode, then he or
         In this case, when it was judged that the tuning key had 5 she sets first a desired head type by operating a head type
     been changed, stored contents of the register pitch are             setting key in the group of operation keys 30 (step S1802),
     changed in accordance with the former change, and the pitch         and thereafter, he or she sets a desired tuning type by the
     information corresponding to the stored contents of the             operation of a tuning type setting key of the group of
     register pitch are set to the sound source IC 34 (step S1614).      operation keys 30 (step S1804).
         When the processing in step S1614 has been completed as 10         In accordance with the operations in the steps S1802 and
     a result of conducting the procedure as described above, or         S1804, the processing specified in the respective steps
     it was judged that the tuning key had not been operated in          S1402, S1404, S1406, S1408, S1410, and S1412 contained
     the step S1612, or in the case where any of the level key,          in the tuning processing routine executed by the CPU shown
     tone color setting key, or the tuning key in the group of           in FIG. 17 is conducted.
     operation keys 30 had not been changed, then, it is judged 15          Then, in this tuning operation, a mark M at the position of
     whether or not a sounding flag gf is turned ON (step S1616).        percussion point in the head 12 which is placed at a position
         Specifically, it is judged whether or not sounding has been     close to the engaging pin 54 in operation is percussed (step
     instructed as a result of turning ON the sounding flag gf of        S1806). It is to be noted that the procedure on and after the
     the CPU 24 in the step S936 of the DSP percussion signal            step S1806 becomes actual tuning operations.
     processing routine.                                              20    In the step S1806, when the mark M at the position of
         In this case, if it was judged that the sounding flag gf had    percussion point of the head 12 is percussed, the percussion
     been turned ON, the results of arithmetic computations of           point positional information AP sent from the DSP 22 as a
     "levelxV" are set to the sound source IC 34 as the level            result of execution of percussion signal processing routine
     information (step S1618). More specifically, values stored in       shown in FIG. 12 is displayed on the display unit 32 in the
     the register level which has been set by a level key are 25 step S1414 contained in the tuning processing routine
     multiplied by percussion force information V to calculate a         executed by the CPU shown in FIG. 17.
     sounding level, and the results of this arithmetic computa-            In this case, it is confirmed that a black triangle indicating
     tions are set to the sound source IC 34 as the level infor-         the percussion point positional information AP due to the
     mation.                                                             result of the percussion in the step S1806 has been displayed
                                                                      30 at which position by visual observation of the display unit 32
         When completed the processing in the step S1618, the
                                                                         (step S1808).
     percussion point positional information AP is converted into
                                                                            Then, it is judged whether or not there is a misregistration
     a filter coefficient for controlling filter characteristics, and
                                                                         between the position of the black triangle indicating the
     the converted information is set in the sound source IC 34
                                                                         percussion point positional information AP and a white
     (step S1620). More specifically, when the converted infor-
                                                                      35 triangle indicating the tuning reference mark (step S1810).
     mation is set to the IC 34 after converting the percussion
                                                                            In this case, when it is judged that there is a misregistra-
     point positional information AP into the filter coefficient for
                                                                         tion between the position of the black triangle indicating the
     controlling filter characteristics, tone colors corresponding
                                                                         percussion point positional information AP and the white
     to the positions of percussion point can be obtained. It is to
                                                                         triangle indicating the tuning reference mark, the engaging
     be noted that the processing for obtaining tone colors
                                                                      40 pin 54 is adjusted so as to cancel the aforesaid misregistra-
     corresponding to the positions of percussion point is not
                                                                         tion, thereby carrying out tuning for adjusting tension of the
     limited to that illustrated in the step S1620, but the process-
                                                                         head 12 (step S1812).
     ing in the step S1620 may be replaced by either a manner
                                                                            Thus, after completing the operation in the step S1812,
     wherein waveforms to be read out are switched or a manner
                                                                         the procedure returns to the step S1806 and the operation is
     wherein a mixed ratio of a plurality of waveforms is
                                                                      45 repeated.
     changed.
                                                                            On the other hand, if it was judged that there was no
         When the processing in the step S1620 is completed, the         misregistration between the position of the black triangle
     sounding flag gf is turned OFF (step S1622). In other words,        indicating the percussion point positional information AP
     as a result of conducting the procedure as described above,         and the white triangle indicating the tuning reference mark,
     the sounding flag is turned OFF.                                 50 then it is judged whether the tuning operation has been
         In either the case where the processing in the step S1622       completed or not (step S1814). In this case, the judgment
     has been completed, or the case where it was judged that the        whether or not the tuning operation has been completed is
     sounding flag gfhad been turned OFF in the step S1616, it           specifically a judgment whether or not tuning operations of
     is judged whether or not the termination key in the group of        all the engaging pins 54 have been completed.
     operation keys 30 has been operated (step S1624), so that if 55        In this case, when it was judged that the tuning operations
     it was judged that the termination key of the group of              had not been completed, the procedure returns to the step
     operation keys 30 had not yet been operated, the procedure          S1806 to perform tuning operations with respect to the
     returns to the step S1602 to repeat the processing.                 engaging pins 54 to which have not yet been subjected the
         On the other hand, when it was judged that the termina-         tuning operations.
     tion key in the group of operation keys 30 had been operated, 60       On the contrary, when it was judged that the tuning
     the procedure returns to the main routine.                          operations had been completed, the procedure of the tuning
         The processing for sounding musical tones from the              operation is finished.
     present electronic percussion instrumental system to the               It is to be noted that the above described manner of
     outside is carried out by controlling the sound source IC 34.       practice may be modified as follows.
         In the following, a typical operational procedure for 65           (1) As shown in FIG. 22, the head 12 is fixed to either side
     tuning operation of the head 12 will be described by refer-         of the opening of the barrel section 50, while the head of an
     ring to the flowchart shown in FIG. 21. The flowchart of            acoustic drum (cannot be found in FIG. 22) may be fixed to
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                                  17                                                                     18
     the other side of the opening of the barrel section. In this           2 which are selected in accordance with the head type or the
     case, when the head 12 is percussed, the head of acoustic              tuning type set in the tuning processing routine executed by
     drum positioned on the opposite side resonates to sound at             the CPU shown in FIG. 17.
     an appropriate volume. Accordingly, when compared with                    (9) Although the black triangle indicating the percussion
     the case where only the head 12 is fixed to the barrel section         point positional information AP and the white triangle
     50, a player can perform the percussion instrument with                indicating the tuning reference mark corresponding to the
     much more close feeling to that of acoustic drum.                      percussion point positional mark M of the head have been
        (2)As shown in FIG. 23, to the outer circumference of the           displayed on the display unit 32 in the above described
     head 12 composed of the first net 56 and the second net 58             manner of practice as shown in FIG. 18(a), a displaying
     may be bonded an annular film 112. In this case, since a ratio    10   manner on the display unit 32 is not limited thereto, but, for
     of opening in the first net 56 and the second net 58 of the            example, a deviation between the above described tuning
     head 12 becomes low in comparison with that of the above               reference data and the detected percussion point positional
     described manner of practice, the percussion sound becomes             information AP may be displayed as shown in FIG. 25.
     larger than that of the above described manner of practice.               Specifically, the manner may be carried out in such a way
     For this reason, a player can perform the resulting percus-       15   that tuning reference data are read out in case of the
     sion instrument with much more close feeling to that of                processing for displaying the percussion point positional
     acoustic drum. Furthermore, when an area of the film 112 to            information AP in the step S1414 of the tuning processing
     be bonded to the first net 56 and the second net 58 in the             routine executed by the CPU shown in FIG. 17, a deviation
     head 12 is allowed to vary, the volume in percussion can be            between the tuning reference data and the percussion point
     controlled. Moreover, stitches may be filled with an adhesive     20   positional information AP is calculated, and the deviation
     to bond the first net 56 to the second net 58 in place of              represented by the calculated result is displayed on the
     bonding of the film 112.                                               display unit 32. If it has been adapted to display "O" on the
        (3) The net-like raw material is not limited to a two-ply           display unit 32 in case of no deviation, it means that tuning
     plane weave net, but one-ply or three- or more ply net may             is matched in the case when indication "O" is displayed on
     also be used. Furthermore, a weaving manner of net is not         25   the display unit 32.
     limited merely to plane weave. In the case where a net-like               (10) As a displaying manner in the display unit 32, there
     raw material is composed of a single net, it is preferred to           are a manner wherein it may notify that the tuning is
     use a triaxially woven net which balances tension not only             matched in the case when a difference between the tuning
     in the crossed direction of woven fibers, but also in an               difference data and the percussion point positional informa-
     oblique direction.                                                30   tion AP reaches a prescribed value or lower, and a manner
        (4) A shape of the cushioning member 80 in the head                 wherein a difference between the tuning reference data and
     sensor 14 is not limited to the frustoconical shape, but a             the percussion point positional information AP may be
     truncated pyramid shape may be adopted.                                displayed in accordance with cent indication as utilized in a
        (5) A constitution of the sound source is not limited to the        tuning device for stringed instruments such as guitar and the
     above described wave-form read-out system, but sound              35   like in addition to the manners described above.
     sources of a variety of systems may be employed. Further-                 Since the present invention has been constituted as
     more, a PCM sound source sounding PCM sampling sounds                  described above, it provides such an excellent advantage
     is not used, but a resonator composed of oscillator and the            that a percussion detecting apparatus, which is excellent in
     like may be used, otherwise audio signals input from the               percussion feeling, and the percussion sounds of which are
     outside may also be employed.                                     40
                                                                            very small, in electronic percussion instrumental system can
        (6) While the percussion point positional information AP            be realized.
     has been displayed on the display 32 in the above described
                                                                               Furthermore, since the indication corresponding to a
     manner of practice, instead of the display, it may be adapted
                                                                            percussion position of the head has been made in the present
     to sound such sound signal having a pitch corresponding to
                                                                            invention, such an excellent advantage that correct tuning
     the percussion point positional information AP.                   45
                                                                            can easily be carried out in case of tuning the head is
        (7) Although the percussion point positional mark M
                                                                            obtained.
     indicated on the top of the head 12 has been configured in
     the circular shape as shown in FIG. 20 in the above                       Moreover, since a variation in tension of the head due to
     described manner of practice, a shape of the percussion point          tuning of the head has been compensated in the present
     positional mark M is not limited to the circular shape as         50
                                                                            invention, such an excellent advantage that correct percus-
     shown in FIG. 20, but, for example, the percussion point               sion position can be detected is obtained.
     positional mark M may be indicated by points of a pre-                    Still further, since a tuning operation can be conducted by
     scribed number as shown in FIG. 24(a). Moreover, a region              a user in accordance with such a manner that a place marked
     of the head 12 is classified by coloring as shown in FIG.              with a percussion point positional mark is percussed by the
     24(b) (It is to be noted in FIG. 24(b) that a shaded portion      55   user, and the result detected at that time by the detecting
     of the region of the head 12 is represented by a different             means for position of percussion point is confirmed while
     color from that of the other (no shaded) portion), and the             watching the display means in the present invention, such an
     boundary portion classified by coloring may be used as the             excellent advantage that tuning operation can simply be
     percussion point positional mark M.                                    carried out without relying upon user's sense is obtained.
        (8) While it has been arranged in such that the tuning         60      It will be appreciated by those of ordinary skill in the art
     reference mark represented by white triangle shown in FIG.             that the present invention can be embodied in other specific
     18(a) is indicated in response to the percussion point posi-           forms without departing from the spirit or essential charac-
     tional mark M of the head 12 in the above described manner             teristics thereof.
     of practice, the invention is not limited thereto, but, for               The presently disclosed embodiments are therefore con-
     instance, it may be arranged in such that information for         65   sidered in all respects to be illustrative and not restrictive.
     indicated position by a white triangle may be stored as the            The scope of the invention is indicated by the appended
     tuning reference data together with the table 1 and the table          claims rather than the foregoing description, and all changes
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                                 19                                                                    20
     that come within the meaning and range of equivalents                   14. An electronic percussion instrumental system as
     thereof are intended to be embraced therein.                         claimed in claim 1, wherein the cushioning material is
        The entire disclosure of Japanese Patent Applications No.         arranged in contact with the flexible material of the head and
     8-193986 filed on Jul. 4, 1996, No. 9-15846 filed on Jan. 13,        with the transducer.
     1997 and No. 9-15847 filed on Jan. 13, 1997 including                   15. An electronic percussion instrumental system com-
     specification, claims, drawings and summary are incorpo-             prising:
     rated herein by reference in their entirety.                            a housing having a generally hollow interior and an end
        What is claimed is:                                                     open to the hollow interior;
        1. An electronic percussion instrumental system compris-             a head composed of a flexible material having openings
     ing:                                                            10         therethrough and supported in a tensioned state over the
        a housing;                                                              open end of the housing to define a percussion surface;
        a head composed of a flexible material having openings                  and
           therethrough and supported by the housing to define a             a cushioning material supported adjacent to the flexible
           percussion surface; and                                              material of the head; and
                                                                     15
        a percussion detector having a cushioning material and a             a transducer, in operable communication with the flexible
           transducer for detecting a percussion impact on the                  material of the head, for detecting a percussion impact
           percussion surface and producing an electric signal                  on the percussion surface and producing an electric
           responsive to the percussion impact.                                 signal responsive to the percussion impact.
        2. An electronic percussion instrumental system as
                                                                     20      16. An electronic percussion instrumental system as
     claimed in claim 1, wherein the flexible material comprises
                                                                          claimed in claim 15, wherein the flexible material comprises
     a net-like material.
                                                                          a net-like material.
        3. An electronic percussion instrumental system as
     claimed in claim 1, wherein the flexible material comprises             17. An electronic percussion instrumental system as
     a plurality of net-like materials.                                   claimed in claim 15, wherein the flexible material comprises
                                                                     25   a plurality of net-like materials.
        4. An electronic percussion instrumental system as
     claimed in claim 1, wherein the flexible material is sup-               18. An electronic percussion instrumental system as
     ported in a tensioned state by the housing.                          claimed in claim 15, wherein the cushioning material is
        5. An electronic percussion instrumental system as                arranged in contact with the flexible material of the head.
     claimed in claim 1, wherein the cushioning material is          30
                                                                             19. An electronic percussion instrumental system as
     arranged in contact with the flexible material of the head.          claimed in claim 15, wherein the flexible material of the
        6. An electronic percussion instrumental system as                head has a central area when supported in the tensioned
     claimed in claim 1, wherein the flexible material of the head        state, and wherein the cushioning material is arranged in
     has a central area when supported by the housing, and                contact with the central area of the flexible material of the
     wherein the cushioning material is arranged in contact with     35
                                                                          head.
     the central area of the flexible material of the head.                  20. An electronic percussion instrumental system as
        7. An electronic percussion instrumental system as                claimed in claim 19, wherein the transducer is in contact
     claimed in claim 6, wherein the transducer is in contact with        with the cushioning material.
     the cushioning material.                                                21. An electronic percussion instrumental system as
        8. An electronic percussion instrumental system as           40   claimed in claim 19, wherein the cushioning material is
     claimed in claim 6, wherein the cushioning material is               arranged between the transducer and the flexible material of
     arranged between the transducer and the flexible material of         the head.
     the head.
                                                                             22. An electronic percussion instrumental system as
        9. An electronic percussion instrumental system as
                                                                          claimed in claim 15, wherein the cushioning material is
     claimed in claim 1, wherein the cushioning mated al is          45   arranged in contact with the flexible material of the head to
     arranged in contact with the flexible material of the head to        transmit an impact force from a percussion impact on the
     transmit an impact force from a percussion impact on the             head and wherein the transducer is arranged to receive an
     head and wherein the transducer is arranged to receive an            impact force transmitted by the cushioning material.
     impact force transmitted by the cushioning material.
                                                                             23. An electronic percussion instrumental system as
        10. An electronic percussion instrumental system as          50
                                                                          claimed in claim 15, wherein the flexible material of the
     claimed in claim 1, wherein the flexible material of the head
                                                                          head has a first surface comprising the percussion surface for
     has a first surface comprising the percussion surface for
                                                                          receiving a percussion impact, wherein the flexible material
     receiving a percussion impact, wherein the flexible material
                                                                          of the head has a second surface facing opposite the first
     of the head has a second surface facing opposite the first
                                                                          surface and wherein the cushioning member is arranged in
     surface and wherein the cushioning member is arranged in        55
                                                                          contact with the second surface.
     contact with the second surface.
        11. An electronic percussion instrumental system as                  24. An electronic percussion instrumental system as
     claimed in claim 10, wherein the cushioning member com-              claimed in claim 23, wherein the cushioning member com-
     prises an elastic material.                                          prises an elastic material.
        12. An electronic percussion instrumental system as          60      25. An electronic percussion instrumental system as
     claimed in claim 10, wherein the cushioning member com-              claimed in claim 23, wherein the cushioning member com-
     prises a material selected from the group consisting of              prises a material selected from the group consisting of
     rubber and sponge material.                                          rubber and sponge material.
        13. An electronic percussion instrumental system as                  26. An electronic percussion instrumental system as
     claimed in claim 1, wherein the openings in the flexible        65   claimed in claim 15, wherein the openings in the flexible
     material of the head are spaced over substantially the entire        material of the head are spaced over substantially the entire
     percussion surface.                                                  percussion surface.
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                                 21                                                                22
       27. An electronic percussion instrumental system as               32. A method as claimed in claim 28, wherein the flexible
     claimed in claim 15, wherein the cushioning material is           material of the head has a central area when supported by the
     arranged in contact with the flexible material of the head and    housing, and wherein supporting a percussion detector com-
     with the transducer.
        28. A method of making an electronic percussion instru-
                                                                       prises supporting the cushioning material in contact with the
     mental system comprising:                                         central area of the flexible material of the head.
        providing a housing;                                              33. A method as claimed in claim 28, wherein supporting
        supporting a head having a percussion surface on the           a percussion detector comprises supporting the transducer is
          housing, the head composed of a flexible material
          having openings therethrough; and                         10
                                                                       in contact with the cushioning material.
        supporting a percussion detector with the housing, the            34. A method as claimed in claim 32, wherein supporting
          percussion detector having a cushioning material and a       a percussion detector comprises supporting the cushioning
          transducer for detecting a percussion impact on the          material between the transducer and the flexible material of
          percussion surface and producing an electric signal
                                                                       the head.
          responsive to the percussion impact.                      15
        29. A method as claimed in claim 28, wherein supporting           35. A method as claimed in claim 28, wherein supporting
     a head comprises supporting a net-like material in a ten-         a percussion detector comprises supporting the cushioning
     sioned state on the housing.                                      material in contact with the flexible material of the head to
        30. A method as claimed in claim 28, wherein supporting        transmit an impact force from a percussion impact on the
     a head comprises supporting a plurality of layers of net-like 20
                                                                       head and arranging the transducer in a location to receive an
     material in a tensioned state on the housing.
        31. A method as claimed in claim 28, wherein supporting        impact force transmitted by the cushioning material.
     a percussion detector comprises supporting the cushioning
     material in contact with the flexible material of the head.                              * * * * *
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                            EXHIBIT B
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     (12)   United States Patent                                                                                                               (10)   Patent No.:     US 6,921,857 B2
            Yoshino et al.                                                                                                                     (45)   Date of Patent:      Jul. 26, 2005


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                                                                                                                                          DE           19625570.8-51               6/1996
     (22)    Filed:         Jul. 25, 2003                                                                                                 JP                2-117569               9/1990

     (65)                  Prior Publication Data                                                                                                              OTHER PUBLICATIONS
             US 2004/0083873 Al May 6, 2004                                                                                               Thirteen (13) Photographs of Syndrum product.

                      Related U.S. Application Data                                                                                       * cited by examiner
                                                                                                                                         Primary Examiner-Jeffrey W Donels
     (60)    Continuation of application No. 09/845,368, filed on Apr.                                                                   (74) Attorney, Agent, or Firm-Foley & Lardner LLP
             30, 2001, now Pat. No. 6,756,535, which is a continuation
             of application No. 09/401,459, filed on Sep. 22, 1999, now                                                                   (57)                         ABSTRACT
             Pat. No. 6,271,458, which is a continuation of application
             No. 09/243,698, filed on Feb. 3, 1999, now Pat. No. 6,121,                                                                   An object of the present invention is to provide a percussion
             538, which is a division of application No. 08/886,180, filed
             on Jul. 1, 1997, now Pat. No. 5,920,026.
                                                                                                                                          detecting apparatus, which is excellent in percussion feeling,
                                                                                                                                          and the percussion sounds of which are very small, in
     (30)          Foreign Application Priority Data                                                                                      electronic percussion instrumental system. The percussion
        Jul. 4, 1996       (JP) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8-193986
                                                                                                                                          detecting apparatus is provided with a head prepared from a
      Jan. 13, 1997        (JP) .. ... ... ... ... .. ... ... ... ... .. ... ... ... ... ... . 9-15846                                    net-like raw material composed of a first net and a second
      Jan. 13, 1997        (JP) .............................................. 9-15847                                                    net, the net-like raw material being obtained by such a
                                                                                                                                          manner that both the nets having been woven in accordance
     (51)    Int. Cl.7 ................................................ GOlD 13/32                                                        with plane weaving manner wherein the longitudinal and
     (52)    U.S. Cl. ............................................ 84/738; 84/414                                                         transverse fibers cross at right angles are laminated in such
     (58)    Field of Search ....................... 84/414, 416, 452 P,                                                                  a way that the weave pattern directions thereof intersect
                                                 84/454, 723, 737, 738, 743                                                               obliquely with each other; and a head sensor which is in
                                                                                                                                          contact with the center position of the under side in the head
     (56)                          References Cited                                                                                       and detects percussion with respect to the head as electric
                                                                                                                                          signal.
                       U.S. PATENT DOCUMENTS
             729,936 A        * 6/1903 Heybeck ...................... 84/414                                                                               24 Claims, 23 Drawing Sheets


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                    60                                                                                                                                                                               52
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      1 0 PERCUSSICN DETECTING APPARATUS                                                                                                     N
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         \.       f 4 HEAD SENSOR

12 HEAD     ~                                 20               22
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                                       AID                   DSP                                                                              =-~

                          \.JJ      ;,.1CONVERTER                                  WAVEFORll MEMORY                                             ~
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                                                                                                       >- CONVERTER I   > TO SOUND SYSTEM
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                                                                US 6,921,857 B2




                                FIG. 2


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                                           FIG. 4




                                      FIG. 5

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                            FIG. 6



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                                                                    FIRST NET

                             -------- SECOND NET
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         FIG. 7 (a)

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          FIG. 7 (b)


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           FIG. 7                        (c)                           74
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                                  FIG_ B




                                 FIG. 9
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                                FIG,, 70


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                                  FIG. 7 7


                                         MA IN ROUTINE


                                                 START



                                             INITIALIZATION    S802


                   TUNING MODE                                      BRUSH PERFORMANCE MODE


        S806                       S812                                          S818
                                       SET DSP TO NORMAL            SET DSP TO BRUSH
         SET DSP TO TUNING MODE        PERFORMANCE MOOE             PERFORMANCE MODE

                                   S814


        SBTO                       S816                                          SB22

          STOP OSP TUNING MODE         STOP DSP NORMAL              STOP DSP BRUSH
                                       PERFORMANCE MODE             PERFORMANCE MODE
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                                               FIG.,             lL
                                       OS? PERCUSSION SIGNAL PROCESSING ROUTINE


                       START
                                     902
                   INPUT SAMPLING
                   DATA S


                                          N


                                    S906
             ...---~----'~-,

                    RESET Tl MER T                     S92
                                     908                   TIMER T INCREMENT
            FIRST HALF-WAVE CDUNT-FLAG
            cf TURN ON                                 S926.

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            ,.._      _.             BTO
                                 __._,.-.,
             MAXIMUM VALUE DETECTION
                                                       CO~PARE  ABSOLUTE VALUES
                                                        OF max llTH SAMPLE DATA S,
                                                        AND U.RGER ONE TO max
             FLAG 111f TURN DN   .                                                              928
                                                                         MAXIMUM     VALUE DETECTION
                                                                         FLAG   ~f   TURN OFF
                                                                                               5930
                                                                        CONVERT ct BY table t TO
                                                                         PERCUSSION POINT POSITIONAL
                                                                        INFORMATION AP
                                                                                               S932
                                                                        CONVERT AP BY table 2 TO
                                                                        PERCUSSION FORCE CORRECTING
                                                                        COEFFICIENT K

                                             S916
                                                                                               5934
                                                                                  v~111axx1<
                             FIRST HALF-WAVE COUNTER
                             ct INCREMENl
                                                                                               S936
                               S918                                    SOUNDING FLAG gf OF CPU TURN
                                                                       ON, AND PERCUSSION POINT
           FIRST HALF-WAVE   COUNT-FLAG                                POSITIONAL INFORMATION AP.
           cf TURN OFF
                                                                       PERCUSSION FORCE INFORl{ATION
                                                                       V SET TO CPU




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                                                                                      END
                 Case 1:17-cv-22405-FAM Document 154 Entered on FLSD Docket 11/02/2018 Page 82 of 275




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                                 FIG. 13 (b}                                FIG. 13 (a)                                                       ~
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                                   (b) OUTPUT IAVEFORll OF HEAD SENSOR.          (a)   POSITION OF PERCUSSION POINT                           =
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                                                                                       POSITION Of PERCUSSION POINT A
                                                                                                I                                             ?-
                                                                                                    POSITION OF PERCUSSION POINT B             N
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                                                                                                             POSITION OF PERCUSSION POINT C    N
                                                                                                                                               c
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POSITION OF PERCUSSION POINT A                                                                                                                 Ul

                                                                          1 2 HEAD
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POSITION OF PERCUSSION POINT B                                                                                                                    N
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                                                                             PERIOD OF TIME FOR FIRST HALF-WAVE VARIE~
                                                                             DEPEHDIHG DH POSITION OF PERCUSSION POIHT                             erJ'J.
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 POSITIOfl OF PERCUSSION POINT C                                                                                                                     N
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                                               MEANS FOR DETECTING POSITION OF                                                                                                c
                                                                                                                  COUNTING ONLY DURING                                        c
                                               PERCUSSION POINT IN HEAD                                                                                                       Ul
                                                                                                               !;"PERIOD OF'"'
~                                                                                    ~~                                                         PERCUSSION POINT POSITIONAL
                                                                                                                                                                               rF.J.
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                                                                                                                                                INFORllATION IN HEAD           'N"""'
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                                             DC CUT
                                             FILTER             LP FILTER
                                                                                     FIRST HALF-IAVE
                                                                                     DETECTION               COUNTER          ARITHMETIC
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                                              FIG. 75

                                           CHARACTERISTIC DIAGRAM OF TABLE I
          FIRST HALF-WAVE
          COUNT VALUE ct
                                                                  HEAD TYPE: SNARE


                                t i 9 ht




                            t
         POSITION OF PERCUSSION                     f
                                     POSITION OF PERCUSSION
                                                                                 PERCUSSION POINT POSITIONAL
                                                                                 INFORMATION AP
         POINT A (CENTER)
                                     POINT B {INTERMEDIATE)
                                                                  POSITION OF PERCUSSION
                                                                  POINT C (OUTER CIRCUMFERENCE)


                                               FIG. 16
                                           CHARACTERISTIC DIAGRAM OF TABLE 2

                                                                  HEAD TYPE: SNARE
         PERCUSSION FORCE                                                  loose
         CORRECTING                                                        medium
         COEFFICIENT K
                                                                           t i g ht




                          t
         POSITION OF PERCUSSION
         POINT A (CENTER)
                                              1
                                POSITION OF PERCUSSION
                                POINT B (INTERMEDIATE)                   l     PERCUSSION POINT POSITIONAL
                                                                               INFORMATION AP
                                                                  POSITION OF PERCUSSION
                                                                  POINT C (OUTER CIRCUMFERENCE)
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                                  FIG. 17
                             TUNING PROCESSING ROUTINE


                                           .START



                                                                         N




                                                                 N



                    S I 4 0 6 ----------.
                                  HEAD CHANGE


                                                                     N


                    s 14   , 0 ......----........___ ___,
                                      tuning CHANGE

                    $1412
                            .--~-----------.
                             SELECT table 1 OR table 2
                             IN ACCORDANCE WITH (head OR
                             tuning), AND SET TO DSP



                    S 14 T4      DISPLAY PERCUSSION. POINT
                                 POSITIONAL INFORMATION
                                 AP SENT FROM DSP

                                                                     N
                           ---JCOldPLETE ?
                                                v
                                           RETURN
         Case 1:17-cv-22405-FAM Document 154 Entered on FLSD Docket 11/02/2018 Page 86 of 275




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                             FIG. 18 (a)
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DISPLAYING COLUMN OF TUNING TYPE                                                                             O'I
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                   DISPLAYING COLUMN OF HEAD TYPE                                                            c
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                                        DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP
                                                MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP   'Jl
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                  2/SNARE        RIM                                                                         '"""'
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                                  TUNING REFERENCE MARK CORRESPONDING TO PERCUSSION                           erJ'J.
                                  POINT POSITIONAL MARK IN HEAD                                               O'I
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                 FIG .. 18 (b)                                                                        ~

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                                                                                                      c
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                                                                                                      Ul
DISPLAYING COLUMN OF TUNING TYPE
        .           DISPLAYING COLUMN OF HEAD TYPE
                                                                                                      'Jl
                      MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP                      =-
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                                    DISPLAYING CCLUMK OF PERCUSStON POINT POSJTIONAL INFORMATION AP   '"""'
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                                      FIG,,          19

                           NORMAL PERFORMANCE PROCESSING ROUTINE



                         START



                                             N




                                                       S16!8
                                                            SET level XV TO SOUND SOURCE
         ST606                                              IC AS LEVEL INFORMATION

                       level CHANGE                    S1620
                                                     CONVERT PERCUSSION POINT POSITIONAL
                                                     INFORMATION AP INTO FILTER COEFFICIENT,
                                                     AND SET TO SOUND SOURCE IC

                                                       S/622
         ST6TO                                               SOUNDING FLAG gf TURN OFF
             tone CHANGE, AND START ADDRESS,
             ENO ADDRESS CORRESPONDING TO
             WAVEFORM DATA SET TO SOUND SOURCE
             IC




                                                                       RETURN



         S1614
           pitch CHANGE. ANO CORRESPONDING
           PITCH INFORMATl ON SET TO SOUND
           SOURCE IC
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                          FIG. 20



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                     FIG. 2 J


                  OPERATIONAL PROCEDURE FOR TUNING OPERATION IN HEAD


                                  START


                             HEAD   TYPE SET


          S1804              TUNING TYPE ·SET


             S1806
                 PERCUSS ON PERCUSSION POINT
                 POSITIONAL MARK IN HEAD

             S180          WATCH DISPLAY UNIT               ENGAGING PIN ADJUST


                                                                y



                                                                .N


                                         y

                                    END
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                                         FIG. 22

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                                      FIG. 2-3



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                        FIG. 24 (a)

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                     FIG. 24 (b)
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                                                         US 6,921,857 B2
                                   1                                                                  2
               ELECTRONIC PERCUSSION                                               OBJECTS AND SUMMARY OF THE
              INSTRUMENTAL SYSTEM AND                                                       INVENTION
           PERCUSSION DETECTING APPARATUS
                                                                           The present invention has been made in view of the
                       THEREIN
                                                                        problems as described above involved in the prior art.
                                                                     5
                                                                        Accordingly, an object of the present invention is to provide
          This is a Continuation Application and claims priority to
                                                                        a percussion detecting apparatus provided with a head as the
     application Ser. No. 09/845,368 filed Apr. 30, 2001 now U.S.
                                                                        percussion surface which is excellent in percussion feeling
     Pat. No. 6,756,535, which in turn is a continuation of
                                                                        and in which the percussion sound is extremely quiet in an
     application Ser. No. 09/401,459 filed Sep. 22, 1999, now
                                                                        electronic percussion instrumental system.
     U.S. Pat. No. 6,271,458, which in turn is a continuation of 10
     application Ser. No. 09/243,698 filed Feb. 3, 1999 now U.S.           Furthermore, another object of the present invention is to
     Pat. No. 6,121,538, which in turn is a divisional of appli-        provide   an electronic percussion instrumental system which
     cation Ser. No. 08/886,180 filed Jul. 1, 1997, now U.S. Pat.       is adapted to be easily capable of correct tuning of the head
     No. 5,920,026, which is based on Japanese Application No.          in the case when the head is tuned on the basis of an
     15846 filed Jan. 13, 1997, Japanese Application No. 15847 15 indication which is suitably given and corresponding to a
     filed Jan. 13, 1997 and Japanese Application No. 8-193986          position of percussion in the head.
     filed Jul. 4, 1996.                                                   Moreover, still another object of the present invention is
                                                                        to provide an electronic percussion instrumental system
                BACKGROUND OF THE INVENTION                             which is adapted to be capable of detecting a correct position
         1. Field of the Invention                                   20 in percussion by correcting variations in tension of the head

        The present invention relates to an electronic percussion       as a result of tuning of the same.
     instrumental system and a percussion detecting apparatus in           An yet further object of the present invention is to provide
     the electronic percussion instrumental system, and more            an electronic percussion instrumental system which is
     particularly to an electronic percussion instrumental system       adapted to make clear a position of percussion in the head in
     which simulates a percussion instrument such as acoustic 25 case of tuning operation to display the tuning state, whereby
     drum sounding musical tone as a result of percussing it with       the tuning operation can be carried out while confirming the
     sticks or the like by a player and a percussion detecting          state, so that anybody can easily conduct such tuning opera-
     apparatus in the electronic percussion instrumental system.        tion without requiring any sense of skilled user.
        2. Description of the Related Art                                  In order to achieve the above described objects, the
                                                                     30
        Heretofore, in an electronic percussion instrumental sys-       present invention is characterized by a percussion detecting
     tem such as electronic drum simulating acoustic drum, a            apparatus in electronic percussion instrumental system com-
     percussion detecting apparatus provided with a surface to be       prising a head the percussion surface of which is composed
     percussed being generally called by the name of "percussion        of a net-like raw material; and a percussion detecting means
     pad" is utilized as a means for detecting percussion.              being in contact with the center position of the aforesaid
                                                                     35
        As such a percussion detecting means as described above,        head and detecting percussion with respect to the aforesaid
     for example, the percussion detecting apparatus disclosed in       head as electric signal.
     Japanese Patent Laid-open No. 44357/1996 has been known.              Therefore, in accordance with the present invention, since
     In the percussion detecting apparatus disclosed in Japanese        the percussion surface of the head is composed of a net-like
     Patent Laid-open No. 44357/1996, the percussion surface is 40 raw material, extremely good percussion feeling can be
     formed by covering a plate-like case with a material of a soft     obtained because of the elasticity of the net-like raw mate-
     high-molecular compound.                                           rial. Besides, since air passes through the openings of
        However, in such percussion detecting apparatus wherein         stitches in the net-like raw material, percussion sound in
     the percussion surface is formed by covering the plate-like        case of percussing the head becomes extremely small.
     case with a soft high-molecular compound material, there is 45        Furthermore, the present invention is characterized by an
     such a problem that repulsive feeling at the time of per-          electronic percussion instrumental system which detects
     cussing the percussion surface is remarkable, so that good         percussion as electric signal and generates musical tone
     percussion feeling cannot be obtained. In addition, the above      based on the electric signal thus detected comprising a head
     described percussion detecting apparatus involves also such        the percussion surface of which to be percussed is tunable;
     a problem that there is a fear of disturbing the performance 50 a percussion detecting means for detecting percussion upon
     by the percussion sound, because the percussion sound              the aforesaid head as electric signal; a means for detecting
     generated at the time when the percussion surface is per-          a position of percussion point for performing arithmetic
     cussed is significant.                                             computations by inputting the electric signal detected by
        On one hand, it has been proposed to utilize, as a              means of the aforesaid percussion detecting means to detect
     percussion detecting means, a percussion surface, the ten- 55 percussion point positional information; and a display means
     sion of which can be adjusted and is called by the name of         for effecting a display corresponding to the percussion point
     "head" in acoustic drum, which is further provided with a          positional information detected by the aforesaid means for
     sensor for detecting percussion.                                   detecting a position of percussion point.
        In the present specification, adjustment for tension of a          Therefore, in accordance with the present invention, since
     percussion surface which is adjustable as in the head of 60 a display corresponding to the percussion point positional
     acoustic drum will be called by the term "tuning".                 information is effected by means of the display means, the
        In the case when the head of acoustic drum is served for        head can be tuned while observing visually the resulting
     a percussion detecting means as described above, there is          display, so that correct tuning of the head can easily be
     such a problem that although percussion feeling is excellent       realized.
     in this case because the head for the acoustic drum is utilized 65    Moreover, the present invention is characterized by an
     as it is, the percussion sound becomes remarkable so that it       electronic percussion instrumental system comprising fur-
     disturbs the performance.                                          ther an arithmetic computation compensating means for
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     compensating the arithmetic computations in the aforesaid              FIGS. 13(a) and 13(b) are explanatory views for charac-
     means for detecting the position of percussion point in             teristic properties of a head composed of a net-like raw
     response to a tuning state of the aforesaid head.                   material wherein FIG. 13(a) shows the positions of percus-
        Therefore, in accordance with the present invention, the         sion point, and FIG. 13(b) shows the output waveforms,
     arithmetic computations for detecting the percussion point 5        respectively;
     positional information in response to tuning of the head are           FIG. 14 is a functional block diagram showing the con-
     compensated, the position of percussion point is also com-          stitution of a means for detecting the position of percussion
     pensated in response to tuning of the head, whereby it              point in a DSP in a normal performance mode;
     becomes possible to display the correct position of percus-            FIG. 15 is an explanatory diagram showing the charac-
     sion point.                                                    10   teristic properties of table 1;
        Still further, the present invention is characterized by an         FIG. 16 is an explanatory diagram showing the charac-
     electronic percussion instrumental system which detects             teristic properties of table 2;
     percussion as electric signal and generates musical tone               FIG. 17 is a flowchart of a tuning processing routine
     based on the electric signal thus detected comprising a             executed by the CPU;
     tunable head; a means for detecting a position of percussion 15
     point for detecting the position of percussion point upon the          FIGS. 18(a), 18(b), and 18(c) are explanatory diagrams
     aforesaid head; and a display means for effecting a display         showing examples of display mode in percussion point
     in response to the results detected by the aforesaid means for      positional information AP by means of a display unit
     detecting the position of percussion point; a percussion point      wherein FIG. 18(a) shows the first displaying example, FIG.
     positional mark for tuning being provided on the aforesaid 20       18(b) shows the second displaying example, and FIG. 18(c)
     head.                                                               shows figures indicating a variety of the percussion point
                                                                         positional information AP in the display column for the
        Therefore, in accordance with the present invention, since       percussion point positional information AP in FIG. 18(b),
     a tuning operation can be conducted by a user in accordance         respectively;
     with such a manner that a place marked with a percussion 25
     point positional mark is percussed by the user, and the result         FIG. 19 is a flowchart of a normal performance processing
     detected at that time by the position of percussion point           routine executed by the CPU;
     detecting means is confirmed while watching the display                FIG. 20 is a schematic top view of a percussion detecting
     means, tuning operation can simply be carried out without           apparatus showing an example of percussion point posi-
     relying upon user's sense.                                          tional mark displayed on the top of a head;
                                                                    30
                                                                            FIG. 21 is a flowchart showing a typical operational
           BRIEF DESCRIPTION OF THE DRAWINGS                             procedure for the tuning operation of a head;
        The present invention will become more fully understood             FIG. 22 is a perspective view showing a modified
     from the detailed description given hereinafter and the             example of the percussion detecting apparatus correspond-
     accompanying drawings which are given by way of illus- 35           ing to FIG. 2;
     tration only, and thus are not !imitative of the present               FIG. 23 is a perspective view showing a modified
     invention, and wherein:                                             example of the percussion detecting apparatus correspond-
        FIG. 1 is a constitutional block diagram showing an              ing to FIG. 2;
     example of manner of practice of the electronic percussion             FIGS. 24(a) and 24(b) are schematic top views of a
     instrumental system according to the present invention;       40    percussion detecting apparatuses each showing an example
        FIG. 2 is a perspective view showing a percussion detect-        of percussion point positional mark displayed on the top of
     ing apparatus;                                                      the head wherein FIGS. 24(a) and 24(b) show different
        FIG. 3 is a sectional view taken along the line III-III of       examples from each other; and
     FIG. 2;                                                                FIG. 25 is an explanatory view showing another example
                                                                   45
        FIG. 4 is a perspective view showing a head;                     of display mode in the percussion point positional informa-
                                                                         tion AP by means of a display unit.
        FIG. 5 is a perspectively exploded view of the head;
        FIG. 6 is an explanatory view showing a case where                       DETAILED DESCRIPTION OF THE
     directions in weave patterns of a first net and a second net                    PREFERRED EMBODIMENTS
     intersect obliquely;                                          50
        FIGS. 7(a), 7(b), and 7(c) are explanatory views wherein         An example of manner of practice of the electronic
     FIG. 7(a) is a fragmentary view taken in the direction of the    percussion instrumental system and the percussion detecting
     arrow Aof FIG. 7(b), FIG. 7(b) is a front view, and FIG. 7(c)    apparatus in the electronic percussion instrumental system
     is a fragmentary view taken in the direction of the arrow C      according  to the present invention will be described in detail
                                                                   55 hereinafter in conjunction with the accompanying drawings.
     of FIG. 7(b), respectively.
        FIG. 8 is a sectional view corresponding to FIG. 3 in the        FIG. 1 is a constitutional block diagram showing an
     case when the head is percussed with a stick;                    example   of manner of practice of the electronic percussion
                                                                      instrumental system according to the present invention
        FIG. 9 is a sectional view corresponding to FIG. 3 in the
                                                                      wherein the electronic percussion instrumental system com-
     case when the rim is percussed with a stick;
                                                                   60 prises a percussion detecting apparatus 10 provided with a
        FIG. 10 is a sectional view corresponding to FIG. 3 in the    head sensor 14 functioning as a percussion detecting means
     case when the head is either brushed or percussed with a         for detecting percussion applied to a head 12 the surface of
     brush;                                                           which is composed of a net-like raw material which will be
        FIG. 11 is a flowchart of the main routine executed by a      described hereunder, and a rim-shot sensor 18 for detecting
     CPU;                                                          65 percussion applied to a rim 16; an analog-to-digital (ND)
        FIG. 12 is a flowchart of a DSP percussion signal pro-        converter 20 which performs analog-to-digital conversion of
     cessing routine executed by the DSP;                             the detected signals output from the head sensor 14 and the
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     rim-shot sensor 18 in time-sharing manner and inputs the          of the first net 56 crosses obliquely that of the second net 58"
     converted signals to a DSP 22 which will be mentioned             means that when the first net 56 wherein the longitudinal and
     hereinafter; the DSP 22 which detects the percussion applied      transverse fibers cross at right angles is superposed on the
     to the head 12, the intensity thereof, the position of percus-    second net 58 wherein the longitudinal and transverse fibers
     sion from the detected signals which are derived from the 5 cross at right angles, adjacent fibers in the first net 56 and the
     head sensor 14 and which were input from the analog-to-           second net 58 thus superposed intersect with each other at an
     digital converter 20 as well as performance by means of a         angle a which is smaller than 90 degrees as shown in FIG.
     brush, and in addition, the DSP detecting also the percussion     6.
     applied to the rim 16 and the intensity thereof from the
                                                                          Moreover, on the top of the head 12 is provided a
     detected signals which are derived from the rim-shot sensor 10
                                                                       percussion point positional mark M which is formed with a
     18 and which were input from the analog-to-digital con-
                                                                       circular contour by means of printing as shown in FIG. 20
     verter 20 to supply the results thus detected to a CPU 24
                                                                       and which is used in case of tuning operation.
     which will be described hereunder; the CPU 24 which
     supplies the output from the DSP 22 to a sound source IC 34,         Furthermore, the rim 16 is prepared by integrally molding
     which will be undermentioned, wherein the output is con- 15 a metallic material and is composed of a flange portion 66
     verted into required performance information, as well as          which is positioned around the outer circumference of the
     detects operations of a group of operation keys 30 which will     rim and has hole potions 64 into each of which an engaging
     be mentioned hereinafter, and controls the DSP 22; a read         pin 54 can be inserted, and a rim percussion portion 68
     only memory (ROM) 26 storing a program or the like which          which is ascendingly formed and extended from the flange
     is to be executed by the CPU 24, a random access memory 20 portion 66 around the inner circumference thereof. The top
     (RAM) 28 functioning as a working area required for               of the rim percussion portion 68 is covered with a covering
     executing the program by means of the CPU 24; the group           member 70 made from an elastic material such as rubber,
     of operation keys 30 including mode selecting keys for            sponge and the like.
     setting normal performance mode, brush performance mode              A manner for fixing the head 12 and the rim 16 to the
     or tuning mode, keys for selecting tone color or setting level 25 barrel section 50 each of them having the structure described
     or the like, and the like keys; a display unit 32 for displaying  above is such that the head 12 is first put on the barrel section
     an operation mode selected by a key in the group of               50, then, the rim 16 is put on the head 12, and the positions
     operation keys 30, tone colors required for the tone color        of them are adjusted in such a way that each hole portion 64
     selection, and a tuning state in case of tuning mode; the         of the rim 16 communicates with each tapped hole defined
     sound source IC 34 which reads a waveform memory 36 30 on each engaging portion 52 of the barrel section 50.
     which will be undermentioned on the basis of performance          Thereafter, each engaging pin 54 is inserted into each hole
     information from the CPU 24 to form digital musical tone          portion 64 of the rim 16 as well as into each tapped hole
     signals and outputs the signals thus formed to a digital-to-      defined on each engaging portion 52 of the barrel section 50,
     analog (DIA) converter 38 which will be described hereun-         and the thread ridge of each engaging pin 54 is threadedly
     der; the waveform memory 36 storing sampling waveform 35 combined with the thread groove in each engaging portion
     data for forming the musical tone signals; and the digital-       52 of the barrel section 52, so that the head 12 and the rim
     to-analog converter 38 for converting digital musical tone        16 are forcedly fixed to the barrel section 50 by means of the
     signals supplied from the sound source IC 34 into analog          locking projection 54a of each engaging pin 54.
     musical tone signals to output the signals thus converted to         More specifically, with the progress of screwing each
     a sound system composed of an amplifier, a speaker and the 40 engaging pin 54 in the tapped hole in each engaging portion
     like.                                                             52 of the barrel section 50, the flange portion 66 of the rim
        Then, the constitution of the percussion detecting appa-       16 is pressed downwards in FIG. 3 by means of each locking
     ratus 10 will be described by referring to FIG. 2 being a         projection 54a, so that the frame 60 of the head 12 is also
     perspective view showing the percussion detecting appara-         pressed downwards through the flange portion 66. As a
     tus 10 and FIG. 3 being a sectional view taken along the line 45 result, the first net 56 and the second net 58 the downward
     III-III of FIG. 2.                                                movement of which are restricted by an upper end portion
        The percussion detecting apparatus 10 contains a cylin-        50a of the barrel section 50, respectively, are stretched over
     drical barrel section 50, and around the outer circumference      the barrel section 50 with a prescribed tension. Thus, when
     of the barrel section 50 are formed protrusively engaging         an amount of screwing each engaging pin 54 in each tapped
     portions 52 each having a tapped hole (not shown) provided 50 hole defined on each engaging portion 52 of the barrel
     with a thread groove (not shown) with a prescribed interval       section 50 is adjusted, the tension of the first net 56 and the
     along the diametrical direction of the barrel section. Into the   second net 58 can be arbitrarily controlled, whereby tuning
     engaging portion 52 is screwed an engaging pin 54 on which        of the head 12 can be carried out.
     is formed a thread ridge to be combined with the thread              Furthermore, a head sensor supporting material 72 is
     groove formed on the engaging portion 52, so that the head 55 placed in the barrel section 50 in such that the head sensor
     12 and the rim 16 are fixed to the barrel section 50 through      supporting material 72 intersects the position of the axial
     the engaging pin 54. Furthermore, a locking projection 54a        center of the barrel section 50. A head sensor 14 is bonded
     for locking the rim 16 is formed on the engaging pin 54.          to the top of the head sensor supporting material 72 at the
        The head 12 is prepared as shown in FIGS. 4 and 5 in such      central portion thereof by means of a cushioning double-
     a manner that a net-like raw material composed of a first net 60 coated tape 78 which will be described hereinafter so as to
     56 and a second net 58, each of which is woven in accor-          be in contact with the second net 58. In other words, the head
     dance with plane weave wherein the longitudinal and trans-        sensor 14 is disposed on the under surface of the net-like raw
     verse fibers cross at right angles, are laminated to one          material composed of the first net 56 and the second net 58
     another so as to cross obliquely their longitudinal and           in the head 12 at the center thereof in contact therewith.
     transverse weave pattern directions, and the net-like raw 65         As shown in FIGS. 7(a), 7(b), and 7(c), the head sensor
     material thus arranged is bonded to a frame 60. It is to be       14 is provided with a disc-shaped piezoelectric element 76
     noted herein that the expression "the weave pattern direction     containing wires for output signal 74, and to the under
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     surface of the piezoelectric element 76 is bonded the cush-             Moreover, since the cushioning member 80 of the head
     ioning double-coated tape 78. A diameter of the cushioning           sensor 14 is in contact with the under surface of the center
     double-coated tape 78 is made to coincide with an node               of the second net 58 of the head 12, oscillation of the head
     diameter of the piezoelectric element 76.                            12 attenuates rapidly so that the output signal attenuates also
         Furthermore, to the top of the piezoelectric element 76 is 5 rapidly, whereby erroneous detecting operation in case of
     bonded a frustoconical cushioning member 80 made from an             percussing the head 12 in a rapid and repeated manner is
     elastic material such as rubber, sponge and the like. The            prevented.
     cushioning member 80 has a bottom surface of a larger                   Further, since the cushioning member 80 bonded to the
     diameter than that of the piezoelectric element 76, the cross
                                                                          top of the piezoelectric 76 of the head sensor 14 is in contact
     section of which tapers off upwardly, and it is in contact with
                                                                       10 with the second net 58 of the head 12 at the site of the
     the second net 58 at the extreme end of the cushioning
     member 80 of a thin diameter.                                        frustoconical extreme end portion having a thin diameter
                                                                          and a small area, vibrations of percussion in the head 12 are
         Moreover, in the vicinity of the rim percussion portion 68
     disposed on the upper portion inside the barrel section 50 is        hardly   transmitted directly to the piezoelectric element 76,
     bonded the rim-shot sensor 18 by means of the cushioning             so  that damage   of the piezoelectric element 76 is suppressed.
                                                                       15    In addition, since a diameter of the cushioning double-
     double-coated tape 78. The rim-shot sensor 18 is provided
     with the disc-shaped piezoelectric element 76 containing             coated tape 78 bonded to the under surface of the piezo-
     wires for output signal 74, and to the under surface of the          electric element 76 is made to be equal to the node diameter,
     piezoelectric element 76 is bonded the cushioning double-            sensitivity of the piezoelectric element 76 increases, so that
     coated tape 78. The diameter of the cushioning double-               delicate variations in the oscillation due to differences in
     coated tape 78 is made to coincide with the node diameter 20 positions percussed can be more precisely detected.
     of the piezoelectric element 76.                                        Still further, since air passes through openings of stitches
         Namely, in the electronic percussion instrumental system         in the net-like raw material composed of the first net 56 and
     according to the present invention, a member obtained by             the second net 58, percussion sound in the case when the
     removing the cushioning member 80 from the head sensor               head 12 is percussed is extremely small. Such percussion
                                                                       25
     14 is used as the rim-shot sensor 18, whereby improvements           sound in case of percussing the head 12 is dependent upon
     in efficiency of parts to be used are intended.                      a ratio of openings in the net-like-raw material composed of
         In this electronic percussion instrumental system, a vari-       the first net 56 and the second net 58, and therefore, the
     ety of heads 12 having different diameters as well as a              higher ratio of openings brings about the smaller percussion
     variety of the barrel sections 50 being adapted for such 30 sound. However, an excessive ratio of openings results in
     various heads and the like members are prepared, whereby             low tension of the first net 56 and the second net 58 so that
     a size of the head 12 is suitably changed.                           the percussion feeling deteriorates. Accordingly, it is pre-
         In the constitution as described above, when the head 12         ferred to suitably keep a balance between the percussion
     is percussed with a stick 100 (see FIG. 8), the head sensor          feeling and the ratio of openings.
     14 detects the percussion, while when the rim 16 is per- 35             Yet further, since the rim 16 is covered with the covering
     cussed with the stick 100 (see FIG. 9, but it is to be noted         member 70, the percussion sound in case of percussing the
     that both the head 12 and the rim 16 are percussed with the          rim 16 is also reduced.
     stick 100 in FIG. 9), the rim-shot sensor 18 detects the                In this respect, the oscillation in case of percussing the rim
     percussion. Further, when the head 12 is brushed or per-             16 is mostly transmitted to the barrel 50, the performance
     cussed with a brush 102 (see FIG. 10), the head sensor 14 40 played by percussing the rim 16 can be controlled in
     detects the contact of the brush 102 with the head 12.               accordance with output waveforms in the rim-shot sensor 18
         In these circumstances, when the head 12 is percussed            attached to the barrel 50.
     with the stick 100, extremely good percussion feeling                   In the following, electrical processing contents in the
     closely resembling the percussion feeling in the case when           electronic percussion instrumental system according to the
     the head of an acoustic drum is percussed can be obtained 45 present invention will be described by referring to the
     because of the elasticity of a net-like raw material composed        accompanying flowcharts.
     of the first net 56 and the second net 58.                              FIG. 11 is a flowchart of the main routine executed by the
         In addition, since the first net 56 and the second net 58        CPU 24 wherein when the power is turned on, first,
     which have been woven in accordance with plane weaving               memories, registers and the like are initialized (step S802).
     manner wherein the longitudinal and transverse fibers cross 50          Then, it is judged which operational mode has been set,
     at right angles are laminated obliquely with each other in the       i.e., it is judged whether a tuning mode which changes
     net-like raw material, the tension is uniformized over the           percussion feeling of the head 12 by adjusting tension in the
     whole surface of the net-like raw material, so that there is         net-like raw material of the head 12, or a normal perfor-
     little variations in percussion feeling due to differences in the    mance mode which sounds percussion instrumental sounds
     position percussed, and as a result, output waveforms from 55 by detecting percussion upon the head 12 and percussion
     the head sensor 12 become the ones which are easily                  upon the rim 16, or a brushing performance mode which
     processed.                                                           sounds percussion instrumental sounds by detecting either
         As described above, performance played by percussing             brushing or percussing the head 12 with the brush 102 has
     the head 12 is controlled by output waveforms from the head          been established (step S804) by supervising an operational
     sensor 14 being in contact with the under surface of the 60 state of mode selecting keys of the group of operation keys
     center in the first net 56 and the second net 58 of the head         30.
     12. In this respect, since the head sensor 14 is positioned at          As a result, when it has been judged that the tuning mode
     the center of the first net 56 and the second net 58 of the head     had been set in the step S804, the DSP 22 is set to the tuning
     12, variations in output waveforms due to differences in the         mode, whereby the DSP 22 is adapted to be set so as to
     position of the head 12 percussed become concentric circu- 65 execute the DSP percussion signal processing routine shown
     lar form, so that variations in tone color simulating acoustic       in FIG. 12 (step S806). Thereafter, the tuning processing
     drum are easily expressed.                                           routine executed by the CPU 24 shown in FIG. 17 is
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     executed (step 5808), then, processing for stopping the             filter for removing DC component. The DC component of
     tuning mode by means of the DSP 22 is conducted (step               the detection signal thus input to the DC cut filter is
     5810), and the procedure returns to the step 5804.                  removed, and is input to a low pass filter (LP filter) removing
         On one hand, when it has been judged that the normal            unnecessary high pass component. Then, the detection sig-
     performance mode had been set in the step 5804, the DSP 22 5 nal from which unnecessary high pass component has been
                                                                         removed is input to a first half-wave detection circuit. The
     is set to the norms performance mode, whereby the DSP 22
                                                                         first half-wave detection circuit detects the leading edge of
     is adapted to be set so as to execute the DSP percussion
                                                                         waveform of the detection signal thus input and the first zero
     signal processing routine shown in FIG. 12 (step 5812).             cross, whereby the first half-wave is detected. A counter
     Thereafter, the normal performance processing routine by            operates for counting during only a period wherein the first
     the CPU 24 shown in FIG. 19 is executed (step 5814), then, 10 half-wave detection circuit detects first half-wave, and an
     processing for stopping the normal performance mode in the          arithmetic circuit calculates the position of percussion point
     DSP 22 is conducted (step 5816), and the procedure returns          from the count value of the counter. The position of percus-
     to the step 5804.                                                   sion point thus calculated is input to the CPU 24 as percus-
         On the other hand, when it has been judged that the             sion point positional information in head.
     brushing performance mode had been set in the step 5804, 15             The DSP percussion signal processing routine will be
     the DSP 22 is set to the brushing performance mode (step            described herein in detail by referring to FIG. 12 wherein
     5818). Thereafter, the brushing performance processing              this DSP percussion signal processing routine is executed
     routine by the CPU 24 is executed, then, processing for             repeatedly    in every sampling periods of the analog-to-digital
     stopping the brushing performance mode in the DSP 22 is             converter 12.
     conducted (step 5816), and the procedure returns to the step 20         It is to be noted that since the above described functional
                                                                         block diagram shown in FIG. 14 indicates only the function
     5804. It is to be noted that since the processing for brushing
                                                                         for detecting percussion point positional information in
     performance mode is not related to the subject matter of the
                                                                         head, a function for detecting percussion force information
     present invention, the detailed description therefor will be        shown in FIG. 12 has been omitted. Furthermore, the
     omitted.
                                                                      25 functions for DC cut filter and LP filter shown in FIG. 14 are
        In the following, the DSP percussion signal processing           considered in FIG. 12 to be included in the processing for
     routine executed by the DSP 22 shown in FIG. 12 will be             inputting sampling data S (step 5902), so that the clear
     described, and the this processing is based on the following        indication thereof is omitted for simplifying the flowchart.
     characteristic features.                                                In the DSP percussion signal processing routine, the
         Namely, when detection signal of the head sensor 14 in 30 sampling data S is first input (step 5902), and it is judged
     the case when the head 12 composed of a net-like raw                whether the leading edge has been detected or not (step
     material is percussed is observed, there is such a character-       5904). In the case where it was judged that the leading edge
                                                                         had been detected, a timer Tis reset (step 5906), then, a first
     istic that a first half-wave time changes dependent on a
                                                                         count flag cf is turned ON (step 5908), and a maximum
     position of percussion point in a certain frequency band.
                                                                         value detection flag mf is turned ON (step 5910).
     More specifically, as shown in FIGS. 13(a) and 13(b), when 35           The detection of leading edge in the step 5904 may be
     the first half-wave time in the case where the center of the        conducted specifically by either a manner wherein a differ-
     head 12 is percussed (position of percussion point A), the          ence between the present sampling data S and the preceding
     first half-wave time in the case where the outer circumfer-         sampling data is determined, and if the difference is higher
     ence of the head 12 is percussed (position of percussion            than the prescribed value which has been previously set, it
     point C), and the first half-wave time in the case where the 40 is judged that there was a leading edge, or a well-known
     intermediate point defined between the center and the outer         manner for detecting leading edge of input signal.
     circumference of the head 12 is percussed (position of                  Furthermore, the timer T is a means for measuring a
     percussion point B) are represented by TA, T 0 and TB,              prescribed period of time for detecting the maximum value
     respectively, the relationship between them is expressed as         of detection signal wherein the prescribed period of time is
     follows.                                                         45 decided by a register time for storing the time which has
                                                                         been previously set.
                                                                             The first half-wave count flag cf is a flag representing
        As described above, when the head 12 composed of a               whether counting processing for the first half-wave counter
     net-like raw material is percussed, with the movement of            ct is to be made or not. When the first half-wave count flag
     position of the percussion point from the center to the outer 50 cf has been turned ON, the counting processing for the first
     circumference, a first half-wave time shortens gradually.           half-wave counter ct is made, while the counting processing
         On one hand, when tuning of the head 12 is made high,           for the first half-wave counter ct is not made in the case
     i.e., tension of the head 12 is increased, the first half-wave      when the first half-wave count flag cf has been turned OFF.
     times TA, TB, and Tc shorten, respectively, while maintain-             A maximum value detection flag mf is a flag representing
     ing the relationship "TA> TB> Tc". On the other hand, when 55 whether detection processing for the maximum value of
     tuning of the head 12 is made low, i.e., tension of the head        input data is to be made or not. When the maximum value
     12 is decreased, the first half-wave times TA, TB, and Tc           detection flag mf has been turned ON, the detection pro-
     lengthen, respectively, while maintaining the relationship          cessing for the maximum value is made, while the detection
     "TA> TB> Tc"·                                                       processing for the maximum value is not made, in the case
        FIG. 14 is a functional block diagram showing the con- 60 when the maximum value detection flag mf has been turned
     stitution of a means for detecting the position of percussion       OFF.
     point in a DSP 22. The outline of DSP percussion signal                 In either the case where the processing in step 5910 has
     processing routine will be described by referring to FIG. 14.       been completed or the case where it has been judged that the
     A detection signal detected by the head sensor 14 is sub-           leading edge had not been detected in the step 5904, the
     jected to analog-to-digital conversion by means of the 65 procedure proceeds to step 5912 wherein it is judged
     analog-to-digital converter 20, and the signal thus converted       whether or not the first half-wave count flag has been turned
     is input to a DC cut filter. The DC cut filter means a high pass    ON.
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      It is to be noted herein that the step S912, step S914, step        the present electronic percussion instrumental system. On
   S916, and step S918 relate to first half-wave count process-           one hand, the tuning type is decided in accordance with a
   ing. In other words, the first half-wave count flag cf is turned       tuning state of the head 12, i.e., in response to tension of the
   ON from the step S912, and the first half-wave counter ct is           head 12 so that "loose", "medium" and "tight" are estab-
   incremental until the first half-wave is completed.                  5 lished in the present electronic percussion instrumental
      More specifically, when it is judged that the first half-           system.
   wave count flag has not been turned ON, i.e., the first                   As described above, since three kinds of the head type and
   half-wave count flag has been turned OFF, the procedure                three kinds of the tuning type have been established in the
   jumps to step S920 without accompanying the processing in              present electronic percussion instrumental system, so that
   the step S914, the step S916, and the step S918.                    10 the table 1 of total nine kinds is provided. In FIG. 15,
      On the other hand, when it is judged that the first                 characteristics of the respective tuning types of loose,
   half-wave count flag has been turned ON in the step S912,              medium, and tight are indicated in the case where the head
   it is judged whether or not the first half-wave has been               type is SNARE in respect of the table 1. A position of
   completed (step S914). Then, when it is judged that the first          percussion point A (center), a position of percussion point B
   half-wave has not been completed, the first half-wave               15 (intermediate), and a position of percussion point C (outer
   counter ct is made incremental (step S916), while when it is           circumference) in the percussion point positional informa-
   judged that the first half wave has been completed, the first          tion AP correspond to the position of percussion point A, the
   half-wave count flag cf is turned ON (step S918), and the              position of percussion point B, and the position of percus-
   procedure proceeds to the step S920.                                   sion point C in FIG. 10, respectively.
      The completion of the first half-wave in the step S914           20    When completed the processing in the step 930, the
   corresponds to a point of time where the sampling data cross           procedure proceeds to step S932 wherein the percussion
   0 (zero). Judgment whether the sampling data have crossed              point positional information AP is converted into a percus-
   0 (zero) or not may be made at the point of time when sign             sion force correcting coefficient K by employing a table 2
   of the sampling data S turns, the contents of the judgment             which is a percussion force correcting table for converting
   being such that the sampling data have crossed 0 (zero).            25 the percussion positional information AP obtained in the step
      In the step S920, it is judged whether the maximum value            S930 into the percussion force correcting coefficient K (step
   detection flag mf has been turned ON or not, and as a result,          S932).
   when it is judged that the maximum value detection flag mf                It is to be noted herein that the table 2 which is the
   has not been turned ON, i.e., it is judged that the maximum            percussion force correcting table for converting the percus-
   value detection flag mf has not been turned OFF, the DSP            30 sion positional information AP is selected in response to
   percussion signal processing routine is completed without              head type and tuning type as in the case of the table 1.
   taking a further step any more.                                           As described above, since three kinds of the head type,
      On the other hand, when it is judged that the maximum               i.e., TOM 1, TOM 2, and SNARE as well as three kinds of
   value detection flag mf has been turned ON, it is further              the tuning type, i.e., "loose", "medium, and "tight" have
   judged whether or not a timer T is larger than the register         35 been established in the present electronic percussion instru-
   time (step S922).                                                      mental system, so that the table 2 of total nine kinds is
      As a result, when the timer T is equal to or less than the          provided.
   register time, in other words, during a period where the                  In FIG. 16, characteristics of the respective tuning types
   maximum value detection flag mf has been turned ON and                 of loose, medium, and tight are indicated in the case where
   the timer Tis equal to or less than the register time in the step   40 the head type is SNARE in respect of the table 2. A position
   S922, the maximum value detection processing is executed               of percussion point A (center), a position of percussion point
   in step S924 and step S926.                                            B (intermediate), and a position of percussion point C (outer
      More specifically, the timer T is made incremental (step            circumference) in the percussion point positional informa-
   S924), the maximum value max is compared with the                      tion AP correspond to the position of percussion point A, the
   absolute value of the sample data S to rewrite the larger           45 position of percussion point B, and the position of percus-
   value into the maximum value max (step S916), and the DSP              sion point C in FIG. 10, respectively.
   percussion signal processing routine is completed.                        For instance, in the example shown in FIG. 16, when the
      Therefore, the maximum value max corresponds to the                 tuning type is loose, "K=l" in the position of percussion
   maximum value of a percussion signal within a prescribed               point A (center), "K=4/3" in the position of percussion point
   time and decided by the register time.                              50 B (intermediate), and "K=3" in the position of percussion
      Furthermore, when the maximum value detection pro-                  point C (outer circumference).
   cessing is completed as a result of such judgment that the                These head types and tuning types may be represented by
   timer T is larger than the register time in the step S922, the         numerical values, and further the table 1 as well as the table
   maximum value detection flag mf is turned OFF (step S928).             2 are not limited to the nine kinds, respectively.
      Then, the first half-wave counter ct is converted into a         55    When the processing in the step S932 is completed, the
   percussion point positional information AP by employing                procedure proceeds to step S934 wherein compensation
   table 1 which is a percussion point positional table for               arithmetic processing in which the maximum value max is
   converting a first half-wave count value being a value of the          multiplied by the percussion force correcting coefficient K is
   first half-wave counter ct into the percussion point positional        conducted to calculate compensated percussion force infor-
   information AP (step S930).                                         60 mation V.
      It is to be noted herein that the table 1 which is a                   When completed the step S934, the procedure proceeds to
   percussion point positional table for converting a first half-         step S936 wherein a sounding flag gf in the CPU 24 is turned
   wave count value being a value of the first half-wave counter          ON, the percussion point positional information AP and the
   ct into the percussion point positional information AP is              percussion force information V are set in the CPU 24, and
   selected in accordance with head type or tuning type.               65 the DSP percussion signal processing routine is completed.
      The head type is decided in response to a size of the head             Then, the tuning processing routine executed by the CPU
   12 so that TOM 1, TOM 2, and SNARE are established in                  in the step S808 will be described by referring to FIG. 17.
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      In this tuning processing routine, it is judged whether or       point positional information AP, the position thus decided is
   not there was an indication of change in a head type or a           indicated by a black triangle.
   tuning type by operating a head type setting operation key             Furthermore, the tuning reference mark represented by a
   (key for setting the head type) or a tuning type setting            white triangle shows a position corresponding to the per-
   operation key (key for setting the tuning type) contained in 5 cussion point positional mark M indicated in the head 12
   the group of operation keys 30 (step Sl402). At the time of         shown in FIG. 20 as described above. Namely, since the
   turning on the power, a register head storing a head type and       percussion point positional mark M shown in FIG. 20 is
   a register tuning storing a tunig type are also set in response     indicated at the position of intermediate point between the
   to the initialized state of the head type setting operation key     center "CENTER" and the rim 16 (RIM) in the head 12, the
                                                                       tuning reference mark represented by a white triangle is also
   and the tunig type setting operation key in accordance with 10
                                                                       indicated at the intermediate point between the "CENTER"
   the processing of initialization in the step S802, respectively.
                                                                       and the "RIM" in FIG. 18(a).
      After such judgement that change of head type or tuning             The manner for displaying the percussion point positional
   type had been indicated by the operation of the head type           information AP on the display 32 is not limited to the
   setting key or the tuning type setting key of the group of          examples shown in FIGS. 18(a), 18(b), and 18(c), but it may
   operation keys 30 in the step Sl402, it is judged whether or 15 be indicated by either numerical values or a bar graph as in
   not the change of head type has been indicated (step Sl404).        a level indication.
      When it was judged that the change of head type had been            When completed the processing in the step Sl414, it is
   indicated, stored contents of the register head are changed in      judged whether or not a termination key in the group of
   accordance with this indication of change (step Sl406).             operation keys 30 has been operated (step Sl416), so that if
      In either the case where the processing in step Sl406 has 20 it was judged that the termination key in the group of
   been completed, or the case where it was judged that the            operation keys 30 had not been operated, the procedure
   change of head type had not been indicated in the step              returns to the step Sl402, and the processing is repeated.
   Sl404, it is judged whether or not the change of tuning type           On the other hand, if it was judged that the termination
   has been indicated (step S1048).                                    key in the group of operation keys 30 had been operated in
      When it was judged that the change of tuning type had 25 the step Sl416, the procedure returns to the main routine.
   been indicated, the stored contents of the register tuning is          Then, a normal performance processing routine executed
   changed in accordance with this indication of change (step          by the CPU 24 in the step S814 will be described by
   Sl410).                                                             referring to FIG. 19.
      In either the case where the processing in step Sl410 has           In the normal performance processing routine, it is first
   been completed, or the case where it was judged that the 30 judged whether or not a level key (key for setting a volume
   change of tuning type had not been indicated in the step            of sounding musical tone), a tone color key (key for setting
   Sl 408, the table 1 or the table 2 is selected in accordance        tone color of sounding musical tone), or a tuning key (key
   with the stored contents of the register head or the register       for setting a pitch of sounding musical tone) contained in the
   tuning, and it is set to the DSP 22 (step Sl412).                   group of operation keys 30 has been changed. At the time
      As a result of conducting the procedure as described 35 when the power is turned on, a register level for storing
   above, in either the case where the processing in step Sl412        level, a register tone for storing tone color, and a register
   has been completed, or the case where it was judged that            pitch for storing pitch; are set in response to the initialized
   both the head type setting key or the tuning type setting key       state of the level key, the tone color setting key, and the
   in the group of operation keys 30 had not been operated so          tuning key, respectively, in accordance with the initialization
   that no change of the head type and the tuning type had not 40 processing in the step S802.
   been indicated, the percussion point positional information            In the step Sl602, when it was judged that the level key,
   AP sent out from the DSP 22 is displayed on the display unit        the tone color setting key, or the tuning key in the group of
   32 (step Sl414). More specifically, the percussion point            operation keys 30 had been changed, then, it is judged
   positional information AP set in the CPU in the DSP                 whether the level key has been changed or not (step Sl604).
   percussion signal processing routine is displayed on the 45            In this case, if it was judged that the level key had been
   display unit 32.                                                    changed, the stored contents in the register level are changed
      In FIGS. 18(a), 18(b) and 18(c) are shown examples of            in accordance with the former change (step Sl606).
   manner of displaying the percussion point positional infor-            In either the case where the processing in step Sl606 has
   mation AP displayed on the display unit 32 in the step Sl414        been completed, or the case where it was judged that the
   wherein FIG. 18(a) shows a first displaying example, FIG. 50 level key had not been changed in the step Sl604, it is
   18(b) shows a second displaying example, and FIG. 18(c)             judged whether or not the tone color key has been changed
   shows marks representing a variety of percussion point              (step Sl608).
   positional information AP being displayed in a display                 In this case, when it was judged that the tone color key
   column for the percussion point positional information AP in        had been changed, stored contents of a register tone are
   FIG. 18(b), respectively. In FIGS. 18(a) and 18(b), it is 55 changed in accordance with the former change, and a start
   arranged in such that numbers which have been previously            address and an end address of waveform data corresponding
   assigned to respective tuning types are displayed in the            to the stored contents of the register tone are set in the sound
   displaying column of tuning type.                                   source IC 34 (step Sl610).
      In FIG. 18(a), "CENTER" indicates the center position of            In either the case where the processing in step Sl610 has
   the head 12, and "RIM" indicates a position of the rim 16. 60 been completed, or the case where it was judged that the tone
   Furthermore, a black triangle is a mark indicating the              color key had not been changed in the step Sl608, it is
   percussion point positional information AP, while a white           judged whether or not the tuning operation key has been
   triangle is a tuning reference mark indicated in a position         changed (step Sl612).
   corresponding to the percussion point positional mark M                It is to be noted that the "tuning" in this step Sl612 is
   indicated in the head 12 (see FIG. 20).                          65 different from the above described tuning of the head, and it
      Since a position between the center "CENTER" and the             means that a pitch is adjusted with respect to sounding
   rim 16 "RIM" in the head 12 is decided by the percussion            musical tone (sound of a percussion instrument).
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      In this case, when it was judged that the tuning key had             setting key in the group of operation keys 30 (step 51802),
   been changed, stored contents of the register pitch are                 and thereafter, he or she sets a desired tuning type by the
   changed in accordance with the former change, and the pitch             operation of a tuning type setting key of the group of
   information corresponding to the stored contents of the                 operation keys 30 (step 51804).
   register pitch are set to the sound source IC 34 (step 51614).     5       In accordance with the operations in the steps 51802 and
      When the processing in step 51614 has been completed as              51804, the processing specified in the respective steps
   a result of conducting the procedure as described above, or             51402, 51404, 51406, 51408, 51410, and 51412 contained
   it was judged that the tuning key had not been operated in              in the tuning processing routine executed by the CPU shown
   the step 51612, or in the case where any of the level key,              in FIG. 17 is conducted.
   tone color setting key, or the tuning key in the group of          10      Then, in this tuning operation, a mark M at the position of
   operation keys 30 had not been changed, then, it is judged              percussion point in the head 12 which is placed at a position
   whether or not a sounding flag gf is turned ON (step 51616).            close to the engaging pin 54 in operation is percussed (step
      Specifically, it is judged whether or not sounding has been          51806). It is to be noted that the procedure on and after the
   instructed as a result of turning ON the sounding flag gf of            step 51806 becomes actual tuning operations.
   the CPU 24 in the step 5936 of the DSP percussion signal           15      In the step 51806, when the mark M at the position of
   processing routine.                                                     percussion point of the head 12 is percussed, the percussion
      In this case, if it was judged that the sounding flag gf had         point positional information AP sent from the DSP 22 as a
   been turned ON, the results of arithmetic computations of               result of execution of percussion signal processing routine
   "levelxV" are set to the sound source IC 34 as the level                shown in FIG. 12 is displayed on the display unit 32 in the
   information (step 51618). More specifically, values stored in      20   step 51414 contained in the tuning processing routine
   the register level which has been set by a level key are                executed by the CPU shown in FIG. 17.
   multiplied by percussion force information V to calculate a                In this case, it is confirmed that a black triangle indicating
   sounding level, and the results of this arithmetic computa-             the percussion point positional information AP due to the
   tions are set to the sound source IC 34 as the level infor-             result of the percussion in the step 51806 has been displayed
   mation.                                                            25   at which position by visual observation of the display unit 32
      When completed the processing in the step 51618, the                 (step 51808).
   percussion point positional information AP is converted into               Then, it is judged whether or not there is a misregistration
   a filter coefficient for controlling filter characteristics, and        between the position of the black triangle indicating the
   the converted information is set in the sound source IC 34              percussion point positional information AP and a white
   (step 51620). More specifically, when the converted infor-         30   triangle indicating the tuning reference mark (step 51810).
   mation is set to the IC 34 after converting the percussion                 In this case, when it is judged that there is a misregistra-
   point positional information AP into the filter coefficient for         tion between the position of the black triangle indicating the
   controlling filter characteristics, tone colors corresponding           percussion point positional information AP and the white
   to the positions of percussion point can be obtained. It is to          triangle indicating the tuning reference mark, the engaging
   be noted that the processing for obtaining tone colors             35   pin 54 is adjusted so as to cancel the aforesaid
   corresponding to the positions of percussion point is not               misregistration, thereby carrying out tuning for adjusting
   limited to that illustrated in the step 51620, but the process-         tension of the head 12 (step 51812).
   ing in the step 51620 may be replaced by either a manner                   Thus, after completing the operation in the step 51812,
   wherein waveforms to be read out are switched or a manner               the procedure returns to the step 51806 and the operation is
   wherein a mixed ratio of a plurality of waveforms is               40   repeated.
   changed.                                                                   On the other hand, if it was judged that there was no
      When the processing in the step 51620 is completed, the              misregistration between the position of the black triangle
   sounding flag gf is turned OFF (step 51622). In other words,            indicating the percussion point positional information AP
   as a result of conducting the procedure as described above,             and the white triangle indicating the tuning reference mark,
   the sounding flag is turned OFF.                                   45   then it is judged whether the tuning operation has been
      In either the case where the processing in the step 51622            completed or not (step 51814). In this case, the judgment
   has been completed, or the case where it was judged that the            whether or not the tuning operation has been completed is
   sounding flag gf had been turned OFF in the step 51616, it              specifically a judgment whether or not tuning operations of
   is judged whether or not the termination key in the group of            all the engaging pins 54 have been completed.
   operation keys 30 has been operated (step 51624), so that if       50      In this case, when it was judged that the tuning operations
   it was judged that the termination key of the group of                  had not been completed, the procedure returns to the step
   operation keys 30 had not yet been operated, the procedure              51806 to perform tuning operations with respect to the
   returns to the step 51602 to repeat the processing.                     engaging pins 54 to which have not yet been subjected the
       On the other hand, when it was judged that the termina-             tuning operations.
   tion key in the group of operation keys 30 had been operated,      55      On the contrary, when it was judged that the tuning
   the procedure returns to the main routine.                              operations had been completed, the procedure of the tuning
      The processing for sounding musical tones from the                   operation is finished.
   present electronic percussion instrumental system to the                   It is to be noted that the above described manner of
   outside is carried out by controlling the sound source IC 34.           practice may be modified as follows.
      In the following, a typical operational procedure for           60      (l)As shown in FIG. 22, the head 12 is fixed to either side
   tuning operation of the head 12 will be described by refer-             of the opening of the barrel section 50, while the head of an
   ring to the flowchart shown in FIG. 21. The flowchart of                acoustic drum (cannot be found in FIG. 22) may be fixed to
   FIG. 21 illustrates the operational procedure of the tuning             the other side of the opening of the barrel section. In this
   operation effected by a user after selecting the tuning mode            case, when the head 12 is percussed, the head of acoustic
   by the user.                                                       65   drum positioned on the opposite side resonates to sound at
      Namely, when the user selects the tuning mode, then he or            an appropriate volume. Accordingly, when compared with
   she sets first a desired head type by operating a head type             the case where only the head 12 is fixed to the barrel section
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   50, a player can perform the percussion instrument with            indicating the tuning reference mark corresponding to the
   much more close feeling to that of acoustic drum.                  percussion point positional mark M of the head have been
      (2) As shown in FIG. 23, to the outer circumference of the      displayed on the display unit 32 in the above described
   head 12 composed of the first net 56 and the second net 58         manner of practice as shown in FIG. 18(a), a displaying
   may be bonded an annular film 112. In this case, since a ratio 5 manner on the display unit 32 is not limited thereto, but, for
   of opening in the first net 56 and the second net 58 of the        example, a deviation between the above described tuning
   head 12 becomes low in comparison with that of the above           reference data and the detected percussion point positional
   described manner of practice, the percussion sound becomes         information   AP may be displayed as shown in FIG. 25.
   larger than that of the above described manner of practice.           Specifically, the manner may be carried out in such a way
                                                                      that tuning reference data are read out in case of the
   For this reason, a player can perform the resulting percus- 10
                                                                      processing for displaying the percussion point positional
   sion instrument with much more close feeling to that of
                                                                      information AP in the step Sl414 of the tuning processing
   acoustic drum. Furthermore, when an area of the film 112 to        routine executed by the CPU shown in FIG. 17, a deviation
   be bonded to the first net 56 and the second net 58 in the         between the tuning reference data and the percussion point
   head 12 is allowed to vary, the volume in percussion can be        positional information AP is calculated, and the deviation
   controlled. Moreover, stitches may be filled with an adhesive 15 represented by the calculated result is displayed on the
   to bond the first net 56 to the second net 58 in place of          display unit 32. If it has been adapted to display "O" on the
   bonding of the film 112.                                           display unit 32 in case of no deviation, it means that tuning
      (3) The net-like raw material is not limited to a two-ply       is matched in the case when indication "O" is displayed on
   plane weave net, but one-ply or three- or more ply net may         the display unit 32.
   also be used. Furthermore, a weaving manner of net is not 20          (10) As a displaying manner in the display unit 32, there
   limited merely to plane weave. In the case where a net-like        are a manner wherein it may notify that the tuning is
   raw material is composed of a single net, it is preferred to       matched in the case when a difference between the tuning
   use a triaxially woven net which balances tension not only         difference data and the percussion point positional informa-
   in the crossed direction of woven fibers, but also in an           tion AP reaches a prescribed value or lower, and a manner
   oblique direction.                                              25 wherein a difference between the tuning reference data and
      (4) A shape of the cushioning member 80 in the head             the percussion point positional information AP may be
   sensor 14 is not limited to the frustoconical shape, but a         displayed in accordance with cent indication as utilized in a
   truncated pyramid shape may be adopted.                            tuning device for stringed instruments such as guitar and the
      (5) A constitution of the sound source is not limited to the    like in addition to the manners described above.
   above described wave-form read-out system, but sound 30               Since the present invention has been constituted as
   sources of a variety of systems may be employed.                   described above, it provides such an excellent advantage
   Furthermore, a PCM sound source sounding PCM sampling              that a percussion detecting apparatus, which is excellent in
   sounds is not used, but a resonator composed of oscillator         percussion feeling, and the percussion sounds of which are
   and the like may be used, otherwise audio signals input from       very small, in electronic percussion instrumental system can
   the outside may also be employed.                               35 be realized.
      (6) While the percussion point positional information AP           Furthermore, since the indication corresponding to a
   has been displayed on the display 32 in the above described        percussion position of the head has been made in the present
   manner of practice, instead of the display, it may be adapted      invention, such an excellent advantage that correct tuning
   to sound such sound signal having a pitch corresponding to         can easily be carried out in case of tuning the head is
   the percussion point positional information AP.                 40 obtained.
      (7) Although the percussion point positional mark M                Moreover, since a variation in tension of the head due to
   indicated on the top of the head 12 has been configured in         tuning of the head has been compensated in the present
   the circular shape as shown in FIG. 20 in the above                invention, such an excellent advantage that correct percus-
   described manner of practice, a shape of the percussion point      sion position can be detected is obtained.
   positional mark M is not limited to the circular shape as 45          Still further, since a tuning operation can be conducted by
   shown in FIG. 20, but, for example, the percussion point           a user in accordance with such a manner that a place marked
   positional mark M may be indicated by points of a pre-             with a percussion point positional mark is percussed by the
   scribed number as shown in FIG. 24(a). Moreover, a region          user, and the result detected at that time by the detecting
   of the head 12 is classified by coloring as shown in FIG.          means for position of percussion point is confirmed while
   24(b) (It is to be noted in FIG. 24(b) that a shaded portion 50 watching the display means in the present invention, such an
   of the region of the head 12 is represented by a different         excellent advantage that tuning operation can simply be
   color from that of the other (no shaded) portion), and the         carried out without relying upon user's sense is obtained.
   boundary portion classified by coloring may be used as the            It will be appreciated by those of ordinary skill in the art
   percussion point positional mark M.                                that the present invention can be embodied in other specific
      (8) While it has been arranged in such that the tuning 55 forms without departing from the spirit or essential charac-
   reference mark represented by white triangle shown in FIG.         teristics thereof.
   18(a) is indicated in response to the percussion point posi-          The presently disclosed embodiments are therefore con-
   tional mark M of the head 12 in the above described manner         sidered in all respects to be illustrative and not restrictive.
   of practice, the invention is not limited thereto, but, for        The scope of the invention is indicated by the appended
   instance, it may be arranged in such that information for 60 claims rather than the foregoing description, and all changes
   indicated position by a white triangle may be stored as the        that come within the meaning and range of equivalents
   tuning reference data together with the table 1 and the table      thereof are intended to be embraced therein.
   2 which are selected in accordance with the head type or the          The entire disclosure of Japanese Patent Applications No.
   tuning type set in the tuning processing routine executed by       8-193986 filed on Jul. 4, 1996, No. 9-15846 filed on Jan. 13,
   the CPU shown in FIG. 17.                                       65 1997 and No. 9-15847 filed on Jan. 13, 1997 including
      (9) Although the black triangle indicating the percussion       specification, claims, drawings and summary are incorpo-
   point positional information AP and the white triangle             rated herein by reference in their entirety.
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      What is claimed is:                                                 portion of, but less than the entire surface area of the second
      1. An electronic percussion instrument system compris-              surface of the head.
   ing:                                                                      14. A method of making an electronic percussion instru-
      a barrel section having a generally hollow interior and a           ment system comprising:
         first end open to the generally hollow interior;            5
                                                                             providing a barrel section having a generally hollow
      a head disposed in a tensioned state across the first end of              interior and a first end open to the generally hollow
         the barrel section to define a percussion surface for                  interior;
         receiving a percussion impact and a second surface                  providing a head having a head material through which air
         facing opposite the percussion surface, the head having                may pass;
                                                                     10
         a head material through which air may pass;
                                                                             tensioning the head across an end of the barrel section to
      a cushioning member in communication with the second
                                                                                define a percussion surface for receiving a percussion
         surface of the head, while allowing air to pass through
                                                                                impact and a second surface facing opposite the per-
         the head;
                                                                                cussion surface;
      a transducer disposed in communication with the cush-          15
         ioning member, to receive percussion impact signals                 locating a cushioning member in communication with the
         through the cushioning member in response to a per-                    second surface of the head, while allowing air to pass
         cussion impact on the percussion surface of the head.                  through the head material;
      2. An electronic percussion instrument system as recited               locating a transducer in communication with the cushion-
   in claim 1, wherein the head material comprises a material        20         ing member, to receive percussion impact signals
   having openings through which air may pass.                                  through the cushioning member in response to a per-
      3. An electronic percussion instrument system as recited                  cussion impact on the percussion surface of the head.
   in claim 2, wherein the head material comprises a net-like                15. A method as recited in claim 14, wherein the head
   material.                                                              material comprises a material having openings through
      4. An electronic percussion instrument system as recited       25   which air may pass.
   in claim 1, wherein the head material comprises multiple                  16. A method as recited in claim 15, wherein the head
   layers of a material having openings through which air may             material comprises a net-like material.
   pass.
                                                                             17. A method as recited in claim 14, wherein the head
      5. An electronic percussion instrument system as recited
                                                                          material comprises multiple layers of a material having
   in claim 4, wherein each layer of the head material com-          30
                                                                          openings through which air may pass.
   prises a net-like material.
      6. An electronic percussion instrument system as recited               18. A method as recited in claim 16, further comprising
   in claim 4, wherein the multiple layers of head material are           bonding the multiple layers of material together.
   bonded together.                                                          19. A method as recited in claim 14, wherein the barrel
      7. An electronic percussion instrument system of claim 1,           section has a central axis and wherein locating the cushion-
                                                                     35
   wherein the barrel section has a central axis and the cush-            ing member comprises securing the cushioning member at
   ioning member is located at the central axis of the barrel             the central axis of the barrel section.
   section.                                                                  20. A method as recited in claim 14, further comprising
      8. An electronic percussion instrument system of claim 1,           providing supporting structure for supporting the transducer
   further comprising supporting structure for supporting the        40   and the cushioning member.
   transducer and the cushioning member.                                     21. A method as recited in claim 14, further comprising
      9. An electronic percussion instrument system of claim 8,           providing supporting structure for supporting the cushioning
   wherein the supporting structure supports the cushioning               member within the generally hollow interior of the barrel
   member within the generally hollow interior of the barrel              section.
   section.                                                          45      22. A method as recited in claim 20, wherein the barrel
      10. An electronic percussion instrument system of claim             section has a central axis and wherein providing supporting
   8, wherein the barrel section has a central axis and wherein           structure comprises providing structure that supports the
   the supporting structure supports the cushioning member at             cushioning member at the central axis of the barrel section.
   the central axis of the barrel section.                                   23. A method as recited in claim 14, wherein locating the
      11. An electronic percussion instrument system of claim        50   cushioning member comprises arranging the cushioning
   10, wherein the supporting structure supports the cushioning           member in direct contact with the second surface of the
   member within the generally hollow interior of the barrel              head.
   section.                                                                  24. A method as recited in claim 14, wherein locating the
      12. An electronic percussion instrument system of claim             cushioning member comprises arranging the cushioning
   1, wherein the cushioning member is disposed in direct            55   member in contact with a portion of, but less than the entire
   contact with the second surface of the head.                           surface area of the second surface of the head.
      13. An electronic percussion instrument system of claim
   1, wherein the cushioning member is arranged to contact a                                     * * * * *
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                                     275




                          EXHIBIT C
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     (12)   United States Patent                                                                                                            (10)   Patent No.:     US 6,756,535 Bl
            Yoshino et al.                                                                                                                  (45)   Date of Patent:     *Jun.29,2004


     (54)    ELECTRONIC PERCUSSION                                                                                                            4,279,188   A     7/1981   Scott
             INSTRUMENTAL SYSTEM AND                                                                                                          4,362,081   A    12/1982   Hartry ......................... 84/414
             PERCUSSION DETECTING APPARATUS                                                                                                   4,581,973   A     4/1986   Hoshino
             THEREIN                                                                                                                          4,714,002   A    12/1987   Cleland ....................... 84/413
                                                                                                                                              4,798,121   A     1/1989   Donohoe ..................... 84/414
                                                                                                                                              4,828,907   A     5/1989   Hayashi
     (75)    Inventors: Kiyoshi Yoshino, Osaka (JP); Kenji
                                                                                                                                              4,947,725   A     8/1990   Nomura ....................... 84/723
                        Hirano, Osaka (JP); Masato Katsuda,                                                                                   5,042,356   A     8/1991   Karch ......................... 84/725
                        Osaka (JP)                                                                                                            5,449,964   A     9/1995   Snyder ....................... 310/330
                                                                                                                                              5,533,405   A     7/1996   Hoshino ...................... 84/104
     (73)    Assignee: Roland Corporation, Osaka (JP)                                                                                         5,585,581   A    12/1996   Rogers ..................... 84/723 X
                                                                                                                                              5,633,473   A     5/1997   Mori et al. ............... 84/735 X
     ( *)    Notice:         Subject to any disclaimer, the term of this
                             patent is extended or adjusted under 35                                                                                FOREIGN PATENT DOCUMENTS
                             U.S.C. 154(b) by 0 days.                                                                                  DE           19625570.8-51           6/1996
                                                                                                                                       JP                2-117569           9/1990
                             This patent is subject to a terminal dis-                                                                                    OTHER PUBLICATIONS
                             claimer.
                                                                                                                                       Syndrum product sample (delivered to Examiner for review)
     (21)    Appl. No.: 09/845,368                                                                                                     and thirteen (13) photographs of same.
                                                                                                                                       Deposition of Peter Hart, Roland Corp. vs. Hart Dynamics,
     (22)    Filed:          Apr. 30, 2001                                                                                             Fed. Dist. Ct. for the Central Dist. of CA Mar. 3, 2003.*

                       Related U.S. Application Data                                                                                   * cited by examiner
                                                                                                                                       Primary Examiner-Jeffrey Donels
     (60)    Continuation of application No. 09/401,459, filed on Sep.                                                                 (74) Attorney, Agent, or Firm-Foley & Lardner
             22, 1999, now Pat. No. 6,271,458, which is a continuation
             of application No. 09/243,698, filed on Feb. 3, 1999, now                                                                 (57)                     ABSTRACT
             Pat. No. 6,121,538, which is a division of application No.
             08/886,180, filed on Jul. 1, 1997, now Pat. No. 5,920,026.                                                                An object of the present invention is to provide a percussion
     (30)          Foreign Application Priority Data                                                                                   detecting apparatus, which is excellent in percussion feeling,
                                                                                                                                       and the percussion sounds of which are very small, in
         Jul. 4, 1996       (JP) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8-193986
                                                                                                                                       electronic percussion instrumental system. The percussion
       Jan. 13, 1997        (JP) .. ... ... ... ... .. ... ... ... ... .. ... ... ... ... ... . 9-15846
       Jan. 13, 1997        (JP) .............................................. 9-15847
                                                                                                                                       detecting apparatus is provided with a head prepared from a
                                                                                                                                       net-like raw material composed of a first net and a second
     (51)    Int. Cl.7 ................................................ GOlD 13/32                                                     net, the net-like raw material being obtained by such a
     (52)    U.S. Cl. ............................................ 84/738; 84/414                                                      manner that both the nets having been woven in accordance
     (58)    Field of Search ....................... 84/414, 416, 452 P,                                                               with plane weaving manner wherein the longitudinal and
                                                 84/454, 723, 737, 738, 743                                                            transverse fibers cross at right angles are laminated in such
                                                                                                                                       a way that the weave pattern directions thereof intersect
     (56)                           References Cited                                                                                   obliquely with each other; and a head sensor which is in
                                                                                                                                       contact with the center position of the under side in the head
                        U.S. PATENT DOCUMENTS                                                                                          and detects percussion with respect to the head as electric
              729,936 A              6/1903 Heybeck ...................... 84/414                                                      signal.
            3,748,367 A              7/1973 Lamme et al.
            4,226,156 A             10/1980 Hyakutake .................. 84/1.14                                                                      33 Claims, 23 Drawing Sheets



                        1 0 PERCUSS I ON DETECT! NG APPARATUS
                            \.                1 4 HEAD SENSOR
                 12~0 ~                                                                              20                               22

                 1 (j RIM

                1 8 Riii-SHOT SENSOR
                                                                                                                                                                         38
                                                                                                                                                                     D/A
                                                                                                                                                                    CONVERTER        TO SOUND SYSTEM




                                                                                                                       25             28
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                                                         FIG. 1                                                             =
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      1 (} PERCUSSION DETECTING APPARATUS                                                                                   ::0
           ~ T4
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                       HEAD SENSOR                                                                                           c.i;;..
12 HEAD --....   ~                    1
                                            r2(}
                                          A/Dr      ,
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                                                                                    36
                                                             DSP                                                              'Jl
1 6 Riii                  \.JJ       >I CONVERT~R                          WAVEFORll llE MORY                                 =-
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1 8 Riii-SHOT SENSOR                                                                              38                          '0.....,
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                                                                                SOUND    HD/A                                 ~
                                                                    1--__::aoi.SOURCE IC    CONVERTER!   >TO SOUND SYSTEM
                                                         ..____~




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                                                                 US 6, 756,535 Bl




                             FIG., 2


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       m                                                    64


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                               FIG. 4




                              FIG. 5




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                        FIG. 6


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                                                                     FIRST NET

                             ---------                               SECOND NET
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                                                                     14
                                                            /

      FIG. 7 (a)




       FIG. 7 (b)                                               74


                                                       tc
                                                   80


       FIG. 7 (c)                                               74
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                             FIG. 8




                            FIG. 9


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                             FIG. 10


                                                      102




            so
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                                 FIG. 7 J


                                     MAIN ROUTINE


                                          START



                                      INITIALIZATION    SB02


                 TUNING MODE                                 BRUSH PERFORMANCE MODE


      S806                        S812       NORMAL PERFORMANCE MODE      SBTB
                                   SET DSP TO NORMAL         SET DSP TO BRUSH
        SET DSP TO TUNING MODE     PERFORMANCE MODE          PERFORMANCE MODE

                                  S814                                    SB20
                                   NORMAL PERFORMANCE          BRUSH PERFORMANCE
                                   PROCESSING;                 PROCESSING

       SBTO                                                               S822

        STOP DSP TUNING MODE        STOP DSP NORMAL           STOP DSP BRUSH.
                                    PERFORMANCE MODE          PERFORMANCE MODE
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                                         FIG. 12
                                DSP PERCUSSION SIGNAL PROCESSING ROUTINE

                 START
                               902
            INPUT SAMPLING
            DATA S


                                  N


                          S906
        ....--------4--
             RESET TIMER T                         S92
                                                                                  y
                               908                    TIMER T INCREMENT
       FIRST HALF-WAVE.COUNT-FLAG
       cf TURN ON                                  S926
                                                   COMPARE ABSOLUTE VALUES
                               910                  OF max WITH SAMPLE DATA S,
        r-----''----_...,.~                        AND LARGER ONE TO max
        MAXIMUM VALUE DETECTION
        FLAG mf TURN ON                                                                 S928
                                                                    MAXIMUM VALUE DETECTION
                                                                    FLAG mf TURN OFF      .

                                                                                        8930
                                                                   CONVERT ct BY table 1 TO
                                                                   PERCUSSION POINT POSITIONAL
                                                                   INFORMATION AP
                                                                                        8932
                                                                    CONVERT AP BY table 2 TO
                                                                    PERCUSSION FORCE CORRECTING
                                                                    COEFFICIENT K

                                        S9T6                                             S934
                                                                           V~maxXK
                         FIRST HALF-WAVE COUNTER
                         ct INCREMENT
                                                                                         8936
                          8918                                      SOUNDING FLAG gf OF CPU TURN
                                                                    ON, AND PERCUSSION POINT
       FIRST HALF-WAVE COUNT-FLAG                                 . POSITIONAL INFORMATION AP.
       cf TURN OFF                                                  PERCUSSION FORCE INFORMATION
                                                                    V SET TO CPU




                                                                                 END
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                                 FIG, 13 (b)                               FIG, 13 (a)                                                       ~
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                                  (b) OUTPUT WAVEFORll OF HEAD SENSOR-          (a)   POSITION OF PERCUSSION POINT
                                                                                                                                             =
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                                                                                                                                             ~
                                                                                      POSITION OF PERCUSSION POINT A
                                                                                               I                                             ~
                                                                                                   POSITION OF PERCUSSION POINT B             N
                                                                                                                                             ~~
                                                                                                            POSITION OF PERCUSSION POINT C    N
                                                                                                                                              c
POSITION OF PERCUSSION POINT A                                                                                                                c.i;;..
                                                                         1 2 HEAD

                                                                                                                                              'Jl
                                                                                                                                               =-
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                                                                                                                                                0.....,
POSITION OF PERCUSSION POINT B
                                                                                                                                               N
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                                                                           PERIOD OF TIME FOR FIRST HALF-WAVE VARIES
                                                                           DEPENDING ON POSITION OF PERCUSSION POINT
                                    Tc                                                                                                          erJ'J_
                                                                                                                                                 O'I
 POSITION OF PERCUSSION POINT C
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                                                                                                                                                 O'I
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                                                   FIG. 14                                                                                         ~

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                                MEANS FOR DETECTING POSITION OF                         COUNTING ONLY DURING
                                                                                                                   '                               ~~
                                                                                                                                                    N
                                PERCUSSION POINT IN HEAD                                                                                            c
                                                                                             PERIOD OF"''
                                                                                                                                                    c.i;;..



~                                                            ~~                                                    : PERCUSSION POINT POSITIONAL
                                                                                                                                                    rF.J.
                                                                                                                                                     =-
                                                                                                                                                     ~
                                                                                                                   I
                                                                                                                     ·INFORMATION
                                                                                                                               ·
                                                                                                                                  IN HEAD            """"
                                                                                                                                                     N

   --,
E;ENSOR:
              AID
           .. CONVERTER
                              DC CUT
                              FILTER·         LP FILTER
                                                             FIRST HALF-JrAVE
                                                             DETECTION             COUNTER   1-*-I
                                                                                                     ARITHMETIC
                                                                                                     CIRCUIT
                                                                                                                  l'
                                                                                                                   I         ...
                                                                                                                                                     0.....,
                                                                                                                                                     N
                                                             CIRCUIT                                                                                 ~

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                                      FIG. 15

                                  CHARACTERISTIC DIAGRAM OF TABLE 1
        FIRST HALF-WAVE
        COUNT VALUE ct
                                                         HEAD TYPE: SNARE




                        t                   1                            PERCUSSION POINT POSITIONAL
       POSITION OF PERCUSSION                                            INFORMATl ON AP
                                POSITION OF PERCUSSION
       POINT A (CENTER)
                                POINT B (INTERMEDIATE)          1
                                                         POSITION OF PERCUSSION
                                                         POINT C (OUTER CIRCUMFERENCE)



                                        FIG. 16
                                   CHARACTERISTIC DIAGRAM OF TABLE 2

                                                         HEAD TYPE: SNARE
       PERCUSSION FORCE                                            I oos e
       CORRECTING                                                  medium
       COEFFICIENT K
                                                                      t i g ht




                          t
       POSITION OF PERCUSSION                l
                              POSITION OF PERCUSSION
                                                                        PERCUSSION POINT POSITIONAL
                                                                        INFORMATION AP
       POINT A (CENTER)
                              POINT B (INTERMEDIATE)             1
                                                          POSITION OF PERCUSSION
                                                          POINT C (OUTER CIRCUMFERENCE)
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                                FIG. 7 7
                         TUNING PROCESSING ROUTINE


                                     .START


                                                               N




                                                         N


                 s 14   10   r----_ _.........__ __,

                                 tuning CHANGE

                 $1412
                        r-----.-----~
                        SELECT table 1 OR table 2
                        IN ACCORDANCE WITH (head OR
                        tuning), AND SET TO DSP



                 S 14 14      DISPLAY PERCUSSION.POINT
                              POSITIONAL INFORMATION
                              AP SENT FROM DSP

                                                         N



                                     RETURN
          Case 1:17-cv-22405-FAM Document 154 Entered on FLSD Docket 11/02/2018 Page 121 of
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                            FIG. 18 (a)                                                                         ~

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DISPLAYING COLUMN OF TUNING TYPE                                                                                ~~
                                                                                                                N
              '    DISPLAYING COLUMN OF HEAD TYPE                                                               c
                                                                                                                c.i;;..
                                           DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP
                                                   MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP   'Jl
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                  2/SNARE        RIM          '+'/      CENTER                                                   '"""'
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                                   I                       I                                                    0.....,
                                                                  ~32
                                                                                                                 N
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                                  TUNING REFERENCE MARK CORRESPONDING TO PERCUSSION                              erJ'J.
                                  POINT POSITIONAL MARK IN HEAD                                                 -..a-..
                                                                                                                 ""-l
                                                                                                                 (It
                                                                                                                 a-..
                                                                                                                11.
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                 FIG. 18 {b)                                                                          ~

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                                                                                                       N
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                                                                                                       N
DISPLAYING COLUMN OF TUNING TYPE                                                                       c
                                                                                                       c.i;;..
        .           DISPLAYING COLUMN OF HEAD TYPE
                      MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP
                                                                                                       'Jl
                                    DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP     =-
                                                                                                        ~

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                                                                                                        '"""'
                                                                                                        O'I
       2/SNARE                                                                                          0.....,
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                                   FIG. 19

                        NORMAL PERFORMANCE PROCESSING ROUTINE



                      ·START



                                            N




                                                    S1618
                                                         SET Ieve I XV TO SOUND SOURCE
      S1606                                              IC AS LEVEL INFORMATION

                    level CHANGE                    Sl620
                                                  CONVERT PERCUSSION POINT POSITIONAL
                                                  INFORMATION AP INTO FILTER COEFFICIENT,
                                                  AND SET TO SOUND SOURCE IC

                                                    S1622
      81610                                               SOUNDING FLAG gf TURN OFF
          tone CHANGE, AND START ADDRESS,
          END ADDRESS CORRESPONDING TO
          WAVEFORM DATA SET TO SOUND SOURCE                                      S!624
          IC                              -



                                                                    RETURN



      $1614
          pitch CHANGE, AND CORRESPONDING
          PITCH INFORMATION SET TO SOUND
          SOURCE IC
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                           FIG.                 20


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               54
                                                    ~-12


                                                              16



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                   FIG. 2 1


                OPERATIONAL PROCEDURE FOR TUNING OPERATION IN HEAD


                               START


        S1802              HEAD TYPE SET


                          .TUNING TYPE SET


           S1806
                    PERCUSS ON PERCUSSION POINT
                    POSITIONAL MARK IN HEAD


            S180                                       ENGAGING PIN ADJUST


                                                            y


                                   N

                                                            N

                                   y

                                END
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                                       FIG. 22

                              12




                                                             54




                                       50



                                   FIG. 23
                             12




                                                             54




                                  50
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                     FIG. 24 (a)

                                        54



                       54

                                                         12

                                                         16


                                         54




                   FIG. 24 (b)




                                                        12
                      54



                                M      54
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             ELECTRONIC PERCUSSION                                    Accordingly, an object of the present invention is to provide
            INSTRUMENTAL SYSTEM AND                                   a percussion detecting apparatus provided with a head as the
         PERCUSSION DETECTING APPARATUS                               percussion surface which is excellent in percussion feeling
                     THEREIN                                          and in which the percussion sound is extremely quiet in an
                                                                    5 electronic percussion instrumental system.
       This application is a continuation of application Ser. No.        Furthermore, another object of the present invention is to
   09/401,459, filed Sep. 22, 1999 now U.S. Pat. No. 6,271,           provide an electronic percussion instrumental system which
   458, which is a Continuation of application Ser. No. 09/243,       is adapted to be easily capable of correct tuning of the head
   698, filed Feb. 3, 1999 (now U.S. Pat. No. 6,121,538), which       in the case when the head is tuned on the basis of an
   his a Divisional of Application Ser. No. 08/886,180, filed 10 indication which is suitably given and corresponding to a
   Jul. 1, 1997 (now U.S. Pat. No. 5,920,026).                        position of percussion in the head.
                                                                         Moreover, still another object of the present invention is
              BACKGROUND OF THE INVENTION                             to provide an electronic percussion instrumental system
      1. Field of the Invention                                       which is adapted to be capable of detecting a correct position
                                                                   15 in percussion by correcting variations in tension of the head
      The present invention relates to an electronic percussion
   instrumental system and a percussion detecting apparatus in        as a result of tuning of the same.
   the electronic percussion instrumental system, and more               An yet further object of the present invention is to provide
   particularly to an electronic percussion instrumental system       an electronic percussion instrumental system which is
   which simulates a percussion instrument such as acoustic 20 adapted to make clear a position of percussion in the head in
   drum sounding musical tone as a result of percussing it with       case of tuning operation to display the tuning state, whereby
   sticks or the like by a player and a percussion detecting          the tuning operation can be carried out while confirming the
   apparatus in the electronic percussion instrumental system.        state, so that anybody can easily conduct such tuning opera-
                                                                      tion without requiring any sense of skilled user.
      2. Description of the Related Art
                                                                         In order to achieve the above described objects, the
      Heretofore, in an electronic percussion instrumental sys- 25
                                                                      present invention is characterized by a percussion detecting
   tem such as electronic drum simulating acoustic drum, a
                                                                      apparatus in electronic percussion instrumental system com-
   percussion detecting apparatus provided with a surface to be
                                                                      prising a head the percussion surface of which is composed
   percussed being generally called by the name of "percussion
                                                                      of a net-like raw material; and a percussion detecting means
   pad" is utilized as a means for detecting percussion.
                                                                      being in contact with the center position of the aforesaid
      As such a percussion detecting means as described above,     30
                                                                      head and detecting percussion with respect to the aforesaid
   for example, the percussion detecting apparatus disclosed in       head as electric signal.
   Japanese Patent Laid- open No. 44357/1996 has been                    Therefore, in accordance with the present invention, since
   known. In the percussion detecting apparatus disclosed in          the percussion surface of the head is composed of a net-like
   Japanese Patent Laid-open No. 44357/1996, the percussion           raw material, extremely good percussion feeling can be
   surface is formed by covering a plate-like case with a 35 obtained because of the elasticity of the net-like raw mate-
   material of a soft high-molecular compound.                        rial. Besides, since air passes through the openings of
      However, in such percussion detecting apparatus wherein         stitches in the net-like raw material, percussion sound in
   the percussion surface is formed by covering the plate-like        case of percussing the head becomes extremely small.
   case with a soft high-molecular compound material, there is           Furthermore, the present invention is characterized by an
                                                                   40
   such a problem that repulsive feeling at the time of per-          electronic percussion instrumental system which detects
   cussing the percussion surface is remarkable, so that good         percussion as electric signal and generates musical tone
   percussion feeling cannot be obtained. In addition, the above      based on the electric signal thus detected comprising a head
   described percussion detecting apparatus involves also such        the percussion surface of which to be percussed is tunable;
   a problem that there is a fear of disturbing the performance
                                                                   45 a percussion detecting means for detecting percussion upon
   by the percussion sound, because the percussion sound              the aforesaid head as electric signal; a means for detecting
   generated at the time when the percussion surface is per-          a position of percussion point for performing arithmetic
   cussed is significant.                                             computations by inputting the electric signal detected by
      On one hand, it has been proposed to utilize, as a              means of the aforesaid percussion detecting means to detect
   percussion detecting means, a percussion surface, the ten- 50 percussion point positional information; and a display means
   sion of which can be adjusted and is called by the name of         for effecting a display corresponding to the percussion point
   "head" in acoustic drum, which is further provided with a          positional information detected by the aforesaid means for
   sensor for detecting percussion.                                   detecting a position of percussion point.
      In the present specification, adjustment for tension of a          Therefore, in accordance with the present invention, since
   percussion surface which is adjustable as in the head of 55 a display corresponding to the percussion point positional
   acoustic drum will be called by the term "tuning".                 information is effected by means of the display means, the
      In the case when the head of acoustic drum is served for        head can be tuned while observing visually the resulting
   a percussion detecting means as described above, there is          display, so that correct tuning of the head can easily be
   such a problem that although percussion feeling is excellent       realized.
   in this case because the head for the acoustic drum is utilized 60    Moreover, the present invention is characterized by an
   as it is, the percussion sound becomes remarkable so that it       electronic percussion instrumental system comprising fur-
   disturbs the performance.                                          ther an arithmetic computation compensating means for
                                                                      compensating the arithmetic computations in the aforesaid
               OBJECTS AND SUMMARY OF THE                             means for detecting the position of percussion point in
                            INVENTION                              65 response to a tuning state of the aforesaid head.
      The present invention has been made in view of the                 Therefore, in accordance with the present invention, the
   problems as described above involved in the prior art              arithmetic computations for detecting the percussion point
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   positional information in response to tuning of the head are             FIG. 14 is a functional block diagram showing the con-
   compensated, the position of percussion point is also com-            stitution of a means for detecting the position of percussion
   pensated in response to tuning of the head, whereby it                point in a DSP in a normal performance mode;
   becomes possible to display the correct position of percus-              FIG. 15 is an explanatory diagram showing the charac-
   sion point.                                                      5    teristic properties of table 1;
      Still further, the present invention is characterized by an           FIG. 16 is an explanatory diagram showing the charac-
   electronic percussion instrumental system which detects               teristic properties of table 2;
   percussion as electric signal and generates musical tone                 FIG. 17 is a flowchart of a tuning processing routine
   based on the electric signal thus detected comprising a               executed by the CPU;
   tunable head; a means for detecting a position of percussion     10
                                                                            FIGS. 18(a), 18(b), and 18(c) are explanatory diagrams
   point for detecting the position of percussion point upon the
                                                                         showing examples of display mode in percussion point
   aforesaid head; and a display means for effecting a display
                                                                         positional information AP by means of a display unit
   in response to the results detected by the aforesaid means for
                                                                         wherein FIG. 18(a) shows the first displaying example, FIG.
   detecting the position of percussion point; a percussion point
                                                                         18(b) shows the second displaying example, and FIG. 18(c)
   positional mark for tuning being provided on the aforesaid       15
                                                                         shows figures indicating a variety of the percussion point
   head.
                                                                         positional information AP in the display column for the
      Therefore, in accordance with the present invention, since         percussion point positional information AP in FIG. 18(b),
   a tuning operation can be conducted by a user in accordance           respectively;
   with such a manner that a place marked with a percussion                 FIG. 19 is a flowchart of a normal performance processing
                                                                    20
   point positional mark is percussed by the user, and the result
                                                                         routine executed by the CPU;
   detected at that time by the position of percussion point
   detecting means is confirmed while watching the display                  FIG. 20 is a schematic top view of a percussion detecting
   means, tuning operation can simply be carried out without             apparatus showing an example of percussion point posi-
   relying upon user's sense.                                            tional mark displayed on the top of a head;
                                                                    25      FIG. 21 is a flowchart showing a typical operational
         BRIEF DESCRIPTION OF THE DRAWINGS                               procedure for the tuning operation of a head;
                                                                            FIG. 22 is a perspective view showing a modified
      The present invention will become more fully understood
                                                                         example of the percussion detecting apparatus correspond-
   from the detailed description given hereinafter and the
                                                                         ing to FIG. 2;
   accompanying drawings which are given by way of illus- 30
   tration only, and thus are not !imitative of the present                 FIG. 23 is a perspective view showing a modified
   invention, and wherein:                                               example of the percussion detecting apparatus correspond-
                                                                         ing to FIG. 2;
      FIG. 1 is a constitutional block diagram showing an
   example of manner of practice of the electronic percussion               FIGS. 24(a) and 24(b) are schematic top views of a
   instrumental system according to the present invention;       35
                                                                         percussion detecting apparatuses each showing an example
                                                                         of percussion point positional mark displayed on the top of
      FIG. 2 is a perspective view showing a percussion detect-
                                                                         the head wherein FIGS. 24(a) and 24(b) show different
   ing apparatus;
                                                                         examples from each other; and
      FIG. 3 is a sectional view taken along the line III-III of            FIG. 25 is an explanatory view showing another example
   FIG. 2;                                                               of display mode in the percussion point positional informa-
                                                                 40
      FIG. 4 is a perspective view showing a head;                       tion AP by means of a display unit.
      FIG. 5 is a perspectively exploded view of the head;
                                                                               DETAILED DESCRIPTION OF THE
      FIG. 6 is an explanatory view showing a case where
                                                                                   PREFERRED EMBODIMENTS
   directions in weave patterns of a first net and a second net
   intersect obliquely;                                          45    An example of manner of practice of the electronic
      FIGS. 7(a), 7(b), and 7(c) are explanatory views wherein      percussion instrumental system and the percussion detecting
   FIG. 7(a) is a fragmentary view taken in the direction of the    apparatus in the electronic percussion instrumental system
   arrow Aof FIG. 7(b), FIG. 7(b) is a front view, and FIG. 7(c)    according to the present invention will be described in detail
   is a fragmentary view taken in the direction of the arrow C      hereinafter in conjunction with the accompanying drawings.
   of FIG. 7(b), respectively.                                   50    FIG. 1 is a constitutional block diagram showing an
      FIG. 8 is a sectional view corresponding to FIG. 3 in the     example   of manner of practice of the electronic percussion
   case when the head is percussed with a stick;                    instrumental system according to the present invention
      FIG. 9 is a sectional view corresponding to FIG. 3 in the     wherein the electronic percussion instrumental system com-
   case when the rim is percussed with a stick;                     prises a percussion detecting apparatus 10 provided with a
                                                                 55 head sensor 14 functioning as a percussion detecting means
      FIG. 10 is a sectional view corresponding to FIG. 3 in the
                                                                    for detecting percussion applied to a head 12 the surface of
   case when the head is either brushed or percussed with a
                                                                    which is composed of a net-like raw material which will be
   brush;
                                                                    described hereunder, and a rim-shot sensor 18 for detecting
      FIG. 11 is a flowchart of the main routine executed by a      percussion applied to a rim 16; an analog-to-digital (ND)
   CPU;                                                          60 converter 20 which performs analog-to-digital conversion of
      FIG. 12 is a flowchart of a DSP percussion signal pro-        the detected signals output from the head sensor 14 and the
   cessing routine executed by the DSP;                             rim-shot sensor 18 in time-sharing manner and inputs the
      FIGS. 13(a) and 13(b) are explanatory views for charac-       converted signals to a DSP 22 which will be mentioned
   teristic properties of a head composed of a net-like raw         hereinafter; the DSP 22 which detects the percussion applied
   material wherein FIG. 13(a) shows the positions of percus- 65 to the head 12, the intensity thereof, the position of percus-
   sion point, and FIG. 13(b) shows the output waveforms,           sion from the detected signals which are derived from the
   respectively;                                                    head sensor 14 and which were input from the analog-to-
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   digital converter 20 as well as performance by means of a                Moreover, on the top of the head 12 is provided a
   brush, and in addition, the DSP detecting also the percussion         percussion point positional mark M which is formed with a
   applied to the rim 16 and the intensity thereof from the              circular contour by means of printing as shown in FIG. 20
   detected signals which are derived from the rim-shot sensor           and which is used in case of tuning operation.
   18 and which were input from the analog-to-digital con- 5                Furthermore, the rim 16 is prepared by integrally molding
   verter 20 to supply the results thus detected to a CPU 24
                                                                         a metallic material and is composed of a flange portion 66
   which will be described hereunder; the CPU 24 which
                                                                         which is positioned around the outer circumference of the
   supplies the output from the DSP 22 to a sound source IC 34,
   which will be undermentioned, wherein the output is con-              rim and has hole potions 64 into each of which an engaging
   verted into required performance information, as well as              pin 54 can be inserted, and a rim percussion portion 68
                                                                      10 which is ascendingly formed and extended from the flange
   detects operations of a group of operation keys 30 which will
   be mentioned hereinafter, and controls the DSP 22; a read             portion 66 around the inner circumference thereof The top of
   only memory (ROM) 26 storing a program or the like which              the rim percussion portion 68 is covered with a covering
   is to be executed by the CPU 24, a random access memory               member 70 made from an elastic material such as rubber,
   (RAM) 28 functioning as a working area required for                   sponge and the like.
   executing the program by means of the CPU 24; the group 15               A manner for fixing the head 12 and the rim 16 to the
   of operation keys 30 including mode selecting keys for                barrel section 50 each of them having the structure described
   setting normal performance mode, brush performance mode               above is such that the head 12 is first put on the barrel section
   or tuning mode, keys for selecting tone color or setting level        50, then, the rim 16 is put on the head 12, and the positions
   or the like, and the like keys; a display unit 32 for displaying      of them are adjusted in such a way that each hole portion 64
   an operation mode selected by a key in the group of 20 of the rim 16 communicates with each tapped hole defined
   operation keys 30, tone colors required for the tone color
                                                                         on each engaging portion 52 of the barrel section 50.
   selection, and a tuning state in case of tuning mode; the
                                                                         Thereafter, each engaging pin 54 is inserted into each hole
   sound source IC 34 which reads a waveform memory 36
   which will be undermentioned on the basis of performance              portion 64 of the rim 16 as well as into each tapped hole
   information from the CPU 24 to form digital musical tone 25 defined on each engaging portion 52 of the barrel section 50,
   signals and outputs the signals thus formed to a digital-to-          and the thread ridge of each engaging pin 54 is threadedly
   analog (DIA) converter 38 which will be described hereun-             combined with the thread groove in each engaging portion
   der; the waveform memory 36 storing sampling waveform                 52 of the barrel section 52, so that the head 12 and the rim
   data for forming the musical tone signals; and the digital-           16 are forcedly fixed to the barrel section 50 by means of the
   to-analog converter 38 for converting digital musical tone            locking projection 54a of each engaging pin 54.
                                                                      30
   signals supplied from the sound source IC 34 into analog                 More specifically, with the progress of screwing each
   musical tone signals to output the signals thus converted to          engaging pin 54 in the tapped hole in each engaging portion
   a sound system composed of an amplifier, a speaker and the            52 of the barrel section 50, the flange portion 66 of the rim
   like.                                                                 16 is pressed downwards in FIG. 3 by means of each locking
      Then, the constitution of the percussion detecting appa-           projection 54a, so that the frame 60 of the head 12 is also
   ratus 10 will be described by referring to FIG. 2 being a 35 pressed downwards through the flange portion 66. As a
   perspective view showing the percussion detecting appara-             result, the first net 56 and the second net 58 the downward
   tus 10 and FIG. 3 being a sectional view taken along the line         movement of which are restricted by an upper end portion
   III-III of FIG. 2.
                                                                         50a of the barrel section 50, respectively, are stretched over
      The percussion detecting apparatus 10 contains a cylin-            the barrel section 50 with a prescribed tension. Thus, when
   drical barrel section 50, and around the outer circumference       40
                                                                         an amount of screwing each engaging pin 54 in each tapped
   of the barrel section 50 are formed protrusively engaging
                                                                         hole defined on each engaging portion 52 of the barrel
   portions 52 each having a tapped hole (not shown) provided
                                                                         section 50 is adjusted, the tension of the first net 56 and the
   with a thread groove (not shown) with a prescribed interval
   along the diametrical direction of the barrel section. Into the       second net 58 can be arbitrarily controlled, whereby tuning
   engaging portion 52 is screwed an engaging pin 54 on which 45 of the head 12 can be carried out.
   is formed a thread ridge to be combined with the thread                  Furthermore, a head sensor supporting material 72 is
   groove formed on the engaging portion 52, so that the head            placed in the barrel section 50 in such that the head sensor
   12 and the rim 16 are fixed to the barrel section 50 through          supporting material 72 intersects the position of the axial
   the engaging pin 54. Furthermore, a locking projection 54a            center of the barrel section 50. A head sensor 14 is bonded
   for locking the rim 16 is a formed on the engaging pin 54. 50 to the top of the head sensor supporting material 72 at the
      The head 12 is prepared as shown in FIGS. 4 and 5 in such          central portion thereof by means of a cushioning double-
   a manner that a net-like raw material composed of a first net         coated tape 78 which will be described hereinafter so as to
   56 and a second net 58, each of which is woven in accor-              be in contact with the second net 58. In other words, the head
   dance with plane weave wherein the longitudinal and trans-            sensor 14 is disposed on the under surface of the net-like raw
   verse fibers cross at right angles, are laminated to one 55 material composed of the first net 56 and the second net 58
   another so as to cross obliquely their longitudinal and               in the head 12 at the center thereof in contact therewith.
   transverse weave pattern directions, and the net-like raw                As shown in FIGS. 7(a), 7(b), and 7(c), the head sensor
   material thus arranged is bonded to a frame 60. It is to be           14 is provided with a disc-shaped piezoelectric element 76
   noted herein that the expression "the weave pattern direction         containing wires for output signal 74, and to the under
   of the first net 56 crosses obliquely that of the second net 58" 60 surface of the piezoelectric element 76 is bonded the cush-
   means that when the first net 56 wherein the longitudinal and         ioning double-coated tape 78. A diameter of the cushioning
   transverse fibers cross at right angles is superposed on the          double-coated tape 78 is made to coincide with an node
   second net 58 wherein the longitudinal and transverse fibers          diameter of the piezoelectric element 76.
   cross at right angles, adjacent fibers in the first net 56 and the       Furthermore, to the top of the piezoelectric element 76 is
   second net 58 thus superposed intersect with each other at an 65 bonded a frustoconical cushioning member 80 made from an
   angle a which is smaller than 90 degrees as shown in FIG.             elastic material such as rubber, sponge and the like. The
   6.                                                                    cushioning member 80 has a bottom surface of a larger in
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   diameter than that of the piezoelectric element 76, the cross           Further, since the cushioning member 80 bonded to the
   section of which tapers off upwardly, and it is in contact with      top of the piezoelectric 76 of the head sensor 14 is in contact
   the second net 58 at the extreme end of the cushioning               with the second net 58 of the head 12 at the site of the
   member 80 of a thin diameter.                                        frustoconical extreme end portion having a thin diameter
       Moreover, in the vicinity of the rim percussion portion 68 5 and a small area, vibrations of percussion in the head 12 are
   disposed on the upper portion inside the barrel section 50 is        hardly transmitted directly to the piezoelectric element 76,
   bonded the rim-shot sensor 18 by means of the cushioning             so that damage of the piezoelectric element 76 is suppressed.
   double-coated tape 78. The rim-shot sensor 18 is provided               In addition, since a diameter of the cushioning double-
   with the disc-shaped piezoelectric element 76 containing             coated tape 78 bonded to the under surface of the piezo-
   wires for output signal 74, and to the under surface of the 10 electric element 76 is made to be equal to the node diameter,
   piezoelectric element 76 is bonded the cushioning double-            sensitivity of the piezoelectric element 76 increases, so that
   coated tape 78. The diameter of the cushioning double-               delicate variations in the oscillation due to differences in
   coated tape 78 is made to coincide with the node diameter            positions percussed can be more precisely detected.
   of the piezoelectric element 76.                                        Still further, since air passes through openings of stitches
       Namely, in the electronic percussion instrumental system 15 in the net-like raw material composed of the first net 56 and
   according to the present invention, a member obtained by             the second net 58, percussion sound in the case when the
   removing the cushioning member 80 from the head sensor               head 12 is percussed is extremely small. Such percussion
   14 is used as the rim-shot sensor 18, whereby improvements           sound in case of percussing the head 12 is dependent upon
   in efficiency of parts to be used are intended.                      a ratio of openings in the net-like raw material composed of
                                                                     20 the first net 56 and the second net 58, and therefore, the
       In this electronic percussion instrumental system, a vari-
   ety of heads 12 having different diameters as well as a              higher ratio of openings brings about the smaller percussion
   variety of the barrel sections 50 being adapted for such             sound. However, an excessive ratio of openings results in
   various heads and the like members are prepared, whereby             low tension of the first net 56 and the second net 58 so that
   a size of the head 12 is suitably changed.                           the percussion feeling deteriorates. Accordingly, it is pre-
                                                                     25 ferred to suitably keep a balance between the percussion
       In the constitution as described above, when the head 12
   is percussed with a stick 100 (see FIG. 8), the head sensor          feeling and the ratio of openings.
   14 detects the percussion, while when the rim 16 is per-                Yet further, since the rim 16 is covered with the covering
   cussed with the stick 100 (see FIG. 9, but it is to be noted         member 70, the percussion sound in case of percussing the
   that both the head 12 and the rim 16 are percussed with the 30 rim 16 is also reduced.
   stick 100 in FIG. 9), the rim-shot sensor 18 detects the                In this respect, the oscillation in case of percussing the rim
   percussion. Further, when the head 12 is brushed or per-             16 is mostly transmitted to the barrel 50, the performance
   cussed with a brush 102 (see FIG. 10), the head sensor 14            played by percussing the rim 16 can be controlled in
   detects the contact of the brush 102 with the head 12.               accordance with output waveforms in the rim-shot sensor 18
       In these circumstances, when the head 12 is percussed 35 attached to the barrel 50.
   with the stick 100, extremely good percussion feeling                   In the following, electrical processing contents in the
   closely resembling the percussion feeling in the case when           electronic percussion instrumental system according to the
   the head of an acoustic drum is percussed can be obtained            present invention will be described by referring to the
   because of the elasticity of a net-like raw material composed        accompanying flowcharts.
   of the first net 56 and the second net 58.                        40    FIG. 11 is a flowchart of the main routine executed by the
       In addition, since the first net 56 and the second net 58        CPU 24 wherein when the power is turned on, first,
   which have been woven in accordance with plane weaving               memories, registers and the like are initialized (step S802).
   manner wherein the longitudinal and transverse fibers cross             Then, it is judged which operational mode has been set,
   at right angles are laminated obliquely with each other in the       i.e., it is judged whether a tuning mode which changes
   net-like raw material, the tension is uniformized over the 45 percussion feeling of the head 12 by adjusting tension in the
   whole surface of the net-like raw material, so that there is         net-like raw material of the head 12, or a normal perfor-
   little variations in percussion feeling due to differences in the    mance mode which sounds percussion instrumental sounds
   position percussed, and as a result, output waveforms from           by detecting percussion upon the head 12 and percussion
   the head sensor 12 become the ones which are easily                  upon the rim 16, or a brushing performance mode which
   processed.                                                        50 sounds percussion instrumental sounds by detecting either
       As described above, performance played by percussing             brushing or percussing the head 12 with the brush 102 has
   the head 12 is controlled by output waveforms from the head          been established (step S804) by supervising an operational
   sensor 14 being in contact with the under surface of the             state of mode selecting keys of the group of operation keys
   center in the first net 56 and the second net 58 of the head         30.
   12. In this respect, since the head sensor 14 is positioned at 55       As a result, when it has been judged that the tuning mode
   the center of the first net 56 and the second net 58 of the head     had been set in the step S804, the DSP 22 is set to the tuning
   12, variations in output waveforms due to differences in the         mode, whereby the DSP 22 is adapted to be set so as to
   position of the head 12 percussed become concentric circu-           execute the DSP percussion signal processing routine shown
   lar form, so that variations in tone color simulating acoustic       in FIG. 12 (step S806). Thereafter, the tuning processing
   drum are easily expressed.                                        60 routine executed by the CPU 24 shown L in FIG. 17 is
       Moreover, since the cushioning member 80 of the head             executed (step S808), then, processing for stopping the
   sensor 14 is in contact with the under surface of the center         tuning mode by means of the DSP 22 is conducted (step
   of the second net 58 of the head 12, oscillation of the head         S810), and the procedure returns to the step S804.
   12 attenuates rapidly so that the output signal attenuates also         On one hand, when it has been judged that the normal
   rapidly, whereby erroneous detecting operation in case of 65 performance mode had been set in the step S804, the DSP 22
   percussing the head 12 in a rapid and repeated manner is             is set to the normal performance mode, whereby the DSP 22
   prevented.                                                           is adapted to be set so as to execute the DSP percussion
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   signal processing routine shown in FIG. 12 (step 5812).             operates for counting during only a period wherein the first
   Thereafter, the normal performance processing routine by            half-wave detection circuit detects first half-wave, and an
   the CPU 24 shown in FIG. 19 is executed (step 5814), then,          arithmetic circuit calculates the position of percussion point
   processing for stopping the normal performance mode in the          from the count value of the counter. The position of percus-
   DSP 22 is conducted (step 5816), and the procedure returns 5 sion point thus calculated is input to the CPU 24 as percus-
   to the step 5804.                                                   sion point positional information in head.
       On the other hand, when it has been judged that the                The DSP percussion signal processing routine will be
   brushing performance mode had been set in the step 5804,            described herein in detail by referring to FIG. 12 wherein
   the DSP 22 is set to the brushing performance mode (step            this DSP percussion signal processing routine is executed
   5818). Thereafter, the brushing performance processing 10 repeatedly in every sampling periods of the analog-to-digital
   routine by the CPU 24 is executed, then, processing for             converter 12.
   stopping the brushing performance mode in the DSP 22 is                It is to be noted that since the above described functional
   conducted (step 5816), and the procedure returns to the step        block diagram shown in FIG. 14 indicates only the function
   5804. It is to be noted that since the processing for brushing      for detecting percussion point positional information in
   performance mode is not related to the subject matter of the 15 head, a function for detecting percussion force information
   present invention, the detailed description therefor will be        shown in FIG. 12 has been omitted. Furthermore, the
   omitted.                                                            functions for DC cut filter and LP filter shown in FIG. 14 are
       In the following, the DSP percussion signal processing          considered in FIG. 12 to be included in the processing for
   routine executed by the DSP 22 shown in FIG. 12 will be             inputting sampling data S (step 5902), so that the clear
   described, and the this processing is based on the following 20 indication thereof is omitted for simplifying the flowchart.
   characteristic features.                                               In the DSP percussion signal processing routine, the
       Namely, when detection signal of the head sensor 14 in          sampling data S is first input (step 5902), and it is judged
   the case when the head 12 composed of a net-like raw                whether the leading edge has been detected or not (step
   material is percussed is observed, there is such a character-       5904). In the case where it was judged that the leading edge
   istic that a first half-wave time changes dependent on a 25 had been detected, a timer Tis reset (step 5906), then, a first
   position of percussion point in a certain frequency band.           count flag of is turned ON (step 5908), and a maximum
   More specifically, as shown in FIGS. 13(a) and 13(b), when          value detection flag mf is turned ON (step 5910).
   the first half-wave time in the case where the center of the           The detection of leading edge in the step 5904 may be
   head 12 is percussed (position of percussion point A), the          conducted specifically by either a manner wherein a differ-
   first half-wave time in the case where the outer circumfer- 30 ence between the present sampling data S and the preceding
   ence of the head 12 is percussed (position of percussion            sampling data is determined, and if the difference is higher
   point C), and the first half-wave time in the case where the        than the prescribed value which has been previously set, it
   intermediate point defined between the center and the outer         is judged that there was a leading edge, or a well-known
   circumference of the head 12 is percussed (position of              manner for detecting leading edge of input signal.
   percussion point B) are represented by TA, T 0 and TB, 35              Furthermore, the timer T is a means for measuring a
   respectively, the relationship between them is expressed as         prescribed period of time for detecting the maximum value
   follows.                                                            of detection signal wherein the prescribed period of time is
       TA>TB>Tc.                                                       decided by a register time for storing the time which has
       As described above, when the head 12 composed of a              been previously set.
   net-like raw material is percussed, with the movement of 40            The first half-wave count flag cf is a flag representing
   position of the percussion point from the center to the outer       whether counting processing for the first half-wave counter
   circumference, a first half-wave time shortens gradually.           ct is to be made or not. When the first half-wave count flag
       On one hand, when tuning of the head 12 is made high,           cf has been turned ON, the counting processing for the first
   i.e., tension of the head 12 is increased, the first half-wave      half-wave counter ct is made, while the counting processing
   times TA, TB, and Tc shorten, respectively, while maintain- 45 for the first half-wave counter ct is not made in the case
   ing the relationship "TA> TB> Tc". On the other hand, when          when the first half-wave count flag cf has been turned OFF.
   tuning of the head 12 is made low, i.e., tension of the head           A maximum value detection flag mf is a flag representing
   12 is decreased, the first half-wave times TA, TB, and Tc           whether detection processing for the maximum value of
   lengthen, respectively, while maintaining the relationship          input data is to be made or not. When the maximum value
   "TA> TB> Tc"·                                                    50 detection flag mf has been turned ON, the detection pro-
       FIG. 14 is a functional block diagram showing the con-          cessing for the maximum value is made, while the detection
   stitution of a means for detecting the position of percussion       processing for the maximum value is not made, in the case
   point in a DSP 22. The outline of DSP percussion signal             when the maximum value detection flag mf has been turned
   processing routine will be described by referring to FIG. 14.       OFF.
   A detection signal detected by the head sensor 14 is sub- 55           In either the case where the processing in step 5910 has
   jected to analog-to-digital conversion by means of the              been completed or the case where it has been judged that the
   analog-to-digital converter 20, and the signal thus converted       leading edge had not been detected in the step 5904, the
   is input to a DC cut filter. The DC cut filter means a high pass    procedure proceeds to step 5912 wherein it is judged
   filter for removing DC component. The DC component of               whether or not the first half-wave count flag has been turned
   the detection signal thus input to the DC cut filter is 60 ON.
   removed, and is input to a low pass filter (LP filter) removing        It is to be noted herein that the step 5912, step 5914, step
   unnecessary high pass component. Then, the detection sig-           5916, and step 5918 relate to first half-wave count process-
   nal from which unnecessary high pass component has been             ing. In other words, the first half-wave count flag cf is turned
   removed is input to a first half-wave detection circuit. The        ON from the step 5912, and the first half-wave counter ct is
   first half-wave detection circuit detects the leading edge of 65 incremental until the first half-wave is completed.
   waveform of the detection signal thus input and the first zero         More specifically, when it is judged that the first half-
   cross, whereby the first half-wave is detected. A counter           wave count flag has not been turned ON, i.e., the first
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   half-wave count flag has been turned OFF, the procedure              present electronic percussion instrumental system, so that
   jumps to step S920 without accompanying the processing in            the table 1 of total nine kinds is provided.
   the step S914, the step S916, and the step S918.                        In FIG. 15, characteristics of the respective tuning types
      On the other hand, when it is judged that the first               of loose, medium, and tight are indicated in the case where
   half-wave count flag has been turned ON in the step S912, 5 the head type is SNARE in respect of the table 1. A position
   it is judged whether or not the first half-wave has been             of percussion point A (center), a position of percussion point
   completed (step S914). Then, when it is judged that the first        B (intermediate), and a position of percussion point C (outer
   half-wave has not been completed, the first half-wave                circumference) in the percussion point positional informa-
   counter ct is made incremental (step S916), while when it is         tion AP correspond to the position of percussion point A, the
   judged that the first half wave has been completed, the first
                                                                     10 position of percussion point B, and the position of percus-
   half-wave count flag cf is turned ON (step S918), and the
                                                                        sion point C in FIG. 10, respectively.
   procedure proceeds to the step S920.
      The completion of the first half-wave in the step S914               When completed the processing in the step 930, the
   corresponds to a point of time where the sampling data cross         procedure proceeds to step S932 wherein the percussion
   0 (zero). Judgment whether the sampling data have crossed            point positional information AIP is converted into a percus-
   0 (zero) or not may be made at the point of time when sign 15 sion force correcting coefficient K by employing a table 2
   of the sampling data S turns, the contents of the judgment           which is a percussion force correcting table for converting
   being such that the sampling data have crossed 0 (zero).             the percussion positional information AP obtained in the step
      In the step S920, it is judged whether the maximum value          S930 into the percussion force correcting coefficient K (step
   detection flag mf has been turned ON or not, and as a result,        S932).
   when it is judged that the maximum value detection flag mf 20           It is to be noted herein that the table 2 which is the
   has not been turned ON, i.e., it is judged that the maximum          percussion force correcting table for converting the percus-
   value detection flag mf has not been turned OFF, the DSP             sion positional information AP is selected in response to
   percussion signal processing routine is completed without            head type and tuning type as in the case of the table 1.
   taking a further step any more.                                         As described above, since three kinds of the head type,
      On the other hand, when it is judged that the maximum 25 i.e., TOM 1, TOM 2, and SNARE as well as three kinds of
   value detection flag mf has been turned ON, it is further            the tuning type, i.e., "loose", "medium", and "tight" have
   judged whether or not a timer T is larger than the register          been established in the present electronic percussion instru-
   time (step S922).                                                    mental system, so that the table 2 of total nine kinds is
      As a result, when the timer T is equal to or less than the        provided.
   register time, in other words, during a period where the 30             In FIG. 16, characteristics of the respective tuning types
   maximum value detection flag mf has been turned ON and               of loose, medium, and tight are indicated in the case where
   the timer Tis equal to or less than the register time in the step    the head type is SNARE in respect of the table 2. A position
   S922, the maximum value detection processing is executed             of percussion point A (center), a position of percussion point
   in step S924 and step S926.                                          B (intermediate), and a position of percussion point C (outer
      More specifically, the timer T is made incremental (step 35 circumference) in the percussion point positional informa-
   S924), the maximum value max is compared with the                    tion AP correspond to the position of percussion point A, the
   absolute value of the sample data S to rewrite the larger            position of percussion point B, and the position of percus-
   value into the maximum value max (step S916), and the DSP            sion point C in FIG. 10, respectively.
   percussion signal processing routine is completed.                      For instance, in the example shown in FIG. 16, when the
      Therefore, the maximum value max corresponds to the 40 tuning type is loose, "K=l" in the position of percussion
   maximum value of a percussion signal within a prescribed             point A (center), "K=4/3" in the position of percussion point
   time and decided by the register time.                               B (intermediate), and "K=3" in the position of percussion
      Furthermore, when the maximum value detection pro-                point C (outer circumference).
   cessing is completed as a result of such judgment that the              These head types and tuning types may be represented by
   timer T is larger than the register time in the step S922, the 45 numerical values, and further the table 1 as well as the table
   maximum value detection flag mf is turned OFF (step S928).           2 are not limited to the nine kinds, respectively.
      Then, the first half-wave counter ct is converted into a             When the processing in the step S932 is completed, the
   percussion point positional information AP by employing              procedure proceeds to step S934 wherein compensation
   table 1 which is a percussion point positional table for             arithmetic processing in which the maximum value max is
   converting a first half-wave count value being a value of the 50 multiplied by the percussion force correcting coefficient K is
   first half-wave counter ct into the percussion point positional      conducted to calculate compensated percussion force infor-
   information AP (step S930).                                          mation V.
      It is to be noted herein that the table 1 which is a                 When completed the step S934, the procedure proceeds to
   percussion point positional table for converting a first half-       step S936 wherein a sounding flag gf in the CPU 24 is turned
   wave count value being a value of the first half-wave counter 55 ON, the percussion point positional information AP and the
   ct into the percussion point positional information AP is            percussion force information V are set in the CPU 24, and
   selected in accordance with head type or tuning type.                the DSP percussion signal processing routine is completed.
      The head type is decided in response to a size of the head           Then, the tuning processing routine executed by the CPU
   12 so that TOM 1, TOM 2, and SNARE are established in                in the step S808 will be described by referring to FIG. 17.
   the present electronic percussion instrumental system. On 60            In this tuning processing routine, it is judged whether or
   one hand, the tuning type is decided in accordance with a            not there was an indication of change in a head type or a
   tuning state of the head 12, i.e., in response to tension of the     tuning type by operating a head type setting operation key
   head 12 so that "loose", "medium" and "tight" are estab-             (key for setting the head type) or a tuning type setting
   lished in the present electronic percussion instrumental             operation key (key for setting the tuning type) contained in
   system.                                                           65 the group of operation keys 30 (step Sl402). At the time of
      As described above, since three kinds of the head type and        turning on the power, a register head storing a head type and
   three kinds of the tuning type have been established in the          a register tuning storing a tunig type are also set in response
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   to the initialized state of the head type setting operation key     center "CENTER" and the rim 16 (RIM) in the head 12, the
   and the tunig type setting operation key in accordance with         tuning reference mark represented by a white triangle is also
   the processing of initialization in the step S802, respectively.    indicated at the intermediate point between the "CENTER"
      After such judgement that change of head type or tuning          and the "RIM" in FIG. 18(a).
   type had been indicated by the operation of the head type 5            The manner for displaying the percussion point positional
   setting key or the tuning type setting key of the group of          information AP on the display 32 is not limited to the
   operation keys 30 in the step Sl402, it is judged whether or        examples shown in FIGS. 18(a), 18(b), and 18(c), but it may
   not the change of head type has been indicated (step Sl404).        be indicated by either numerical values or a bar graph as in
      When it was judged that the change of head type had been         a level indication.
   indicated, stored contents of the register head are changed in 10      When completed the processing in the step Sl414, it is
   accordance with this indication of change (step Sl406).             judged whether or not a termination key in the group of
      In either the case where the processing in step Sl406 has        operation keys 30 has been operated (step Sl416), so that if
   been completed, or the case where it was judged that the            it was judged that the termination key in the group of
   change of head type had not been indicated in the step              operation keys 30 had not been operated, the procedure
   Sl404, it is judged whether or not the change of tuning type 15 returns to the step Sl402, and the processing is repeated.
   has been indicated (step S1048).                                       On the other hand, if it was judged that the termination
      When it was judged that the change of tuning type had            key in the group of operation keys 30 had been operated in
   been indicated, the stored contents of the register tuning is       the step Sl416, the procedure returns to the main routine.
   changed in accordance with this indication of change (step             Then, a normal performance processing routine executed
   Sl410).                                                          20 by the CPU 24 in the step S814 will be described by
      In either the case where the processing in step Sl410 has        referring to FIG. 19.
   been completed, or the case where it was judged that the               In the normal performance processing routine, it is first
   change of tuning type had not been indicated in the step            judged whether or not a level key (key for setting a volume
   Sl 408, the table 1 or the table 2 is selected in accordance        of sounding musical tone), a tone color key (key for setting
   with the stored contents of the register head or the register 25 tone color of sounding musical tone), or a tuning key (key
   tuning, and it is set to the DSP 22 (step Sl412).                   for setting a pitch of sounding musical tone) contained in the
      As a result of conducting the procedure as described             group of operation keys 30 has been changed. At the time
   above, in either the case where the processing in step Sl412        when the power is turned on, a register level for storing
   has been completed, or the case where it was judged that            level, a register tone for storing tone color, and a register
   both the head type setting key or the tuning type setting key 30 pitch for storing pitch are set in response to the initialized
   in the group of operation keys 30 had not been operated so          state of the level key, the tone color setting key, and the
   that no change of the head type and the tuning type had not         tuning key, respectively, in accordance with the initialization
   been indicated, the percussion point positional information         processing in the step S802.
   AP sent out from the DSP 22 is displayed on the display unit           In the step Sl602, when it was judged that the level key,
   32 (step Sl414). More specifically, the percussion point 35 the tone color setting key, or the tuning key in the group of
   positional information AP set in the CPU in the DSP                 operation keys 30 had been changed, then, it is judged
   percussion signal processing routine is displayed on the            whether the level key has been changed or not (step Sl604).
   display unit 32.                                                       In this case, if it was judged that the level key had been
      In FIGS. 18(a), 18(b) and 18(c) are shown examples of            changed, the stored contents in the register level are changed
   manner of displaying the percussion point positional infor- 40 in accordance with the former change (step Sl606).
   mation AIP displayed on the display unit 32 in the step                In either the case where the processing in step Sl606 has
   Sl414 wherein FIG. 18(a) shows a first displaying example,          been completed, or the case where it was judged that the
   FIG. 18(b) shows a second displaying example, and FIG.              level key had not been changed in the step Sl604, it is
   18(c) shows marks representing a variety of percussion point        judged whether or not the tone color key has been changed
   positional information AP being displayed in a display 45 (step Sl608).
   column for the percussion point positional information AP in           In this case, when it was judged that the tone color key
   FIG. 18(b), respectively. In FIGS. 18(a) and 18(b), it is           had been changed, stored contents of a register tone are
   arranged in such that numbers which have been previously            changed in accordance with the former change, and a start
   assigned to respective tuning types are displayed in the            address and an end address of waveform data corresponding
   displaying column of tuning type.                                50 to the stored contents of the register tone are set in the sound
      In FIG. 18(a), "CENTER" indicates the center position of         source IC 34 (step Sl610).
   the head 12, and "RIM" indicates a position of the rim 16.             In either the case where the processing in step Sl610 has
   Furthermore, a black triangle is a mark indicating the              been completed, or the case where it was judged that the tone
   percussion point positional information AP, while a white           color key had not been changed in the step Sl608, it is
   triangle is a tuning reference mark indicated in a position 55 judged whether or not the tuning operation key has been
   corresponding to the percussion point positional mark M             changed (step Sl612).
   indicated in the head 12 (see FIG. 20).                                It is to be noted that the "tuning" in this step Sl612 is
      Since a position between the center "CENTER" and the             different from the above described tuning of the head, and it
   rim 16 "RIM" in the head 12 is decided by the percussion            means that a pitch is adjusted with respect to sounding
   point positional information AP, the position thus decided is 60 musical tone (sound of a percussion instrument).
   indicated by a black triangle.                                         In this case, when it was judged that the tuning key had
      Furthermore, the tuning reference mark represented by a          been changed, stored contents of the register pitch are
   white triangle shows a position corresponding to the per-           changed in accordance with the former change, and the pitch
   cussion point positional mark M indicated in the head 12            information corresponding to the stored contents of the
   shown in FIG. 20 as described above. Namely, since the 65 register pitch are set to the sound source IC 34 (step Sl614).
   percussion point positional mark M shown in FIG. 20 is                 When the processing in step Sl614 has been completed as
   indicated at the position of intermediate point between the         a result of conducting the procedure as described above, or
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   it was judged that the tuning key had not been operated in              in the tuning processing routine executed by the CPU shown
   the step 51612, or in the case where any of the level key,              in FIG. 17 is conducted.
   tone color setting key, or the tuning key in the group of                  Then, in this tuning operation, a mark M at the position of
   operation keys 30 had not been changed, then, it is judged              percussion point in the head 12 which is placed at a position
   whether or not a sounding flag gf is turned ON (step 51616).       5    close to the engaging pin 54 in operation is percussed (step
      Specifically, it is judged whether or not sounding has been          51806). It is to be noted that the procedure on and after the
   instructed as a result of turning ON the sounding flag gf of            step 51806 becomes actual tuning operations.
   the CPU 24 in the step 5936 of the DSP percussion signal                   In the step 51806, when the mark M at the position of
   processing routine.                                                     percussion point of the head 12 is percussed, the percussion
      In this case, if it was judged that the sounding flag gf had    10   point positional information AP sent from the DSP 22 as a
   been turned ON, the results of arithmetic computations of               result of execution of percussion signal processing routine
   "level x V" are set to the sound source IC 34 as the level              shown in FIG. 12 is displayed on the display unit 32 in the
   information (step 51618). More specifically, values stored in           step 51414 contained in the tuning processing routine
   the register level which has been set by a level key are                executed by the CPU shown in FIG. 17.
   multiplied by percussion force information V to calculate a        15      In this case, it is confirmed that a black triangle indicating
   sounding level, and the results of this arithmetic computa-             the percussion point positional information AP due to the
   tions are set to the sound source IC 34 as the level infor-             result of the percussion in the step 51806 has been displayed
   mation.                                                                 at which position by visual observation of the display unit 32
      When completed the processing in the step 51618, the                 (step 51808).
   percussion point positional information AP is converted into       20      Then, it is judged whether or not there is a misregistration
   a filter coefficient for controlling filter characteristics, and        between the position of the black triangle indicating the
   the converted information is set in the sound source IC 34              percussion point positional information AP and a white
   (step 51620). More specifically, when the converted infor-              triangle indicating the tuning reference mark (step 51810).
   mation is set to the IC 34 after converting the percussion                 In this case, when it is judged that there is a misregistra-
   point positional information AP into the filter coefficient for    25   tion between the position of the black triangle indicating the
   controlling filter characteristics, tone colors corresponding           percussion point positional information AP and the white
   to the positions of percussion point can be obtained. It is to          triangle indicating the tuning reference mark, the engaging
   be noted that the processing for obtaining tone colors                  pin 54 is adjusted so as to cancel the aforesaid
   corresponding to the positions of percussion point is not               misregistration, thereby carrying out tuning for adjusting
   limited to that illustrated in the step 51620, but the process-    30   tension of the head 12 (step 51812).
   ing in the step 51620 may be replaced by either a manner                   Thus, after completing the operation in the step 51812,
   wherein waveforms to be read out are switched or a manner               the procedure returns to the step 51806 and the operation is
   wherein a mixed ratio of a plurality of waveforms is                    repeated.
   changed.                                                                   On the other hand, if it was judged that there was no
      When the processing in the step 51620 is completed, the         35   misregistration between the position of the black triangle
   sounding flag gf is turned OFF (step 51622). In other words,            indicating the percussion point positional information AP
   as a result of conducting the procedure as described above,             and the white triangle indicating the tuning reference mark,
   the sounding flag is turned OFF.                                        then it is judged whether the tuning operation has been
      In either the case where the processing in the step 51622            completed or not (step 51814). In this case, the judgment
   has been completed, or the case where it was judged that the       40   whether or not the tuning operation has been completed is
   sounding flag gf had been turned OFF in the step 51616, it              specifically a judgment whether or not tuning operations of
   is judged whether or not the termination key in the group of            all the engaging pins 54 have been completed.
   operation keys 30 has been operated (step 51624), so that if               In this case, when it was judged that the tuning operations
   it was judged that the termination key of the group of                  had not been completed, the procedure returns to the step
   operation keys 30 had not yet been operated, the procedure         45   51806 to perform tuning operations with respect to the
   returns to the step 51602 to repeat the processing.                     engaging pins 54 to which have not yet been subjected the
       On the other hand, when it was judged that the termina-             tuning operations.
   tion key in the group of operation keys 30 had been operated,              On the contrary, when it was judged that the tuning
   the procedure returns to the main routine.                              operations had been completed, the procedure of the tuning
      The processing for sounding musical tones from the              50   operation is finished.
   present electronic percussion instrumental system to the                   It is to be noted that the above described manner of
   outside is carried out by controlling the sound source IC 34.           practice may be modified as follows.
      In the following, a typical operational procedure for                   (l)As shown in FIG. 22, the head 12 is fixed to either side
   tuning operation of the head 12 will be described by refer-             of the opening of the barrel section 50, while the head of an
   ring to the flowchart shown in FIG. 21. The flowchart of           55   acoustic drum (cannot be found in FIG. 22) may be fixed to
   FIG. 21 illustrates the operational procedure of the tuning             the other side of the opening of the barrel section. In this
   operation effected by a user after selecting the tuning mode            case, when the head 12 is percussed, the head of acoustic
   by the user.                                                            drum positioned on the opposite side resonates to sound at
      Namely, when the user selects the tuning mode, then he or            an appropriate volume. Accordingly, when compared with
   she sets first a desired head type by operating a head type        60   the case where only the head 12 is fixed to the barrel section
   setting key in the group of operation keys 30 (step 51802),             50, a player can perform the percussion instrument with
   and thereafter, he or she sets a desired tuning type by the             much more close feeling to that of acoustic drum.
   operation of a tuning type setting key of the group of                     (2)As shown in FIG. 23, to the outer circumference of the
   operation keys 30 (step 51804).                                         head 12 composed of the first net 56 and the second net 58
      In accordance with the operations in the steps 51802 and        65   may be bonded an annular film 112. In this case, since a ratio
   51804, the processing specified in the respective steps                 of opening in the first net 56 and the second net 58 of the
   51402, 51404, 51406, 51408, 51410, and 51412 contained                  head 12 becomes low in comparison with that of the above
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   described manner of practice, the percussion sound becomes            Specifically, the manner may be carried out in such a way
   larger than that of the above described manner of practice.        that tuning reference data are read out in case of the
   For this reason, a player can perform the resulting percus-        processing for displaying the percussion point positional
   sion instrument with much more close feeling to that of            information AP in the step Sl414 of the tuning processing
   acoustic drum. Furthermore, when an area of the film 112 to 5 routine executed by the CPU shown in FIG. 17, a deviation
   be bonded to the first net 56 and the second net 58 in the         between the tuning reference data and the percussion point
   head 12 is allowed to vary, the volume in percussion can be        positional information AP is calculated, and the deviation
   controlled. Moreover, stitches may be filled with an adhesive      represented by the calculated result is displayed on the
   to bond the first net 56 to the second net 58 in place of          display unit 32. If it has been adapted to display "O" on the
   bonding of the film 112.
                                                                   10 display unit 32 in case of no deviation, it means that tuning
      (3) The net-like raw material is not limited to a two-ply       is matched in the case when indication "O" is displayed on
   plane weave net, but one-ply or three---{)r more ply net may       the display unit 32.
   also be used. Furthermore, a weaving manner of net is not             (10) As a displaying manner in the display unit 32, there
   limited merely to plane weave. In the case where a net-like
                                                                      are a manner wherein it may notify that the tuning is
   raw material is composed of a single net, it is preferred to
   use a triaxially woven net which balances tension not only 15 matched in the case when a difference between the tuning
   in the crossed direction of woven fibers, but also in an           difference data and the percussion point positional informa-
   oblique direction.                                                 tion AP reaches a prescribed value or lower, and a manner
      (4) A shape of the cushioning member 80 in the head             wherein a difference between the tuning reference data and
   sensor 14 is not limited to the frustoconical shape, but a         the percussion point positional information AP may be
   truncated pyramid shape may be adopted.                         20 displayed in accordance with cent indication as utilized in a
      (5) A constitution of the sound source is not limited to the    tuning device for stringed instruments such as guitar and the
   above described wave-form read-out system, but sound               like in addition to the manners described above.
   sources of a variety of systems may be employed.                      Since the present invention has been constituted as
   Furthermore, a PCM sound source sounding PCM sampling              described above, it provides such an excellent advantage
   sounds is not used, but a resonator composed of oscillator 25 that a percussion detecting apparatus, which is excellent in
   and the like may be used, otherwise audio signals input from       percussion feeling, and the percussion sounds of which are
   the outside may also be employed.                                  very small, in electronic percussion instrumental system can
      (6) While the percussion point positional information AP        be realized.
   has been displayed on the display 32 in the above described           Furthermore, since the indication corresponding to a
   manner of practice, instead of the display, it may be adapted 30 percussion position of the head has been made in the present
   to sound such sound signal having a pitch corresponding to         invention, such an excellent advantage that correct tuning
   the percussion point positional information AP.                    can easily be carried out in case of tuning the head is
      (7) Although the percussion point positional mark M             obtained.
   indicated on the top of the head 12 has been configured in            Moreover, since a variation in tension of the head due to
   the circular shape as shown in FIG. 20 in the above 35 tuning of the head has been compensated in the present
   described manner of practice, a shape of the percussion point      invention, such an excellent advantage that correct percus-
   positional mark M is not limited to the circular shape as          sion position can be detected is obtained.
   shown in FIG. 20, but, for example, the percussion point              Still further, since a tuning operation can be conducted by
   positional mark M may be indicated by points of a pre-             a user in accordance with such a manner that a place marked
   scribed number as shown in FIG. 24(a). Moreover, a region 40 with a percussion point positional mark is percussed by the
   of the head 12 is classified by coloring as shown in FIG.          user, and the result detected at that time by the detecting
   24(b) (it is to be noted in FIG. 24(b) that a shaded portion       means for position of percussion point is confirmed while
   of the region of the head 12 is represented by a different         watching the display means in the present invention, such an
   color from that of the other (no shaded) portion), and the         excellent advantage that tuning operation can simply be
   boundary portion classified by coloring may be used as the 45 carried out without relying upon user's sense is obtained.
   percussion point positional mark M.                                   It will be appreciated by those of ordinary skill in the art
      (8) While it has been arranged in such that the tuning          that the present invention can be embodied in other specific
   reference mark represented by white triangle shown in FIG.         forms without departing from the spirit or essential charac-
   18(a) is indicated in response to the percussion point posi-       teristics thereof.
   tional mark M of the head 12 in the above described manner 50         The presently disclosed embodiments are therefore con-
   of practice, the invention is not limited thereto, but, for        sidered in all respects to be illustrative and not restrictive.
   instance, it may be arranged in such that information for          The scope of the invention is indicated by the appended
   indicated position by a white triangle may be stored as the        claims rather than the foregoing description, and all changes
   tuning reference data together with the table 1 and the table      that come within the meaning and range of equivalents
   2 which are selected in accordance with the head type or the 55 thereof are intended to be embraced therein.
   tuning type set in the tuning processing routine executed by          The entire disclosure of Japanese Patent Applications No.
   the CPU shown in FIG. 17.                                          8-193986 filed on Jul. 4, 1996, No. 9-15846 filed on Jan. 13,
      (9) Although the black triangle indicating the percussion       1997 and No. 9-15847 filed on Jan. 13, 1997 including
   point positional information AP and the white triangle             specification, claims, drawings and summary are incorpo-
   indicating the tuning reference mark corresponding to the 60 rated herein by reference in their entirety.
   percussion point positional mark M of the head have been              What is claimed is:
   displayed on the display unit 32 in the above described               1. An electronic percussion instrument system compris-
   manner of practice as shown in FIG. 18(a), a displaying            ing:
   manner on the display unit 32 is not limited thereto, but, for        a barrel section having a first end;
   example, a deviation between the above described tuning 65            a head disposed in a tensioned state across the first end of
   reference data and the detected percussion point positional              the barrel section to define a percussion surface for
   information AP may be displayed as shown in FIG. 25.                     receiving a percussion impact and a second surface
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                                                         US 6,756,535 Bl
                                 19                                                                      20
         facing opposite the percussion surface, the head having               a head sensor comprising a cushioning member and a
         a plurality of openings through which air may pass; and                  transducer, the head sensor supported by the support
      a cushioning member and a transducer supported within                       member in contact with a portion of, but not the entire,
         the barrel section, with the cushioning member in                        second surface of the head to allow air to pass through
         contact with a portion of, but less than the entire surface   5          the head.
         area of the second surface of the head, wherein a                     14. An electronic percussion instrument system as recited
         portion of the second surface of the head is out of                in claim 13, wherein the transducer is supported between the
         contact with the cushioning member to allow air to pass            support member and the cushioning member.
         through the openings in the head.                                     15. An electronic percussion instrument system as recited
      2. An electronic percussion instrument system as recited         10   in claim 13, wherein the head comprises multiple layers of
   in claim 1, wherein the head comprises a net-like material.              net material.
      3. An electronic percussion instrument system as recited                 16. An electronic percussion instrument system as recited
   in claim 1, wherein the head comprises multiple layers of net            in claim 15, wherein the multiple layers of net material are
   material.                                                                bonded together.
      4. An electronic percussion instrument system as recited         15      17. An electronic percussion instrument system as recited
   in claim 3, wherein the multiple layers of net material are              in claim 15, wherein the head comprises first and second
   bonded together.                                                         layers of net material.
      5. An electronic percussion instrument system as recited                 18. An electronic percussion instrument system as recited
   in claim 1, wherein the head comprises first and second                  in claim 17, wherein the first and second layers of net
   layers of net material.                                             20   material are bonded together.
      6. An electronic percussion instrument system as recited                 19. A head for a percussion instrument, the head com-
   in claim 5, wherein the first and second layers of net material          prising a frame and a net-like material comprising multiple
   are bonded together.                                                     net members, each net member supported by said frame,
      7. A method of making an electronic percussion instru-                said net-like material having openings through which air
   ment system comprising:                                             25   may pass.
      providing a barrel section;                                              20. Ahead for a percussion instrument as recited in claim
      providing a head having a plurality of openings through               19, wherein the multiple net members comprise first and
         which air may pass;                                                second net members arranged generally fiat against each
      tensioning the head across an end of the barrel section to            other.
                                                                       30      21. A head as recited in claim 19, wherein each net
         defme a percussion surface for receiving a percussion
         impact and a second surface facing opposite the per-               member comprising a plurality of longitudinally arranged
         cussion surface; and                                               fiber sections and a plurality of transversely arranged fiber
                                                                            sections interwoven with the longitudinally arranged fiber
      supporting a cushioning member and a transducer within
                                                                            sections.
         the barrel section, with the cushioning member in             35      22. A head as recited in claim 19, wherein the multiple net
         contact with a portion of, but less than the entire surface
                                                                            members are bonded together.
         area of the second surface of the head, wherein a
                                                                               23. A percussion instrument, comprising:
         portion of the second surface of the head is out of
         contact with the cushioning member to allow air to pass               a generally hollow body having an opening into a body
         through the openings in the head upon an impact being                    interior;
                                                                       40
         received on the impact surface of the head.                           a generally flexible, net-like material tensioned state
      8. An electronic percussion instrument system as recited                    across the opening of the generally hollow body, the
   in claim 7, wherein the head comprises a net-like material.                    net-like material defining a percussion surface for
      9. An electronic percussion instrument system as recited                    receiving a percussion impact, the net-like material also
   in claim 7, wherein the head comprises multiple layers of           45
                                                                                  having openings of a size sufficient to allow air to pass
   net-like material.                                                             therethrough, upon receiving a percussion impact on
      10. An electronic percussion instrument system as recited                   the percussion surface; and
   in claim 9, further comprising bonding the multiple layers of               a sensor supported by said generally hollow body, for
   net-like material together.                                                    providing an electronic signal in response to a percus-
      11. An electronic percussion instrument system as recited        50         sion impact on the percussion surface of the generally
   in claim 7, wherein the head comprises first and second                        flexible, net-like material.
   layers of net-like material.                                                24. A percussion instrument as recited in claim 23,
      12. An electronic percussion instrument system as recited             wherein the net-like material comprises a plurality of net
   in claim 11, further comprising bonding the first and second             members arranged generally fiat against each other.
   layers of net-like material together.                               55      25. A percussion instrument as recited in claim 24,
      13. An electronic percussion instrument system compris-               wherein each of the net members comprises a plurality of
   ing:                                                                     longitudinally arranged fiber sections and a plurality of
      a barrel section having an open end;                                  transversely arranged sections interwoven with the longitu-
      a head composed of a flexible net-like material through               dinally arranged fiber sections.
         which air may pass, the head being disposed in a              60      26. A percussion instrument as recited in claim 19,
         tensioned state across the open end of the barrel section          wherein the multiple net members are bonded together.
         to define a percussion surface for receiving a percus-                27. A percussion instrument as recited in claim 24,
         sion impact and a second surface facing opposite the               wherein the plurality of net members comprises a pair of net
         percussion surface, the second surface defining a sur-             members arranged adjacent each other,
         face area spanning the opening on the first end of the        65      with the longitudinally directed fiber sections of one net
         barrel section;                                                          member crossing the longitudinally directed fiber sec-
      a support member disposed within the barrel section; and                    tions of the other net member in an oblique angle.
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                                                      US 6,756,535 Bl
                               21                                                                22
     28. A method of making a percussion instrument having            32. An electronic percussion instrument system compris-
   a generally hollow body with an opening, the method            ing:
   comprising disposing a net-like material in a tensioned state     a barrel section having a first end;
   across the opening in the generally hollow body, wherein the      a head composed of a net-like material having multiple
   net-like material has a percussion surface for receiving a 5         net members, said net-like material having openings
                                                                        through which air may pass, the net-like material
   percussion impact, the net-like material comprising a plu-           disposed in a tensioned state across the first end of the
   rality of net members, each net member having a plurality of         barrel section to define a percussion surface for receiv-
   openings sufficient to allow air to pass therethrough upon the       ing a percussion impact and a second surface facing
   net-like material receiving a percussion impact on the per- 10       opposite the percussion surface;
   cussion surface.                                                  a support member disposed within the barrel section; and
      29. A method as recited in claim 28, further comprising        a head sensor comprising a cushioning member and a
   the step of supporting an electronic sensor in communication         transducer supported by the support member within the
   with the percussion surface, for providing an electronic             barrel section, with the cushioning member in contact
   signal in response to a percussion impact on the percussion 15       with a portion of, but less than the entire surface area
                                                                        of the second surface of the net-like material and
   surface.
                                                                        disposed in communication with the transducer, such
      30. A method as recited in claim 28, wherein said net-like
                                                                        that the transducer provides an electric signal in
   material comprises first and second net members, each net            response to a percussion impact on the percussion
   member comprising a plurality of longitudinally arranged 20          surface.
   fiber sections and a plurality of transversely arranged fiber     33. An electronic percussion instrument system as recited
   sections interwoven with the longitudinally arranged fiber     in claim 32, wherein said multiple net members comprise no
   sections.                                                      more than two net members.
      31. A method as recited in claim 28, wherein the first and
   second net members are bonded together.                                                * * * * *
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                          EXHIBIT D
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        (12)    United States Patent                                                                      (10)   Patent No.:                 US 6,271,458 Bl
                Yoshino et al.                                                                            (45)   Date of Patent:                         *Aug. 7, 2001


        (54)     ELECTRONIC PERCUSSION                                                                       3,748,367      7/1973   Lamme et al. .
                 INSTRUMENTAL SYSTEM AND                                                                     4,226,156     10/1980   Hyakutake ............................ 84/1.14
                 PERCUSSION DETECTING APPARATUS                                                              4,279,188      7/1981   Scott .
                 THEREIN                                                                                     4,362,081     12/1982   Hartry .
                                                                                                             4,581,973      4/1986   Hoshino .
                                                                                                             4,714,002     12/1987   Cleland .
        (75)     Inventors: Kiyoshi Yoshino; Kenji Hirano;
                                                                                                             4,798,121      1/1989   Donohoe .
                            Masato Katsuda, all of Osaka (JP)                                                4,828,907      5/1989   Hayashi .
                                                                                                             4,947,725      8/1990   Nomura ................................. 84/723
        (73)    Assignee: Roland Kabushiki Kaisha, Osaka (JP)                                                5,042,356      8/1991   Karch .
                                                                                                             5,449,964      9/1995   Snyder .
        ( *)    Notice:          Subject to any disclaimer, the term of this                                 5,533,405      7/1996   Hoshino .
                                 patent is extended or adjusted under 35                                     5,585,581     12/1996   Rogers .
                                 U.S.C. 154(b) by 0 days.                                                    5,633,473      5/1997   Mori et al. .

                                 This patent is subject to a terminal dis-                                          FOREIGN PATENT DOCUMENTS
                                 claimer.
                                                                                                          196 25 570        6/1996 (DE) .
                                                                                                            2-117569        9/1990 (JP) .
        (21)    Appl. No.: 09/401,459
        (22)     Filed:          Sep. 22, 1999                                                        Primary Examiner-Jeffrey Donels
                                                                                                      (74) Attorney, Agent, or Firm-Foley & Lardner
                          Related U.S. Application Data
                                                                                                      (57)                       ABSTRACT
        ( 60)    Continuation of application No. 09/243,698, filed on Feb. 3,
                 1999, now Pat. No. 6,121,538, which is a division of                                 An object of the present invention is to provide a percussion
                 application No. 08/886,180, filed on Jul. 1, 1997, now Pat.                          detecting apparatus, which is excellent in percussion feeling,
                 No. 5,920,026.                                                                       and the percussion sounds of which are very small, in
        (30)           Foreign Application Priority Data                                              electronic percussion instrumental system. The percussion
                                                                                                      detecting apparatus is provided with a head prepared from a
            Jul. 4, 1996        (JP) ................................................... 8-193936     net-like raw material composed of a first net and a second
          Jan. 13, 1997         (JP) ..................................................... 9-15846
                                                                                                      net, the net-like raw material being obtained by such a
          Jan. 13, 1997         (JP) ..................................................... 9-15847
                                                                                                      manner that both the nets having been woven in accordance
        (51)     Int. Cl.7 ..................................................... GOlD 13/02           with plane weaving manner wherein the longitudinal and
        (52)     U.S. Cl. ................................................. 84/738; 84/414            transverse fibers cross at right angles are laminated in such
        (58)     Field of Search .......................... 84/414, 416, 452 P,                       a way that the weave pattern directions thereof intersect
                                                       84/454, 723, 737, 738, 743                     obliquely with each other; and a head sensor which is in
                                                                                                      contact with the center position of the under side in the head
        (56)                         References Cited                                                 and detects percussion with respect to the head as electric
                                                                                                      signal.
                            U.S. PATENT DOCUMENTS
                729,936         6/1903 Heybeck .                                                                         17 Claims, 23 Drawing Sheets


                   1 0 PERCUSSION DETECTING APPARATUS
                      \.         1 4 HEAD SENSOR
          12~D ~                                                         20                          22
                                                                 AID                                                       36
         16 Riii

         1 8 RIll-SHOT SENSOR
                                                                                                                                               38
                                                                                                                            1---~DIA
                                                                                                                                       CONVERTER             TO SOUND SYSTEll




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                                                          FIG. 1                                                             =
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                               FIG. 2




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         fm                                                  64


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                                  FIG. 4




                                 FIG. 5




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                                                            12




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                        FIG • 6


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                         ................ SECOND NET
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        FIG. 7                    (a)




         FIG. 7 (b)                                                74


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         FIG. 7 (c)                                                74
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                                 FIG. 8




                                FIG. 9


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                               FIG. 10


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                                  FIG. 11


                                       MA IN ROUTINE




                                               START



                                           INITIALIZATION   S802


                  TUNING MODE                                    BRUSH PERFORMANCE MODE


       S806                        S812                                       S818
                                      SET DSP TO NORMAL          SET DSP TO BRUSH
         SET DSP TO TUNING MODE       PERFORMANCE MODE           PERFORMANCE MODE




       SBTO                        S816                                       S822

         STOP OSP TUNING MOOE         STOP OSP NORMAL            STOP DSP BRUSH.
                                      PERFORMANCE MODE           PERFORMANCE MOOE
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                                             FIG. 12
                                    DSP PERCUSSION SIGNAL PROCESSING ROUTINE

                    START
                                    902
                INPUT SAMPLING
                DATA S


                                       N

                        y
                                 S906
                 RESET TIMER T                          S92
                                                                                       y
                                   908                     TIMER T INCREMENT
          FIRST HALF-WAVE.COUNT-FLAG
          cf TURN ON                                    S926
                                                        COMPARE ABSOLUTE VALUES
                                   910                   OF max WITH SAMPLE DATA S,
           ,....------.-...-.
            MAXIMUM VALUE DETECTION
                                                        AND LARGER ONE TO max
            FLAG mf TURN ON                                                                 S92B
                                                                          MAXIMUM VALUE DETECTION
                                                                          FLAG mf TURN OFF      -

                                                                                            S930
                                                                         CONVERT ct BY table 1 TO
                                                                         PERCUSSION POINT POSITIONAL
                                                                         INFORMATION AP
                                                                                            S932
                                                                         CONVERT AP BY table 2 TO
                                                                         PERCUSSION FORCE CORRECTING
                                                                         COEFFICIENT K
                        y                    S9T6                                           S934
                                                                               V~maxXK
                              FIRST HALF-WAVE COUNTER
                            · ct INCR EM ENT
                                                                                            8936
                              S9T8                                       SOUNDING FLAG gf OF CPU TURN
                                                                         ON, AND PERCUSSION POINT
          FIRST HALF-WAVE COUNT-FLAG                                   . POS ITl ONAL INFORMATION AP,
          cf TURN OFF       .                                            PERCUSSION FORCE INFORMATION
                                                                         V SET TO CPU




                                                                                      END
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                                 FIG. 13 (b)                               FIG. 13 (a)                                                       ~
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                                  (b) OUTPUT IAVEFORll OF HEAD SENSOR.          (a)   POSITION OF PERCUSSION POINT                           =
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                                                                                                  POSITION OF PERCUSSION POINT B
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POSITIOH OF PERCUSSION POINT A                                                                                                                c
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POSITION OF PERCUSSION POINT B
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                                                                           PERIOD OF TIME FOR FIRST HALF-WAVE VARIES
                                                                           DEPENDING ON POSITION OF PERCUSSION POINT
                                                                                                                                                 erJl
                                                                                                                                                   ~
 POSITIOH OF PERCUSSION POINT C                                                                                                                'N
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                                                          FIG. 14                                                                                                 =
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                                                                                    22 DSP
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                                       MEANS FOR DETECTING POSITION OF                                                          1                                  N
                                                                                                  COUNTING ONLY DURING                                             c
                                       PERCUSSION POINT IN HEAD                                                                                                    c
                                                                                               r l S PERIOD OF TIME                                                '"""'


~                                                                  ~ffe                                                         1
                                                                                                                                1
                                                                                                                                    PERCUSSION POINT POSITIONAL
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 ~-l              AID                DC CUT                         Fl RST HALF-IAVE
                                                                                             COUNTER             AR ITHMETI ~   1
                                                                                                                                                                    0.....,

    :ENSOR     .... CONVERTER        FILTER·         LP FILTER      DETECTION                          i - . - t CIRCUIT        I           ...                     N
                                                                    CIRCUIT.                                                                                        ~

14                      12


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                                     FIG. 15

                                  CHARACTERISTIC DIAGRAM OF TABLE 1
       FIRST HALF-WAVE
       COUNT VALUE ct
                                                         HEAD TYPE: SNARE




                         t
      POSITION OF PERCUSSION                  t
                               POSITION OF PERCUSSION
                                                                        PERCUSSION POINT POSITIONAL
                                                                        INFORMATION AP
      POINT A (CENTER)
                               POINT B (INTERMEDIATE)           1
                                                         POSITION OF PERCUSSION
                                                         POINT C (OUTER CIRCUMFERENCE)


                                       FIG. 16
                                  CHARACTERISTIC DIAGRAM OF TABLE 2

                                                        HEAD TYPE: SNARE
      PERCUSSION FORCE                                            I o o se
      CORRECTING                                                  medium
      COEFFICIENT K
                                                                  t i g ht




                         t
       POSITION OF PERCUSSION
       POINT A (CENTER)
                                              l
                              POSITION OF PERCUSSION
                                                                      PERCUSSION POINT POSITIONAL
                                                                      INFORMATION AP
                              POINT B (INTERMEDIATE)            1
                                                         POSITION OF PERCUSSION
                                                         POINT C (OUTER CIRCUMFERENCE)
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                             FIG. 17
                         TUNING PROCESSING ROUTINE


                                  .START


                                                             N




                                                       N



                 s l 4 0 6 .-----'----
                             HEAD CHANGE


                                                       N


                                        y
                 s 14   1 0 r------'----
                               tun i ng CHANGE

                 S1412
                        r==:-=::-=---:-:--L--~-~
                        SELECT table 1 OR table 2
                        IN ACCQRDANCE WITH (head OR
                        tuning), AND SET TO DSP



                 S 14 14    DISPLAY PERCUSSION.POINT
                            POSITIONAL INFORMATION
                            AP SENT FROM DSP

                                                        N



                                   RETURN
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                                                                                                             d
                                                                                                             •
                                                                                                             \JJ.
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                            FIG. 18 (a)
                                                                                                             ~
DISPLAYING COLUMN OF TUNING TYPE                                                                             ({Q
                                                                                                             ~-..J
                   DISPLAYING COLUMN OF HEAD TYPE                                                             N
                                                                                                              c
                                                                                                              c
                                        DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP       '"""'
                                                MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP
                                                                                                              'Jl
                                                                                                              =-
                                                                                                              ~

                  2/SNARE        RIM                                                                          .....
                                                                                                              ~



                                    I
                                          ....                 ~32
                                                                                                              '"""'
                                                                                                              Ul
                                                                                                              0.....,
                                    l        -~                                                                N
                                                                                                               ~




                                  TUNING REFERENCE MARK CORRESPONDING TO PERCUSSION
                                  POINT POSITIONAL MARK IN HEAD                                                erJ'J.
                                                                                                               O'I
                                                                                                              'N
                                                                                                               ""-l
                                                                                                               lo-"
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                                                                                                      =
                 FIG. 18 {b)                                                                          """""


                                                                                                       ~
                                                                                                      C{Q
                                                                                                      ;-I
                                                                                                       N
DISPLAYING COLUMN OF TUNING TYPE                                                                       c
                                                                                                       c
        .           DISPLAYING COLUMN OF HEAD TYPE                                                      '"""

                      MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP                        'J).

                                    DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP     ::r
                                                                                                        ~

                                                                                                        .....
                                                                                                        ~



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       2/SNARE                                                                                            N
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                                                                                                               lo-"
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                                    FIG. 19

                         NORMAL PERFORMANCE PROCESSING ROUTINE



                       -START



                                             N




                                                      $1618
                            y                              SET level XV TO SOUND SOURCE.
                                                           IC AS LEVEL INFORMATION
        S/606
                     level CHANGE
                                                      S1620
                                                    CONVERT PERCUSSION POINT POSITIONAL
                                                    INFORMATION AP INTO FILTER COEFFICIENT,
                                                    AND SET TO SOUND SOURCE IC

                                                      S1622
        ST610                                               SOUNDING FLAG   gf   TURN OFF
           tone CHANGE, AND START ADDRESS,
           END ADDRESS CORRESPONDING TO
           WAVEFORM DATA SET TO SOUND SOURCE                                          Sl624
           IC                                .

                                                                            v
                                                                      RETURN



        S1614
           pitch CHANGE, AND CORRESPONDING
           PITCH INFORMATION SET TO SOUND
           SOURCE IC
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                       FIG. 20



                   M




          54
                                                 ~-12


                                                             16



                                        54
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                    FIG. 2 1


                 OPERATIONAL PROCEDURE FOR TUNING OPERATION IN HEAD


                                START


                            HEAD TYPE SET·



                           .TUNING TYPE SET


            S1806
                     PERCUSS ON PERCUSSION POINT
                     POSITIONAL MARK IN HEAD
                                                  S1812
            S180                                        ENGAGING PIN ADJUST


                                                            y


                                       N

                                                            N

                                       y

                                  END
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                                        FIG. 22

                                12




                                                               54




                                        50



                                       FIG. 23
                              12




                                                              54




                                   50
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                      FIG. 24 (a)

                                             54
                                                  /10


                        54                                     M

                                                           12
                                                           16
                         54

                                             54




                  FIG. 24 (b)




                                                          12
                      54



                                        54
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                                                         US 6,271,458 Bl
                                   1                                                                  2
               ELECTRONIC PERCUSSION                                    a percussion detecting apparatus provided with a head as the
              INSTRUMENTAL SYSTEM AND                                   percussion surface which is excellent in percussion feeling
           PERCUSSION DETECTING APPARATUS                               and in which the percussion sound is extremely quiet in an
                       THEREIN                                          electronic percussion instrumental system.
                                                                      5    Furthermore, another object of the present invention is to
          This application is a Continuation of application Ser. No.    provide an electronic percussion instrumental system which
     09/243,698, filed Feb. 3, 1999 now U.S. Pat. No. 6,121,538,        is adapted to be easily capable of correct tuning of the head
     which is a Divisional of application Ser. No. 08/886,180,          in the case when the head is tuned on the basis of an
     filed Jul. 1, 1997 now U.S. Pat. No. 5,920,026, which              indication which is suitably given and corresponding to a
     applications are incorporated herein by reference.              10 position of percussion in the head.
                                                                           Moreover, still another object of the present invention is
                BACKGROUND OF THE INVENTION                             to provide an electronic percussion instrumental system
         1. Field of the Invention                                      which is adapted to be capable of detecting a correct position
        The present invention relates to an electronic percussion       in percussion by correcting variations in tension of the head
                                                                     15 as a result of tuning of the same.
     instrumental system and a percussion detecting apparatus in
     the electronic percussion instrumental system, and more               An yet further object of the present invention is to provide
     particularly to an electronic percussion instrumental system       an electronic percussion instrumental system which is
     which simulates a percussion instrument such as acoustic           adapted to make clear a position of percussion in the head in
     drum sounding musical tone as a result of percussing it with 20 case of tuning operation to display the tuning state, whereby
     sticks or the like by a player and a percussion detecting          the tuning operation can be carried out while confirming the
     apparatus in the electronic percussion instrumental system.        state, so that anybody can easily conduct such tuning opera-
                                                                        tion without requiring any sense of skilled user.
        2. Description of the Related Art
                                                                           In order to achieve the above described objects, the
        Heretofore, in an electronic percussion instrumental sys-
                                                                        present invention is characterized by a percussion detecting
     tem such as electronic drum simulating acoustic drum, a 25
                                                                        apparatus in electronic percussion instrumental system com-
     percussion detecting apparatus provided with a surface to be
                                                                        prising a head the percussion surface of which is composed
     percussed being generally called by the name of "percussion
                                                                        of a net-like raw material; and a percussion detecting means
     pad" is utilized as a means for detecting percussion.
                                                                        being in contact with the center position of the aforesaid
        As such a percussion detecting means as described above,        head and detecting percussion with respect to the aforesaid
     for example, the percussion detecting apparatus disclosed in 30 head as electric signal.
     Japanese Patent Laid-open No. 44357/1996 has been known.              Therefore, in accordance with the present invention, since
     In the percussion detecting apparatus disclosed in Japanese        the percussion surface of the head is composed of a net-like
     Patent Laid-open No. 44357/1996, the percussion surface is         raw material, extremely good percussion feeling can be
     formed by covering a plate-like case with a material of a soft     obtained   because of the elasticity of the net-like raw mate-
     high-molecular compound.                                        35
                                                                        rial. Besides, since air passes through the openings of
        However, in such percussion detecting apparatus wherein         stitches in the net-like raw material, percussion sound in
     the percussion surface is formed by covering the plate-like        case of percussing the head becomes extremely small.
     case with a soft high-molecular compound material, there is           Furthermore, the present invention is characterized by an
     such a problem that repulsive feeling at the time of per-
                                                                     40 electronic percussion instrumental system which detects
     cussing the percussion surface is remarkable, so that good         percussion as electric signal and generates musical tone
     percussion feeling cannot be obtained In addition, the above       based on the electric signal thus detected comprising a head
     described percussion detecting apparatus involves also such        the percussion surface of which to be percussed is tunable;
     a problem that there is a fear of disturbing the performance       a percussion detecting means for detecting percussion upon
     by the percussion sound, because the percussion sound
                                                                     45 the aforesaid head as electric signal; a means for detecting
     generated at the time when the percussion surface is per-          a position of percussion point for performing arithmetic
     cussed is significant.                                             computations by inputting the electric signal detected by
        On one hand, it has been proposed to utilize, as a              means of the aforesaid percussion detecting means to detect
     percussion detecting means, a percussion surface, the ten-         percussion point positional information; and a display means
     sion of which can be adjusted and is called by the name of 50 for effecting a display corresponding to the percussion point
     "head" in acoustic drum, which is further provided with a          positional information detected by the aforesaid means for
     sensor for detecting percussion.                                   detecting a position of percussion point.
        In the present specification, adjustment for tension of a          Therefore, in accordance with the present invention, since
     percussion surface which is adjustable as in the head of           a display corresponding to the percussion point positional
     acoustic drum will be called by the term "tuning".              55 information is effected by means of the display means, the
        In the case when the head of acoustic drum is served for        head can be tuned while observing visually the resulting
     a percussion detecting means as described above, there is          display, so that correct tuning of the head can easily be
     such a problem that although percussion feeling is excellent       realized.
     in this case because the head for the acoustic drum is utilized       Moreover, the present invention is characterized by an
     as it is, the percussion sound becomes remarkable so that it 60 electronic percussion instrumental system comprising fur-
     disturbs the performance.                                          ther an arithmetic computation compensating means for
                                                                        compensating the arithmetic computations in the aforesaid
                 OBJECTS AND SUMMARY OF THE                             means for detecting the position of percussion point in
                               INVENTION                                response to a tuning state of the aforesaid head.
        The present invention has been made in view of the 65              Therefore, in accordance with the present invention, the
     problems as described above involved in the prior art.             arithmetic computations for detecting the percussion point
     Accordingly, an object of the present invention is to provide      positional information in response to tuning of the head are
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     compensated the position of percussion point is also com-             FIG. 15 is an explanatory diagram showing the charac-
     pensated in response to tuning of the head, whereby it             teristic properties of table 1;
     becomes possible to display the correct position of percus-           FIG. 16 is an explanatory diagram showing the charac-
     sion point.                                                        teristic properties of table 2;
        Still further, the present invention is characterized by an   5
                                                                           FIG. 17 is a flowchart of a tuning processing routine
     electronic percussion instrumental system which detects
     percussion as electric signal and generates musical tone           executed by the CPU;
     based on the electric signal thus detected comprising a               FIGS. 18(a), 18(b), and 18(c) are explanatory diagrams
     tunable head; a means for detecting a position of percussion       showing examples of display mode in percussion point
     point for detecting the position of percussion point upon the   10
                                                                        positional information AP by means of a display unit
     aforesaid head, and a display means for effecting a display        wherein FIG. 18(a) shows the first displaying example, FIG.
     in response to the results detected by the aforesaid means for     18(b) shows the second displaying example, and FIG. 18(c)
     detecting the position of percussion point; a percussion point     shows figures indicating a variety of the percussion point
     positional mark for tuning being provided on the aforesaid         positional information AP in the display column for the
     head.                                                           15
                                                                        percussion point positional information AP in FIG. 18(b),
        Therefore, in accordance with the present invention, since      respectively;
     a tuning operation can be conducted by a user in accordance           FIG. 19 is a flowchart of a normal performance processing
     with such a manner that a place marked with a percussion           routine executed by the CPU;
     point positional mark is percussed by the user, and the result        FIG. 20 is a schematic top view of a percussion detecting
     detected at that time by the position of percussion point       20 apparatus showing an example of percussion point posi-
     detecting means is confirmed while watching the display            tional mark displayed on the top of a head;
     means, tuning operation can simply be carried out without             FIG. 21 is a flowchart showing a typical operational
     relying upon user's sense.                                         procedure for the tuning operation of a head;
            BRIEF DESCRIPTION OF THE DRAWINGS                              FIG. 22 is a perspective view showing a modified
                                                                     25 example of the percussion detecting apparatus correspond-
        The present invention will become more fully understood
     from the detailed description given hereinafter and the            ing to FIG. 2;
     accompanying digs which are given by way of illustration              FIG. 23 is a perspective view showing a modified
     only, and thus are not !imitative of the present invention, and    example of the percussion detecting apparatus correspond-
     wherein:                                                           ing to FIG. 2;
                                                                     30
        FIG. 1 is a constitutional block diagram showing an                FIGS. 24(a) and 24(b) are schematic top views of a
     example of manner of practice of the electronic percussion         percussion detecting apparatuses each showing an example
     instrumental system according to the present invention;            of percussion point positional mark displayed on the top of
        FIG. 2 is a perspective view showing a percussion detect-       the head wherein FIGS. 24(a) and 24(b) show different
     ing apparatus;                                                  35
                                                                        examples    from each other; and
        FIG. 3 is a sectional view taken along the line III-III of         FIG. 25 is an explanatory view showing another example
     FIG. 2;                                                            of display mode in the percussion point positional informa-
        FIG. 4 is a perspective view showing a head;                    tion AP by means of a display unit.
        FIG. 5 is a perspectively exploded view of the head;                        DETAILED DESCRIPTION OF THE
        FIG. 6 is an explanatory view showing a case where 40                          PREFERRED EMBODIMENTS
     directions in weave patterns of a first net and a second net
     intersect obliquely;                                                  An   example    of manner of practice of the electronic
        FIGS. 7(a), 7(b), and 7(c) are explanatory views wherein        percussion   instrumental system and the percussion detecting
     FIG. 7(a) is a fragmentary view taken in the direction of the      apparatus in the electronic percussion instrumental system
     arrow Aof FIG. 7(b), FIG. 7(b) is a front view, and FIG. 7(c) 45 according to the present invention will be described in detail
     is a fragmentary view taken in the direction of the arrow C        hereinafter in conjunction with the accompanying drawings.
     of FIG. 7(b), respectively.                                           FIG. 1 is a constitutional block diagram showing an
        FIG. 8 is a sectional view corresponding to FIG. 3 in the       example of manner of practice of the electronic percussion
     case when the head is percussed with a stick;                      instrumental system according to the present invention
                                                                     50 wherein the electronic percussion instrumental system com-
        FIG. 9 is a sectional view corresponding to FIG. 3 in the
                                                                        prises a percussion detecting apparatus 10 provided with a
     case when the rim is percussed with a stick;
                                                                        head sensor 14 functioning as a percussion detecting means
        FIG. 10 is a sectional view corresponding to FIG. 3 in the      for detecting percussion applied to a head 12 the surface of
     case when the head is either brushed or percussed with a           which is composed of a net-like raw material which will be
     brush;                                                          55 described hereunder, and a rim-shot sensor 18 for detecting
        FIG. 11 is a flowchart of the main routine executed by a        percussion applied to a rim 16; an analog-to-digital (ND)
     CPU;                                                               converter 20 which performs analog-to-digital conversion of
        FIG. 12 is a flowchart of a DSP percussion signal pro-          the detected signals output from the head sensor 14 and the
     cessing routine executed by the DSP;                               rim-shot sensor 18 in time-sharing manner and inputs the
        FIGS. 13(a) and 13(b) are explanatory views for charac- 60 converted signals to a DSP 22 which will be mentioned
     teristic properties of a head composed of a net-like raw           hereinafter; the DSP 22 which detects the percussion applied
     material wherein FIG. 13(a) shows the positions of percus-         to the head 12, the intensity thereof the position of percus-
     sion point, and FIG. 13(b) shows the output waveforms,             sion from the detected signals which are derived from the
     respectively;                                                      head sensor 14 and which were input from the analog-to-
        FIG. 14 is a functional block diagram showing the con- 65 digital converter 20 as well as performance by means of a
     stitution of a means for detecting the position of percussion      brush, and in addition, the DSP detecting also the percussion
     point in a DSP in a normal performance mode;                       applied to the rim 16 and the intensity thereof from the
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     detected signals which are derived from the rim-shot sensor           circular contour by means of printing as shown in FIG. 20
     18 and which were input from the analog-to-digital con-               and which is used in case of tuning operation.
     verter 20 to supply the results thus detected to a CPU 24                Furthermore, the rim 16 is prepared by integrally molding
     which will be described hereunder; the CPU 24 which                   a metallic material and is composed of a flange portion 66
     supplies the output from the DSP 22 to a sound source IC 34, 5 which is positioned around the outer circumference of the
     which will be undermentioned, wherein the output is con-
                                                                           rim and has hole potions 64 into each of which an engaging
     verted into required performance information, as well as
                                                                           pin 54 can be inserted, and a rim percussion portion 68
     detects operations of a group of operation keys 30 which will
     be mentioned hereinafter, and controls the DSP 22; a read             which is ascendingly formed and extended from the flange
     only memory (ROM 26 storing a program or the like which               portion 66 around the inner circumference thereof. The top
                                                                        10 of the rim percussion portion 68 is covered with a covering
     is to be executed by the CPU 24, a random access memory
     (RAM) 28 functioning as a working area required for                   member 70 made from an elastic material such as rubber,
     executing the program by means of the CPU 24; the group               sponge and the like.
     of operation keys 30 including mode selecting keys for                   A manner for fixing the head 12 and the rim 16 to the
     setting normal performance mode, brush performance mode               barrel section 50 each of them having the structure described
     or tuning mode, keys for selecting tone color or setting level 15 above is such that the head 12 is first put on the barrel section
     or the like, and the like keys; a display unit 32 for displaying      50, then, the rim 16 is put on the head 12, and the positions
     an operation mode selected by a key in the group of                   of them are adjusted in such a way that each hole portion 64
     operation keys 30, tone colors required for the tone color            of the rim 16 communicates with each tapped hole defined
     selection, and a tuning state in case of tuning mode; the             on each engaging portion 52 of the barrel section 50.
     sound source IC 34 which reads a waveform memory 36 20 Thereafter, each engaging pin 54 is inserted into each hole
     which will be undermentioned on the basis of performance
                                                                           portion 64 of the rim 16 as well as into each tapped hole
     information from the CPU 24 to form digital musical tone
                                                                           defined on each engaging portion 52 of the barrel section 50,
     signals and outputs the signals thus formed to a digital-to-
     analog (DIA) converter 38 which will be described hereun-             and the thread ridge of each engaging pin 54 is threadedly
     der; the waveform memory 36 storing sampling waveform 25 combined with the thread groove in each engaging portion
     data for forming the musical tone signals; and the digital-           52 of the barrel section 52, so that the head 12 and the rim
     to-analog converter 38 for converting digital musical tone            16 are forcedly fixed to the barrel section 50 by means of the
     signals supplied from the sound source IC 34 into analog              locking projection 54a of each engaging pin 54.
     musical tone signals to output the signals thus converted to             More specifically, with the progress of screwing each
     a sound system composed of an amplifier, a speaker and the 30 engaging pin 54 in the tapped hole in each engaging portion
     like.                                                                 52 of the barrel section 50, the flange portion 66 of the rim
        Then, the constitution of the percussion detecting appa-           16 is pressed downwards in FIG. 3 by means of each locking
     ratus 10 will be described by referring to FIG. 2 being a             projection 54a, so that the frame 60 of the head 12 is also
     perspective view showing the percussion detecting appara-             pressed downwards through the flange portion 66. As a
     tus 10 and FIG. 3 being a sectional view taken along the line 35 result, the first net 56 and the second net 58 the downward
     III-III of FIG. 2.                                                    movement of which are restricted by an upper end portion
        The percussion detecting apparatus 10 contains a cylin-            50a of the barrel section 50, respectively, are stretched over
     drical barrel section 50, and around the outer circumference          the barrel section 50 with a prescribed tension. Thus, when
     of the barrel section 50 are formed protrusively engaging             an amount of screwing each engaging pin 54 in each tapped
     portions 52 each having a tapped hole (not shown) provided 40 hole defined on each engaging portion 52 of the barrel
     with a thread groove (not shown) with a prescribed interval           section 50 is adjusted, the tension of the first net 56 and the
     along the diametrical direction of the barrel section. Into the       second net 58 can be arbitrarily controlled, whereby tuning
     engaging portion 52 is screwed an engaging pin 54 on which            of the head 12 can be carried out.
     is formed a thread ridge to be combined with the thread                  Furthermore, a head sensor supporting material 72 is
     groove formed on the engaging portion 52, so that the head 45 placed in the barrel section 50 in such that the head sensor
     12 and the rim 16 are fixed to the barrel section 50 through          supporting material 72 intersects the position of the axial
     the engaging pin 54. Furthermore, a locking projection 54a            center of the barrel section 50. A head sensor 14 is bonded
     for locking the rim 16 is formed on the engaging pin 54.              to the top of the head sensor supporting material 72 at the
        The head 12 is prepared as shown in FIGS. 4 and 5 in such          central portion thereof by means of a cushioning double-
     a manner that a net-like raw material composed of a first net 50 coated tape 78 which will be described hereinafter so as to
     56 and a second net 58, each of which is woven in accor-              be in contact with the second net 58. In other words, the head
     dance with plane weave wherein the longitudinal and trans-            sensor 14 is disposed on the under surface of the net-like raw
     verse fibers cross at right angles, are laminated to one              material composed of the first net 56 and the second net 58
     another so as to cross obliquely their longitudinal and               in the head 12 at the center thereof in contact therewith.
     transverse weave pattern directions, and the net-like raw 55             As shown in FIGS. 7(a), 7(b), and 7(c), the head sensor
     material thus arranged is bonded to a frame 60. It is to be           14 is provided with a disc-shaped piezoelectric element 76
     noted herein that the expression "the weave pattern direction         containing wires for output signal 74, and to the under
     of the first net 56 crosses obliquely that of the second net 58"      surface of the piezoelectric element 76 is bonded the cush-
     means that when the first net 56 wherein the longitudinal and         ioning double-coated tape 78. A diameter of the cushioning
     transverse fibers cross at right angles is superposed on the 60 double-coated tape 78 is made to coincide with an node
     second net 58 wherein the longitudinal and transverse fibers          diameter of the piezoelectric element 76.
     cross at right angles, adjacent fibers in the first net 56 and the       Furthermore, to the top of the piezoelectric element 76 is
     second net 58 thus superposed intersect with each other at an         bonded a frustoconical cushioning member 80 made from an
     angle a which is smaller than 90 degrees as shown in FIG.             elastic material such as rubber, sponge and the like. The
     6.                                                                 65 cushioning member 80 has a bottom surface of a larger
        Moreover, on the top of the head 12 is provided a                  diameter than that of the piezoelectric element 76, the cross
     percussion point positional mark M which is formed with a             section of which tapers off upwardly, and it is in contact with
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     the second net 58 at the extreme end of the cushioning               with the second net 58 of the head 12 at the site of the
     member 80 of a thin diameter.                                        frustoconical extreme end portion having a thin diameter
         Moreover, in the vicinity of the rim percussion portion 68       and a small area, vibrations of percussion in the head 12 are
     disposed on the upper portion inside the barrel section 50 is        hardly transmitted directly to the piezoelectric element 76,
     bonded the rim-shot sensor 18 by means of the cushioning 5 so that damage of the piezoelectric element 76 is suppressed.
     double-coated tape 78. The rim-shot sensor 18 is provided               In addition, since a diameter of the cushioning double-
     with the disc-shaped piezoelectric element 76 containing             coated tape 78 bonded to the under surface of the piezo-
     wires for output signal 74, and to the under surface of the          electric element 76 is made to be equal to the node diameter,
     piezoelectric element 76 is bonded the cushioning double-            sensitivity of the piezoelectric element 76 increases, so that
     coated tape 78. The diameter of the cushioning double- 10 delicate variations in the oscillation due to differences in
     coated tape 78 is made to coincide with the node diameter            positions percussed can be more precisely detected.
     of the piezoelectric element 76.                                        Still further, since air passes through openings of stitches
         Namely, in the electronic percussion instrumental system         in the net-like raw material composed of the first net 56 and
     according to the present invention, a member obtained by             the second net 58, percussion sound in the case when the
     removing the cushioning member 80 from the head sensor 15 head 12 is percussed is extremely small. Such percussion
     14 is used as the rim-shot sensor 18, whereby improvements           sound in case of percussing the head 12 is dependent upon
     in efficiency of parts to be used are intended.                      a ratio of openings in the net-like raw material composed of
         In this electronic percussion instrumental system, a vari-       the first net 56 and the second net 58, and therefore, the
     ety of heads 12 having different diameters as well as a              higher ratio of openings brings about the smaller percussion
     variety of the barrel sections 50 being adapted for such 20 sound. However, an excessive ratio of openings results in
     various heads and the like members are prepared, whereby             low tension of the first net 56 and the second net 58 so that
     a size of the head 12 is suitably changed.                           the percussion feeling deteriorates. Accordingly, it is pre-
         In the constitution as described above, when the head 12         ferred to suitably keep a balance between the percussion
     is percussed with a stick 100 (see FIG. 8), the head sensor          feeling and the ratio of openings.
                                                                       25
     14 detects the percussion, while when the rim 16 is per-                Yet further, since the rim 16 is covered with the covering
     cussed with the stick 100 (see FIG. 9, but it is to be noted         member 70, the percussion sound in case of percussing the
     that both the head 12 and the rim 16 are percussed with the          rim 16 is also reduced.
     stick 100 in FIG. 9), the rim-shot sensor 18 detects the                In this respect, the oscillation in case of percussing the rim
     percussion. Further, when the head 12 is brushed or per-             16 is mostly transmitted to the barrel 50, the performance
                                                                       30
     cussed with a brush 102 (see FIG. 10), the head sensor 14            played by percussing the rim 16 can be controlled in
     detects the contact of the brush 102 with the head 12.               accordance with output waveforms in the rim-shot sensor 18
         In these circumstances, when the head 12 is percussed            attached to the barrel 50.
     with the stick 100, extremely good percussion feeling                   In the following, electrical processing contents in the
     closely resembling the percussion feeling in the case when 35 electronic percussion instrumental system according to the
     the head of an acoustic drum is percussed can be obtained            present invention will be described by referring to the
     because of the elasticity of a net-like raw material composed        accompanying flowcharts.
     of the first net 56 and the second net 58.                              FIG. 11 is a flowchart of the main routine executed by the
         In addition, since the first net 56 and the second net 58        CPU 24 wherein when the power is turned on, first,
     which have been woven in accordance with plane weaving 40 memories, registers and the like are initialized (step S802).
     manner wherein the longitudinal and transverse fibers cross             Then, it is judged which operational mode has been set,
     at right angles are laminated obliquely with each other in the       i.e., it is judged whether a tuning mode which changes
     net-like raw material, the tension is uniformized over the           percussion feeling of the head 12 by adjusting tension in the
     whole surface of the net-like raw material, so that there is         net-like raw material of the head 12, or a normal perfor-
     little variations in percussion feeling due to differences in the 45 mance mode which sounds percussion instrumental sounds
     position percussed, and as a result, output waveforms from           by detecting percussion upon the head 12 and percussion
     the head sensor 12 become the ones which are easily                  upon the rim 16, or a brushing performance mode which
     processed.                                                           sounds percussion instrumental sounds by detecting either
         As described above, performance played by percussing             brushing or percussing the head 12 with the brush 102 has
     the head 12 is controlled by output waveforms from the head 50 been established (step S804) by supervising an operational
     sensor 14 being in contact with the under surface of the             state of mode selecting keys of the group of operation keys
     center in the first net 56 and the second net 58 of the head         30.
     12. In this respect, since the head sensor 14 is positioned at          As a result, when it has been judged that the tuning mode
     the center of the first net 56 and the second net 58 of the head     had been set in the step S804, the DSP 22 is set to the tuning
     12, variations in output waveforms due to differences in the 55 mode, whereby the DSP 22 is adapted to be set so as to
     position of the head 12 percussed become concentric circu-           execute the DSP percussion signal processing routine shown
     lar form, so that variations in tone color simulating acoustic       in FIG. 12 (step S806). Thereafter, the tuning processing
     drum are easily expressed.                                           routine executed by the CPU 24 shown in FIG. 17 is
         Moreover, since the cushioning member 80 of the head             executed (step S808), then, processing for stopping the
     sensor 14 is in contact with the under surface of the center 60 tuning mode by means of the DSP 22 is conducted (step
     of the second net 58 of the head 12, oscillation of the head         S810), and the procedure returns to the step S804.
     12 attenuates rapidly so that the output signal attenuates also         On one hand, when it has been judged that the normal
     rapidly, whereby erroneous detecting operation in case of            performance mode had been set in the step S804, the DSP 22
     percussing the head 12 in a rapid and repeated manner is             is set to the normal performance mode, whereby the DSP 22
     prevented.                                                        65 is adapted to be set so as to execute the DSP percussion
         Further, since the cushioning member 80 bonded to the            signal processing routine shown in FIG. 12 (step S812).
     top of the piezoelectric 76 of the head sensor 14 is in contact      Thereafter, the normal performance processing routine by
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     the CPU 24 shown in FIG. 19 is executed (step 5814), then,          cross, whereby the first half-wave is detected. A counter
     processing for stopping the normal performance mode in the          operates for counting during only a period wherein the first
     DSP 22 is conducted (step 5816), and the procedure returns          half-wave detection circuit detects first half-wave, and an
     to the step 5804.                                                   arithmetic circuit calculates the position of percussion point
         On the other hand, when it has been judged that the          5  from   the count value of the counter. The position of percus-
                                                                         sion point thus calculated is input to the CPU 24 as percus-
     brushing performance mode had been set in the step 5804,
                                                                         sion point positional information in head.
     the DSP 22 is set to the brushing performance mode (step
                                                                            The DSP percussion signal processing routine will be
     5818). Thereafter, the brushing performance processing              described herein in detail by referring to FIG. 12 wherein
     routine by the CPU 24 is executed, then, processing for             this DSP percussion signal processing routine is executed
     stopping the brushing performance mode in the DSP 22 is 10 repeatedly in every sampling periods of the analog-to-digital
     conducted (step 5816), and the procedure returns to the step        converter 12.
     5804. It is to be noted that since the processing for brushing         It is to be noted that since the above described functional
     performance mode is not related to the subject matter of the        block diagram shown in FIG. 14 indicates only the function
     present invention, the detailed description therefor will be        for detecting percussion point positional information in
     omitted.                                                         15 head, a function for detecting percussion force information
         In the following, the DSP percussion signal processing          shown in FIG. 12 has been omitted. Furthermore, the
     routine executed by the DSP 22 shown in FIG. 12 will be             functions for DC cut filter and LP filter shown in FIG. 14 are
     described, and the this processing is based on the following        considered in FIG. 12 to be included in the processing for
     characteristic features.                                            inputting sampling data S (step 5902), so that the clear
                                                                      20 indication thereof is omitted for simplifying the flowchart.
         Namely, when detection signal of the head sensor 14 in             In the DSP percussion signal processing routine, the
     the case when the head 12 composed of a net-like raw                sampling data S is first input (step 5902), and it is judged
     material is percussed is observed, there is such a character-       whether the leading edge has been detected or not (step
     istic that a first half-wave time changes dependent on a            5904). In the case where it was judged that the leading edge
     position of percussion point in a certain frequency band. 25 had been detected, a timer Tis reset (step 5906), then, a first
     More specifically, as shown in FIGS. 13(a) and 13(b), when          count flag cf is turned ON (step 5908), and a maximum
     the first half-wave time in the case where the center of the
                                                                         value detection flag mf is turned ON (step 5910).
     head 12 is percussed (position of percussion point A), the             The detection of leading edge in the step 5904 may be
     first half-wave time in the case where the outer circumfer-
                                                                         conducted specifically by either a manner wherein a differ-
     ence of the head 12 is percussed (position of percussion 30 ence between the present sampling data S and the preceding
     point C), and the first half-wave time in the case where the        sampling data is determined, and if the difference is higher
     intermediate point defined between the center and the outer         than the prescribed value which has been previously set, it
     circumference of the head 12 is percussed (position of              is judged that there was a leading edge, or a well-known
     percussion point B) are represented by TA, T 0 and TB,              manner for detecting leading edge of input signal.
     respectively, the relationship between them is expressed as 35         Furthermore, the timer T is a means for measuring a
     follows.                                                            prescribed period of time for detecting the maximum value
                                                                         of detection signal wherein the prescribed period of time is
                                                                         decided by a register time for storing the time which has
                                                                         been previously set.
         As described above, when the head 12 composed of a 40              The first half-wave count flag cf is a flag representing
     net-like raw material is percussed, with the movement of            whether counting processing for the first half-wave counter
     position of the percussion point from the center to the outer       ct is to be made or not. When the first half-wave count flag
     circumference, a first half-wave time shortens gradually.           cf has been turned ON, the counting processing for the first
         On one hand, when tuning of the head 12 is made high,           half-wave counter ct is made, while the counting processing
     i.e., tension of the head 12 is increased, the first half-wave 45 for the first half-wave counter ct is not made in the case
     times TA, TB, and Tc shorten, respectively, while maintain-         when the first half-wave count flag cf has been turned OFF.
     ing the relationship "TA> TB> Tc". On the other hand, when             A maximum value detection flag mf is a flag representing
     tuning of the head 12 is made low, i.e., tension of the head        whether detection processing for the maximum value of
     12 is decreased, the first half-wave times TA, TB, and Tc           input data is to be made or not. When the maximum value
     lengthen, respectively, while maintaining the relationship 50 detection flag if has been turned ON, the detection process-
     "TA> TB> Tc"·                                                       ing for the maximum value is made, while the detection
         FIG. 14 is a functional block diagram showing the con-          processing for the maximum value is not made, in the case
     stitution of a means for detecting the position of percussion       when the maximum value detection flag mf has been turned
     point in a DSP 22. The outline of DSP percussion signal             OFF.
     processing routine will be described by referring to FIG. 14. 55       In either the case where the processing in step 5910 has
     A detection signal detected by the head sensor 14 is sub-           been completed or the case where it has been judged that the
     jected to analog-to-digital conversion by means of the              leading edge had not been detected in the step 5904, the
     analog-to-digital converter 20, and the signal thus converted       procedure proceeds to step 5912 wherein it is judged
     is input to a DC cut filter. The DC cut filter means a high pass    whether or not the first half-wave count flag has been turned
     filter for removing DC component. The DC component of 60 ON.
     the detection signal thus input to the DC cut filter is                It is to be noted herein that the step 5912, step 5914, step
     removed, and is input to a low pass filter (LP filter) removing     5916, and step 5918 relate to first half-wave count process-
     unnecessary high pass component. Then, the detection sig-           ing. In other words, the first half-wave count flag cf is turned
     nal from which unnecessary high pass component has been             ON from the step 5912, and the first half-wave counter ct is
     removed is input to a first half-wave detection circuit. The 65 incremental until the first half-wave is completed.
     first half-wave detection circuit detects the leading edge of          More specifically, when it is judged that the first half-
     waveform of the detection signal thus input and the first zero      wave count flag has not been turned ON, i.e., the first
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     half-wave count flag has been turned OFF, the procedure              present electronic percussion instrumental system, so that
     jumps to step S920 without accompanying the processing in            the table 1 of total nine kinds is provided.
     the step S914, the step S916, and the step S918.                        In FIG. 15, characteristics of the respective tuning types
        On the other hand, when it is judged that the first               of loose, medium, and tight are indicated in the case where
     half-wave count flag has been turned ON in the step S912, 5 the head type is SNARE in respect of the table 1. A position
     it is judged whether or not the first half-wave has been             of percussion point A (center), a position of percussion point
     completed (step S914). Then, when it is judged that the first        B (intermediate), and a position of percussion point C (outer
     half-wave has not been completed, the first half-wave                circumference) in the percussion point positional informa-
     counter ct is made incremental (step S916), while when it is         tion AP correspond to the position of percussion point A, the
     judged that the first half wave has been completed, the first
                                                                       10 position of percussion point B, and the position of percus-
     half-wave count flag Cf is turned ON (step S918), and the
                                                                          sion point C in FIG. 10, respectively.
     procedure proceeds to the step S920.
        The completion of the first half-wave in the step S914               When completed the processing in the step 930, the
     corresponds to a point of time where the sampling data cross         procedure proceeds to step S932 wherein the percussion
     0 (zero). Judgment whether the sampling data have crossed            point positional information AP is converted into a percus-
     0 (zero) or not may be made at the point of time when sign 15 sion force correcting coefficient K by employing a table 2
     of the sampling data S turns, the contents of the judgment           which is a percussion force correcting table for converting
     being such that the sampling data have crossed 0 (zero).             the percussion positional information AP obtained in the step
        In the step S920, it is judged whether the maximum value          S930 into the percussion force correcting coefficient K (step
     detection flag mf has been turned ON or not, and as a result,        S932).
     when it is judged that the maximum value detection flag mf 20           It is to be noted herein that the table 2 which is the
     has not been turned ON, i.e., it is judged that the maximum          percussion force correcting table for converting the percus-
     value detection flag mf has not been turned OFF, the DSP             sion positional information AP is selected in response to
     percussion signal processing routine is completed without            head type and tuning type as in the case of the table 1.
     taking a further step any more.                                         As described above, since three kinds of the head type,
        On the other hand, when it is judged that the maximum 25 i.e., TOM 1, TOM 2, and SNARE as well as three kinds of
     value detection flag mf has been turned ON, it is further            the tuning type, i.e., "loose", "medium", and "tight" have
     judged whether or not a timer T is larger than the register          been established in the present electronic percussion instru-
     time (step S922).                                                    mental system, so that the table 2 of total nine kinds is
        As a result, when the timer T is equal to or less than the        provided.
     register time, in other words, during a period where the 30             In FIG. 16, characteristics of the respective tuning types
     maximum value detection flag mf has been turned ON and               of loose, medium, and tight are indicated in the case where
     the timer Tis equal to or less than the register time in the step    the head type is SNARE in respect of the table 2. A position
     S922, the maximum value detection processing is executed             of percussion point A (center), a position of percussion point
     in step S924 and step S926.                                          B (intermediate), and a position of percussion point C (outer
        More specifically, the timer T is made incremental (step 35 circumference) in the percussion point positional informa-
     S924), the maximum value max is compared with the                    tion AP correspond to the position of percussion point A, the
     absolute value of the sample data S to rewrite the larger            position of percussion point B, and the position of percus-
     value into the maximum value max (step S916), and the DSP            sion point C in FIG. 10, respectively.
     percussion signal processing routine is completed.                      For instance, in the example shown in FIG. 16, when the
        Therefore, the maximum value max corresponds to the 40 tuning type is loose, "K=l" in the position of percussion
     maximum value of a percussion signal within a prescribed             point A (center), "K=4/3" in the position of percussion point
     time and decided by the register time.                               B (intermediate), and "K=3" in the position of percussion
        Furthermore, when the maximum value detection pro-                point C (outer circumference).
     cessing is completed as a result of such judgment that the              These head types and tuning types may be represented by
     timer T is larger than the register time in the step S922, the 45 numerical values, and further the table 1 as well as the table
     maximum value detection flag mf is turned OFF (step S928).           2 are not limited to the nine kinds, respectively.
        Then, the first half-wave counter ct is converted into a             When the processing in the step S932 is completed, the
     percussion point positional information AP by employing              procedure proceeds to step S934 wherein compensation
     table 1 which is a percussion point positional table for             arithmetic processing in which the maximum value max is
     converting a first half-wave count value being a value of the 50 multiplied by the percussion force correcting coefficient K is
     first half-wave counter ct into the percussion point positional      conducted to calculate compensated percussion force infor-
     information AP (step S930).                                          mation V.
        It is to be noted herein that the table 1 which is a                 When completed the step S934, the procedure proceeds to
     percussion point positional table for converting a first half-       step S936 wherein a sounding flag gf in the CPU 24 is turned
     wave count value being a value of the first half-wave counter 55 ON, the percussion point positional information AP and the
     ct into the percussion point positional information AP is            percussion force information V are set in the CPU 24, and
     selected in accordance with head type or tuning type.                the DSP percussion signal processing routine is completed.
        The head type is decided in response to a size of the head           Then, the tuning processing routine executed by the CPU
     12 so that TOM 1, TOM 2, and SNARE are established in                in the step S808 will be described by referring to FIG. 17.
     the present electronic percussion instrumental system. On 60            In this tuning processing routine, it is judged whether or
     one hand, the tuning type is decided in accordance with a            not there was an indication of change in a head type or a
     tuning state of the head 12, i.e., in response to tension of the     tuning type by operating a head type setting operation key
     head 12 so that "loose", "medium" and "tight" are estab-             (key for setting the head type) or a tuning type setting
     lished in the present electronic percussion instrumental             operation key (key for setting the tuning type) contained in
     system.                                                           65 the group of operation keys 30 (step Sl402). At the time of
        As described above, since three kinds of the head type and        turning on the power, a register head storing a head type and
     three kinds of the tuning type have been established in the          a register tuning storing a tunig type are also set in response
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     to the initialized state of the head type setting operation key     center "CENTER" and the rim 16 (RIM) in the head 12, the
     and the tunig type setting operation key in accordance with         tuning reference mark represented by a white triangle is also
     the processing of initialization in the step S802, respectively.    indicated at the intermediate point between the "CENTER"
        After such judgement that change of head type or tuning          and the "RIM" in FIG. 18(a).
     type had been indicated by the operation of the head type 5            The manner for displaying the percussion point positional
     setting key or the tuning type setting key of the group of          information AP on the display 32 is not limited to the
     operation keys 30 in the step Sl402, it is judged whether or        examples shown in FIGS. 18(a), 18(b), and 18(c), but it may
     not the change of head type has been indicated (step Sl404).        be indicated by either numerical values or a bar graph as in
        When it was judged that the change of head type had been         a level indication.
     indicated, stored contents of the register head are changed in 10      When completed the processing in the step Sl414, it is
     accordance with this indication of change (step Sl406).             judged whether or not a termination key in the group of
        In either the case where the processing in step Sl406 has        operation keys 30 has been operated (step Sl416), so that if
     been completed, or the case where it was judged that the            it was judged that the termination key in the group of
     change of head type had not been indicated in the step              operation keys 30 had not been operated, the procedure
     Sl404, it is judged whether or not the change of tuning type 15 returns to the step Sl402, and the processing is repeated.
     has been indicated (step S1048).                                       On the other hand, if it was judged that the termination
        When it was judged that the change of tuning type had            key in the group of operation keys 30 had been operated in
     been indicated, the stored contents of the register tuning is       the step Sl416, the procedure returns to the main routine.
     changed in accordance with this indication of change (step             Then, a normal performance processing routine executed
     Sl410).                                                          20 by the CPU 24 in the step S814 will be described by
        In either the case where the processing in step Sl410 has        referring to FIG. 19.
     been completed, or the case where it was judged that the               In the normal performance processing routine, it is first
     change of tuning type had not been indicated in the step            judged whether or not a level key (key for setting a volume
     Sl 408, the table 1 or the table 2 is selected in accordance        of sounding musical tone), a tone color key (key for setting
     with the stored contents of the register head or the register 25 tone color of sounding musical tone), or a tuning key (key
     tuning, and it is set to the DSP 22 (step Sl412).                   for setting a pitch of sounding musical tone) contained in the
        As a result of conducting the procedure as described             group of operation keys 30 has been changed. At the time
     above, in either the case where the processing in step Sl412        when the power is turned on, a register level for storing
     has been completed, or the case where it was judged that            level, a register tone for storing tone color, and a register
     both the head type setting key or the tuning type setting key 30 pitch for storing pitch are set in response to the initialized
     in the group of operation keys 30 had not been operated so          state of the level key, the tone color setting key, and the
     that no change of the head type and the tuning type had not         tuning key, respectively, in accordance with the initialization
     been indicated, the percussion point positional information         processing in the step S802.
     AP sent out from the DSP 22 is displayed on the display unit           In the step Sl602, when it was judged that the level key,
     32 (step Sl414). More specifically, the percussion point 35 the tone color setting key, or the tuning key in the group of
     positional information AP set in the CPU in the DSP                 operation keys 30 had been changed, then, it is judged
     percussion signal processing routine is displayed on the            whether the level key has been changed or not (step Sl604).
     display unit 32.                                                       In this case, if it was judged that the level key had been
        In FIGS. 18(a), 18(b) and 18(c) are shown examples of            changed, the stored contents in the register level are changed
     manner of displaying the percussion point positional infor- 40 in accordance with the former change (step Sl606).
     mation AP displayed on the display unit 32 in the step Sl414           In either the case where the processing in step Sl606 has
     wherein FIG. 18(a) shows a first displaying example, FIG.           been completed, or the case where it was judged that the
     18(b) shows a second displaying example, and FIG. 18(c)             level key had not been changed in the step Sl604, it is
     shows marks representing a variety of percussion point              judged whether or not the tone color key has been changed
     positional information AP being displayed in a display 45 (step Sl608).
     column for the percussion point positional information AP in           In this case, when it was judged that the tone color key
     FIG. 18(b), respectively. In FIGS. 18(a) and 18(b), it is           had been changed, stored contents of a register tone are
     arranged in such that numbers which have been previously            changed in accordance with the former change, and a start
     assigned to respective tuning types are displayed in the            address and an end address of waveform data corresponding
     displaying column of tuning type.                                50 to the stored contents of the register tone are set in the sound
        In FIG. 18(a), "CENTER" indicates the center position of         source IC 34 (step Sl610).
     the head 12, and "RIM" indicates a position of the rim 16.             In either the case where the processing in step Sl610 has
     Furthermore, a black triangle is a mark indicating the              been completed, or the case where it was judged that the tone
     percussion point positional information AP, while a white           color key had not been changed in the step Sl608, it is
     triangle is a tuning reference mark indicated in a position 55 judged whether or not the tuning operation key has been
     corresponding to the percussion point positional mark M             changed (step Sl612).
     indicated in the head 12 (see FIG. 20).                                It is to be noted that the "tuning" in this step Sl612 is
        Since a position between the center "CENTER" and the             different from the above described tuning of the head, and it
     rim 16 "RIM" in the head 12 is decided by the percussion            means that a pitch is adjusted with respect to sounding
     point positional information AP, the position thus decided is 60 musical tone (sound of a percussion instrument).
     indicated by a black triangle.                                         In this case, when it was judged that the tuning key had
        Furthermore, the tuning reference mark represented by a          been changed, stored contents of the register pitch are
     white triangle shows a position corresponding to the per-           changed in accordance with the former change, and the pitch
     cussion point positional mark M indicated in the head 12            information corresponding to the stored contents of the
     shown in FIG. 20 as described above. Namely, since the 65 register pitch are set to the sound source IC 34 (step Sl614).
     percussion point positional mark M shown in FIG. 20 is                 When the processing in step Sl614 has been completed as
     indicated at the position of intermediate point between the         a result of conducting the procedure as described above, or
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     it was judged that the tuning key had not been operated in                 Then, in this tuning operation, a mark M at the position of
     the step 51612, or in the case where any of the level key,              percussion point in the head 12 which is placed at a position
     tone color setting key, or the tuning key in the group of               close to the engaging pin 54 in operation is percussed (step
     operation keys 30 had not been changed, then, it is judged              51806). It is to be noted that the procedure on and after the
     whether or not a sounding flag gf is turned ON (step 51616).       5    step 51806 becomes actual tuning operations.
        Specifically, it is judged whether or not sounding has been             In the step 51806, when the mark M at the position of
     instructed as a result of turning ON the sounding flag gf of            percussion point of the head 12 is percussed, the percussion
     the CPU 24 in the step 5936 of the DSP percussion signal                point positional information AP sent from the DSP 22 as a
     processing routine.                                                     result of execution of percussion signal processing routine
        In this case, if it was judged that the sounding flag gf had
                                                                        10   shown in FIG. 12 is displayed on the display unit 32 in the
     been turned ON, the results of arithmetic computations of
     "levelxV" are set to the sound source IC 34 as the level                step 51414 contained in the tuning processing routine
     information (step 51618). More specifically, values stored in           executed by the CPU shown in FIG. 17.
     the register level which has been set by a level key are                   In this case, it is confined that a black triangle indicating
     multiplied by percussion force information V to calculate a             the percussion point positional information AP due to the
     sounding level, and the results of this arithmetic computa-        15   result of the percussion in the step 51806 has been displayed
     tions are set to the sound source IC 34 as the level infor-             at which position by visual observation of the display unit 32
     mation.                                                                 (step 51808).
        When completed the processing in the step 51618, the                    Then, it is judged whether or not there is a misregistration
     percussion point positional information AP is converted into            between the position of the black triangle indicating the
     a filter coefficient for controlling filter characteristics, and   20   percussion point positional information AP and a white
     the converted information is set in the sound source IC 34              triangle indicating the tuning reference mark (step 51810).
     (step 51620). More specifically, when the converted infor-                 In this case, when it is judged that there is a misregistra-
     mation is set to the IC 34 after converting the percussion              tion between the position of the black triangle indicating the
     point positional information AP into the filter coefficient for         percussion point positional information AP and the white
     controlling filter characteristics, tone colors corresponding      25   triangle indicating the tuning reference mark, the engaging
     to the positions of percussion point can be obtained. It is to          pin 54 is adjusted so as to cancel the aforesaid
     be noted that the processing for obtaining tone colors                  misregistration, thereby carrying out tuning for adjusting
     corresponding to the positions of percussion point is not               tension of the head 12 (step 51812).
     limited to that illustrated in the step 51620, but the process-            Thus, after completing the operation in the step 51812,
     ing in the step 51620 may be replaced by either a manner           30   the procedure returns to the step 51806 and the operation is
     wherein waveforms to be read out are switched or a manner               repeated.
     wherein a mixed ratio of a plurality of waveforms is                       On the other hand, if it was judged that there was no
     changed.                                                                misregistration between the position of the black triangle
        When the processing in the step 51620 is completed, the              indicating the percussion point positional information AP
     sounding flag gf is turned OFF (step 51622). In other words,       35   and the white triangle indicating the tuning reference mark,
     as a result of conducting the procedure as described above,             then it is judged whether the tuning operation has been
     the sounding flag is turned OFF.                                        completed or not (step 51814). In this case, the judgment
        In either the case where the processing in the step 51622            whether or not the tuning operation has been completed is
     has been completed, or the case where it was judged that the            specifically a judgment whether or not tuning operations of
     sounding flag gf had been turned OFF in the step 51616, it         40   all the engaging pins 54 have been completed.
     is judged whether or not the termination key in the group of               In this case, when it was judged that the tuning operations
     operation keys 30 has been operated (step 51624), so that if            had not been completed, the procedure returns to the step
     it was judged that the termination key of the group of                  51806 to perform tuning operations with respect to the
     operation keys 30 had not yet been operated, the procedure              engaging pins 54 to which have not yet been subjected the
     returns to the step 51602 to repeat the processing.                45   tuning operations.
         On the other hand, when it was judged that the termina-                On the contrary, when it was judged that the tuning
     tion key in the group of operation keys 30 had been operated,           operations had been completed, the procedure of the tuning
     the procedure returns to the main routine.                              operation is finished.
        The processing for sounding musical tones from the                      It is to be noted that the above described manner of
     present electronic percussion instrumental system to the           50   practice may be modified as follows.
     outside is carried out by controlling the sound source IC 34.              (l)As shown in FIG. 22, the head 12 is fixed to either side
        In the following a typical operational procedure for tuning          of the opening of the barrel section 50, while the head of an
     operation of the head 12 will be described by referring to the          acoustic drum (cannot be found in FIG. 22) may be fixed to
     flowchart shown in FIG. 21. The flowchart of FIG. 21                    the other side of the opening of the barrel section. In this
     illustrates the operational procedure of the tuning operation      55   case, when the head 12 is percussed, the head of acoustic
     effected by a user after selecting the tuning mode by the user.         drum positioned on the opposite side resonates to sound at
        Namely, when the user selects the tuning mode, then he or            an appropriate volume. Accord, when compared with the
     she sets first a desired head type by operating a head type             case where only the head 12 is fixed to the barrel section 50,
     setting key in the group of operation keys 30 (step 51802),             a player can perform the percussion instrument with much
     and thereafter, he or she sets a desired tuning type by the        60   more close feeling to that of acoustic drum.
     operation of a tuning type setting key of the group of                     (2)As shown in FIG. 23, to the outer circumference of the
     operation keys 30 (step 51804).                                         head 12 composed of the first net 56 and the second net 58
        In accordance with the operations in the steps 51802 and             may be bonded an annular film 112. In this case, since a ratio
     51804, the processing specified in the respective steps                 of opening in the first net 56 and the second net 58 of the
     51402, 51404, 51406, 51408, 51410, and 51412 contained             65   head 12 becomes low in comparison with that of the above
     in the tuning processing routine executed by the CPU shown              described manner of practice, the percussion sound becomes
     in FIG. 17 is conducted.                                                larger than that of the above described manner of practice.
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                                  17                                                                  18
     For this reason, a player can perform the resulting percus-        processing for displaying the percussion point positional
     sion instrument with much more close feeling to that of            information AP in the step Sl414 of the tuning processing
     acoustic drum. Furthermore, when an area of the film 112 to        routine executed by the CPU shown in FIG. 17, a deviation
     be bonded to the first net 56 and the second net 58 in the         between the tuning reference data and the percussion point
     head 12 is allowed to vary, the volume in percussion can be 5 positional information AP is calculated, and the deviation
     controlled. Moreover, stitches may be filled with an adhesive      represented by the calculated result is displayed on the
     to bond the first net 56 to the second net 58 in place of          display unit 32. If it has been adapted to display "O" on the
     bonding of the film 112.                                           display unit 32 in case of no deviation, it means that tuning
        (3) The net-like raw material is not limited to a two-ply       is matched in the case when indication "O" is displayed on
     plane weave net, but one-ply or three- or more ply net may
                                                                     10 the display unit 32.
     also be used. Furthermore, a weaving manner of net is not
                                                                           (10) As a displaying manner in the display unit 32, there
     limited merely to plane weave. In the case where a net-like
     raw material is composed of a single net, it is preferred to       are   a manner wherein it may notify that the tuning is
     use a triaxially woven net which balances tension not only         matched in the case when a difference between the tuning
     in the crossed direction of woven fibers, but also in an           difference data and the percussion point positional informa-
     oblique direction.                                              15 tion AP reaches a prescribed value or lower, and a maimer
        (4) A shape of the cushioning member 80 in the head             wherein a difference between the tuning reference data and
     sensor 14 is not limited to the frustoconical shape, but a         the percussion point positional information AP may be
     truncated amid shape may be adopted                                displayed in accordance with cent indication as utilized in a
        (5) A constitution of the sound source is not limited to the    tuning device for stringed instruments such as guitar and the
     above described wave-form read-out system, but sound 20 like in addition to the manners described above.
     sources of a variety of systems may be employed.                      Since the present invention has been constituted as
     Furthermore, a PCM sound source sounding PCM sampling              described above, it provides such an excellent advantage
     sounds is not used, but a resonator composed of oscillator         that a percussion detecting apparatus, which is excellent in
     and the like may be used, otherwise audio signals input from       percussion feeling, and the percussion sounds of which are
     the outside may also be employed.                               25 very small, in electronic percussion instrumental system can
        (6) While the percussion point positional information AP        be realized.
     has been displayed on the display 32 in the above described           Furthermore, since the indication corresponding to a
     manner of practice, instead of the display, it may be adapted      percussion position of the head has been made in the present
     to sound such sound signal having a pitch corresponding to         invention, such an excellent advantage that correct tuning
     the percussion point positional information AP.                 30 can easily be carried out in case of tuning the head is
        (7) Although the percussion point positional mark M             obtained.
     indicated on the top of the head 12 has been configured in            Moreover, since a variation in tension of the head due to
     the circular shape as shown in FIG. 20 in the above                tuning of the head has been compensated in the present
     described manner of practice, a shape of the percussion point      invention, such an excellent advantage that correct percus-
     positional mark M is not limited to the circular shape as 35 sion position can be detected is obtained.
     shown in FIG. 20, but, for example, the percussion point              Still further, since a tuning operation can be conducted by
     positional mark M may be indicated by points of a pre-             a user in accordance with such a manner that a place marked
     scribed number as shown in FIG. 24(a). Moreover, a region          with a percussion point positional mark is percussed by the
     of the head 12 is classified by coloring as shown in FIG.          user, and the result detected at that time by the detecting
     24(b) (It is to be noted in FIG. 24(b) that a shaded portion 40 means for position of percussion point is confirmed while
     of the region of the head 12 is represented by a different         watching the display means in the present invention, such an
     color from that of the other (no shaded) portion), and the         excellent advantage that tuning operation can simply be
     boundary portion classified by coloring may be used as the         carried out without relying upon user's sense is obtained,
     percussion point positional mark M.                                   It will be appreciated by those of ordinary skill in the art
        (8) While it has been arranged in such that the tuning 45 that the present invention can be embodied in other specific
     reference mark represented by white triangle shown in FIG.         forms without departing from the spirit or essential charac-
     18(a) is indicated in response to the percussion point posi-       teristics thereof.
     tional mark M of the head 12 in the above described manner            The presently disclosed embodiments are therefore con-
     of practice, the invention is not limited thereto, but, for        sidered in all respects to be illustrative and not restrictive.
     instance, it may be arranged in such that information for 50 The scope of the invention is indicated by the appended
     indicated position by a white triangle may be stored as the        claims rather than the foregoing description, and all changes
     tuning reference data together with the table 1 and the table      that come within the meaning and range of equivalents
     2 which are selected in accordance with the head type or the       thereof are intended to be embraced therein.
     tuning type set in the tuning processing routine executed by          This disclosure relates to Japanese Patent Applications
     the CPU shown in FIG. 17.                                       55 No. 8-193986 filed on Jul. 4, 1996, No. 9-15846 filed on Jan.
        (9) Although the black triangle indicating the percussion       13, 1997 and No. 9-15847 filed on Jan. 13, 1997 from which
     point positional information AP and the white triangle             priority is claimed.
     indicating the tuning reference mark corresponding to the             What is claimed is:
     percussion point positional mark M of the head have been              1. A head for an electronic percussion instrument, the
     displayed on the display unit 32 in the above described 60 head comprising a frame and a net-like material comprising
     manner of practice as shown in FIG. 18(a), a displaying            first and second net members, each supported by said frame,
     manner on the display unit 32 is not limited thereto, but, for     said net-like material having openings through which air
     example, a deviation between the above described tuning            may pass.
     reference data and the detected percussion point positional           2. A head as recited in claim 1, wherein each net member
     information AP may be displayed as shown in FIG. 25.            65 comprising a plurality of longitudinally arranged fiber sec-
        Specifically, the manner may be carried out in such a way       tions and a plurality of transversely arranged fiber sections
     that tuning reference data are read out in case of the             interwoven with the longitudinally arranged fiber sections.
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                                                         US 6,271,458 Bl
                                  19                                                                     20
       3. A head as recited in claim 2, wherein the first and              sioned state across the opening in the generally hollow body,
     second net members are laminated together.                            wherein the net-like material has a percussion surface for
        4. A head as recited in claim 2, wherein, within each of           receiving a percussion impact, the net-like material com-
     said first and second net members, said longitudinally                prising first and second net members, each having a plurality
     arranged fiber sections and said transversely arranged fiber     5    of openings sufficient to allow air to pass therethrough upon
     sections are arranged substantially perpendicular to each             receiving a percussion impact on the percussion surface.
     other.                                                                   12. A method as recited in claim 11, further comprising
        5. A head as recited in claim 4, wherein said first and            the step of supporting an electronic sensor in communication
     second net members are arranged adjacent each other, with             with the percussion surface, for providing an electronic
     said longitudinally directed fiber sections of the first net     10   signal in response to a percussion impact on the percussion
     crossing the longitudinally directed fiber sections of said           surface.
     second net in an oblique angle.                                          13. A method as recited in claim 11, wherein said net-like
        6. An electronic percussion instrument, comprising:                material comprises first and second net members, each net
        a generally hollow body having an opening into a body              member comprising a plurality of longitudinally arranged
           interior;                                                  15   fiber sections and a plurality of transversely arranged fiber
        a generally flexible, net-like material disposed in a ten-         sections interweaved with the longitudinally arranged fiber
           sioned state across the opening of the generally hollow         sections.
           body, the net-like material defining a percussion sur-             14. A method as recited in claim 13, wherein the first and
           face for receiving a percussion impact, the net-like            second net members are laminated together.
                                                                      20      15. A method as recited in claim 13, wherein, within each
           material also having openings of a size sufficient to
           allow air to pass therethrough, upon receiving a per-           of said first and second net members, said longitudinally
           cussion impact on the percussion surface; and                   arranged fiber sections and said transversely arranged fiber
        a sensor supported by said generally hollow body, for              sections are arranged substantially perpendicular to each
           providing an electronic signal in response to a percus-         other.
                                                                      25      16. A method as recited in claim 13, wherein said first and
           sion impact on the percussion surface of the generally
           flexible, net-like material.                                    second net members are arranged adjacent each other, with
        7. An electronic percussion instrument as recited in claim         said longitudinally directed fiber sections of said first net
     6, wherein said net-like material comprises first and second
                                                                           crossing the longitudinally directed fiber sections of said
     net members, each net member comprising a plurality of                second net in an oblique angle.
                                                                      30      17. A head for connection with a body of an electronic
     longitudinally arranged fiber sections and a plurality of
     transversely arranged fiber sections interweaved with the             percussion instrument of the type having a generally hollow
     longitudinally arranged fiber sections.                               body interior and an opening in airflow communication with
        8. An electronic percussion instrument as recited in claim         the body interior, said head comprising:
     7, wherein the first and second net members are laminated                a frame having a size and shape corresponding to the
                                                                      35
     together.                                                                   opening in the body and adapted to be supported on the
        9. An electronic percussion instrument as recited in claim               body, adjacent the opening;
     7, wherein, within each of said first and second net members,            a generally flexible, net-like material supported in a
     said longitudinally arranged fiber sections and said trans-                 generally tensioned state by the frame and having a size
     versely arranged fiber sections are arranged substantially       40
                                                                                 and shape suitable for covering at least a portion of said
     perpendicular to each other.                                                opening, upon the frame being supported on the body,
        10. An electronic percussion instrument as recited in                    adjacent the opening, the net-like material defining a
     claim 7, wherein said first and second net members are                      percussion surface for receiving a percussion impact
     arranged adjacent each other, with said longitudinally                      when the frame is supported on the body, the net-like
     directed fiber sections of the first net crossing the longitu-   45
                                                                                 material first and second net members, each having
     dinally directed fiber sections of said second net in an                    openings of a size sufficient to allow air to pass
     oblique angle.                                                              therethrough, upon receiving a percussion impact on
        11. A method of making an electronic percussion instru-                  the percussion surface.
     ment having a generally hollow body with an opening, the
     method comprising disposing a net-like material in a ten-                                    * * * * *
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                          EXHIBIT E
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        United States Patent                                                [19J                      [11]        Patent Number:                                    6,121,538
        Yoshino et al.                                                                                [45]        Date of Patent:                               Sep.19,2000

        [54]     ELECTRONIC PERCUSSION                                                                   4,581,973 4/1986 Hoshino .
                 INSTRUMENTAL SYSTEM AND                                                                 4,714,002 12/1987 Cleland ..................................... 84/413
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                 THEREIN                                                                                 4,828,907 5/1989 Hayashi .
                                                                                                         5,042,356 8/1991 Karch . ... ... .... ... ... ... ... .... ... ... ... ... . 84/725
                                                                                                         5,449,964 9/1995 Snyder .................................... 310/330
        [75]     Inventors: Kiyoshi Yoshino; Kenji Hirano;
                                                                                                         5,533,405 7/1996 Hoshino ................................ 84/104 X
                            Masato Katsuda, all of Osaka, Japan                                          5,585,581 12/1996 Rogers .................................. 84/723 X
                                                                                                         5,633,473 5/1997 Mori et al. ............................ 84/735 X
        [73]     Assignee: Roland Corporation, Osaka, Japan
                                                                                                                   FOREIGN PATENT DOCUMENTS
        [21]     Appl. No.: 09/243,698                                                                196 25 570          6/1996       Germany .
                                                                                                        2-117569          9/1990       Japan .
        [22]     Filed:          Feb. 3, 1999
                                                                                                 Primary Examiner-Jeffrey Donels
                          Related U.S. Application Data                                          Attorney, Agent, or Firm-Foley & Lardner

        [62]     Division of application No. 08/886,180, Jul. 1, 1997.                            [57]                              ABSTRACT

        [30]            Foreign Application Priority Data                                        An object of the present invention is to provide a percussion
                                                                                                 detecting apparatus, which is excellent in percussion feeling,
            Jul. 4, 1996       [JP]      Japan .................................... 8-193986     and the percussion sounds of which are very small, in
          Jan. 13, 1997        [JP]      Japan ...................................... 9-15846
                                                                                                 electronic percussion instrumental system. The percussion
          Jan. 13, 1997        [JP]      Japan ...................................... 9-15847
                                                                                                 detecting apparatus is provided with a head prepared from a
        [51]     Int. Cl.7 ..................................................... GOlD 13/02      net-like raw material composed of a first net and a second
        [52]     U.S. Cl. ................................................. 84/738; 84/414       net, the net-like raw material being obtained by such a
        [58]     Field of Search .......................... 84/414, 416, 452 P,                  manner that both the nets having been woven in accordance
                                                       84/454, 723, 737, 738, 743                with plane weaving manner wherein the longitudinal and
                                                                                                 transverse fibers cross at right angles are laminated in such
        [56]                          References Cited                                           a way that the weave pattern directions thereof intersect
                                                                                                 obliquely with each other; and a head sensor which is in
                              U.S. PATENT DOCUMENTS                                              contact with the center position of the under side in the head
                 729,936 6/1903          Heybeck ................................... 84/414      and detects percussion with respect to the head as electric
               3,748,367 7/1973          Lamme et al. .                                          signal.
               4,279,188 7/1981          Scott .
               4,362,081 12/1982         Hartry ....................................... 84/414                        39 Claims, 23 Drawing Sheets


                   1 0 PERCUSS I ON OETECT I NG APPARATUS
                        \._       1 4 HEAD SENSOR

          12     HEAD      ~                                             20                      22
                                                                                                                            36
          I 6    RIM                                                                                             WAVEFORM llEllORY


         1 8 RIM-SHOT SENSOR                                                                                                                          38
                                                                GROUP OF
                                                      3   o.         ____.
                                                               ~K_E_vs                                                                        DIA
                                                                                                                               1---..-CONVERTER                      TO SOUND SYSTEM
                                                              DISPLAY
                                                     32    ,~U_N_IT_._ _.




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                                                       FIG. 1                                                                ~

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      1 () PERCUSSION DETECTING APPARATUS                                                                                   '?


     HEAD~~ENSOR
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1 8 RIM-SHOT SENSOR                                               24         34                     38                       .....
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                                     DISPLAY                                                                                 ~

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                              FIG.                   2




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       m                                                       64

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                                FIG. 4




                               FIG. 5




                   58
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                     FIG. 6

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                                                                         FIRST NET
                           ......... _... __ _
                                                                          SECOND NET
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                                                                            14
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       FIG. 7 (a)

                                                            A

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                                                            80


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                                FIG. 8




                                FIG. 9
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                               FIG. 10


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                                 FIG. 11


                                        MAIN ROUTINE


                                               START



                                         INITIALI ZATI ON     S802


                  TUNING MODE                                     BRUSH PERFORMANCE MODE


      S806                                        NORMAL PERFORMANCE MODE
                                                                               SBTB
                                       SET DSP TO NORMAL           SET DSP TO BRUSH
        SET DSP TO TUNING MODE         PERFORMANCE MODE            PERFORMANCE MODE

                                    S814
                                       NORMAL PERFORMANCE
                                       PROCESS ING,

       SBTO                                                                    S822

         STOP DSP TUNING MODE          STOP DSP NORMAL             STOP DSP BRUSH.
                                       PERFORMANCE MODE            PERFORMANCE MODE
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                                          FIG. 12
                                 DSP PERCUSSION SIGNAL PROCESSING ROUTINE

                  START
                               S902
              INPUT SAMPLING
              DATA S


                                    N


                               S906
                RESET TIMER T                        S92
                                                                                   y
                                 908                    TIMER T INCREMENT
         FIRST HALF-WAVE.COUNT-FLAG
         cf TURN ON                                  S926
                                                     COMPARE ABSOLUTE VALUES
                               910                   OF max WITH SAMPLE DATA S,
          .---~~~---~~~                              AND LARGER ONE TO max
          MAXIMUM VALUE DETECTION
          FLAG mf TURN ON                                                               S928
                                                                      MAXIMUM VALUE DETECTION
                                                                      FLAG mf TURN OFF      .

                                                                                        S930
                                                                     CONVERT ct BY table 1 TO
                                                                     PERCUSSION POINT POSITIONAL
                                                                     INFORMATION AP
                                                                                        S932
                                                                     CONVERT AP BY table 2 TO
                                                                     PERCUSSION FORCE CORRECTING
                                                                     COEFFICIENT K
                       y                  S916                                          S934
                                                                            V~maxXK
                           FIRST HALF-WAVE COUNTER
                           ct INCREMENT
                                                                                        S936
                            S9!8                                     SOUNDING FLAG gf OF CPU TURN
                                                                     ON, AND PERCUSSION POINT
         FIRST HALF-WAVE COUNT-FLAG                                  POSITIONAL INFORMATION AP,
         cf TURN OFF                                                 PERCUSSION FORCE INFORMATION
                                                                     V SET TO CPU




                                                                                  END
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                                                                                                                                          d
                                                                                                                                          •
                                                                                                                                          \JJ.
                                                                                                                                          •
                                 FIG. 13 (b)                              FIG. 13 (a)                                                     ~
                                                                                                                                          ~
                                                                                                                                          ......
                                                                                                                                          ~
                                  (b) OUTPUT WAVEFORM OF HEAD SENSOR          (a)   POSITION OF PERCUSSION POINT
                                                                                                                                          =
                                                                                                                                          ......

                                                                                    POSITION OF PERCUSSION POINT A
                                                                                                POSITION OF PERCUSSION POINT B            'Jl
                                                                                                                                          ~

                                                                                                                                          '?
                                                                                                         POSITION OF PERCUSSION POINT C '"""'
                                                                                                                                          ~
POSITION OF PERCUSSION POINT A                                                                                                            N
                                                                                                                                          ~
                                                                                                                                          ~
                                                                       1 2 HEAD                                                           ~




                                                                                                                                           'Jl
                                                                                                                                           =-
                                                                                                                                           ~
                                                                                                                                           .....
                                                                                                                                           ~



POSITION OF PERCUSSION POINT B                                                                                                             ''""""'""'
                                                                                                                                            0.....,
                                                                                                                                           N
                                                                                                                                           ~




                                                                         PERIOD OF TIME FOR FIRST HALF-WAVE VARIE5
                                                                         DEPENDING ON POSITION OF PERCUSSION POINT

                                                                                                                                            0--,
 POSITION OF PERCUSSION POINT C                                                                                                           ....
                                                                                                                                            ~
                                                                                                                                            N
                                                                                                                                          ....~
                                                                                                                                            Ul
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                                                         FIG. 14                                                                                      ~

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                                                                              2 2 DSP
                                                                               I
                                                                                                                                                      'Jl
                               (-   ------ -- -- - - - - ---                                         --------1                                        ~

                                                                                                                                                     '?
                                      MEANS FOR DETECTING POSITION OF
                                                                                             COUNTING ONLY DURING                                     '"""'
                                                                                                                                                     ~~
                                      PERCUSSION POINT IN HEAD
                                                                                     ~ ~S PERIOD OF TIME                                              N
                                                                                                                                                      c
                                                                                                                                                      8

~                                                                  ~~                                                : PERCUSSION POINT POSITIONAL    'Jl
                                                                                                                                                      =-
                                                                                                                                                      ~
                                                                                                                       INFORMATION IN HEAD
                                                                                                  14                                                  .....
                                                                                                                                                      ~




IHEAD :ENSOR   I .. ~~VERTER        DC CUT
                                    FILTER.         LP FILTER
                                                                   FIRST HALF-WAVE
                                                                   DETECTION            COUNTER
                                                                                                        .----._..,I
                                                                                                         ARITHMETIC I'
                                                                                                         CIRCUIT '-•----'..--                         'N"""'
                                                                                                                                                      0.....,
                                                                   CIRCUIT            '--~~~                         I

  14                    12                                                                                                                            N
                                                                                                                                                      ~




                               L------------------------------------ - - -·                                                                          ....0--,
                                                                                                                                                      ~
                                                                                                                                                      N
                                                                                                                                                     ....~
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                                     FIG. 15

                                 CHARACTERISTIC DIAGRAM OF TABLE 1
       FIRST HALF-WAVE
       COUNT VALUE ct
                                                          HEAD TYPE: SNARE




                       t
      POSITION OF PERCUSSION                t
                               POSITION OF PERCUSSION
                                                                           PERCUSSION POINT POSITIONAL
                                                                           INFORMATION AP
      POINT A (CENTER)
                               POINT B (INTERMEDIATE)           1
                                                          POSITION OF PERCUSSION
                                                          POINT C (OUTER CIRCUMFERENCE)


                                       FIG. 16
                                  CHARACTERISTIC DIAGRAM OF TABLE 2

                                                         HEAD TYPE: SNARE
       PERCUSSION FORCE                                              I oos e
       CORRECTING                                                    medium
       COEFFICIENT K
                                                                     t i   g h   t




                          t
       POSITION OF PERCUSSION
       POINT A (CENTER)
                                            l
                              POSITION OF PERCUSSION
                                                                       PERCUSSION POINT POSITIONAL
                                                                       INFORMATION AP
                              POINT B (INTERMEDIATE)             I
                                                          POSITION OF PERCUSSION
                                                          POINT C (OUTER CIRCUMFERENCE)
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                               FIG. 17
                           TUNING PROCESSING ROUTINE


                                    .START




                                                                  N




                                           y
                  s '4 0 6 ..-----------
                                HEAD CHANGE


                                                          N

                                           y
                  s '4 '   0 -----------
                                 tuning CHANGE

                  S14T2
                           ..------------~
                           SELECT table 1 OR table 2
                           IN ACCORDANCE WITH (head OR
                           tuning), AND SET TO DSP -


                  S 14 14      DISPLAY PERCUSSION.POINT
                               POSITIONAL INFORMATION
                               AP SENT FROM DSP

                                                          N



                                     RETURN
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                                                                                                                 \JJ.
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                                                                                                                 =
                                                                                                                 ......
                             FIG. 18 (a)
                                                                                                                 'Jl
DISPLAYING COLUMN OF TUNING TYPE                                                                                 ~

                                                                                                                '?
                   DISPLAYING COLUMN OF HEAD TYPE                                                                '"""'
                                                                                                                ~~
                                                                                                                 N
                                           DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORMATION AP       c
                                                                                                                 8
                                                   MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP
                                                                                                                 'Jl
                 2/SNARE         RIM                                                                             =-
                                   I         .,                   ~32
                                                                                                                 ~

                                                                                                                 .....
                                                                                                                 ~



                                                                                                                 '"""'
                                                                                                                 Ul
                                       I          '?                                                             0.....,
                                                                                                                 N
                                                                                                                 ~




                                  TUNING REFERENCE MARK CORRESPONDING TO PERCUSSION
                                  POINT POSITIONAL MARK IN HEAD
                                                                                                                ....0--,
                                                                                                                 ~
                                                                                                                 N
                                                                                                                ....~
                                                                                                                 Ul
                                                                                                                 ~
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                                                                                                     =
                                                                                                     ......
                 FIG. 18 (b)
                                                                                                     'Jl
                                                                                                     ~

                                                                                                     '?
                                                                                                     "'""
                                                                                                     ~~
DISPLAYING COLUMN OF TUNING TYPE                                                                     N
                                                                                                     c
        .           DISPLAYING COLUMN OF HEAD TYPE                                                   8
                      MARK INDICATING PERCUSSION POINT POSITIONAL INFORMATION AP
                                    DISPLAYING COLUMN OF PERCUSSION POINT POSITIONAL INFORUATIONAP    'Jl
                                                                                                      =-
                                                                                                      ~

                                                                                                      .....
                                                                                                      ~



                                                                                                      "'""
                                                                                                      O'I
       2/SNARE                                                                                        0.....,
                                                                                                      N
                                                                                                      ~




                                                                                                       0--,
                                                                                                     ....
                                                                                                       ~
                                                                                                       N
                                                                                                     ....~
                                                                                                       Ul
                                                                                                       ~
                                                                                                       00
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                                    FIG. 19

                         NORMAL PERFORMANCE PROCESSING ROUTINE



                       START



                                             N




                                                     S1618
                                                          SET level XV TO SOUND SOURCE-
                                                          1C AS LEVEL INFORMATION     -
       S1606
                     level CHANGE                    Sf 620
                                                   CONVERT PERCUSSION POINT POSITIONAL
                                                   INFORMATION AP INTO FILTER COEFFICIENT,
                                                   AND SET TO SOUND SOURCE IC

                                                     S1622
                            y
       S16TO                                                SOUNDING FLAG   gf   TURN OFF
           tone CHANGE, AND START ADDRESS,
           END ADDRESS CORRESPONDING TO
           WAVEFORM DATA SET TO SOUND SOURCE
           IC



                                                                     RETURN



        S16T4
           pitch CHANGE, AND CORRESPONDING
           PITCH INFORMATION SET TO SOUND
           SOURCE IC
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                    FIG. 20



                  M                      54
                                                      /10
                                                               54
         54
                                                     i.----12

                                                                    16



                                         54
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                    FIG. 2 1


                OPERATIONAL PROCEDURE FOR TUNING OPERATION IN HEAD


                               START


         STBO              HEAD TYPE SET


                          .TUNING TYPE SET


            S1806
                     PERCUSS ON PERCUSSION POINT
                     POSITIONAL MARK IN HEAD
                                               S1812
            SIBO                                     ENGAGING PIN ADJUST


                                                       y


                                   N

                                                        N

                                   y

                                 END
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                                        FIG. 22

                                12




                                        50



                                     FIG. 23
                              12




                                                              54




                                   50
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                     FIG. 24 (a}

                                           54




                       54

                                                                 12
                                                                16



                                 M         54




                   FIG. 24 (b)




                                                                12
                       54
                                                          54

                                 M        54
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                                                               6,121,538
                                   1                                                                  2
               ELECTRONIC PERCUSSION                                    a percussion detecting apparatus provided with a head as the
              INSTRUMENTAL SYSTEM AND                                   percussion surface which is excellent in percussion feeling
           PERCUSSION DETECTING APPARATUS                               and in which the percussion sound is extremely quiet in an
                       THEREIN                                          electronic percussion instrument system.
                                                                      5    Furthermore, another object of the present invention is to
                            SPECIFICATION                               provide an electronic percussion instrumental system which
                                                                        is adapted to be easily capable of correct tuning of the head
        This application is a Divisional of application Ser. No.
                                                                        in the case when the head is tuned on the basis of an
     08/886,180, filed Jul. 1, 1997, which application is incor-
                                                                        indication which is suitably given and corresponding to a
     porated herein by reference.
                                                                     10 position of percussion in the head.

                BACKGROUND OF THE INVENTION                                Moreover, still another object of the present invention is
                                                                        to provide an electronic percussion instrumental system
        1. Field of the Invention                                       which is adapted to be capable of detecting a correct position
        The present invention relates to an electronic percussion       in percussion by correcting variations in tension of the head
     instrumental system and a percussion detecting apparatus in 15 as a result of tuning of the same.
     the electronic percussion instrumental system, and more               An yet further object of the present invention is to provide
     particularly to an electronic percussion instrumental system       an electronic percussion instrumental system which is
     which simulates a percussion instrument such as acoustic           adapted to make clear a position of percussion in the head in
     drum sounding musical tone as a result of percussion it with       case of tuning operation to display the tuning state, so that
     sticks or the like by a player and a percussion detecting 20 anybody can easily conduct such tuning operation without
     apparatus in the electronic percussion instrumental system.        requiring any sense of skilled user.
        2. Description of the Related Art                                  In order the achieved the above described objects, the
        Heretofore, in an electronic percussion instrumental sys-       present invention is characterized by a percussion detecting
     tem such as electronic drum simulating acoustic drum, a 25 apparatus in electronic percussion instrumental system com-
     percussion detecting apparatus provided with a surface to be       prising a head the percussion surface of which is composed
     percussed being generally called by the name of "percussion        of a net-like raw material; and a percussion detecting means
     pad" is utilized as a means for detecting percussion.              being in contact with the center position of the aforesaid
        As such a percussion detecting means as described above,        head and detecting percussion with respect to the aforesaid
     for example, the percussion detecting apparatus disclosed in 30 head as electric signal.
     Japanese Patent Laid-open No. 44357/1996 has been known.              Therefore, in accordance with the present invention, since
     In the percussion detecting apparatus disclosed in Japanese        the percussion surface of the head is composed of a net-like
     Patent Laid-open No. 44357/1996, the percussion surface is         raw material, extremely good percussion feeling can be
     formed by covering a plate-like case with a material of a soft     obtained because of the elasticity of the net-like raw mate-
     high-molecular compound.                                        35 rial. Besides, since air passes through the openings of
                                                                        stitches in the net-like raw material, percussion sound in
        However, in such percussion detecting apparatus wherein
                                                                        case of percussing the head becomes extremely small.
     the percussion surface is formed by covering the plate-like
     case with a soft high-molecular compound material, there is           Furthermore, the present invention is characterized by an
     such a problem that repulsive feeling at the time of percus-       electronic percussion instrumental system which detects
     sion the percussion surface is remarkable, so that good 40 percussion as electric signals and generates musical tone
     percussion feeling cannot be obtained. In addition, the above      based on the electric signal thus detected comprising a head
     described percussion detecting apparatus involves also such        the percussion surface of which to be percussed is tunable;
     a problem that there is a fear of disturbing the performance       a percussion detecting means for detecting percussion upon
     by the percussion sound, because the percussion sound              the  aforesaid head as electric signal; a means for detecting
     generated at the time when the percussion surface is per- 45 a position of percussion point for performing arithmetic
     cussed is significant.                                             computations by inputting the electric signal detected by
                                                                        means of the aforesaid percussion detecting means to detect
        On one hand, it has been proposed to utilize, as a              percussion point positional information; and a display means
     percussion detecting means, a percussion surface, the ten-         for effecting a display corresponding to the percussion point
     sion of which can be adjusted and is called by the name of         positional information detected by the aforesaid means for
     "head" in acoustic drum, which is further provided with a       50
                                                                        detecting a position of percussion point.
     sensor for detecting percussion.
                                                                           Therefore, in accordance with the present invention, since
        In the present specification, adjustment for tension of a       a display corresponding to the percussion point positional
     percussion surface which is adjustable as in the head of           information is effected by means of the display means, the
     acoustic drum will be called by the term "tuning".
                                                                     55 head can be tuned while observing visually the resulting
        In the case when the head of acoustic drum is served for        display, so that correct tuning of the head can easily be
     a percussion detecting means as described above, there is          realized.
     such a problem that although percussion feeling is excellent          Moreover, the present invention is characterized by an
     in this case because the head for the acoustic drum is utilized    electronic percussion instrumental system comprising fur-
     as it is, the percussion sound becomes remarkable so that it 60 ther an arithmetic computation compensating means for
     disturbs the performance.                                          compensating the arithmetic computations in the aforesaid
                                                                        means for detecting the position of percussion point in
                 OBJECTS AND SUMMARY OF THE                             response to a tuning state of the aforesaid head.
                              INVENTION
                                                                           Therefore, in accordance with the present invention, the
        The present invention has been made in view of the 65 arithmetic computations for detecting the percussion point
     problems as described above involved in the prior art.             positional information in response to tuning of the head are
     Accordingly, an object of the present invention is to provide      compensated, the position of percussion point is also com-
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                                   3                                                                    4
     pensated in response to tuning of the head, whereby it                   FIG. 15 is an explanatory diagram showing the charac-
     becomes possible to display the correct position of percus-           teristic properties of table 1;
     sion point.                                                              FIG. 16 is an explanatory diagram showing the charac-
        Still further, the present invention is characterized by an        teristic properties of table 2;
     electronic percussion instrumental system which detects          5       FIG. 17 is a flowchart of a tuning processing routine
     percussion as electric signal and generates musical tone              executed by the CPU;
     based on the electric signal thus detected comprising a
                                                                              FIGS. 18(a), 18(b), and 18(c) are explanatory diagrams
     tunable head; a means for detecting a position of percussion
                                                                           showing examples of display mode in percussion point
     point for detecting the position of percussion point upon the
                                                                           positional information AP by means of a display unit
     aforesaid head; and a display means for effecting a display      10
                                                                           wherein FIG. 18(a) shows the first displaying example, FIG.
     in response to the results detected by the aforesaid means for
                                                                           18(b) shows the second displaying example, and FIG. 18(c)
     detecting the position of percussion point; a percussion point
                                                                           shows figures indicating a variety of the percussion point
     positional mark for tuning being provided on the aforesaid
                                                                           positional information AP in the display column for the
     head.
                                                                      15
                                                                           percussion point positional information AP in FIG. 18(b),
        Therefore, in accordance with the present invention, since         respectively;
     a tuning operation can be conducted by a user in accordance
                                                                              FIG. 19 is a flowchart of a normal performance processing
     with such a manner that a place marked with a percussion
                                                                           routine executed by the CPU;
     point positional mark is percussed by the user, and the result
     detected at that time by the position of percussion point                FIG. 20 is a schematic top view of a percussion detecting
     detecting means is confirmed while watching the display          20   apparatus showing an example of percussion point posi-
     means, tuning operation can simply be carried out without             tional mark displayed on the top of a head;
     relying upon user's sense.                                               FIG. 21 is a flowchart showing a typical operational
                                                                           procedure for the tuning operation of a head;
           BRIEF DESCRIPTION OF THE DRAWINGS                                  FIG. 22 is a perspective view showing a modified
        The present invention will become more fully understood 25         example of the percussion detecting apparatus correspond-
     from the detailed description given hereinafter and the               ing to FIG. 2;
     accompanying drawings which are given by way of illus-                   FIG. 23 is a perspective view showing a modified
     tration only, and thus are not !imitative of the present              example of the percussion detecting apparatus correspond-
     invention, and wherein:                                               ing to FIG. 2;
                                                                   30
        FIG. 1 is a constitutional block diagram showing an                   FIGS. 24(a) and 24(b) are schematic top views of a
     example of manner of practice of the electronic percussion            percussion detecting apparatuses each showing an example
     instrumental system according to the present invention;               of percussion point positional mark displayed on the top of
        FIG. 2 is a perspective view showing a percussion detect-          the head wherein FIGS. 24(a) and 24(b) show different
     ing apparatus;                                                35
                                                                           examples from each other; and
        FIG. 3 is a sectional view taken along the line III-III of            FIG. 25 is an explanatory view showing another example
     FIG. 2;                                                               of display mode in the percussion point positional informa-
        FIG. 4 is a perspective view showing a head;                       tion AP by means of a display unit.
        FIG. 5 is a perspectively exploded view of the head;                     DETAILED DESCRIPTION OF THE
        FIG. 6 is an explanatory view showing a case where 40                        PREFERRED EMBODIMENTS
     directions in weave patterns of a first net and a second net
     intersect obliquely;                                                An  example    of manner of practice of the electronic
        FIGS. 7(a), 7(b), and 7(c) are explanatory views wherein      percussion  instrumental  system and the percussion detecting
     FIG. 7(a) is a fragmentary view taken in the direction of the    apparatus in the electronic percussion instrumental system
     arrow Aof FIG. 7(b), FIG. 7(b) is a front view, and FIG. 7(c) 45 according to the present invention will be described in detail
     is a fragmentary view taken in the direction of the arrow C      hereinafter in conjunction with the accompanying drawings.
     of FIG. 7(b), respectively.                                         FIG. 1 is a constitutional block diagram showing an
        FIG. 8 is a sectional view corresponding to FIG. 3 in the     example of manner of practice of the electronic percussion
     case when the head is percussed with a stick;                    instrumental system according to the present invention
                                                                   50 wherein the electronic percussion instrumental system com-
        FIG. 9 is a sectional view corresponding to FIG. 3 in the
                                                                      prises a percussion detecting apparatus 10 provided with a
     case when the rim is percussed with a stick;
                                                                      head sensor 14 functioning as a percussion detecting means
        FIG. 10 is a sectional view corresponding to FIG. 3 in the    for detecting percussion applied to a head 12 the surface of
     case when the head is either brushed or percussed with a         which is composed of a net-like raw material which will be
     brush;                                                        55 described hereunder, and a rim-shot sensor 18 for detecting
        FIG. 11 is a flowchart of the main routine executed by a      percussion applied to a rim 16; an analog-to-digital (ND)
     CPU;                                                             converter 20 which performs analog-to-digital conversion of
        FIG. 12 is a flowchart of a DSP percussion signal pro-        the detected signals output from the head sensor 14 and the
     cessing routine executed by the DSP;                             rim-shot sensor 18 in time-sharing manner and inputs the
        FIGS. 13(a) and 13(b) are explanatory views for charac- 60 converted signals to a DSP 22 which will be mentioned
     teristics properties of a head composed of a net-like raw        hereinafter; the DSP 22 which detects the percussion applied
     material wherein FIG. 13(a) shows the positions of percus-       to the head 12, the intensity thereof, the position of percus-
     sion point, and FIG. 13(b) shows the output waveforms,           sion from the detected signals which are derived form the
     respectively;                                                    head sensor 14 and which were input from the analog-to-
        FIG. 14 is a functional block diagram showing the con- 65 digital converter 20 as well as performance by means of a
     stitution of a means for detecting the position of percussion    brush, and in addition, the DSP detecting also the percussion
     point in a DSP in a normal performance mode;                     applied to the rim 16 and the intensity thereof from the
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                                    5                                                                     6
     detected signals which are derived from the rim-shot sensor              Moreover, on the top of the head 12 is provided a
     18 and which were input from the analog-to-digital con-               percussion point positional mark M which is formed with a
     verter 20 to supply the results thus detected to a CPU 24             circular contour by means of printing as shown in FIG. 20
     which will be described hereunder; the CPU 24 which                   and which is used in case of tuning operation.
     supplies the output from the DSP 22 to a sound source IC 34, 5           Furthermore, the rim 16 is prepared by integrally molding
     which will be undermentioned, wherein the output is con-
                                                                           a metallic material and is composed of a flange portion 66
     verted into required performance information, as well as
                                                                           which is positioned around the outer circumference of the
     detects operations of a group of operation keys 30 which will
                                                                           rim and has hole potions 64 into each of which an engaging
     be mentioned hereinafter, and controls the DSP 22; a read
                                                                           pin 54 can be inserted, and a rim percussion portion 68
     only memory (ROM) 26 storing a program or the like which 10
                                                                           which is ascendingly formed and extended from the flange
     is to be executed by the CPU 24, a random access memory
                                                                           portion 66 around the inner circumference thereof. The top
     (RAM) 28 functioning as a working area required for
                                                                           of the rim percussion portion 68 is covered with a covering
     executing the program by means of the CPU 24; the group
                                                                           member 70 made from an elastic material such as rubber,
     of operation keys 30 including mode selecting keys for
                                                                           sponge and the like.
     setting normal performance mode, brush performance mode 15
     or tuning mode, keys for selecting tone color or setting level           A manner for fixing the head 12 and the rim 16 to the
     or the like, and the like keys; a display unit 32 for displaying      barrel section 50 each of them having the structure described
     an operation mode selected by a key in the group of                   above is such that the head 12 is first put on the barrel section
     operation keys 30, tone colors required for the tone color            50, then, the rim 16 is put on the head 12, and the positions
     selection, and a tuning state in case of tuning mode; the 20 of them are adjusted in such a way that each hole portion 64
     sound source IC 34 which reads a waveform memory 36                   of the rim 16 communicates with each tapped hole defined
     which will be undermentioned on the basis of performance              on each engaging portion 52 of the barrel section 50.
     information from the CPU 24 to form digital musical tone              Thereafter, each engaging pin 54 is inserted into each hole
     signals and outputs the signals thus formed to a digital-to-          portion 64 of the rim 16 as well as into each tapped hole
     analog (DIA) converter 38 which will be described hereun- 25 defined on each engaging portion 52 of the barrel section 50,
     der; the waveform memory 36 storing sampling waveform                 and the thread ridge of each engaging pin 54 is threadedly
     data for forming the musical tone signals; and the digital-           combined with the thread groove in each engaging portion
     to-analog converter 38 for converting digital musical tone            52 of the barrel section 52, so that the head 12 and the rim
     signals supplied from the sound source IC 34 into analog              16 are forcedly fixed to the barrel section 50 by means of the
     musical tone signals to output the signals thus converted to 30 locking projection 54a of each engaging pin 54.
     a sound system composed of an amplifier, a speaker and the               More specifically, with the progress of screwing each
     like.                                                                 engaging pin 54 in the tapped hole in each engaging portion
        Then, the constitution of the percussion detecting appa-           52 of the barrel section 50, the flange portion 66 of the rim
     ratus 10 will be described by referring to FIG. 2 being a             16 is pressed downwards in FIG. 3 by means of each locking
     perspective view showing the percussion detecting appara- 35 projection 54a, so that the frame 60 of the head 12 is also
     tus 10 and FIG. 3 being a sectional view taken along the line         pressed downwards through the flange portion 66. As a
     III-III of FIG. 2.                                                    result, the first net 56 and the second net 58 the downward
        The percussion detecting apparatus 10 contains a cylin-            movement of which are restricted by an upper end portion
     drical barrel section 50, and around the outer circumference          50a of the barrel section 50, respectively, are stretched over
     of the barrel section 50 are formed protrusively engaging 40 the barrel section 50 with a prescribed tension. Thus, when
     portions 52 each having a tapped hole (not shown) provided            an amount of screwing each engaging pin 54 in each tapped
     with a thread groove (not shown) with a prescribed interval           hole defined on each engaging portion 52 of the barrel
     along the diametrical direction of the barrel section. Into the       section 50 is adjusted, the tension of the first net 56 and the
     engaging portion 52 is screwed an engaging point 54 on                second net 58 can be arbitrarily controlled, whereby tuning
     which is formed a thread ridge to be combined with the 45 of the head 12 can be carried out.
     thread groove formed on the engaging portion 52, so that the             Furthermore, a head sensor supporting material 72 is
     head 12 and the rim 16 are fixed to the barrel section 50             placed in the barrel section 50 in such that the head sensor
     through the engaging pin 54. Furthermore, a locking pro-              supporting material 72 intersects the position of the axial
     jection 54a for locking the rim 16 is formed on the engaging          center of the barrel section 50. A head sensor 14 is bonded
     pin 54.                                                            50 to the top of the head sensor supporting material 72 at the
        The head 12 is prepared as shown in FIGS. 4 and 5 in such          central portion thereof by means of a cushioning double-
     a manner that a net-like raw material composed of a first net         coated tape 78 which will be described hereinafter so as to
     56 and a second net 58, each of which is woven in accor-              be in contact with the second net 58. In other words, the head
     dance with plane weave wherein the longitudinal and trans-            sensor 14 is disposed on the under surface of the net-like raw
     verse fibers cross at right angles, are laminated to one 55 material composed of the first net 56 and the second net 58
     another so as to cross obliquely their longitudinal and               in the head 12 at the center thereof in contact therewith.
     transverse weave pattern directions, and the net-like raw                As shown in FIGS. 7(a), 7(b), and 7(c), the head sensor
     material thus arranged is bonded to a frame 60. It is to be           14 is provided with a disc-shaped piezoelectric element 76
     noted herein that the expression "the weave pattern direction         containing wires for output signal 74, and to the under
     of the first net 56 crosses obliquely that of the second net 58" 60 surface of the piezoelectric element 76 is bonded the cush-
     means that when the first net 56 wherein the longitudinal and         ioning double-coated tape 78. A diameter of the cushioning
     transverse fibers cross at right angles is superposed on the          double-coated tape 78 is made to coincide with an node
     second net 58 wherein the longitudinal and transverse fibers          diameter of the piezoelectric element 76.
     cross at right angles, adjacent fibers in the first net 56 and the       Furthermore, to the top of the piezoelectric element 76 is
     second net 58 thus superposed intersect with each other at an 65 bonded a frustoconical cushioning member 80 made from an
     angle a which is smaller than 90 degrees as shown in FIG.             elastic material such as rubber, sponge and the like. The
     6.                                                                    cushioning member 80 has a bottom surface of a larger
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     diameter than that of the piezoelectric element 76, the cross           Further, since the cushioning member 80 bonded to the
     section of which tapers off upwardly, and it is in contact with      top of the piezoelectric 76 of the head sensor 14 is in contact
     the second net 58 at the extreme end of the cushioning               with the second net 58 of the head 12 at the site of the
     member 80 of a thin diameter.                                        frustoconical extreme end portion having a thin diameter
         Moreover, in the vicinity of the rim percussion portion 68 5 and a small area, vibrations of percussion in the head 12 are
     disposed on the upper portion inside the barrel section 50 is        hardly transmitted directly to the piezoelectric element 76,
     bonded the rim-shot sensor 18 by means of the cushioning             so that damage of the piezoelectric element 76 is suppressed.
     double-coated tape 78. The rim-shot sensor 18 is provided               In addition, since a diameter of the cushioning double-
     with the disc-shaped piezoelectric element 76 containing             coated tape 78 bonded to the under surface of the piezo-
     wires for output signal 74, and to the under surface of the 10 electric element 76 is made to be equal to the node diameter,
     piezoelectric element 76 is bonded the cushioning double-            sensitivity of the piezoelectric element 76 increase, so that
     coated tape 78. The diameter of the cushioning double-               delicate variations in the oscillation due to differences in
     coated tape 78 is made to coincide with the node diameter            positions percussed can be more precisely detected.
     of the piezoelectric element 76.                                        Still further, since air passes through openings of stitches
         Namely, in the electronic percussion instrumental system 15 in the net-like raw material composed of the first net 56 and
     according to the present invention, a member obtained by             the second net 58, percussion sound in the case when the
     removing the cushioning member 80 from the head sensor               head 12 is percussed is extremely small. Such percussion
     14 is used as the rim-shot sensor 18, whereby improvements           sound in case of percussing the head 12 is dependent upon
     in efficiency of parts to be used are intended.                      a ratio of openings in the net-like raw material composed of
                                                                       20 the first net 56 and the second net 58, and therefore, the
         In this electronic percussion instrumental system, a vari-
     ety of heads 12 having different diameters as well as a              higher ratio of openings brings about the smaller percussion
     variety of the barrel sections 50 being adapted for such             sound. However, an excessive ratio of openings results in
     various heads and the like members are prepared, whereby             low tension of the first net 56 and the second net 58 so that
     a size of the head 12 is suitably changed.                           the percussion feeling deteriorates. Accordingly, it is pre-
                                                                       25 ferred to suitably keep a balance between the percussion
         In the constitution as described above, when the head 12
     is percussed with a stick 100 (see FIG. 8), the head sensor          feeling and the ratio of openings.
     14 detects the percussion, while when the rim 16 is per-                Yet further, since the rim 16 is covered with the covering
     cussed with the stick 100 (see FIG. 9, but it is to be noted         member 70, the percussion sound in case of percussing the
     that both the head 12 and the rim 16 are percussed with the 30 rim 16 is also reduced.
     stick 100 in FIG. 9), the rim-shot sensor 18 detects the                In this respect, the oscillation in case of percussing the rim
     percussion. Further, when the head 12 is brushed or per-             16 is mostly transmitted to the barrel 50, the performance
     cussed with a brush 102 (see FIG. 10), the head sensor 14            played by percussing the rim 16 can be controlled in
     detects the contact of the brush 102 with the head 12.               accordance with output waveforms in the rim-shot sensor 18
         In these circumstances, when the head 12 is percussed 35 attached to the barrel 50.
     with the stick 100, extremely good percussion feeling                   In the following, electrical processing contents in the
     closely resembling the percussion feeling in the case when           electronic percussion instrumental system according to the
     the head of an acoustic drum is percussed can be obtained            present invention will be described by referring to the
     because of the elasticity of a net-like raw material composed        accompanying flowcharts.
     of the first net 56 and the second net 58.                        40    FIG. 11 is a flowchart of the main routine executed by the
         In addition, since the first net 56 and the second net 58        CPU 24 wherein when the power is turned on, first,
     which have been woven in accordance with plane weaving               memories, registers and the like are initialized (step S802).
     manner wherein the longitudinal and transverse fibers cross             Then, it is judged which operation mode has been set, i.e.,
     at right angles are laminated obliquely with each other in the       it is judged whether a tuning mode which changes percus-
     net-like raw material, the tension is uniformized over the 45 sion feeling of the head 12 by adjusting tension in the
     whole surface of the net-like raw material, so that there is         net-like raw material of the head 12, or a normal perfor-
     little variations in percussion feeling due to differences in the    mance mode which sounds percussion instrumental sounds
     position percussed, and as a result, output waveforms from           by detecting percussion upon the head 12 and percussion
     the head sensor 12 become the ones which are easily                  upon the rim 16, or a brushing performance mode which
     processed.                                                        50 sounds percussion instrumental sounds by detecting either
         As described above, performance played by percussing             brushing or percussing the head 12 with the brush 102 has
     the head 12 is controlled by output waveforms from the head          been established (step S804) by supervising an operational
     sensor 14 being in contact with the under surface of the             state of mode selecting keys of the group of operation keys
     center in the first net 56 and the second net 58 of the head         30.
     12. In this respect, since the head sensor 14 is positioned at 55       As a result, when it has been judged that the tuning mode
     the center of the first net 56 and the second net 58 of the head     had been set in the step S804, the DSP 22 is set to the tuning
     12, variations in output waveforms due to differences in the         mode, whereby the DSP 22 is adapted to be set so as to
     position of the head 12 percussed become concentric circu-           execute the DSP percussion signal processing routine shown
     lar form, so that variations in tone color simulating acoustic       in FIG. 12 (step S806). Thereafter, the tuning processing
     drum are easily expressed.                                        60 routine executed by the CPU 24 shown in FIG. 17 is
         Moreover, since the cushioning member 80 of the head             executed (step S808), then, processing for stopping the
     sensor 14 is in contact with the under surface of the center         tuning mode by means of the DSP 22 is conducted (step
     of the second net 58 of the head 12, oscillation of the head         S810), and the procedure returns to the step S804.
     12 attenuates rapidly so that the output signal attenuates also         On one hand, when it has been judged that the normal
     rapidly, whereby erroneous detecting operation in case of 65 performance mode had been set in the step S804, the DSP 22
     percussing the head 12 in a rapid and repeated manner is             is set to the normal performance mode, whereby the DSP 22
     prevented.                                                           is adapted to be set so as to execute the DSP percussion
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     signal processing routine shown in FIG. 12 (step 5812).             first half-wave detection circuit detects the leading edge of
     Thereafter, the normal performance processing routine by            waveform of the detection signal thus input and the first zero
     the CPU 24 shown in FIG. 19 is executed (step 5814), then,          cross, whereby the first half-wave is detected. A counter
     processing for stopping the normal performance mode in the          operates for counting during only a period wherein the first
     DSP 22 is conducted (step 5816), and the procedure returns 5 half-wave detection circuit detects first half-wave, and an
     to the step 5804.                                                   arithmetic circuit calculates the position of percussion point
                                                                         from the count value of the counter. The position of percus-
         On the other hand, when it has been judged that the
                                                                         sion point thus calculated is input to the CPU 24 as percus-
     brushing performance mode had been set in the step 5804,            sion point positional information in head.
     the DSP 22 is set to the brushing performance mode (step               The DSP percussion signal processing routine will be
     5818). Thereafter, the brushing performance processing 10 described herein in detail by referring to FIG. 12 wherein
     routine by the CPU 24 is executed, then, processing for             this DSP percussion signal processing routine is executed
     stopping the brushing performance mode in the DSP 22 is             repeatedly in every sampling periods of the analog-to-digital
     conducted (step 5816), and the procedure returns to the step        converter 12.
     5804. It is to be noted that the processing for brushing               It is to be noted that since the above described functional
     performance mode is not related to the subject matter of the 15 block diagram shown in FIG. 14 indicates only the function
     present invention, the detailed description therefore will be       for detecting percussion point positional information in
     omitted.                                                            head, a function for detecting percussion force information
         In the following, the DSP percussion signal processing          shown     in FIG. 12 has been omitted. Furthermore, the
     routine executed by the DSP 22 shown in FIG. 12 will be             functions for DC cut filter and LP filter shown in FIG. 14 are
     described, and the this processing is based on the following 20 considered in FIG. 12 to be included in the processing for
     characteristic features.                                            inputting sampling data S (step 5902), so that the clear
                                                                         indication thereof is omitted for simplifying the flowchart.
         Namely, when detection signal of the head sensor 14 in             In the DSP percussion signal processing routine, the
     the case when the head 12 composed of a net-like raw                sampling data S is first input (step 5902), and it is judged
     material is percussed is observed, there is such a character- 25 whether the leading edge has been detected or not (step
     istic that a first half-wave time changes dependent on a            5904). In the case where it was judged that the leading edge
     position of percussion point in a certain frequency band.           had been detected, a timer Tis reset (step 5906), then, a first
     More specifically, as shown in FIGS. 13(a) and 13(b), when          count flag cf is turned ON (step 5908), and a maximum
     the first half-wave time in the case where the center of the
                                                                         value detection flag mf is turned ON (step 5910).
     head 12 is percussed (position of percussion point A), the 30          The detection of leading edge in the step 5904 may be
     first half-wave time in the case where the outer circumfer-
                                                                         conducted specifically by either a manner wherein a differ-
     ence of the head 12 is percussed (position of percussion            ence between the present sampling data S and the preceding
     point C), and the first half-wave time in the case where the        sampling data is determined, and if the difference is higher
     intermediate point defined between the center and the outer         than the prescribed value which has been previously set, it
     circumference of the head 12 is percussed (position of 35 is judged that there was a leading edge, or a well-known
     percussion point B) are represented by TA, T 0 and TB,              manner for detecting leading edge of input signal.
     respectively, the relationship between them is expressed as            Furthermore, the timer T is a means for measuring a
     follows.                                                            prescribed period of time for detecting the maximum value
                                                                         of detection signal wherein the prescribed period of time is
                                                                      40 decided by a register time for storing the time which as been
                                                                         previously set.
         As described above, when the head 12 composed of a                 The first half-wave count flag cf is a flag representing
     net-like raw material is percussed, with the movement of            whether counting processing for the first half-wave counter
     position of the percussion point from the center to the outer       ct is to be made or not. When the first half-wave count fiat
     circumference, a first half-wave time shortens gradually.        45 cf has been turned ON, the counting processing for the first
         On one hand, when tuning of the head 12 is made high,           half-wave counter ct is made, while the counting processing
     i.e., tension of the head 12 is increased, the first half-wave      for the first half-wave counter ct is not made in the case
     times TA, TB, and Tc shorten, respectively, while maintain-         when the first half-wave count fiat cf has been turned OFF.
     ing the relationship "TA> TB> Tc". On the other hand, when             A maximum value detection flag mf is a flag representing
     tuning of the head 12 is made low, i.e., tension of the head 50 whether detection processing for the maximum value of
     12 is decreased, the first half-wave times TA, TB, and Tc           input data is to be made or not. When the maximum value
     lengthen, respectively, while maintaining the relationship          detection flag mf has been turned ON, the detection pro-
     "TA> TB> Tc"·                                                       cessing for the maximum value is made, while the detection
         FIG. 14 is a functional block diagram showing the con-          processing for the maximum value is not made, in the case
     stitution of a means for detecting the position of percussion 55 when the maximum value detection flag mf has been turned
     point in a DSP 22. The outline of DSP percussion signal             OFF.
     processing routine will be described by referring to FIG. 14.          In either the case where the processing in step 5910 has
     A detection signal detected by the head sensor 14 is sub-           been completed or the case where it has been judged that the
     jected to analog-to-digital conversion by means of the              leading edge had not been detected in the step 5904, the
     analog-to-digital converter 20, and the signal thus converted 60 procedure proceeds to step 5912 wherein it is judged
     is input to a DC cut filter. The DC cut filter means a high pass    whether or not the first half-wave count flag has been turned
     filter for removing DC component. The DC component of               ON.
     the detection signal thus input to the DC cut filter is                It is to be noted herein that the step 5912, step 5914, step
     removed, and is input to a low pas filter (LP filter) removing      5916, and step 5918 relate to first half-wave count process-
     unnecessary high pass component. Then, the detection sig- 65 ing. In other words, the first half-wave count flag cf is turned
     nal from which unnecessary high pass component has been             ON from the step 5912, and the first half-wave counter ct is
     removed is input to a first half-wave detection circuit. The        incremental until the first half-wave is completed.
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        More specifically, when it is judged that the first half-           As described above, since three kinds of the head type and
     wave count flag has not been turned ON, i.e., the first             three kinds of the tuning type have been established in the
     half-wave count flag has been turned OFF, the procedure             present electronic percussion instrumental system, so that
     jumps to step S920 without accompanying the processing in           the table 1 of total nine kinds is provided.
     the step S914, the step S916, and the step S918.                  5    In FIG. 15, characteristics of the respective tuning types
        On the other hand, when it is judged that the first              of loose, medium, and tight are indicated in the case where
     half-wave count flag has been turned ON in the step S912,           the head type is SNARE in respect of the table 1. A position
     it is judged whether or not the first half-wave has been            of percussion point A (center), a position of percussion point
     completed (step S914). Then, when it is judged that the first       B (intermediate), and a position of percussion point C (outer
     half-wave has not been completed, the first half-wave 10 circumference) in the percussion point positional informa-
     counter ct is made incremental (step S916), while when it is        tion AP correspond to the position of percussion point A, the
     judged that the first half wave has been completed, the first       position of percussion point B, and the position of percus-
     half-wave count flag cf is turned ON (step S918), and the           sion point C in FIG. 10, respectively.
     procedure proceeds to the step S920.                                   When completed the processing in the step 930, the
        The completion of the first half-wave in the step S914 15 procedure proceeds to step S932 wherein the percussion
     corresponds to a point of time where the sampling data cross        point positional information AP is converted into a percus-
     0 (zero). Judgment whether the sampling data have crossed           sion force correcting coefficient K by employing a table 2
     0 (zero) or not may be made at the point of time when sign          which is a percussion force correcting table for converting
     of the sampling data S turns, the contents of the judgment          the percussion positional information AP obtained in the step
     being such that the sampling data have crossed 0 (zero).         20 S930 into the percussion force correcting coefficient K (step
        In the step S920, it is judged whether the maximum value         S932).
     detection flag mf has been turned ON or not, and as a result,          It is to be noted herein that the table 2 which is the
     when it is judged that the maximum value detection flag mf          percussion force correcting table for converting the percus-
     has not been turned ON, i.e., it is judged that the maximum         sion positional information AP is selected in response to
     value detection flag mf has not been turned OFF, the DSP 25 head type and tuning type as in the case of the table 1.
     percussion signal processing routine is completed without              As described above, since three kinds of the head type,
     taking a further step any more.                                     i.e., TOM 1, TOM 2, and SNARE as well as three kinds of
        On the other hand, when it is judged that the maximum            the tuning type, i.e., "loose", "medium, and "tight" have
     value detection flag mf has been turned ON, it is further           been established in the present electronic percussion instru-
     judged whether or not a timer T is larger than the register 30 mental system, so that the table 2 of total nine kinds is
     time (step S922).                                                   provided.
        As a result, when the timer T is equal to or less then the          In FIG. 16, characteristics of the respective tuning types
     register time, in other words, during a period where the            of loose, medium, and tight are indicated in the case where
     maximum value detection flag mf has been turned ON and              the head type is SNARE in respect of the table 2. A position
     the time Tis equal to or less than the register time in the step 35 of percussion point A (center), a position of percussion point
     S922, the maximum value detection processing is executed            B (intermediate), and a position of percussion point C (outer
     in step S924 and step S926.                                         circumference) in the percussion point positional informa-
        More specifically, the timer T is made incremental (step         tion AP correspond to the position of percussion point A, the
     S924), the maximum value max is compared with the                   position of percussion point B, and the position of percus-
     absolute value of the sample data S to rewrite the larger 40 sion point C in FIG. 10, respectively.
     value into the maximum value max (step S916), and the DSP              For instance, in the example shown in FIG. 16, when the
     percussion signal processing routine is completed.                  tuning type is loose, "K=l" in the position of percussion
        Therefore, the maximum value max corresponds to the              point A (center), "K=4/3" in the position of percussion point
     maximum value of a percussion signal within a prescribed            B (intermediate), and "K=3" in the position of percussion
     time and decided by the register time.                           45 point C (outer circumference).
        Furthermore, when the maximum value detection pro-                  These head types and tuning types may be represented by
     cessing is completed as a result of such judgment that the          numerical values, and further the table 1 as well as the table
     timer T is larger than the register time in the step S922, the      2 are not limited to the nine kinds, respectively.
     maximum value detection flag mf is turned OFF (step S928).             When the processing in the step S932 is completed, the
        Then, the first half-wave counter ct is converted into a 50 procedure proceeds to step S934 wherein compensation
     percussion point positional information AP by employing             arithmetic processing in which the maximum value max is
     table 1 which is a percussion point positional table for            multiplied by the percussion force correcting coefficient K is
     converting a first half-wave count value being a value of the       conducted to calculate compensated percussion force infor-
     first half-wave counter ct into the percussion point positional     mation V.
     information AP (step S930).                                      55    When completed the step S934, the procedure proceeds to
        It is to be noted herein that the table 1 which is a             step S936 wherein a sounding flag gf in the CPU 24 is turned
     percussion point positional table for converting a first half-      ON, the percussion point positional information AP and the
     wave count value being a value of the first half-wave counter       percussion force information V are set in the CPU 24, and
     ct into the percussion point positional information AP is           the DSP percussion signal processing routine is completed.
     selected in accordance with head type or tuning type.            60    Then, the tuning processing routine executed by the CPU
        The head type is decided in response to a size of the head       in the step S808 will be described by referring to FIG. 17.
     12 so that TOM 1, TOM 2, and SNARE are established in                  In this tuning processing routine, it is judged whether or
     the present electronic percussion instrumental system. On           not there was an indication of change in a head type or a
     one hand, the tuning type is decided in accordance with a           tuning type by operating a head type setting operation key
     tuning state of the head 12, i.e., in response to tension of the 65 (key for setting the head type) or a tuning type setting
     head 12 so that "lose", "medium" and "tight" are established        operation key (key for setting the tuning type) contained in
     in the present electronic percussion instrumental system.           the group of operation keys 30 (step Sl402). At the time of
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     turning on the power, a register head storing a head type and       percussion point positional mark M shown in FIG. 20 is
     a register tuning storing a tuning type are also set in response    indicated at the position of intermediate point between the
     to the initialized state of the head type setting operation key     center "CENTER" and the rim 16 (RIM) in the head 12, the
     and the tuning type setting operation key in accordance with        tuning reference mark represented by a white triangle is also
     the processing of initialization in the step S802, respectively. 5 indicated at the intermediate point between the "CENTER"
        After such judgment that change of head type or tuning           and the "RIM" in FIG. 18(a).
     type had been indicated by the operation of the head type              The manner for displaying the percussion point positional
     setting key or the tuning type setting key of the group of          information AP on the display 32 is not limited to the
     operation keys 30 in the step Sl402, it is judged whether or        examples shown in FIGS. 18(a), 18(b), and 18(c), but it may
     not the change of head type has been indicated (step Sl404). 10 be indicated by either numerical values or a bar graph as in
        When it was judged that the change of head type had been         a level indication.
     indicated, stored contents of the register head are changed in         When completed the processing in the step Sl414, it is
     accordance with this indication of change (step Sl406).             judged whether or not a termination key in the group of
        In either the case where the processing in step Sl406 has        operation keys 30 has been operated (step Sl416), so that if
     been completed, or the case where it was judged that the 15 it was judged that the termination key in the group of
     change of head type had not been indicated in the step              operation keys 30 had not been operated, the procedure
     Sl404, it is judged whether or not the change of tuning type        returns to the step Sl402, and the processing is repeated.
     has been indicated (step S1048).                                       On the other hand, if it was judged that the termination
        When it was judged that the change of tuning type had            key in the group of operation keys 30 had been operated in
     been indicated, the stored contents of the register tuning is 20 the step Sl416, the procedure returns to the main routine.
     changed in accordance with this indication of change (step             Then, a normal performance processing routine executed
     Sl410).                                                             by the CPU 24 in the step S814 will be described by
        In either the case where the processing in step Sl410 has        referring to FIG. 19.
     been completed, or the case where it was judged that the               In the normal performance processing routine, it is first
     change of tuning type had not been indicated in the step 25 judged whether or not a level key (key for setting a volume
     Sl 408, the table 1 or the table 2 is selected in accordance        of sounding musical tone), a tone color key (key for setting
     with the stored contents of the register head or the register       tone color of sounding musical tone), or a tuning key (key
     tuning, and it is set to the DSP 22 (step Sl412).                   for setting a pitch of sounding musical tone) contained in the
        As a result of conducting the procedure as described             group of operation keys 30 has been changed. At the time
     above, in either the case where the processing in step Sl412 30 when the power is turned on, a register level for storing
     has been completed, or the case where it was judged that            level, a register tone for storing tone color, and a register
     both the head type setting key or the tuning type setting key       pitch for storing pitch are set in response to the initialized
     in the group of operation keys 30 had not been operated so          state of the level key, the tone color setting key, and the
     that no change of the head type and the tuning type had not         tuning key, respectively, in accordance with the initialization
     been indicated, the percussion point positional information 35 processing in the step S802.
     AP sent out from the DSP 22 is displayed on the display unit           In the step Sl602, when it was judged that the level key,
     32 (step Sl414). More specifically, the percussion point            the tone color setting key, or the tuning key in the group of
     positional information AP set in the CPU in the DSP                 operation keys 30 had been changed, then, it is judged
     percussion signal processing routine is displayed on the            whether the level key has been changed or not (step Sl604).
     display unit 32.                                                 40    In this case, if it was judged that the level key had been
        In FIGS. 18(a), 18(b) and 18(c) are shown examples of            changed, the stored contents in the register level are changed
     manner of displaying the percussion point positional infor-         in accordance with the former change (step Sl606).
     mation AP displayed on the display unit 32 in the step Sl414           In either the case where the processing in step Sl606 has
     wherein FIG. 18(a) shows a first displaying example, FIG.           been completed, or the case where it was judged that the
     18(b) shows a second displaying example, and FIG. 18(c) 45 level key had not been changed in the step Sl604, it is
     shows marks representing a variety of percussion point              judged whether or not the tone color key has been changed
     positional information AP being displayed in a display              (step Sl608).
     column for the percussion point positional information AP in           In this case, when it was judged that the tone color key
     FIG. 18(b), respectively. In FIGS. 18(a) and 18(b), it is           had been changed, stored contents of a register tone are
     arranged in such that numbers which have been previously 50 changed in accordance with the former change, and a start
     assigned to respective tuning types are displayed in the            address and an end address of waveform data corresponding
     displaying column of tuning type.                                   to the stored contents of the register tone are set in the sound
        In FIG. 18(a), "CENTER" indicates the center position of         source IC 34 (step Sl610).
     the head 12, and "RIM" indicates a position of the rim 16.             In either the case where the processing in step Sl610 has
     Furthermore, a black triangle is a mark indicating the 55 been completed, or the case where it was judged that the tone
     percussion point positional information AP, while a white           color key had not been changed in the step Sl608, it is
     triangle is a tuning reference mark indicated in a position         judged whether or not the tuning operation key has been
     corresponding to the percussion point positional mark M             changed (step Sl612).
     indicated in the head 12 (see FIG. 20).                                Is is to be noted that the "tuning" in this step Sl612 is
        Since a position between the center "CENTER" and the 60 different from the above described tuning of the head, and it
     rim 16 "RIM" in the head 12 is decided by the percussion            means that a pitch is adjusted with respect to sounding
     point positional information AP, the position thus decided is       musical tone (sound of a percussion instrument).
     indicated by a black triangle.                                         In this case, when it was judged that the tuning key had
        Furthermore, the tuning reference mark represented by a          been changed, stored contents of the register pitch are
     white triangle shows a position corresponding to the per- 65 changed in accordance with the former change, and the pitch
     cussion point positional mark M indicated in the head 12            information corresponding to the stored contents of the
     shown in FIG. 20 as described above. Namely, since the              register pitch are set to the sound source IC 34 (step Sl614).
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        When the processing in step 51614 has been completed as              51402, 51404, 51406, 51408, 51410, and 51412 contained
     a result of conducting the procedure as described above, or             in the tuning processing routine executed by the CPU shown
     it was judged that the tuning key had not been operated in              in FIG. 17 is conducted.
     the step 51612, or in the case where any of the level key,                 Then, in this tuning operation, a mark M at the position of
     tone color setting key, or the tuning key in the group of          5    percussion point in the head 12 which is placed at a position
     operation keys 30 had not been changed, then, it is judged              close to the engaging pin 54 in operation is percussed (step
     whether or not a sounding flag gf is turned ON (step 51616).            51806). It is to be noted that the procedure on and after the
        Specifically, it is judged whether or not sounding has been          step 51806 becomes actual tuning operations.
     instructed as a result of turning ON the sounding flag gf of               In the step 51806, when the mark M at the position of
     the CPU 24 in the step 5936 of the DSP percussion signal
                                                                        10   percussion point of the head 12 is percussed, the percussion
     processing routine.
                                                                             point positional information AP sent from the DSP 22 as a
        In this case, if it was judged that the sounding flag gf had
     been turned ON, the results of arithmetic computations of               result of execution of percussion signal processing routine
     "levelxV" are set to the sound source IC 34 as the level                shown in FIG. 12 is displayed on the display unit 32 in the
     information (step 51618). More specifically, values stored in           step 51414 contained in the tuning processing routine
     the register level which has been set by a level key are           15   executed by the CPU shown in FIG. 17.
     multiplied by percussion force information V to calculate a                In this case, it is confirmed that a black triangle indicating
     sounding level, and the results of this arithmetic computa-             the percussion point positional information AP due to the
     tions are set to the sound source IC 34 as the level infor-             result of the percussion in the step 51806 has been displayed
     mation.                                                                 at which position by visual observation of the display unit 32
        When completed the processing in the step 51618, the            20   (step 51808).
     percussion point positional information AP is converted into               Then, it is judged whether or not there is a misregistration
     a filter coefficient for controlling filter characteristics, and        between the position of the black triangle indicating the
     the converted information is set in the sound source IC 34              percussion point positional information AP and a white
     (step 51620). More specifically, when the converted infor-              triangle indicating the tuning reference mark (step 51810).
     mation is set to the IC 34 after converting the percussion         25      In this case, when it is judged that there is a misregistra-
     point positional information AP into the filter coefficient for         tion between the position of the black triangle indicating the
     controlling filter characteristics, tone colors corresponding           percussion point positional information AP and the white
     to the positions of percussion point can be obtained. It is to          triangle indicating the tuning reference mark, the engaging
     be noted that the processing for obtaining tone colors                  pin 54 is adjusted so as to cancel the aforesaid
     corresponding to the positions of percussion point is not          30   misregistration, thereby carrying out tuning for adjusting
     limited to that illustrated in the step 51620, but the process-         tension of the head 12 (step 51812).
     ing in the step 51620 may be replaced by either a manner                   Thus, after completing the operation in the step 51812,
     wherein waveforms to be read out are switched or a manner               the procedure returns to the step 51806 and the operation is
     wherein a mixed ratio of a plurality of waveforms is                    repeated.
     changed.                                                           35      On the other hand, if it was judged that there was no
        When the processing in the step 51620 is completed, the              misregistration between the position of the black triangle
     sounding flag gf is turned OFF (step 51622). In other words,            indicating the percussion point positional information AP
     as a result of conducting the procedure as described above,             and the white triangle indicating the tuning reference mark,
     the sounding flag is turned OFF.                                        then it is judged whether the tuning operation has been
        In either the case where the processing in the step 51622       40   completed or not (step 51814). In this case, the judgment
     has been completed, or the case where it was judged that the            whether or not the tuning operation has been completed is
     sounding flag gf had been turned OFF in the step 51616, it              specifically a judgment whether or not tuning operations of
     is judged whether or not the termination key in the group of            all the engaging pins 54 have been completed.
     operation keys 30 has been operated (step 51624), so that if               In this case, when it was judged that the tuning operations
     it was judged that the termination key of the group of             45   had not been completed, the procedure returns to the step
     operation keys 30 had not yet been operated, the procedure              51806 to perform tuning operations with respect to the
     returns to the step 51602 to repeat the processing.                     engaging pins 54 to which have not yet been subjected the
         On the other hand, when it was judged that the termina-             tuning operations.
     tion key in the group of operation keys 30 had been operated,              On the contrary, when it was judged that the tuning
     the procedure returns to the main routine.                         50   operations had been completed, the procedure of the tuning
        The processing for sounding musical tones from the                   operation is finished.
     present electronic percussion instrumental system to the                   It is to be noted that the above described manner of
     outside is carried out by controlling the sound source IC 34.           practice may be modified as follows.
        In the following, a typical operational procedure for                   (l)As shown in FIG. 22, the head 12 is fixed to either side
     tuning operation of the head 12 will be described by refer-        55   of the opening of the barrel section 50, while the head of an
     ring to the flowchart shown in FIG. 21. The flowchart of                acoustic drum (cannot be found in FIG. 22) may be fixed to
     FIG. 21 illustrates the operational procedure of the tuning             the other side of the opening of the barrel section. In this
     operation effected by a user after selecting the tuning mode            case, when the head 12 is percussed, the head of acoustic
     by the user.                                                            drum positioned on the opposite side resonates to sound at
        Namely, when the user selects the tuning mode, then he or       60   an appropriate volume. Accordingly, when compared with
     she sets first a desired head type by operating a head type             the case where only the head 12 is fixed to the barrel section
     setting key in the group of operation keys 30 (step 51802),             50, a player can perform the percussion instrument with
     and thereafter, he or she sets a desired tuning type by the             much more close feeling to that of acoustic drum.
     operation of a tuning type setting key of the group of                     (2)As shown in FIG. 23, to the outer circumference of the
     operation keys 30 (step 51804).                                    65   head 12 composed of the first net 56 and the second net 58
        In accordance with the operations in the steps 51802 and             may be bonded an annular film 112. In this case, since a ratio
     51804, the processing specified in the respective steps                 of opening in the first net 56 and the second 58 of the head
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     12 becomes low in comparison with that of the above             reference data and the detected percussion point positional
     described manner of practice, the percussion sound becomes      information AP may be displayed as shown in FIG. 25.
     larger than that of the above described manner of practice.        Specifically, the manner may be carried out in such a way
     For this reason, a player can perform the resulting percus-     that tuning reference data are read out in case of the
     sion instrument with much more close feeling to that of 5 processing for displaying the percussion point positional
     acoustic drum. Furthermore, when an area of the film 112 to     information AP in the step Sl414 of the tuning processing
     be bonded to the first net 56 and the second net 58 in the      routine executed by the CPU shown in FIG. 17, a deviation
     head 12 is allowed to vary, the volume in percussion can be     between    the tuning reference data and the percussion point
     controlled. Moreover, stitches may be filled with an adhesive   positional information AP is calculated, and the deviation
                                                                     represented by the calculated result is displayed on the
     to bond the first net 56 to the second net 58 in place of 10
                                                                     display unit 32. If it has been adapted to display "O" on the
     bonding of the film 112.
                                                                     display unit 32 in case of no deviation, it means that tuning
        (3) The net-like raw material is not limited to a two-ply    is matched in the case when indication "O" is displayed on
     plane weave net, but one-ply or three- or more ply net may      the display unit 32.
     also be used. Furthermore, a weaving manner of net is not          (10) As a displaying manner in the display unit 32, there
     limited merely to plane weave. In the case where a net-like 15 are a manner wherein it may notify that the tuning is
     raw material is composed of a single net, it is preferred to    matched in the case when a difference between the tuning
     use a triaxially woven net which balances tension not only      difference data and the percussion point positional informa-
     in the crossed direction of woven fibers, but also in an        tion AP reaches a prescribed value or lower, and a manner
     oblique direction.                                              wherein a difference between the tuning reference data and
        (4) A shape of the cushioning member 80 in the head 20 the percussion point positional information AP may be
     sensor 14 is not limited to the frustoconical shape, but a      displayed in accordance with cent indication as utilized in a
     truncated pyramid shape may be adopted.                         tuning device for stringed instruments such as guitar and the
        (5) A constitution of the sound source is not limited to the like in addition to the manners described above.
     above described wave-form read-out system, but sound               Since the present invention has been constituted as
     sources of a variety of systems may be employed. 25 described above, it provides such an excellent advantage
     Furthermore, a PCM sound source sounding PCM sampling           that a percussion detecting apparatus, which is excellent in
     sounds is not used, but a resonator composed of oscillator      percussion feeling, and the percussion sounds of which are
     and the like may be used, otherwise audio signals input from    very small, in electronic percussion instrumental system can
     the outside may also be employed.                               be realized.
        (6) While the percussion point positional information AP 30     Furthermore, since the indication corresponding to a
     has been displayed on the display 32 in the above described     percussion position of the head has been made in the present
     manner of practice, instead of the display, it may be adapted   invention, such an excellent advantage that correct tuning
     to sound such sound signal having a pitch corresponding to      can easily be carried out in case of tuning the head is
     the percussion point positional information AP.                 obtained.
        (7) Although the percussion point positional mark M 35          Moreover, since a variation in tension of the head due to
     indicated on the top of the head 12 has been configured in      tuning of the head has been compensated in the present
     the circular shape as shown in FIG. 20 in the above             invention, such an excellent advantage that correct percus-
     described manner of practice, a shape of the percussion point   sion position can be detected is obtained.
     positional mark M is not limited to the circular shape as          Still further, since a tuning operation can be conducted by
     shown in FIG. 20, but, for example, the percussion point 40 a user in accordance with such a manner that a place marked
     positional mark M may be indicated by points of a pre-          with a percussion point positional mark is percussed by the
     scribed number as shown in FIG. 24(a). Moreover, a region       user, and the result detected at that time by the detecting
     of the head 12 is classified by coloring as shown in FIG.       means for position of percussion point is confirmed while
     24(b) (It is to be noted in FIG. 24(b) that a shaded portion    watching the display means in the present invention, such an
     of the region of the head 12 is represented by a different 45 excellent advantage that tuning operation can simply be
     color from that of the other (no shaded) portion), and the      carried out without relying upon user's sense is obtained.
     boundary portion classified by coloring may be used as the         It will be appreciated by those of ordinary skill in the art
     percussion point positional mark M.                             that the present invention can be embodied in other specific
        (8) While it has been arranged in such that the tuning       forms without departing from the spirit or essential charac-
     reference mark represented by white triangle shown in FIG. 50 teristics thereof.
     18(a) is indicated in response to the percussion point posi-       The presently disclosed embodiments are therefore con-
     tional mark M of the head 12 in the above described manner      sidered in all respects to be illustrative and not restrictive.
     of practice, the invention is not limited thereto, but, for     The scope of the invention is indicated by the appended
     instance, it may be arranged in such that information for       claims rather than the foregoing description, and all changes
     indicated position by a white triangle may be stored as the 55 that come within the meaning and range of equivalents
     tuning reference data together with the table 1 and the table   thereof are intended to be embraced therein.
     2 which are selected in accordance with the head type or the       The entire disclosure of Japanese Patent Applications No.
     tuning type set in the tuning processing routine executed by    8-193986 filed on Jul. 4, 1996, No. 9-15846 filed on Jan. 13,
     the CPU shown in FIG. 17.                                       1997 and No. 9-15847 filed on Jan. 13, 1997 including
        (9) Although the black triangle indicating the percussion 60 specification, claims, drawings and summary are incorpo-
     point positional information AP and the white triangle          rated herein by reference in their entirety.
     indicating the tuning reference mark corresponding to the          What is claimed is:
     percussion point positional mark M of the head have been           1. An electronic percussion instrument system compris-
     displayed on the display unit 32 in the above described         ing:
     manner of practice as shown in FIG. 18(a), a displaying 65         a drum head;
     manner on the display unit 32 is not limited thereto, but, for     a barrel section equipped with a plurality of engaging pins
     example, a deviation between the above described tuning               which provide a tension on said drum head;
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        a supporting material disposed within the barrel section,            comprises net-like material having first and second net
           adjacent, but spaced, from said head;                             members, each net member comprising a plurality of lon-
        a cushioning member composed of an elastic material                  gitudinally arranged fiber sections and a plurality of trans-
           disposed in contact with said head; and                           versely arranged fiber sections interweaved with the longi-
        a transducer for transducing percussion upon said head to       5    tudinally arranged fiber sections.
           electric signal, the transducer being supported by the               9. An electronic percussion instrument system as recited
           supporting material within the barrel section, with the           in claim 8, wherein, within each of said first and second nets,
           transducer located between the head and the supporting            said longitudinally arranged fiber sections and said trans-
           material, and the cushioning member located between               versely arranged fiber sections are arranged perpendicular to
           the head and the transducer.                                 10   each other.
        2. An electronic percussion instrument system and recited               10. An electronic percussion instrument system as recited
     in claim 1, wherein said drum head comprises a net-like                 in claim 9, wherein said first and second nets are arranged
     material having openings through which air passes.                      adjacent each other, with said longitudinally directed fiber
        3. An electronic percussion instrument system as recited
                                                                             sections of said first net crossing the longitudinally directed
     in claim 1, wherein said transducer outputs an electric signal     15   fiber sections of said second net in an oblique angle.
     corresponding to a percussion point of said head.                          11. An electronic percussion instrument system as recited
        4. An electronic percussion instrument system as recited             in claim 10, wherein said first and second net members are
     in claim 1, wherein                                                     laminated together.
                                                                                12. An electronic percussion system as recited in claim 6,
        the barrel section and the head define a common center          20   wherein said flexible material of the head comprises a
           axis;                                                             net-like material defining a plurality of air passages.
        the supporting material is positioned to cross the common               13. An electronic percussion instrument system as recited
           center axis; and                                                  in claim 12, wherein said head further comprises a annular
        the cushioning member is in contact with the head at the             frame to which said net-like material is bonded, and wherein
           common center axis.                                          25   said frame is disposed over the first end of the barrel section.
        5. An electronic percussion instrument system compris-                  14. An electronic percussion instrument system as recited
     ing:                                                                    in claim 13, further comprising a annular rim disposed over
        a drum head;                                                         the annular frame and a plurality of tensioning pins disposed
        a barrel section equipped with a plurality of engaging pins          on the barrel section in engagement with the annular rim, for
           which provide a tension on said drum head;                   30   adjusting the tension of the net-like material.
                                                                                15. An electronic percussion instrument system as recited
        a supporting material disposed in the barrel section, in a           in claim 6, wherein:
           plane which is substantially parallel to said head;
                                                                                said flexible material of the head comprises a net-like
        a cushioning member composed of a frustoconical shaped                     material;
           elastic material disposed in contact with said head; and     35
                                                                                said net-like material comprises first and second net
        a transducer for transducing percussion upon said head to
                                                                                   members;
           electric signal, the transducer being supported by the
           supporting material within the barrel section, the cush-             said first net member defines said percussion surface and
           ioning member being arranged between the head and                       a second surface opposite the percussion surface;
           the transducer.                                              40      said second net member defines first and second surfaces,
        6. An electronic percussion instrument system compris-                     with the first surface of the second net member facing
     ing:                                                                          the second surface of the first net member; and
        a barrel section having a first end;                                    said cushioning member is provided in contact with the
        a head composed of a flexible material disposed in a                       second surface of the second net member.
           tensioned state across the first end of the barrel section   45      16. An electronic percussion instrument system as recited
           to define a percussion surface for receiving a percus-            in claim 15, wherein said first and second net members are
           sion impact;                                                      laminated together.
                                                                                17. An electronic percussion instrument system as recited
        a support member disposed within the barrel section; and
                                                                             in claim 16, wherein:
        a head sensor comprising a cushioning member and a
                                                                        50      the barrel section and the head define a common center
           transducer supported by the support member within the
                                                                                   axis;
           barrel section, with the transducer located between the
           head and the support member and with the cushioning                  the support member is positioned to cross the common
           member in contact with the flexible material and the                    center axis; and
           transducer, the transducer for providing an electric                 the cushioning member is in contact with the head at the
                                                                        55
           signal in response to a percussion impact on the per-                   common center axis.
           cussion surface.                                                     18. An electronic percussion instrument system, compris-
        7. An electronic percussion instrument system as recited             ing:
     in claim 6, wherein:                                                       a barrel section having a first end;
        the barrel section and the head define a common center          60      a head composed of a flexible material disposed in a
           axis;                                                                   tensioned state across the first end of the barrel section
        the support member is positioned to cross the common                       to define a percussion surface for receiving a percus-
           center axis; and                                                        sion impact;
        the cushioning member is in contact with the head at the                a support member disposed within the barrel section; and
           common center axis.                                          65      a head sensor comprising a cushioning member and a
        8. An electronic percussion instrument system as recited                   transducer supported by the support member within the
     in claim 6, wherein said flexible material of the head                        barrel section, with the cushioning member in contact
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           with the flexible material, the transducer for providing            electric signal in response to a percussion impact on the
           an electric signal in response to a percussion impact on            percussion surface;
           the percussion surface;                                          wherein said flexible material of the head comprises a
        wherein the cushioning member defines a first surface                  net-like material defining a plurality of air passages;
           area in contact with the flexible material and a second 5        wherein said head further comprises an annular frame to
           surface area in contact with the transistor and wherein             which said net-like material is bonded and wherein said
           the first surface area is smaller than the second surface           frame is disposed over the first end of the barrel section;
           area.                                                            wherein said system further comprises an annular rim
        19. An electronic percussion instrument system as recited              disposed over the annular frame and a plurality of
     in claim 18, wherein the cushioning member is composed of 10              tensioning pins disposed on the barrel section in
     an elastic material.                                                      engagement with the annular rim, for adjusting the
        20. An electronic percussion instrument system, compris-               tension of the net-like material; and
     ing:
                                                                            wherein the annular rim defines a second percussion
        a barrel section having a first end;                                   surface for receiving a percussion impact, and said
                                                                      15
        a head composed of a flexible material disposed in a                   system further comprises a rim-shot sensor disposed on
           tensioned state across the first end of the barrel section          the barrel section for providing an electric signal in
           to define a percussion surface for receiving a percus-              response to and corresponding to a percussion impact
           sion impact;                                                        on the annular rim.
        a support member disposed within the barrel section; and 20         27. An electronic percussion instrument system as recited
        a head sensor comprising a cushioning member and a               in claim 26, wherein said annular rim has a padded surface
           transducer supported by the support member within the         which   defines the second percussion surface.
           barrel section, with the cushioning member in contact            28. An electronic percussion instrument system as recited
           with the flexible material and disposed between the           in claim 26, wherein said rim-shot sensor comprises a
           head and the transducer, the transducer for providing an 25 piezoelectric element bonded to the barrel section.
           electric signal in response to a percussion impact on the        29. A method of making an electronic percussion instru-
           percussion surface;                                           ment system, comprising:
        wherein the cushioning member has a small diameter end              providing a flexible material in a tensioned state across
           and a large diameter end.                                           the first end of a barrel section to define a percussion
        21. An electronic percussion instrument system as recited 30
                                                                               surface for receiving a percussion impact;
     in claim 20, wherein the cushioning member is composed of              disposing a support member within the barrel section;
     an elastic material.                                                   mounting a head sensor composed of a cushioning mem-
        22. An electronic percussion instrument system as recited              ber and a transducer to the support member, with the
     in claim 20, wherein the small diameter end of said cush-                 transducer located between the flexible material and the
     ioning member is disposed adjacent the flexible material of 35            support member, the transducer comprising a device for
     the head and the large diameter end of said cushioning                    providing an electric signal in response to a percussion
     member is disposed adjacent the transducer.                               impact; and
        23. An electronic percussion instrument system as recited           contacting the cushioning member to the flexible material,
     in claim 20, wherein said cushioning member further com-                  to allow communication of a percussion impact on the
     prising a first cushioning tape disposed between the small 40             percussion surface of the flexible material to the trans-
     diameter end of the cushioning member and the flexible                    ducer.
     material and a second cushioning tape disposed between the             30. A method as recited in claim 29, wherein:
     large diameter end of the cushioning member and the                    the barrel section defines a center axis;
     transducer.                                                            the step of disposing a support member comprising dis-
        24. An electronic percussion instrument system as recited 45           posing the support member in a position to cross the
     in claim 23, wherein said transducer comprises a disc-                    center axis of the barrel section; and
     shaped piezoelectric element defining at least one node
                                                                            the step of contacting comprises providing the cushioning
     diameter and wherein said second tape has a diameter
                                                                               member in contact with the flexible material at the
     coinciding with a node diameter of the piezoelectric ele-
                                                                      50       center axis of the barrel section.
     ment.
                                                                            31. A method as recited in claim 29, wherein said flexible
        25. An electronic percussion instrument system as recited
                                                                         material comprises a net-like material defining a plurality of
     in claim 20, wherein the cushioning member comprises a
                                                                         air passages.
     frustoconical-shaped member.
                                                                            32. A method as recited in claim 31, wherein said net-like
        26. An electronic percussion instrument system compris-
     ing:                                                             55 material comprises first and second net members, each net
                                                                         member comprising a plurality of longitudinally arranged
        a barrel section having a first end;                             fiber sections and a plurality of transversely arranged fiber
        a head composed of a flexible material disposed in a             sections interweaved with the longitudinally arranged fiber
           tensioned state across the first end of the barrel section    sections.
           to define a percussion surface for receiving a percus- 60        33. A method as recited in claim 32, wherein said first and
           sion impact;                                                  second net members are laminated together.
        a support member disposed within the barrel section; and            34. A method of making an electronic percussion instru-
        a head sensor comprising a cushioning member and a               ment system, comprising:
           transducer supported by the support member within the            providing a flexible material in a tensioned state across
           barrel section, with the cushioning member in contact 65            the first end of a barrel section to define a percussion
           with the flexible material and disposed between the                 surface for receiving a percussion impact
           head and the transducer, the transducer for providing an         disposing a support member, within the barrel section;
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       mounting a head sensor composed of a cushioning mem-                      ducer compnsmg a device for providing an electric
          ber and a transducer to the support member, the trans-                 signal in response to a percussion impact; and
          ducer comprising a device for providing an electric                 contacting the cushioning member to the flexible material,
         signal in response to a percussion impact; and                          to allow communication of a percussion impact on the
       contacting the cushioning member to the flexible material,     5          percussion surface of the flexible material to the trans-
          to allow communication of a percussion impact on the                   ducer;
          percussion surface of the flexible material to the trans-
                                                                              wherein the cushioning member has a small diameter end
          ducer;
                                                                                 and a large diameter end.
      wherein the cushioning member defines a first surface                  37. A method as recited in claim 36, wherein the small
                                                                      10
          area in contact with the flexible material and a second
                                                                           diameter end of said cushioning member is disposed adja-
          surface area in contact with the transducer and wherein
                                                                           cent the flexible material and the large diameter end of said
          the first surface area is smaller than the second surface
                                                                           cushioning member is disposed adjacent the transducer.
          area.
                                                                             38. A method as recited in claim 36, wherein the cush-
      35. A method of making an electronic percussion instru-
     ment system, comprising:                                         15   ioning member comprises a frustoconical-shaped member.
                                                                             39. An electronic percussion instrument system compris-
       providing a flexible material in a tensioned state across
                                                                           ing:
          the first end of a barrel section to define a percussion
          surface for receiving a percussion impact                           a barrel section having a first end provided with an
       disposing a support member within the barrel section;                     opening;
                                                                      20
       mounting a head sensor composed of a cushioning mem-                   a head composed of a flexible material disposed in a
          ber and a transducer to the support member, the trans-                 tensioned state across the opening on the first end of the
          ducer comprising a device for providing an electric                    barrel section to define a percussion surface for receiv-
         signal in response to a percussion impact; and                          ing a percussion impact and a second surface facing
                                                                                 opposite the percussion surface, the second surface
       contacting the cushioning member to the flexible material,     25
                                                                                 defining a surface area spanning the opening on the first
          to allow communication of a percussion impact on the                   end of the barrel section;
          percussion surface of the flexible material to the trans-
          ducer;                                                              a support member disposed within the barrel section; and
      wherein the cushioning member is composed of an elastic                 a head sensor comprising a cushioning member and a
          material.                                                   30         transducer supported by the support member within the
      36. A method of making an electronic percussion instru-
                                                                                 barrel section, with the cushioning member in contact
     ment system, comprising:                                                    with a portion of, but substantially less than the entire
                                                                                 surface area of the second surface of the flexible
      providing a flexible material in a tensioned state across                  material and disposed in communication with the
          the first end of a barrel section to define a percussion    35         transducer, such that the transducer provides an electric
          surface for receiving a percussion impact                              signal in response to a percussion impact on the per-
       disposing a support member within the barrel section;                     cussion surface.
       mounting a head sensor composed of a cushioning mem-
          ber and a transducer to the support member, the trans-                                  * * * * *
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     (12)   United States Patent                                                          (10)   Patent No.:                 US 6,881,885 B2
            Yoshino et al.                                                                (45)   Date of Patent:                       Apr. 19, 2005


     (54)    ELECTRONIC PAD WITH VIBRATION                                                    4,479,412   A      10/1984   Klynas
             ISOLATION FEATURES                                                               4,581,973   A       4/1986   Hoshino
                                                                                              5,105,710   A       4/1992   Rothmel
     (75)    Inventors: Kiyoshi Yoshino, Hamamatsu (JP);                                      5,262,585   A      11/1993   Greene et al.
                        Masato Katsuda, Hamamatsu (JP)                                        5,293,000   A       3/1994   Adinolfi
                                                                                              5,492,047   A       2/1996   Oliveri
     (73)    Assignee: Roland Corporation, Osaka (JP)                                         5,493,942   A       2/1996   Wolf
                                                                                              5,915,289   A       6/1999   Hart
     ( *)    Notice:        Subject to any disclaimer, the term of this                       5,922,980   A       7/1999   Arteaga
                            patent is extended or adjusted under 35                           6,031,176   A       2/2000   Tanaka
                            U.S.C. 154(b) by 38 days.                                         6,331,667   Bl     12/2001   Kuppers

     (21)    Appl. No.: 10/623,413
                                                                                       Primary Examiner-Jeffrey W Donels
     (22)    Filed:         Jul. 18, 2003                                              (74) Attorney, Agent, or Firm-Foley & Lardner LLP
     (65)                  Prior Publication Data
             US 2004/0016339 Al Jan. 29, 2004                                          (57)                          ABSTRACT

                       Related U.S. Application Data                                   The present invention is intended to provide an electronic
                                                                                       cymbal having improved accuracy for detecting a striking
     (63)    Continuation of application No. 09/935,275, filed on Aug.
                                                                                       force and a striking position without hampering a striking
             22, 2001, now Pat. No. 6,632,989.
                                                                                       sensation and an appearance. A piezoelectric sensor 5 and a
     (30)          Foreign Application Priority Data                                   cup portion sheet sensor 8 provided on a portion of a cup
      Aug. 22, 2000        (JP) ....................................... 2000-250765    portion formed into a dome shape at a center of a cover 2 on
       Jan. 5, 2001        (JP) ......................................... 2001-00318   a first frame 3 having the cover 2 formed out of a soft
     (51)    Int. Cl.7 ................................................ GlOD 13/08     material, the cover 2 spreading to contact with an upper
     (52)    U.S. Cl. ............................................ 84/402; 84/723      surface of the first frame 3, and an edge upper portion sheet
     (58)    Field of Search ....................... 84/402-410, 411 R,                sensor 7 and an edge lower portion sheet sensor 6 provided
                 84/411 A, 411 M, 411 P, 412-421, 422.1-422.4,                         on an outer peripheral edge portion 3b formed to be lowered
                                               723-746, DIG. 12, DIG. 24               by a step are provided, and a center of a second frame 4 is
                                                                                       supported by a cymbal stand (shaft) 10 penetrating an
     (56)                      References Cited
                                                                                       opening portion at a center of the first frame 3.
                       U.S. PATENT DOCUMENTS
            4,102,235 A          7/1978 Le Masters                                                    47 Claims, 11 Drawing Sheets



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                                   Fig.2
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          ELECTRONIC PAD WITH VIBRATION                               (or vibration sound) for which volume is to be lowered
               ISOLATION FEATURES                                     without decreasing a striking sensation by providing many
                                                                      small holes bored in a disk-shaped metallic cymbal and the
                    RELATED APPLICATIONS                              like.
                                                                   5     Nevertheless, the above-stated electronic cymbal formed
      The present application is a continuation of application
   Ser. No 09/935,275, filed Aug. 22, 2001, now U.S. Pat. No.         out of hard resin disadvantageously has a problem in that the
   6,637,989, the disclosure of which is incorporated by ref-         striking sensation is different from that of an acoustic
   erence in the present application.                                 cymbal. The electronic cymbal made by a combination of
                                                                      two disk-shaped frames is disadvantageous visually.
                                                                   10
             BACKGROUND OF THE INVENTION                                 Furthermore, the electronic cymbal having the cushion
                                                                      material bonded to the surface of the disk-shaped metallic
      1. Field of the Invention
                                                                      cymbal and the striking sensor attached to the surface
      The present invention relates to an electronic pad used as      thereof and producing a cymbal sound has disadvantages in
   an electronic percussion instrument.                               that, for example, it is difficult to detect a striking position
      2. Description of Related Art                                15
                                                                      (region) since a vibration wave contains many high fre-
      There is known hitherto a disk-shaped acoustic cymbal           quency components and, therefore, tones are lacking in
   made of brass, phosphor bronze or the like.                        variation. Furthermore, since the output of the striking
      FIG. 11 shows an acoustic cymbal.                               sensor largely differs between a case where the portion right
                                                                      above the sensor is struck and a case where portions other
      This acoustic cymbal 130 has an edge portion 101 which 20
                                                                      than this portion are struck, the sensitivity distribution of the
   is an outer peripheral edge portion, a bow portion 102 which
                                                                      striking sensor appears bad, so that it is disadvantageously
   is an intermediate portion and a convex cup portion 103
                                                                      difficult to detect a striking force with high accuracy.
   which is a central portion. Here, if the edge portion 101 of
   the acoustic cymbal is struck with a percussion member such           Moreover, the electronic cymbal having many small holes
   as a stick, a tone called a crash tone having a noise 25 bored in the disk-shaped cymbal has disadvantages in that
   component is obtained. This tone is used to put emphasis in        the sensitivity distribution of the striking sound is not well
   a musical performance. Also, if the bow portion is struck, a       improved and the detection accuracy of the striking position
   tone so-called legato tone or ride tone is obtained. This tone     is low, although this electronic cymbal has an improved
   is used to add rhythm to a musical performance. Further, if        striking sensation.
   the cup portion 103 is struck, a tone so-called a cup tone or 30
   a bell tone having many treble components is obtained. This                      SUMMARY OF THE INVENTION
   tone is used to add rhythm to a musical performance. In this          The first electronic pad among electronic pads according
   way, different tones can be obtained from the edge portion         to the present invention, which has been made to solve the
   101, the bow portion 102 and the cup portion 103 of the            above problems, is an electronic pad receiving a strike on an
   acoustic cymbal 130, respectively. It is, therefore, possible 35 upper surface, detecting the strike and outputting a signal
   to expand a performance presentation by striking the edge          representative of the strike, the electronic pad characterized
   portion 101, the bow portion 102 and the cup portion 103           by comprising:
   separately. However, since the acoustic cymbal of this type
                                                                         a disk-shaped first frame;
   produces loud sound when struck with a percussion member,
   it is inappropriate to be used for practice in an ordinary 40         a striking sensor detecting the strike transmitted to the
   household. Further, since the tones cannot be changed,                   first frame; and
   preparation of a plurality of types (i.e., sizes, materials and       a second frame made of a softer material than a material
   shapes) of cymbals is required.                                          for the first frame, supporting the first frame from
      In recent years, an electronic cymbal imitating the above-            below, having an attachment hole provided at a center
   stated acoustic cymbal has been widely used. This electronic 45          and vertically penetrating the second frame, and sup-
   cymbal detects the striking position and the striking force of           ported by a pole of a stand supporting the electronic pad
   a stick or the like by means of a striking sensor, controls a            by inserting the pole into the attachment hole.
   sound source based on the detected striking position and              Here, in the first electronic pad, it is preferable that:
   striking force and thereby produces a cymbal sound                    the first frame has a larger opening portion than the
   (electronic percussion sound). The electronic cymbal can, 50             attachment hole of the second frame, the opening
   therefore, advantageously lower the volume of the striking               portion provided on a central portion of the first frame;
   sound. As the electronic cymbal of this type, there are                  and
   proposed an electronic cymbal made of hard resin such as              that the second frame includes a head portion having the
   ABS and enabling a striking sound for which volume is to                 attachment hole and inserted into the opening portion
   be lowered produced from the electronic cymbal itself and 55             from below in an upward direction, and a shoulder
   an electronic cymbal (see Japanese Patent Unexamined                     portion supporting a surrounding portion of the open-
   Application Publication No. 10-207451) made by combin-                   ing portion of the first frame from below, the surround-
   ing two disk-shaped frames having different sizes so as to               ing portion surrounding the head portion.
   enhance a sense of performance and a performance quality.             Further, in the first electronic pad, it is a preferable mode
   In addition, there are proposed an electronic cymbal (see 60 that the second frame has a concave portion around the
   Japanese Utility Model Examined Application Publication            attachment hole on a lower surface of the second frame, the
   No. 4-3358) wherein a cushion material is bonded to and a          concave portion having a trough extending in a predeter-
   striking sensor is attached to the surface of a disk-shaped        mined direction and hollowed into a wedge shape, an upper
   metallic cymbal and a cymbal sound according to the output         surface of the concave portion has an insertion hole at a
   of the striking sensor is produced, and an electronic cymbal 65 center and has such a shape as to protrude in a wedge shape
   (see Japanese Patent Unexamined Application Publication            having a ridge extending in the predetermined direction, the
   Nos. 11-184459 and 11-272266) enabling a striking sound            pole is inserted into the insertion hole to allow the second
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   frame to be supported by a rotation stopper member fixed to                 a disk-shaped first frame;
   the pole from below.                                                        a striking sensor detecting the strike transmitted to the
      In this case, it is preferable that the concave portion is                  first frame; and
   rockably fitted into the rotation stopper member with result-               a third sheet sensor provided on a lower surface of a
   ing play.                                                           5          peripheral edge portion of the first frame, extending in
      Also, the second electronic pad among the electronic pads                   a circumferential direction, and detecting an operation
   according to the present invention attaining the above object                  with respect to the lower surface of the peripheral edge
   is an electronic pad receiving a strike on an upper surface,                   portion.
   detecting the strike, and outputting a signal representative of             Here, in the third electronic pad, it is preferable that the
   the strike, the electronic pad characterized by comprising:         10   third sheet sensor extends to only a part in the circumfer-
      a disk-shaped first frame;                                            ential direction.
      a cover covering an upper surface of the first frame,                    Further, the fourth electronic pad among the electronic
         having a cup portion formed on a central portion of the            pads according to the present invention attaining the above
         cover, a space formed between the cup portion and the              object is an electronic pad receiving a strike on an upper
                                                                       15   surface, detecting the strike, and outputting a signal repre-
         upper surface of the first frame, the cover excluding the
         cup portion spreading to contact with the first frame;             sentative of the strike; the fourth electronic pad character-
         and                                                                ized by comprising:
      a striking sensor detecting the strike transmitted to the                a disk-shaped first frame;
         first frame through the cover.                                20
                                                                               a cover covering an upper surface of the first frame,
      Here, in the second electronic pad, it is preferable that the               having a cup portion formed on a central portion, a
   cover has a dome-shaped core on the central portion, thereby                   space formed between the cover and the upper surface
   forming the cup portion on the central portion, and the cover                  of the first frame, the cover excluding the cup portion
   excluding the core being formed out of a softer material than                  spreading to contact with the first frame;
   a material for the first frame.                                     25      a striking sensor adhering to a portion of the first frame,
      In addition, in the second electronic pad, it is a preferable               the portion covered with the cup portion formed on the
   mode that the first frame has an outer peripheral edge portion                 central portion of the cover;
   formed downward by an annulus step; and                                     a first sheet sensor formed on the first frame, provided at
      that a portion covering the outer peripheral edge portion                   a portion put between the first frame and a dome-
         of the cover is formed to be thick so that an upper           30         shaped peripheral edge portion formed on the central
         surface of the cover becomes fiat by absorbing the step.                 portion of the cover, and detecting a strike applied to
      Moreover, in the second electronic pad, it is a preferable                  the cup portion;
   mode that the cover has such a shape as to spread outside                   a second sheet sensor provided on an upper surface of a
   compared with a peripheral edge of the first frame and                         peripheral edge portion of the first frame, and detecting
   folded toward a rear surface side of the peripheral edge of         35         a strike applied to the peripheral edge portion; and
   the first frame.                                                            a third sheet sensor provided on a lower surface of the
      Further, in the second electronic pad, it is preferable that                peripheral edge portion of the first frame, and detecting
   the first frame has such a shape that a peripheral edge portion                an operation with respect to the lower surface of the
   of the first frame is cut off over a predetermined angle range                 peripheral edge portion.
   along a peripheral edge of the first frame; and                     40      Here, it is preferable that the fourth electronic pad com-
      that a portion of the cover is formed out of more material            prises:
         per unit length along the peripheral edge than a material             a first jack outputting signals from a channel connected to
         for a part covering an uncut part of the peripheral edge                 the striking sensor and from a channel connected to the
         portion, the portion covering the cut-off portion of the                 first and third sheet sensors; and
         peripheral edge portion of the first frame.                   45
                                                                               a second jack outputting signals from the channel con-
      Furthermore, in the second electronic pad, it is preferable
                                                                                  nected to the striking sensor and from a channel con-
   that the striking sensor adheres to a portion of the first frame,
                                                                                  nected to the second sheet sensor. In this case, it is
   the portion covered with the cup portion formed on central
                                                                                  preferable that the electronic pad is rockably attached
   portion of the cover.
                                                                                  to a pole around a predetermined horizontal axis; and
      In addition, it is preferable that the second electronic pad     50
   comprises a first sheet sensor formed on the first frame,                   that the first jack and the second jack are provided near the
   provided on a portion put between the first frame and a                        horizontal axis. It is also a preferable mode that the
   dome-shaped peripheral edge formed on the central portion                      electronic pad comprises a second frame formed out of
   of the cover, extending in a circumferential direction, and                    a softer material than a material for the first frame,
   detecting a strike applied to the cup portion. In this case, it     55
                                                                                  supporting the first frame from below, and supported by
   is also a preferable mode that the first sheet sensor extends                  the pole; and
   to only a portion in a circumferential direction.                           the first jack and the second jack are fixed to the second
      Further, it is preferable that the second electronic pad                    frame.
   comprises a second sheet sensor provided on an upper                           BRIEF DESCRIPTION OF THE DRAWINGS
   surface of a peripheral edge portion of the first frame, and        60
   extending to only a part in a circumferential direction.                    FIG. 1 is a perspective view of an electronic pad used as
      The third electronic pad among the electronic pads                    an electronic cymbal in the first embodiment according to
   according to the present invention attaining the above                   the present invention;
   object, is an electronic pad receiving a strike on an upper                 FIG. 2 shows a part of a cover covering the upper surface
   surface, detecting the strike, and outputting a signal repre-       65   of the electronic pad;
   sentative of the strike, the third electronic pad characterized             FIG. 3 is a cross-sectional view of the electronic pad,
   by comprising:                                                           which view is taken along line A-A of FIG. 1;
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      FIG. 4 is a cross-sectional view of the electronic pad,         sheet sensor 6 from below on the rear surface of the outer
   which view is taken along line B-B of FIG. l;                      peripheral edge portions 2a of the cover 2 so as to prevent
      FIG. 5 is a perspective view showing the electronic pad         abrasion. By covering the first frame 3 with the cover 2, the
   from obliquely downward direction;                                 upper surface of the electronic pad 1 enables a stick to have
      FIG. 6 is a conceptual view showing a state in which the 5 good bounce.
   electronic pad is struck;                                             The screw portion lOa of a pole 10 supporting the
                                                                      electronic pad 1 from below, a wing nut 13 screwed with the
      FIG. 7 is a conceptual view showing a state in which the
                                                                      screw portion lOa, a metallic washer 12 and felt washer 11,
   outer peripheral edge portion of the electronic pad is nipped
                                                                      which will be described later, are shown in this order from
   with fingers to perform a silencing operation;
                                                                   10 above on the central opening portion la of the electronic pad
      FIG. 8 is a wiring diagram of a jack section for transmit-      1.
   ting an output signal from each sensor to a sound source;
                                                                         FIG. 3 is a cross-sectional view of the electronic pad 1
      FIG. 9 shows a state in which an electronic pad having a        shown in FIG. 1, which view is taken along line A-A of
   tip end portion employing a sharper rotation stopper member        FIG. 1. FIG. 3(b) is an enlarged view showing the neigh-
   than a rotation stopper member shown in FIG. 1 is struck and 15 borhood of the center of FIG. 3(a) excluding the pole 10, the
   inclined;                                                          wing nut 13, the metallic washer 12 and the felt washer 11
      FIG. 10 shows an electronic pad in the second embodi-           for convenience sake. The first frame 3 is made of a hard
   ment according to the present invention and showing a state        material and has an opening portion 3c at the center thereof.
   in which a part of the outer peripheral edge portion of a          The upper surface and the lower side of the peripheral edge
   frame is cut off and that the left half of a cover covering the 20 portions of the first frame 3 excluding the upper surface of
   upper surface of this frame is cut out; and                        the central opening portion 3c are covered with the cover 2.
      FIG. 11 shows an acoustic cymbal.                               ABS, polycarbonate or the like is used as a material for the
                                                                      first frame.
              DETAILED DESCRIPTION OF IBE                                The first frame 3 also has an outer peripheral edge portion
                            INVENTION                              25
                                                                      3b having an annulus step 3a constituting the outer periph-
                                                                      ery of the first frame 3 and formed downward. The outer
      The embodiments of the present invention will be
                                                                      peripheral edge portion 2b of the cover 2 contacting with the
   described hereinafter.
                                                                      outer peripheral edge portion 3b of the first frame 3 is
      FIG. 1 is a perspective view of an electronic pad 1 used        formed to be thicker by as much as the step 3a, whereby the
   as an electronic cymbal in the first embodiment according to    30
                                                                      upper surface of the portion contacting with the step 3a is
   the present invention.                                             formed fiat. That; is, the upper surface of the electronic pad
      The electronic pad 1 shown in FIG. 1 can be divided into        1 is formed in such a shape as not to appear as if the step 3a
   a cup portion 30 surrounding a central opening portion la          is present. By thus forming the step 3a, the first frame 3 has
   and bulging in a dome shape, an outer peripheral edge              uniform vibration and the outer peripheral edge portion 3b
   portion 32 and a bow portion 31 between the cup portion 30 35 is suppressed from vibrating. Accordingly, vibration attenu-
   and the edge portion 32.                                           ates relatively promptly, so that even if this electronic pad 1
      The upper surface of the electronic pad 1 is covered with       is continuously struck, it is possible to accurately detect the
   a cover 2. As shown in FIG. 3, a dome-shaped core 19 is            striking position and the striking force for each strike.
   formed integrally with the central portion of the cover 2 to       Besides, the appearance of the upper surface is similar to
                                                                   40
   thereby form the cup portion 30 (see FIG. 1). As a material        that of the acoustic cymbal, ensuring a good striking sen-
   for this cover, rubber elastomer having both elasticity which      sation.
   is an excellent feature of rubber and productivity which is an        Further, since the outer peripheral edge portion 2a is
   excellent feature of plastic, or the like is used.                 formed to be spread outside compared with the outer periph-
      FIG. 2 is a cross-sectional view showing a part of the 45 eral edge portion 3b of the first frame 3, the edge portion 32
   cover 2 covering the upper surface of the electronic pad 1.        tends to be deformed when struck. As a result, it is possible
      Concentric irregularity processing is conducted to the          to  reproduce a feeling that the edge portion of the acoustic
   upper surface of the cover 2 covering the upper surface of         cymbal is deformed to absorb impact.
   the electronic pad 1. Through this processing, irregularities         FIG. 3(b) shows the second frame 4. The second frame 4
   having, for example, a groove width of 2 mm, a pitch of 4 50 consists of a head portion 4a protruding upward from the
   mm (2 mm between grooves) and a depth of 0.1 mm are                central opening portion 3c of the first frame 3, a shoulder
   formed on the upper surface of the cover 2.                        portion 4b supporting the lower peripheral edge of the
      Further, a coating treatment is applied to the upper surface    opening portion 3c from below and an arm portion 4c
   of the cover 2 to coat rubber primer onto the upper surface        supporting the lower surface of a region corresponding to
   thereof by dipping, brushing, spraying or the like, whereby 55 the bow portion 31 shown in FIG. 1 from below.
   the surface of the cover 2 has a low friction factor and              An attachment hole 4d vertically penetrating the second
   improved abrasion resistance. As a result, a stick slides on       frame 4 is provided at the center of the head portion 4a of
   the electronic pad 1 similarly to a case where a metallic          the second frame 4 as shown in FIG. 3(b). Also, a concave
   acoustic cymbal is struck with the stick and the abrasion of       portion 4e fitted into a rotation stopper member 9 to be
   the rubber after the electronic pad 1 is struck with sticks for 60 described later and hollowed in a wedge shape with a trough
   a long period of time can be decreased. This cover 2 may be        extending in a predetermined direction is provided around
   formed out of a material having the same advantage as the          the attachment hole 4d. A softer material, such as rubber,
   above-stated surface treatment and softer than the first frame     than the material for the first frame 3 is used for the second
   3 to be described later. In addition, the surface treatment        frame 4.
   such as the coating of rubber primer stated above is applied 65       FIG. 3 also shows a piezoelectric sensor 5 provided on the
   to a sliding portion 2b pressing an edge upper portion sheet       lower surface of the first frame 3, covered with the arm
   sensor 7 and a portion supporting an edge lower portion            portion 4c of the second frame 4 and contacting with a
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   player side. This piezoelectric sensor 5 detects the struck          peripheral edge portion 3b of the first frame 3 and the cover
   surface of the electronic pad and a strike against the periph-       2 provided on the lower side of this outer peripheral edge
   eral edge of the struck surface.                                     portion. This edge lower portion sheet sensor 6 detects
      In this case, since the portion of the first frame 3 provided     pressure generated by the silencing operation of the player
   with the piezoelectric sensor 5 is covered with the dome- 5 but does not detect a strike.
   shaped portion of the cover 2, it is possible to prevent the            Furthermore, the edge upper portion sheet sensor 7 is
   portion right above the piezoelectric sensor 5 from being            provided between the upper surface of the outer peripheral
   directly struck with a stick. Accordingly, the magnitude of a        edge portion 3b of the first frame 3 and the cover 2 covering
   signal outputted from the piezoelectric sensor 5 is not largely      the upper surface of this outer peripheral edge portion 3b.
   changed according to the struck position and the piezoelec- 10 This edge upper portion sheet sensor 7 detects pressure
   tric sensor 5 has good sensitivity distribution characteristics,     generated by the striking of the outer peripheral edge portion
   thereby further enhancing detection accuracy for a striking          32 shown in FIG. 1 or the like. In addition, the cup portion
   force and striking position.                                         sheet sensor 8 is provided at a position at which the bottom
      It is assumed that this electronic pad 1 is struck only on        30a of the cup portion 30 at the center of the electronic pad
   the right half thereof. In FIG. 3, the piezoelectric sensor 5, 15 1 is proximate to the first frame 3 to contact with the upper
   and an edge upper portion sheet sensor 7, an edge lower              surface of the first frame 3.
   portion sheet sensor 6 and a cup portion sheet sensor 8 to be           The cup portion 30 of the electronic pad 1 shown in a
   described later are provided only on substantially the right         dome shape in FIG. 2 is formed out of the cover 2 integrally
   half but not on the left half thereof.                               formed with the core 19. If the cup portion 30 is struck, the
      To be specific, the cup portion sheet sensor 8 is provided 20 peripheral edge portion of the core 19 presses the cup
   to spread over about 2/3 of the upper surface of the peripheral      portion sheet sensor 8 through the inner surface of the
   edge portion of the opening of the first frame 3 covered with        peripheral edge portion of the cup portion 30 of the cover 2.
   the cover 2 (at 120 degrees left and right relative to a             As a result, this cup portion sheet sensor 8 detects a strike
   player's position, respectively). The edge upper portion             against the cup portion 30.
   sheet sensor 7 and the edge lower portion sheet sensor 6 are 25         As already stated above, the concave portion 4e formed to
   provided to spread about 1/3 of the outer peripheral edge            be hollowed in a wedge shape and having a trough spread in
   portion of the first frame 3 (at 60 degrees right and left           a predetermined direction is formed on the central lower
   relative to the player's position, respectively).                    surface of the head portion 4a of the second frame 4. On the
      Here, the concave portion 4e of the second frame 4 and            other hand, as shown in FIG. 3(b), the rotation stopper
                                                                     30
   the rotation stopper member 9 are fitted into each other to          member 9 has a tip end portion 9a fitted into the concave
   prevent the rotation of the electronic pad 1, thereby making         portion 4e, having a ridge in a predetermined direction and
   it possible to restrict a striking range.                            protruding in a wedge shape.
      By thus restricting the striking range, it is possible to            Further, the rotation stopper member 9 has a penetrating
   dispense with a sensor to be provided out of the striking 35 hole 9b, as shown in FIG. 3(b), through which the pole 10
   range and to thereby decrease manufacturing cost.                    supporting the electronic pad 1 enters from below. This
      It is noted that the circumferential angle (120 degrees           penetrating hole 9b is formed such that the diameter thereof
   right and left, respectively) of the cup portion sheet sensor        is reduced once on the way from lower to upper directions.
   8 is wider than those of the edge upper portion sheet sensor            Meanwhile, this pole 10 has a tip end portion lOb formed
   7 and the edge lower portion sheet sensor 6. This is because 40 to be fitted into the penetrating hole 9b, i.e., formed to have
   the sensor must deal with a case where the electronic pad 1          a reduced diameter on the way to the tip end. The rotation
   is struck by a portion near the center of the stick 20 from a        stopper member 9 is fixed to the pole 10 by a fastener 15
   lateral direction in addition to a case where the electronic         shown in FIG. 3 in a state in which the tip end portion lOb
   pad 1 is struck by the tip portion (tip end portion) of the stick    of the pole 10 is penetrated into the rotation stopper member
   20 from longitudinal direction as shown in FIG. 6.                45
                                                                        9·
      In this embodiment, description has been given to a case             Furthermore, a screw portion lOa is provided on the very
   where the cup portion sheet sensor 8 is provided to spread           tip end of the pole 10. The screw portion lOa protrudes
   about 2/3 of the upper surface of the peripheral portion of the      upward, compared with the upper surface of the head portion
   opening. This is intended to reduce cost and the cup portion         4a of the second frame 4 and screwed with the wing nut 13
   sheet sensor 8 may be provided on the entire periphery on 50 while the head portion 4a of the second frame 4, the felt
   the upper surface of the opening peripheral edge portion.            washer 11 and the metallic washer 12 are put between the
      Here, the second frame 4 is formed out of a softer                screw portion lOa and the rotation stopper member 9. The
   material, such as rubber, than that of the first frame 3 as          electronic pad 1 is fixed to the pole 10 by the wing nut 13.
   already described above and structured so that the shoulder             In other words, the electronic pad 1 is supported by the
   portion 4b supports the first frame 3. The second frame 4 is, 55 pole 10 fixing the rotation stopper member 9 having the tip
   therefore, fixed to the pole 10 of a stand to be described later.    end portion 9a fitted into the concave portion 4e of the
   As a result, the first frame 3 is not fixed to the stand and         second frame 4, from below.
   vibration generated at the first frame 3 is smoothly propa-             Here, since the concave portion 4e of the second frame 4
   gated onto the first frame 3. Thus, the piezoelectric sensor 5       is fitted into the tip end portion 9a of the rotation stopper
   can accurately detect vibration generated at the first frame 3 60 member 9, the rotation of the electronic pad 1 about the pole
   after the surface and the peripheral edge of the surface of the      10 as a rotary shaft is prevented. This can prevent the output
   electronic pad 1 are struck.                                         cable 14 of the electronic pad 1 to be described later from
      Further, the cover 2 is provided to cover even the lower          being entwined about the pole 10 and being pulled by the
   side of the outer peripheral edge portion 3b of the first frame      pole 10.
   3. The edge lower portion sheet sensor 6, which is one 65               FIG. 4 is a cross-sectional view of the electronic pad 1
   example of an operation sensor according to the present              shown in FIG. 1, which view is taken along line B-B of
   invention, is provided between the lower surface of the outer        FIG. 1.
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      FIG. 4 shows the above-stated fastener 15 for fixing the          at the center of the electronic pad 1, the bow portion 31 at
   rotation stopper member 9 to the pole 10 and a screw 16 for          the intermediate position thereof and the edge portion 32 on
   fixing the second frame 4 to the first frame 3. In FIG. 4, the       the outer peripheral edge thereof shown in FIG. 1 are struck.
   cup sheet sensor 8 is provided on each of the right and left         Based on the combination of the output signals transmitted
   sides of the electronic pad 1. The reason is as follows. The 5 through the output cable 14, the sound generating device
   cross-sectional view of FIG. 4 differs from that of FIG. 3 by        produces tones corresponding to the struck regions or
   90 degrees and illustrates a cross section if this electronic        silences the tones.
   pad 1 is viewed from a player's position.                                Next, description will be given to the correspondence
      Further, FIG. 4 shows an output jack 18 and an output             among the outputs of the respective sensors, the striking
   cable 14 for transmitting respective output signals from the 10 positions and the silencing operation (the choke of the edge
   piezoelectric sensor 5, the edge lower portion sheet sensor 6,       portion). Table 1 shows the correspondence.
   the edge upper portion sheet sensor 7 and the cup portion
   sheet sensor 8 to a sound generating device which is not                                        TABLE 1
   shown.
      The output jack 18 is provided in a space between the arm 15                                                     Edge     Edge
                                                                                                               Cup     upper    lower
   portion 4c of the second frame 4 and the lower surface of the                                              portion portion  portion
   first frame 3 and fixed to the second frame 4 through an                                     Piezoelectric  sheet   sheet    sheet
   output jack holder 17. Since the second frame 4 is formed                                       sensor     sensor  sensor   sensor
   out of a softer material, such as rubber, than that of the first     Performance on cup         Output       ON      OFF      OFF
   frame 4 as already stated above, the second frame 4 is 20 portion
   slightly deformed by pulling the output cable 14 or by the           Performance on bow         Output      OFF      OFF      OFF
   vibration of the electronic pad 1, thereby preventing the            portion
                                                                        Performance on edge        Output      OFF      ON       OFF
   output jack and the like from being broken. This output jack         portion
   18 consists of two jacks, i.e., the first output jack 110 and the    Choke of edge            No output     OFF      ON       ON
   second output jack 120 (see FIG. 8). Output signals from the 25 portion
   respective sensors stated above are outputted from the first
   output jack 110 and the second output jack 120, passed
   through the output cable 14 and transmitted to the sound                 The piezoelectric sensor 5 outputs a signal if any of the
   generating device which is not shown. In this embodiment,            cup portion 30, the bow portion 31 and the edge portion 32
   although the number of sensors differs from the number of 30 shown in FIG. 1 is struck and the sensor 5 is turned off when
   terminals, the signals from the respective sensors can be            choking the edge portion. Also, the cup portion sheet sensor
   transmitted to the sound generating device, which will be            8 is turned on only when the cup portion 30 is struck. The
   described later.                                                     edge upper portion sheet sensor 7 is turned off while a player
                                                                        is performing on the electronic pad 1 using the cup portion
      FIG. 5 is a perspective view showing the electronic pad 1
                                                                     35 30 and the bow portion 31, and the sensor 7 is turned on
   from an obliquely downward direction. FIG. 5 shows the
                                                                        when striking the edge portion 32 and when choking the
   cover 2 provided to spread over the lower side to encompass
                                                                        edge portion.
   the outer peripheral edge of the first frame 3 as stated above.
   FIG. 5 also shows a state in which the electronic pad 1 is               The edge lower portion sheet sensor 6 is turned on only
   supported by the pole 10 to which the rotation stopper               when choking the edge portion. That is to say, the edge lower
                                                                     40
   member 9 is fixed. As shown in FIG. 5, the second frame 4            portion sheet sensor 6 does not react to strike and only
   is fixed to the lower surface of the first frame 3 on several        detects an operation carried out to the peripheral edge
   portions by screws 16.                                               portion of the electronic pad 1, i.e., the choke of the edge
      FIG. 6 is a conceptual view showing that the cup portion          portion.
   30 at the center of the electronic pad 1 shown in FIG. 1, the 45         FIG. 8 is a wiring diagram of the jack portion for
   bow portion 31 at the intermediate position thereof and the          transmitting output signals from the respective sensors to a
   edge portion 32 on the outer peripheral edge thereof are             sound source.
   struck with the stick 20, respectively. FIG. 7 is a conceptual
                                                                            FIG. 8 shows two terminals Al and A2 connected to the
   view showing a state in which a silencing operation is
                                                                        first output jack 110 and two terminals Bl and B2 connected
   performed by nipping the outer peripheral edge of the 50
                                                                        to the second output jack 120. Output signals from the
   electronic pad 1 with fingers.
                                                                        piezoelectric sensor 5 are transmitted to both the terminal Al
      Here, if the strike or the silencing operation shown in           and terminal Bl. The edge lower portion sheet sensor 6 and
   FIGS. 6 and 7 are conducted to the electronic pad 1, the             the cup portion sheet sensor 8 are connected to the terminal
   piezoelectric sensor 5, the edge lower portion sheet sensor 6,       A2. However, as shown in Table 1, there is not timing at
   the edge upper portion sheet sensor 7 and the cup portion 55 which both the edge lower portion sheet sensor 6 and the cup
   sheet sensor 8, shown in FIG. 3, detect vibration and                portion sheet sensor 8 are turned on simultaneously. Besides,
   pressure. Output signals from the respective sensors are             it is possible to determine which is turned on, the edge lower
   combined by a circuit shown in FIG. 8, outputted from the            portion sheet sensor 6 or the cup portion sheet sensor 8, by
   output jack 18, i.e., the first output jack 110 and the second       checking the output of the piezoelectric sensor 5.
   output jack 120, passed through the output cable 14 and 60 Accordingly, output signals from both the edge lower por-
   transmitted to the sound generating device which is not              tion sheet sensor 6 and the cup portion sheet sensor 8 can be
   shown.                                                               outputted from the terminal A2.
      The sound generating device stores tones imitating the
   typical tones of the respective regions produced from an                 Further, the edge upper portion sheet sensor 7 is con-
                                                                     65 nected to the terminal B2 of the second output jack 120.
   acoustic cymbal and outputted, i.e., a so-called cup tone, a
   so-called bow tone and a so-called edge tone if the regions              Table 2 shows the correspondence between outputs from
   of the acoustic cymbal corresponding to the cup portion 30           the respective terminals and assigned tones.
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                                                                               for emphasis and the volume thereof is set large while the
                                TABLE 2                                        bow tone is masked by the edge tone and the edge tone
                                                                               inherently includes the feature of the bow tone. Due to this,
                                                             Silencing         even if the bow tone is overlapped with the edge tone and
                                         Sound producing     condition
                             Assigned        condition        (sensor     5    produced, the influence is almost negligible. If the sound
       Input      Terminal     tone       (sensor output)     output)          generating device stated above produces an edge tone, the
                                                                               emission of the bow tone may be controlled.
       First        Al       Bow tone      Piezoelectric    Edge lower
    output jack                             sensor only       portion             Moreover, as shown in FIG. 7, by performing an operation
                    A2       Cup tone      Piezoelectric       sheet           for nipping the peripheral edge of the struck surface of.the
                                           sensor+ cup      sensor only   10   electronic pad 1 with fingers (the choke of the edge portion),
                                          portion sheet
                                              sensor
                                                                               the signals of the edge lower portion sheet sensor 6 and the
      Second        Bl       Toneless      Piezoelectric    Edge upper         edge upper portion sheet sensor 7 are transmitted from the
    output jack                             sensor only       portion          terminals A2 and B2 to the sound generating device and the
                    B2       Edge tone     Piezoelectric       sheet           sound generating device performs a silencing operation.
                                          sensor + edge     sensor only   15
                                          upper portion                           Furthermore, the sound generating device monitors not
                                           sheet sensor                        only the presence and absence of the output of the piezo-
                                                                               electric sensor 5 but also the magnitude of the output signal
                                                                               of the piezoelectric sensor 5. To produce the above-stated
      In this case, only the first output jack 110 or only the
   second output jack 120 can be connected to the sound 20                     respective tones, the sound generating device generates the
   generating device. If only the first output jack 110 is                     respective tones with volumes according to the magnitude of
   connected, the sound generating device produces a cup tone                  the output signal of the piezoelectric sensor 5. Normally, a
   and a bow tone and silence tones. If only the second output                 sheet sensor detects on/off states as in the case of a switch.
   jack 120 is connected, the sound generating device produces                 Compared with a conventional method or the like for
   only an edge tone and silence tones.                                        allowing a piezoelectric sensor or the like to monitor vibra-
                                                                    25          .
      If the output signal of the piezoelectric sensor 5 is                    tlon resulting from a strike and to determine a striking
   outputted from the terminal Al of the first output jack 110                 position and then for selecting a tone, a method in which a
   and no signal is outputted from the terminal A2 of the first                sheet sensor is used and whether or not the sheet sensor is
   output jack 110, a bow tone is assigned as a produced tone.                 turned on is monitored enables faster tone selection. In this
   If signals are outputted from both the terminals Al and A2 30               embodiment, the sheet sensors are used and, therefore, it is
   of the first output jack 110, a cup tone is assigned. If the                possible to produce tones such as a cup tone used for
   output signal of the piezoelectric sensor 5 is not outputted                emphasis, i.e., tones required to be produced promptly for a
   from the terminal Al of the first output jack 110 and                       musical performance, the above-stated edge, tone and the
   outputted from the terminalA2 thereof (in this case, the edge               like. In this case, after the sound generating device promptly
   upper portion sheet sensor 6 is turned on), then silencing 35               starts producing the tone with a certain volume, the sound
   operation is performed.                                                     generating device carries out an envelope processing to
                                                                               make the volume correspond to a striking sound.
      Further, if a signal is outputted from the terminal Bl of the
   second output jack 120 and no signal is outputted from the                     As can be seen, in this embodiment, tones corresponding
   terminal B2 thereof, then none of the tones are produced and                to struck regions such as the struck surface and peripheral
   silence is maintained. If signals are outputted from both the 40            edge of the struck surface of the electronic pad 1 are
   terminals Bl and B2, an edge tone is produced. Further, if                  produced with a volume corresponding to a striking force,
   no signal is outputted from the terminal Bl and a signal is                 and the tone which is being produced is promptly silenced
   outputted from the terminal B2, i.e., the edge upper portion                by the silencing operation shown in FIG. 7, compared with
   sheet sensor 7 is turned on, then a silencing operation is                  a conventional method.
   performed. At this moment, a combination of the output of 45                   Even if only the first output jack 110 out of the first output
   the piezoelectric sensor 5 and that of the edge upper portion               jack 110 and the second output jack 120 is connected to the
   sensor 7 can instantly detect a silencing operation (edge                   sound generating device, the edge lower portion sheet sensor
   choking) without using the edge lower portion sheet sensor                  6 provided at a position at which the sensor does not react
   6. It is noted, however, that the electronic pad 1 requires, as             to a strike may be turned on by the silencing operation. By
   a whole, the edge lower portion sheet sensor 6 which detects 50             doing so, a player can promptly silence a cup tone and a bow
   the choke of the edge portion but does not detect a strike, so              tone which are being produced compared with a conven-
   as to instantly detect a silencing operation (the choke of the              tional method.
   edge portion).                                                                 FIG. 9 shows a state in which the electronic pad 1
      As can be seen from the above, if the cup portion 30 of                  supported by the pole 10 is struck with the stick 20 and
   the electronic pad 1 shown in FIG. 1 is struck, signals are 55              inclined. The rotation stopper member 21 shown in FIG. 9
   transmitted from the respective terminals of the terminals                  has a sharper wedge-shaped tip end portion 21 a than the
   Al, A2 and Bl to the sound generating device and the sound                  rotation stopper member 9 shown in FIG. 3. Due to this, the
   generating device produces a cup tone. Likewise, if the                     wedge shape of the tip end portion 21 a of the rotation
   intermediate bow portion 31 is struck, signals are transmit-                stopper member 21 is not completely fitted into the concave
   ted from both the terminals Al and Bl to the sound 60                       portion 4e of the second frame 4, i.e., there is some play. As
   generating device and the sound generating device produces                  a result, as shown in FIG. 9, when being struck, the
   a bow tone. If the edge portion 32 on the outer peripheral                  electronic pad 1 is easily inclined.
   edge of the electronic pad 1 is struck, signals are transmitted                As stated above, a plurality of types of rotation stopper
   from the terminals Al, Bl and B2 to the sound generating                    members having different wedge angles are prepared and
   device and the sound generating device produces an edge 65                  used depending on the magnitude or weight of an acoustic
   tone. As shown in Table 2, when an edge tone is produced,                   cymbal imitated by the electronic pad 1, whereby it is
   a bow tone is produced as well. The edge tone is often used                 possible to adjust the degrees of vibration resulting from a
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   strike and differing cymbals and to perform on the electronic            on the right half portion of FIG. 3, i.e., the lower right half
   pad similarly to the acoustic cymbal while preventing the                indicated by D-D of FIG. 10 and not arranged on the upper
   rotation of the struck surface. Besides, it is possible to adjust        left half indicated by D-D. Thus, by providing the sensors
   the degree of vibration according to the degree at which the             only on the half of the electronic pad on the player side,
   wing nut 13 of the screw portion lOa of the pole 10 is              5    manufacturing cost can be reduced.
   fastened.                                                                   Moreover, by partially cutting off the outer peripheral
      Alternatively, the rotation member is fixed to one type               edge portion 43a of the frame 43, the shape of the frame 43
   capable of sufficiently vibrating and a spacer, an adapter or            is not rotationally symmetrical and the rigidity of the frame
   the like is used to adjust the gap between the rotation stopper          43 is off balance. By contrast, since the shape of the cover
   member and the concave portion 4e of the second frame 4.            10   2 is partially different as already stated above, the weight
   By doing so, it is possible to perform on the electronic pad             balance of the electronic pad 41 about the penetrating hole
   1 similarly to the acoustic cymbal which the electronic pad              4d is maintained but the rigidity of the frame 43 is slightly
   1 is to imitate, while preventing the rotation of the struck             off balance. Thus, acoustic resonance can be suppressed and
   surface.                                                                 the electronic pad 41 in the second embodiment can further
      In addition, the central axis of the vibration of the            15   suppress unnecessary vibration generated on the frame 43.
   electronic pad 1 generated when the electronic pad 1 is                     While particular embodiments of the present invention
   struck is present in a cross section taken along line B-B as             have been shown and described, it will be obvious to those
   shown in FIG. 4. In this embodiment, since the output jack               skilled in the art that the invention is not limited to the
   18 is arranged in the vicinity of the central axis of this               particular embodiments shown and described and that
   vibration, the vertical movement of the output cable 14             20
                                                                            changes and modifications may be made without departing
   followed by the vibration can be suppressed. Accordingly, it             from the spirit and scope of the appended claims.
   is possible to prevent applying overload to the output cable                What is claimed is:
   14 itself caused by the weight of the output cable and to a                 1. An electronic pad receiving a strike, detecting the strike
   region to which the output cable 14 is connected and to,                 and outputting a signal representative of the strike, com-
   therefore, expand the life of the electronic pad 1.                 25   prising:
      Next, the second embodiment according to the present                     a first frame;
   invention will be described.                                                a striking sensor detecting the strike transmitted to said
      FIG. 10 shows an electronic pad 41 used as the second                       first frame; and
   embodiment according to the present invention. FIG. 10              30      a sheet sensor provided on a lower surface of a peripheral
   shows a frame 43 and a cover 42 covering the upper surface                     edge portion of said first frame and detecting an opera-
   of the frame 43 . The left half of the cover 42 is removed so                  tion with respect to the lower surface of the peripheral
   that the characteristic portions of the frame 43 to be                         edge portion;
   described later can be easily recognized. An outer peripheral
   edge portion 43a similar to the electronic pad 1 is provided                wherein said sheet sensor extends circumferentially along
                                                                       35         a part of said first frame around the peripheral edge, but
   on the outer peripheral edge of the frame 43 of the electronic
   pad 41. A part 43b of the outer peripheral edge portion 43a                    not along all of the peripheral edge of the first frame.
   which part avoids a player's striking range is formed to be                 2. The electronic pad according to claim 1, wherein the
   cut off as shown in FIG. 10.                                             sheet sensor detects an operation with respect to an upper
                                                                            surface of the peripheral edge portion.
      A part 42b of the outer peripheral edge portion 42a of the       40      3. The electronic pad according to claim 1, where said first
   cover 42 is closely attached to this part 43b. Due to this, the
                                                                            frame has a varying length from the center of the frame to
   part 42b of the cover 42 is formed into such a shape packed
                                                                            the edge of the frame.
   with a space corresponding to the part 43b obtained by
                                                                               4. The electronic pad according to claim 1, wherein the
   partially cutting off the frame 43.
                                                                            first frame is disk-shaped.
      The electronic pad 41 differs from the electronic pad 1          45      5. The electronic pad according to claim 4, wherein said
   shown in FIG. 1 only in two respects, i.e., that a part of the           first frame has a varying radius.
   outer peripheral edge portion 43a of the frame 43 is cut off                6. An electronic pad comprising
   as stated above and that the shape of a part of the outer
                                                                               a first frame having a peripheral edge portion, at least a
   peripheral edge portion 42a of the cover 2 is changed.
                                                                                  part of the peripheral edge portion having a step formed
   Accordingly, a protruding head portion 4a of the second             50
                                                                                  downward; and
   frame 4 at the center of the electronic pad 41, a penetrating
   hole 4d thereof and a cup portion sheet sensor 8 close to the               a sheet sensor located on the step of the peripheral edge
   center on the frame 43 shown in FIG. 10 as well as an edge                     portion of the first frame.
   upper portion sheet sensor 7 on the outer peripheral edge                   7. The electronic pad according to claim 6, further com-
   portion 43a of the frame 43 and the like are the same in type       55   prising a second frame supporting the first frame.
   as those used and shown in FIG. 3. Although not shown in                    8. The electronic pad according to claim 6, wherein the
   FIG. 10, an edge lower portion sheet sensor 6 is provided on             first frame is disk-shaped.
   the lower surface of the outer peripheral edge portion 43a of               9. The electronic pad according to claim 8, wherein the
   the frame 43 as in the case of the electronic pad 1 shown in             first frame has a varying radius.
   FIG. 1.                                                             60
                                                                               10. The electronic pad according to claim 6, further
      Arrows C-C and D-D shown in FIG. 10 correspond to                     comprising:
   arrows A-A and B-B shown in FIG. 1, respectively. The                       a cover covering the first frame, a peripheral edge portion
   edge upper portion sheet sensor 7, the edge lower portion                      of the cover contacting the peripheral edge portion of
   sheet sensor 6 which is not shown, and the cup portion sheet                   the first frame;
   sensor 8 in FIG. 10 are provided in the same range as that          65      wherein an upper surface of the peripheral edge portion of
   in which the corresponding sensors of the electronic pad 1                     the cover contacting the peripheral edge portion of the
   stated above are provided. That is, these sensors are arranged                 first frame is fiat.
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     11. The electronic pad of claim 6, further comprising:                   a first frame of a first material;
      a cover covering the first frame;                                       a cover covering a striking surface of the first frame;
      wherein the cover is coated with a rubber primer.                       a striking sensor for detecting a strike transmitted to the
      12. The electronic pad according to claim 6, further                       first frame through the cover;
   comprising:                                                        5       a second frame coupled to the first frame, the second
                                                                                  frame made of a softer material than the first material
      a cover covering the first frame, a peripheral edge portion
                                                                                  of the first frame; and
         of the cover contacting the peripheral edge portion of
                                                                              a jack affixed to the second frame for outputting signals
         the first frame.
                                                                                 from the striking sensor.
      13. The electronic pad according to claim 6, wherein the
                                                                      10      27. The electronic pad according to claim 26, wherein the
   sheet sensor extends circumferentially along a part of said
                                                                           second frame supports the first frame.
   first frame around the peripheral edge, but not along all of
                                                                              28. An electronic pad receiving a strike, detecting the
   the peripheral edge of the first frame.
                                                                           strike and outputting a signal representative of the strike
      14. The electronic pad according to claim 6, wherein the
                                                                           comprising:
   step of the peripheral edge portion of the first frame is
                                                                      15      a frame having a striking surface with a peripheral edge
   formed integrally with the first frame.
      15. An electronic pad for receiving a strike, detecting the                portion;
   strike and outputting a signal representative of the strike                a cover covering the striking surface of the frame;
   comprising:                                                                a striking sensor provided on a part of, but not the entire
      a frame having an upper surface with an outer peripheral                   peripheral edge portion of the frame, the striking sensor
                                                                      20
         edge portion, at least a part of the outer peripheral edge               for detecting the strike transmitted to the frame through
         portion having a step formed downward from the upper                     the cover; and
         surface;                                                             a jack affixed to the frame and electrically coupled to the
      a cover covering the upper surface of the frame; and                       striking sensor for outputting signals from the striking
                                                                                 sensor, the jack having an opening of a receiving space
      a striking sensor for detecting the strike transmitted to the   25
                                                                                  for receiving an electrical plug, the opening of the
         frame through the cover.
                                                                                  receiving space facing in a direction away from the part
      16. The electronic pad according to claim 15, wherein a
                                                                                  of the peripheral edge portion of the frame having the
   portion of the cover covering the outer peripheral edge
                                                                                 striking sensor.
   portion is thicker than other portions of the cover.
                                                                              29. The electronic pad according to claim 28, wherein the
      17. The electronic pad according to claim 16, wherein an        30
                                                                           striking sensor is provided on an upper surface of the
   upper surface of the cover contacting the step is fiat.
                                                                           peripheral edge portion of the frame.
      18. The electronic pad according to claim 15, wherein the
                                                                              30. An electronic pad for mounting on a stand, receiving
   striking sensor is disposed on the step formed on the outer
                                                                           a strike, detecting the strike and outputting a signal repre-
   peripheral edge of the frame.
                                                                      35   sentative of the strike, the electronic pad comprising:
      19. The electronic pad according to claim 15, wherein the
   striking sensor comprises a sheet sensor disposed on the step              a frame having an upper surface with an outer peripheral
   formed on the outer peripheral edge of the frame and                          edge;
   wherein the sheet sensor extends around part of, but not the               a cover over the upper surface of the frame and defining
   entire peripheral edge of the frame.                                           a striking surface for receiving a strike;
      20. The electronic pad according to claim 15, wherein the       40      a striking sensor supported on the frame for providing an
   striking sensor comprises a sheet sensor disposed around                      electronic signal corresponding to a strike on the strik-
   part of, but not the entire peripheral edge of the frame.                     ing surface
      21. The electronic pad according to claim 15, wherein the               a support structure to pivotally support the frame on a
   frame has a generally circular outer peripheral edge and                      stand for pivotal motion of the frame relative to the
   wherein the striking sensor is disposed on the frame, adja-        45         stand; and
   cent to the generally circular outer peripheral edge of the                a rotation stopper operatively coupled to the frame, for
   frame and wherein the striking sensor extends around less                      inhibiting rotation of the frame relative to the stand,
   than the entire circumference of the generally circular outer                 when the frame is mounted on the stand for pivotal
   peripheral edge of the frame.                                                  motion.
      22. The electronic pad according to claim 15, wherein the       50      31. An electronic pad according to claim 30, wherein the
   cover extends over the step on the upper surface of the                 rotation stopper comprises a first member on the frame and
   frame.                                                                  a second member for fixing to a stand, the first member
      23. The electronic pad according to claim 15, wherein the            being pivotal relative to the second member.
   striking sensor comprises a sheet sensor and wherein the                   32. An electronic pad according to claim 31, wherein the
   cover extends over the sheet sensor and over the step on the       55   first and second members are arranged to abut each other and
   upper surface of the frame.                                             are shaped to inhibit rotation relative to each other.
      24. The electronic pad according to claim 15, wherein the               33. An electronic pad according to claim 30, wherein the
   striking sensor comprises a sheet sensor disposed on the step           frame has a peripheral edge and wherein the striking sensor
   on the upper surface of the frame and wherein the cover                 is disposed about a portion of, but less than the entire
   extends over the sheet sensor.                                     60   peripheral edge of the frame.
      25. The electronic pad according to claim 24, wherein the               34. An electronic pad according to claim 30, wherein the
   cover has a peripheral edge and defines a striking surface              frame has a generally circular outer peripheral edge and
   bounded by the peripheral edge, and wherein the striking                wherein the striking sensor is disposed on the frame, adja-
   surface has no downward step at its peripheral edge.                    cent to the generally circular outer peripheral edge of the
      26. An electronic pad for receiving a strike, detecting the     65   frame and wherein the striking sensor extends around less
   strike and outputting a signal representative of the strike             than the entire circumference of the generally circular outer
   comprising:                                                             peripheral edge of the frame.
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                                                      US 6,881,885 B2
                               17                                                                    18
     35. A process of making an electronic pad, comprising                43. A process for mounting an electronic pad on a stand,
      providing a frame having an upper surface and an outer            the process comprising:
         peripheral edge with a step formed downward from the              providing a frame having an upper surface with an outer
         upper surface;                                                       peripheral edge;
      disposing a cover over the upper surface of the frame;       5       disposing a cover over the upper surface of the frame and
                                                                              defining a striking surface on the cover for receiving a
      supporting a striking sensor on the frame, the striking                 strike;
         sensor for detecting a strike on the cover.                       supporting a striking sensor on the frame for providing an
      36. A process as recited in claim 35, wherein supporting                electronic signal corresponding to a strike on the strik-
   a striking sensor comprises supporting a striking sensor on     10         ing surface
   the step formed on the frame.                                           providing a support structure to pivotally support the
      37. A process as recited in claim 35, wherein supporting                frame on a stand for pivotal motion of the frame
   a striking sensor comprises supporting a sheet sensor on the               relative to the stand; and
   step formed on the outer peripheral edge of the frame and               coupling a rotation stopper to the frame, for inhibiting
   extending the sheet sensor around part of, but not the entire   15         rotation of the frame relative to the stand, when the
   peripheral edge of the frame.                                              frame is mounted on the stand for pivotal motion.
      38. A process according to claim 35, wherein supporting              44. A process according to claim 43, wherein coupling a
   a striking sensor comprises disposing a sheet sensor around          rotation stopper comprises providing a first member on the
   part of, but not the entire peripheral edge of the frame.            frame and fixing a second member to a stand, the first
      39. A process according to claim 35, wherein providing a          member being pivotal relative to the second member.
                                                                   20
   frame comprises providing a frame having a generally                    45. A process according to claim 44, further comprising
   circular outer peripheral edge and wherein supporting a              arranging the first and second members to abut each other,
   striking sensor comprises disposing a striking sensor on the         wherein the first and second members are shaped to inhibit
   frame, adjacent to the generally circular outer peripheral           rotation relative to each other when abutted against each
   edge of the frame and wherein the striking sensor extends       25
                                                                        other.
   around less than the entire circumference of the generally              46. A process according to claim 43, wherein the frame
   circular outer peripheral edge of the frame.                         has a peripheral edge and wherein supporting a striking
      40. A process according to claim 35, wherein disposing a          sensor comprises supporting a striking sensor about a por-
   cover comprises disposing a cover over the step on the upper         tion of, but less then the entire peripheral edge of the frame.
   surface of the frame.                                           30
                                                                           47. A process according to claim 43, wherein the frame
      41. A process according to claim 35, wherein supporting           has a generally circular outer peripheral edge and wherein
   a striking sensor comprises supporting a sheet sensor on the         supporting a striking sensor comprises supporting a striking
   step on the upper surface of the frame and wherein disposing         sensor on the frame, adjacent to the generally circular outer
   a cover comprises disposing a cover over the sheet sensor.           peripheral edge of the frame and wherein the striking sensor
      42. A process according to claim 35, wherein the cover       35
                                                                        extends around less than the entire circumference of the
   has a peripheral edge and defines a striking surface bounded         generally circular outer peripheral edge of the frame.
   by the peripheral edge, and wherein the striking surface has
   no downward step at its peripheral edge.                                                    * * * * *
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                          EXHIBIT G
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        (12)   United States Patent                                                         (10)   Patent No.:                    US 6,632,989 B2
               Yoshino et al.                                                               (45)   Date of Patent:                             Oct. 14, 2003


        (54)    ELECTRONIC PAD WITH VIBRATION                                                   4,479,412   A    *   10/1984   Klynas .................. 84/DIG. 12
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        (75)    Inventors: Kiyoshi Yoshino, Hamamatsu (JP);                                     5,262,585   A    *   11/1993   Greene et al. ......... 84/DIG. 12
                           Masato Katsuda, Hamamatsu (JP)                                       5,293,000   A    *    3/1994   Adinolfi ................ 84/DIG. 12
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        (73)    Assignee: Roland Corporation, Los Angeles, CA                                   5,915,289   A    *    6/1999   Hart ......................... 84/402 X
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        ( *)    Notice:        Subject to any disclaimer, the term of this                      6,331,667   Bl   *   12/2001   Kiippers .................... 84/422.3
                               patent is extended or adjusted under 35
                               U.S.C. 154(b) by 0 days.                                  * cited by examiner
        (21)    Appl. No.: 09/935,275
                                                                                         Primary Examiner-Jeffrey Donels
        (22)    Filed:        Aug. 22, 2001                                              (74) Attorney, Agent, or Firm-Foley & Lardner
        (65)                  Prior Publication Data                                     (57)                         ABSTRACT
                US 2002/0059861 Al May 23, 2002
                                                                                         The present invention is intended to provide an electronic
        (30)          Foreign Application Priority Data                                  cymbal having improved accuracy for detecting a striking
                                                                                         force and a striking position without hampering a striking
         Aug. 22, 2000        (JP) ....................................... 2000-250765
                                                                                         sensation and an appearance. A piezoelectric sensor 5 and a
          Jan. 5, 2001        (JP) ....................................... 2001-000318
                                                                                         cup portion sheet sensor 8 provided on a portion of a cup
        (51)    Int. Cl.7 ................................................ GlOD 13/08    portion formed into a dome shape at a center of a cover 2 on
        (52)    U.S. Cl. ............................................ 84/402; 84/723     a first frame 3 having the cover 2 formed out of a soft
        (58)    Field of Search ....................... 84/402-410, 411 R,               material, the cover 2 spreading to contact with an upper
                            84/411 A, 411 M, 411 P, 412-421, 422.1,                      surface of the first frame 3, and an edge upper portion sheet
                               422.2, 422.3, 422.4, 723-746, DIG. 12,                    sensor 7 and an edge lower portion sheet sensor 6 provided
                                                                              DIG. 24    on an outer peripheral edge portion 3b formed to be lowered
                                                                                         by a step are provided, and a center of a second frame 4 is
        (56)                      References Cited                                       supported by a cymbal stand (shaft) 10 penetrating an
                                                                                         opening portion at a center of the first frame 3.
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                     43b
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                                     Fig.2
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            ELECTRONIC PAD WITH VIBRATION                               striking sensation is different from that of an acoustic
                 ISOLATION FEATURES                                     cymbal. The electronic cymbal made by a combination of
                                                                        two disk-shaped frames is disadvantageous visually.
                                                                           Furthermore, the electronic cymbal having the cushion
               BACKGROUND OF THE INVENTION                           5 material bonded to the surface of the disk-shaped metallic
        1. Field of the Invention                                       cymbal and the striking sensor attached to the surface
        The present invention relates to an electronic pad used as      thereof and producing a cymbal sound has disadvantages in
     an electronic percussion instrument.                               that, for example, it is difficult to detect a striking position
        2. Description of Related Art                                   (region) since a vibration wave contains many high fre-
                                                                     10 quency components and, therefore, tones are lacking in
        There is known hitherto a disk-shaped acoustic cymbal
     made of brass, phosphor bronze or the like.                        variation. Furthermore, since the output of the striking
                                                                        sensor largely differs between a case where the portion right
        FIG. 11 shows an acoustic cymbal.
                                                                        above the sensor is struck and a case where portions other
        This acoustic cymbal 130 has an edge portion 101 which          than this portion are struck, the sensitivity distribution of the
     is an outer peripheral edge portion, a bow portion 102 which 15 striking sensor appears bad, so that it is disadvantageously
     is an intermediate portion and a convex cup portion 103            difficult to detect a striking force with high accuracy.
     which is a central portion. Here, if the edge portion 101 of
                                                                           Moreover, the electronic cymbal having many small holes
     the acoustic cymbal is struck with a percussion member such
                                                                        bored in the disk-shaped cymbal has disadvantages in that
     as a stick, a tone called a crash tone having a noise
                                                                        the sensitivity distribution of the striking sound is not well
     component is obtained. This tone is used to put emphasis in 20
                                                                        improved and the detection accuracy of the striking position
     a musical performance. Also, if the bow portion is struck, a
                                                                        is low, although this electronic cymbal has an improved
     tone so-called legato tone or ride tone is obtained. This tone
                                                                        striking sensation.
     is used to add rhythm to a musical performance. Further, if
     the cup portion 103 is struck, a tone so-called a cup tone or                    SUMMARY OF THE INVENTION
     a bell tone having many treble components is obtained. This 25
                                                                           The first electronic pad among electronic pads according
     tone is used to add rhythm to a musical performance. In this
                                                                        to the present invention, which has been made to solve the
     way, different tones can be obtained from the edge portion
                                                                        above problems, is an electronic pad receiving a strike on an
     101, the bow portion 102 and the cup portion 103 of the
                                                                        upper surface, detecting the strike and outputting a signal
     acoustic cymbal 130, respectively. It is, therefore, possible
                                                                        representative of the strike, the electronic pad characterized
     to expand a performance presentation by striking the edge 30
                                                                        by comprising:
     portion 101, the bow portion 102 and the cup portion 103
     separately. However, since the acoustic cymbal of this type           a disk-shaped first frame;
     produces loud sound when struck with a percussion member,             a striking sensor detecting the strike transmitted to the
     it is inappropriate to be used for practice in an ordinary               first frame; and
     household. Further, since the tones cannot be changed, 35             a second frame made of a softer material than a material
     preparation of a plurality of types (i.e., sizes, materials and          for the first frame, supporting the first frame from
     shapes) of cymbals is required.                                          below, having an attachment hole provided at a center
        In recent years, an electronic cymbal imitating the above-            and vertically penetrating the second frame, and sup-
     stated acoustic cymbal has been widely used. This electronic             ported by a pole of a stand supporting the electronic pad
     cymbal detects the striking position and the striking force of 40        by inserting the pole into the attachment hole.
     a stick or the like by means of a striking sensor, controls a         Here, in the first electronic pad, it is preferable that:
     sound source based on the detected striking position and              the first frame has a larger opening portion than the
     striking force and thereby produces a cymbal sound                       attachment hole of the second frame, the opening
     (electronic percussion sound). The electronic cymbal can,                portion provided on a central portion of the first frame;
     therefore, advantageously lower the volume of the striking 45            and
     sound. As the electronic cymbal of this type, there are               that the second frame includes a head portion having the
     proposed an electronic cymbal made of hard resin such as                 attachment hole and inserted into the opening portion
     ABS and enabling a striking sound for which volume is to                 from below in an upward direction, and a shoulder
     be lowered produced from the electronic cymbal itself and                portion supporting a surrounding portion of the open-
     an electronic cymbal (see Japanese Patent Unexamined 50                  ing portion of the first frame from below, the surround-
     Application Publication No. 10-207451) made by combin-                   ing portion surrounding the head portion.
     ing two disk-shaped frames having different sizes so as to            Further, in the first electronic pad, it is a preferable mode
     enhance a sense of performance and a performance quality.          that the second frame has a concave portion around the
     In addition, there are proposed an electronic cymbal (see          attachment hole on a lower surface of the second frame, the
     Japanese Utility Model Examined Application Publication 55 concave portion having a trough extending in a predeter-
     No. 4-3358) wherein a cushion material is bonded to and a          mined direction and hollowed into a wedge shape, an upper
     striking sensor is attached to the surface of a disk-shaped        surface of the concave portion has an insertion hole at a
     metallic cymbal and a cymbal sound according to the output         center and has such a shape as to protrude in a wedge shape
     of the striking sensor is produced, and an electronic cymbal       having a ridge extending in the predetermined direction, the
     (see Japanese Patent Unexamined Application Publication 60 pole is inserted into the insertion hole to allow the second
     Nos. 11-184459 and 11-272266) enabling a striking sound            frame to be supported by a rotation stopper member fixed to
     (or vibration sound) for which volume is to be lowered             the pole from below.
     without decreasing a striking sensation by providing many             In this case, it is preferable that the concave portion is
     small holes bored in a disk-shaped metallic cymbal and the         rockably fitted into the rotation stopper member with result-
     like.                                                           65 ing play.
        Nevertheless, the above-stated electronic cymbal formed            Also, the second electronic pad among the electronic pads
     out of hard resin disadvantageously has a problem in that the      according to the present invention attaining the above object
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     is an electronic pad receiving a strike on an upper surface,                Here, in the third electronic pad, it is preferable that the
     detecting the strike, and outputting a signal representative of          third sheet sensor extends to only a part in the circumfer-
     the strike, the electronic pad characterized by comprising:              ential direction.
        a disk-shaped first frame;                                               Further, the fourth electronic pad among the electronic
        a cover covering an upper surface of the first frame,            5    pads according to the present invention attaining the above
           having a cup portion formed on a central portion of the            object is an electronic pad receiving a strike on an upper
           cover, a space formed between the cup portion and the              surface, detecting the strike, and outputting a signal repre-
           upper surface of the first frame, the cover excluding the          sentative of the strike; the fourth electronic pad character-
           cup portion spreading to contact with the first frame;             ized by comprising:
           and                                                           10      a disk-shaped first frame;
        a striking sensor detecting the strike transmitted to the                a cover covering an upper surface of the first frame,
           first frame through the cover.                                           having a cup portion formed on a central portion, a
        Here, in the second electronic pad, it is preferable that the               space formed between the cover and the upper surface
     cover has a dome-shaped core on the central portion, thereby                   of the first frame, the cover excluding the cup portion
     forming the cup portion on the central portion, and the cover       15         spreading to contact with the first frame;
     excluding the core being formed out of a softer material than               a striking sensor adhering to a portion of the first frame,
     a material for the first frame.                                                the portion covered with the cup portion formed on the
        In addition, in the second electronic pad, it is a preferable               central portion of the cover;
     mode that the first frame has an outer peripheral edge portion              a first sheet sensor formed on the first frame, provided at
     formed downward by an annulus step; and                             20         a portion put between the first frame and a dome-
        that a portion covering the outer peripheral edge portion                   shaped peripheral edge portion formed on the central
     of the cover is formed to be thick so that an upper surface                    portion of the cover, and detecting a strike applied to
     of the cover becomes fiat by absorbing the step.                               the cup portion;
        Moreover, in the second electronic pad, it is a preferable
                                                                                 a second sheet sensor provided on an upper surface of a
     mode that the cover has such a shape as to spread outside           25         peripheral edge portion of the first frame, and detecting
     compared with a peripheral edge of the first frame and
                                                                                    a strike applied to the peripheral edge portion; and
     folded toward a rear surface side of the peripheral edge of
                                                                                 a third sheet sensor provided on a lower surface of the
     the first frame.
                                                                                    peripheral edge portion of the first frame, and detecting
        Further, in the second electronic pad, it is preferable that
                                                                                    an operation with respect to the lower surface of the
     the first frame has such a shape that a peripheral edge portion     30         peripheral edge portion.
     of the first frame is cut off over a predetermined angle range
                                                                                 Here, it is preferable that the fourth electronic pad com-
     along a peripheral edge of the first frame; and
                                                                              prises:
        that a portion of the cover is formed out of more material
     per unit length along the peripheral edge than a material for               a first jack outputting signals from a channel connected to
     a part covering an uncut part of the peripheral edge portion,                  the striking sensor and from a channel connected to the
                                                                         35
     the portion covering the cut-off portion of the peripheral                     first and third sheet sensors; and
     edge portion of the first frame.                                            a second jack outputting signals from the channel con-
        Furthermore, in the second electronic pad, it is preferable                 nected to the striking sensor and from a channel con-
     that the striking sensor adheres to a portion of the first frame,              nected to the second sheet sensor. In this case, it is
     the portion covered with the cup portion formed on central                     preferable that the electronic pad is rockably attached
                                                                         40
     portion of the cover.                                                          to a pole around a predetermined horizontal axis; and
        In addition, it is preferable that the second electronic pad             that the first jack and the second jack are provided near the
     comprises a first sheet sensor formed on the first frame,                      horizontal axis. It is also a preferable mode that the
     provided on a portion put between the first frame and a                        electronic pad comprises a second frame formed out of
     dome-shaped peripheral edge formed on the central portion                      a softer material than a material for the first frame,
                                                                         45
     of the cover, extending in a circumferential direction, and                    supporting the first frame from below, and supported by
     detecting a strike applied to the cup portion. In this case, it                the pole; and
     is also a preferable mode that the first sheet sensor extends               the first jack and the second jack are fixed to the second
     to only a portion in a circumferential direction.                              frame.
        Further, it is preferable that the second electronic pad         50         BRIEF DESCRIPTION OF THE DRAWINGS
     comprises a second sheet sensor provided on an upper
     surface of a peripheral edge portion of the first frame, and                FIG. 1 is a perspective view of an electronic pad used as
     extending to only a part in a circumferential direction.                 an electronic cymbal in the first embodiment according to
        The third electronic pad among the electronic pads                    the present invention;
     according to the present invention attaining the above                      FIG. 2 shows a part of a cover covering the upper surface
                                                                         55
     object, is an electronic pad receiving a strike on an upper              of the electronic pad;
     surface, detecting the strike, and outputting a signal repre-               FIG. 3 is a cross-sectional view of the electronic pad,
     sentative of the strike, the third electronic pad characterized          which view is taken along line A-A of FIG. 1;
     by comprising:                                                              FIG. 4 is a cross-sectional view of the electronic pad,
        a disk-shaped first frame;                                       60   which view is taken along line B-B of FIG. 1;
        a striking sensor detecting the strike transmitted to the                FIG. 5 is a perspective view showing the electronic pad
           first frame; and                                                   from obliquely downward direction;
        a third sheet sensor provided on a lower surface of a                    FIG. 6 is a conceptual view showing a state in which the
           peripheral edge portion of the first frame, extending in           electronic pad is struck;
           a circumferential direction, and detecting an operation       65      FIG. 7 is a conceptual view showing a state in which the
           with respect to the lower surface of the peripheral edge           outer peripheral edge portion of the electronic pad is nipped
           portion.                                                           with fingers to perform a silencing operation;
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        FIG. 8 is a wiring diagram of a jack section for transmit-         FIG. 3 is a cross-sectional view of the electronic pad 1
     ting an output signal from each sensor to a sound source;          shown in FIG. 1, which view is taken along line A-A of
        FIG. 9 shows a state in which an electronic pad having a        FIG. 1. FIG. 3(b) is an enlarged view showing the neigh-
     tip end portion employing a sharper rotation stopper member        borhood of the center of FIG. 3(a) excluding the pole 10, the
     than a rotation stopper member shown in FIG. 1 is struck and     5 wing nut 13, the metallic washer 12 and the felt washer 11
     inclined;                                                          for convenience sake. The first frame 3 is made of a hard
        FIG. 10 shows an electronic pad in the second embodi-           material and has an opening portion 3c at the center thereof.
     ment according to the present invention and showing a state        The upper surface and the lower side of the peripheral edge
     in which a part of the outer peripheral edge portion of a          portions of the first frame 3 excluding the upper surface of
     frame is cut off and that the left half of a cover covering the 10 the central opening portion 3c are covered with the cover 2.

     upper surface of this frame is cut out; and                        ABS, polycarbonate or the like is used as a material for the
                                                                        first frame.
        FIG. 11 shows an acoustic cymbal.
                                                                           The first frame 3 also has an outer peripheral edge portion
                DETAILED DESCRIPTION OF IBE                             3b having an annulus step 3a constituting the outer periph-
                              INVENTION                              15 ery of the first frame 3 and formed downward. The outer
        The embodiments of the present invention will be                peripheral edge portion 2b of the cover 2 contacting with the
     described hereinafter.                                             outer peripheral edge portion 3b of the first frame 3 is
        FIG. 1 is a perspective view of an electronic pad 1 used        formed to be thicker by as much as the step 3a, whereby the
     as an electronic cymbal in the first embodiment according to       upper surface of the portion contacting with the step 3a is
     the present invention.                                          20 formed fiat. That; is, the upper surface of the electronic pad

        The electronic pad 1 shown in FIG. 1 can be divided into        1 is formed in such a shape as not to appear as if the step 3a
     a cup portion 30 surrounding a central opening portion la          is present. By thus forming the step 3a, the first frame 3 has
     and bulging in a dome shape, an outer peripheral edge              uniform vibration and the outer peripheral edge portion 3b
     portion 32 and a bow portion 31 between the cup portion 30         is suppressed from vibrating. Accordingly, vibration attenu-
     and the edge portion 32.                                        25 ates relatively promptly, so that even if this electronic pad 1

        The upper surface of the electronic pad 1 is covered with       is continuously struck, it is possible to accurately detect the
     a cover 2. As shown in FIG. 3, a dome-shaped core 19 is            striking  position and the striking force for each strike.
     formed integrally with the central portion of the cover 2 to       Besides, the appearance of the upper surface is similar to
     thereby form the cup portion 30 (see FIG. 1). As a material        that of the acoustic cymbal, ensuring a good striking sen-
                                                                     30 sation.
     for this cover, rubber elastomer having both elasticity which
     is an excellent feature of rubber and productivity which is an        Further, since the outer peripheral edge portion 2a is
     excellent feature of plastic, or the like is used.                 formed to be spread outside compared with the outer periph-
        FIG. 2 is a cross-sectional view showing a part of the          eral edge portion 3b of the first frame 3, the edge portion 32
     cover 2 covering the upper surface of the electronic pad 1. 35 tends to be deformed when struck. As a result, it is possible
        Concentric irregularity processing is conducted to the          to reproduce a feeling that the edge portion of the acoustic
     upper surface of the cover 2 covering the upper surface of         cymbal is deformed to absorb impact.
     the electronic pad 1. Through this processing, irregularities         FIG. 3(b) shows the second frame 4. The second frame 4
     having, for example, a groove width of 2 mm, a pitch of 4          consists of a head portion 4a protruding upward from the
     mm (2 mm between grooves) and a depth of 0.1 mm are 40 central opening portion 3c of the first frame 3, a shoulder
     formed on the upper surface of the cover 2.                        portion 4b supporting the lower peripheral edge of the
        Further, a coating treatment is applied to the upper surface    opening portion 3c from below and an arm portion 4c
     of the cover 2 to coat rubber primer onto the upper surface        supporting   the lower surface of a region corresponding to
     thereof by dipping, brushing, spraying or the like, whereby        the bow portion 31 shown in FIG. 1 from below.
     the surface of the cover 2 has a low friction factor and 45           An attachment hole 4d vertically penetrating the second
     improved abrasion resistance. As a result, a stick slides on       frame 4 is provided at the center of the head portion 4a of
     the electronic pad 1 similarly to a case where a metallic          the second frame 4 as shown in FIG. 3(b). Also, a concave
     acoustic cymbal is struck with the stick and the abrasion of       portion 4e fitted into a rotation stopper member 9 to be
     the rubber after the electronic pad 1 is struck with sticks for    described later and hollowed in a wedge shape with a trough
     a long period of time can be decreased. This cover 2 may be 50 extending in a predetermined direction is provided around
     formed out of a material having the same advantage as the          the attachment hole 4d. A softer material, such as rubber,
     above-stated surface treatment and softer than the first frame     than the material for the first frame 3 is used for the second
     3 to be described later. In addition, the surface treatment        frame 4.
     such as the coating of rubber primer stated above is applied          FIG. 3 also shows a piezoelectric sensor 5 provided on the
     to a sliding portion 2b pressing an edge upper portion sheet 55 lower surface of the first frame 3, covered with the arm
     sensor 7 and a portion supporting an edge lower portion            portion 4c of the second frame 4 and contacting with a
     sheet sensor 6 from below on the rear surface of the outer         player side. This piezoelectric sensor 5 detects the struck
     peripheral edge portions 2a of the cover 2 so as to prevent        surface of the electronic pad and a strike against the periph-
     abrasion. By covering the first frame 3 with the cover 2, the      eral edge of the struck surface.
     upper surface of the electronic pad 1 enables a stick to have 60      In this case, since the portion of the first frame 3 provided
     good bounce.                                                       with the piezoelectric sensor 5 is covered with the dome-
        The screw portion lOa of a pole 10 supporting the               shaped portion of the cover 2, it is possible to prevent the
     electronic pad 1 from below, a wing nut 13 screwed with the        portion right above the piezoelectric sensor 5 from being
     screw portion lOa, a metallic washer 12 and felt washer 11,        directly struck with a stick. Accordingly, the magnitude of a
     which will be described later, are shown in this order from 65 signal outputted from the piezoelectric sensor 5 is not largely
     above on the central opening portion la of the electronic pad      changed according to the struck position and the piezoelec-
     1.                                                                 tric sensor 5 has good sensitivity distribution characteristics,
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     thereby further enhancing detection accuracy for a striking          32 shown in FIG. 1 or the like. In addition, the cup portion
     force and striking position.                                         sheet sensor 8 is provided at a position at which the bottom
        It is assumed that this electronic pad 1 is struck only on        30a of the cup portion 30 at the center of the electronic pad
     the right half thereof. In FIG. 3, the piezoelectric sensor 5,       1 is proximate to the first frame 3 to contact with the upper
     and an edge upper portion sheet sensor 7, an edge lower 5 surface of the first frame 3.
     portion sheet sensor 6 and a cup portion sheet sensor 8 to be           The cup portion 30 of the electronic pad 1 shown in a
     described later are provided only on substantially the right         dome shape in FIG. 2 is formed out of the cover 2 integrally
     half but not on the left half thereof.                               formed with the core 19. If the cup portion 30 is struck, the
        To be specific, the cup portion sheet sensor 8 is provided        peripheral edge portion of the core 19 presses the cup
     to spread over about 2/3 of the upper surface of the peripheral 10 portion sheet sensor 8 through the inner surface of the
     edge portion of the opening of the first frame 3 covered with        peripheral edge portion of the cup portion 30 of the cover 2.
     the cover 2 (at 120 degrees left and right relative to a             As a result, this cup portion sheet sensor 8 detects a strike
     player's position, respectively). The edge upper portion             against the cup portion 30.
     sheet sensor 7 and the edge lower portion sheet sensor 6 are            As already stated above, the concave portion 4e formed to
     provided to spread about 1/3 of the outer peripheral edge 15 be hollowed in a wedge shape and having a trough spread in
     portion of the first frame 3 (at 60 degrees right and left           a predetermined direction is formed on the central lower
     relative to the player's position, respectively).                    surface of the head portion 4a of the second frame 4. On the
        Here, the concave portion 4e of the second frame 4 and            other hand, as shown in FIG. 3(b), the rotation stopper
     the rotation stopper member 9 are fitted into each other to          member 9 has a tip end portion 9a fitted into the concave
     prevent the rotation of the electronic pad 1, thereby making 20 portion 4e, having a ridge in a predetermined direction and
     it possible to restrict a striking range.                            protruding in a wedge shape.
        By thus restricting the striking range, it is possible to            Further, the rotation stopper member 9 has a penetrating
     dispense with a sensor to be provided out of the striking            hole 9b, as shown in FIG. 3(b), through which the pole 10
     range and to thereby decrease manufacturing cost.                    supporting the electronic pad 1 enters from below. This
                                                                       25
        It is noted that the circumferential angle (120 degrees           penetrating hole 9b is formed such that the diameter thereof
     right and left, respectively) of the cup portion sheet sensor        is reduced once on the way from lower to upper directions.
     8 is wider than those of the edge upper portion sheet sensor            Meanwhile, this pole 10 has a tip end portion lOb formed
     7 and the edge lower portion sheet sensor 6. This is because         to be fitted into the penetrating hole 9b, i.e., formed to have
     the sensor must deal with a case where the electronic pad 1 30 a reduced diameter on the way to the tip end. The rotation
     is struck by a portion near the center of the stick 20 from a        stopper member 9 is fixed to the pole 10 by a fastener 15
     lateral direction in addition to a case where the electronic         shown in FIG. 3 in a state in which the tip end portion lOb
     pad 1 is struck by the tip portion (tip end portion) of the stick    of the pole 10 is penetrated into the rotation stopper member
     20 from longitudinal direction as shown in FIG. 6.                   9.
        In this embodiment, description has been given to a case 35          Furthermore, a screw portion lOa is provided on the very
     where the cup portion sheet sensor 8 is provided to spread           tip end of the pole 10. The screw portion lOa protrudes
     about 2/3 of the upper surface of the peripheral portion of the      upward, compared with the upper surface of the head portion
     opening. This is intended to reduce cost and the cup portion         4a of the second frame 4 and screwed with the wing nut 13
     sheet sensor 8 may be provided on the entire periphery on            while the head portion 4a of the second frame 4, the felt
     the upper surface of the opening peripheral edge portion. 40 washer 11 and the metallic washer 12 are put between the
        Here, the second frame 4 is formed out of a softer                screw portion lOa and the rotation stopper member 9. The
     material, such as rubber, than that of the first frame 3 as          electronic pad 1 is fixed to the pole 10 by the wing nut 13.
     already described above and structured so that the shoulder             In other words, the electronic pad 1 is supported by the
     portion 4b supports the first frame 3. The second frame 4 is,        pole 10 fixing the rotation stopper member 9 having the tip
     therefore, fixed to the pole 10 of a stand to be described later. 45 end portion 9a fitted into the concave portion 4e of the
     As a result, the first frame 3 is not fixed to the stand and         second frame 4, from below.
     vibration generated at the first frame 3 is smoothly propa-
     gated onto the first frame 3. Thus, the piezoelectric sensor 5          Here, since the concave portion 4e of the second frame 4
     can accurately detect vibration generated at the first frame 3       is fitted into the tip end portion 9a of the rotation stopper
     after the surface and the peripheral edge of the surface of the 50 member 9, the rotation of the electronic pad 1 about the pole
     electronic pad 1 are struck.                                         10 as a rotary shaft is prevented. This can prevent the output
                                                                          cable 14 of the electronic pad 1 to be described later from
        Further, the cover 2 is provided to cover even the lower
                                                                          being entwined about the pole 10 and being pulled by the
     side of the outer peripheral edge portion 3b of the first frame
                                                                          pole 10.
     3. The edge lower portion sheet sensor 6, which is one
     example of an operation sensor according to the present 55              FIG. 4 is a cross-sectional view of the electronic pad 1
     invention, is provided between the lower surface of the outer        shown in FIG. 1, which view is taken along line B-B of
     peripheral edge portion 3b of the first frame 3 and the cover        FIG. 1.
     2 provided on the lower side of this outer peripheral edge              FIG. 4 shows the above-stated fastener 15 for fixing the
     portion. This edge lower portion sheet sensor 6 detects              rotation stopper member 9 to the pole 10 and a screw 16 for
     pressure generated by the silencing operation of the player 60 fixing the second frame 4 to the first frame 3. In FIG. 4, the
     but does not detect a strike.                                        cup sheet sensor 8 is provided on each of the right and left
        Furthermore, the edge upper portion sheet sensor 7 is             sides of the electronic pad 1. The reason is as follows. The
     provided between the upper surface of the outer peripheral           cross-sectional view of FIG. 4 differs from that of FIG. 3 by
     edge portion 3b of the first frame 3 and the cover 2 covering        90 degrees and illustrates a cross section if this electronic
     the upper surface of this outer peripheral edge portion 3b. 65 pad 1 is viewed from a player's position.
     This edge upper portion sheet sensor 7 detects pressure                 Further, FIG. 4 shows an output jack 18 and an output
     generated by the striking of the outer peripheral edge portion       cable 14 for transmitting respective output signals from the
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     piezoelectric sensor 5, the edge lower portion sheet sensor 6,         positions and the silencing operation (the choke of the edge
     the edge upper portion sheet sensor 7 and the cup portion              portion). Table 1 shows the correspondence.
     sheet sensor 8 to a sound generating device which is not
     shown.                                                                                            TABLE 1
        The output jack 18 is provided in a space between the arm 5                                                          Edge        Edge
     portion 4c of the second frame 4 and the lower surface of the                                               Cup        upper        lower
     first frame 3 and fixed to the second frame 4 through an                                       Piezo-     portion     portion      portion
     output jack holder 17. Since the second frame 4 is formed                                     electric     sheet        sheet       sheet
                                                                                                    sensor     sensor       sensor      sensor
     out of a softer material, such as rubber, than that of the first
     frame 4 as already stated above, the second frame 4 is 10 Performance on cup                   Output       ON          OFF          OFF
     slightly deformed by pulling the output cable 14 or by the           portion
                                                                          Performance on bow        Output      OFF          OFF          OFF
     vibration of the electronic pad 1, thereby preventing the
                                                                          portion
     output jack and the like from being broken. This output jack         Performance on edge       Output      OFF           ON          OFF
     18 consists of two jacks, i.e., the first output jack 110 and the    portion
     second output jack 120 (see FIG. 8). Output signals from the      15 Choke of edge           No output     OFF           ON          ON
                                                                          portion
     respective sensors stated above are outputted from the first
     output jack 110 and the second output jack 120, passed
     through the output cable 14 and transmitted to the sound                 The piezoelectric sensor 5 outputs a signal if any of the
     generating device which is not shown. In this embodiment,            cup portion 30, the bow portion 31 and the edge portion 32
     although the number of sensors differs from the number of 20 shown in FIG. 1 is struck and the sensor 5 is turned off when
     terminals, the signals from the respective sensors can be            choking the edge portion. Also, the cup portion sheet sensor
     transmitted to the sound generating device, which will be            8 is turned on only when the cup portion 30 is struck. The
     described later.                                                     edge upper portion sheet sensor 7 is turned off while a player
        FIG. 5 is a perspective view showing the electronic pad 1 25 is performing on the electronic pad 1 using the cup portion
     from an obliquely downward direction. FIG. 5 shows the               30 and the bow portion 31, and the sensor 7 is turned on
     cover 2 provided to spread over the lower side to encompass          when striking the edge portion 32 and when choking the
     the outer peripheral edge of the first frame 3 as stated above.      edge portion.
     FIG. 5 also shows a state in which the electronic pad 1 is               The edge lower portion sheet sensor 6 is turned on only
     supported by the pole 10 to which the rotation stopper 30 when choking the edge portion. That is to say, the edge lower
     member 9 is fixed. As shown in FIG. 5, the second frame 4            portion sheet sensor 6 does not react to strike and only
     is fixed to the lower surface of the first frame 3 on several        detects an operation carried out to the peripheral edge
     portions by screws 16.                                               portion of the electronic pad 1, i.e., the choke of the edge
        FIG. 6 is a conceptual view showing that the cup portion          portion.
     30 at the center of the electronic pad 1 shown in FIG. 1, the 35         FIG. 8 is a wiring diagram of the jack portion for
     bow portion 31 at the intermediate position thereof and the          transmitting output signals from the respective sensors to a
     edge portion 32 on the outer peripheral edge thereof are             sound source.
     struck with the stick 20, respectively. FIG. 7 is a conceptual           FIG. 8 shows two terminals Al and A2 connected to the
     view showing a state in which a silencing operation is               first output jack 110 and two terminals Bl and B2 connected
     performed by nipping the outer peripheral edge of the 40 to the second output jack 120. Output signals from the
     electronic pad 1 with fingers.                                       piezoelectric sensor 5 are transmitted to both the terminal Al
                                                                          and terminal Bl. The edge lower portion sheet sensor 6 and
        Here, if the strike or the silencing operation shown in
                                                                          the cup portion sheet sensor 8 are connected to the terminal
     FIGS. 6 and 7 are conducted to the electronic pad 1, the
                                                                          A2. However, as shown in Table 1, there is not timing at
     piezoelectric sensor 5, the edge lower portion sheet sensor 6,
                                                                       45 which both the edge lower portion sheet sensor 6 and the cup
     the edge upper portion sheet sensor 7 and the cup portion
                                                                          portion sheet sensor 8 are turned on simultaneously. Besides,
     sheet sensor 8, shown in FIG. 3, detect vibration and
                                                                          it is possible to determine which is turned on, the edge lower
     pressure. Output signals from the respective sensors are
                                                                          portion sheet sensor 6 or the cup portion sheet sensor 8, by
     combined by a circuit shown in FIG. 8, outputted from the
                                                                          checking the output of the piezoelectric sensor 5.
     output jack 18, i.e., the first output jack 110 and the second
                                                                       50 Accordingly, output signals from both the edge lower por-
     output jack 120, passed through the output cable 14 and
                                                                          tion sheet sensor 6 and the cup portion sheet sensor 8 can be
     transmitted to the sound generating device which is not
                                                                          outputted from the terminal A2.
     shown.
                                                                              Further, the edge upper portion sheet sensor 7 is con-
        The sound generating device stores tones imitating the            nected to the terminal B2 of the second output jack 120.
     typical tones of the respective regions produced from an 55              Table 2 shows the correspondence between outputs from
     acoustic cymbal and outputted, i.e., a so-called cup tone, a         the respective terminals and assigned tones.
     so-called bow tone and a so-called edge tone if the regions
     of the acoustic cymbal corresponding to the cup portion 30
                                                                                                       TABLE 2
     at the center of the electronic pad 1, the bow portion 31 at
     the intermediate position thereof and the edge portion 32 on 60                                                            Silencing
     the outer peripheral edge thereof shown in FIG. 1 are struck.                                          Sound producing condition
                                                                                                  Assigned condition            (sensor
     Based on the combination of the output signals transmitted
                                                                          Input         Terminal  tone      (sensor output)     output)
     through the output cable 14, the sound generating device
     produces tones corresponding to the struck regions or                First         Al        Bow tone Piezoelectric        Edge lower
     silences the tones.                                                  output jack                       sensor only         portion
                                                                       65                A2         Cup tone   Piezoelectric    sheet
       Next, description will be given to the correspondence                                                   sensor +cup      sensor only
     among the outputs of the respective sensors, the striking
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                                                                                even if the bow tone is overlapped with the edge tone and
                              TABLE 2-continued                                 produced, the influence is almost negligible. If the sound
                                                                                generating device stated above produces an edge tone, the
                                                             Silencing          emission of the bow tone may be controlled.
                                           Sound producing   condition
                               Assigned    condition         (sensor       5       Moreover, as shown in FIG. 7, by performing an operation
     Input         Terminal    tone        (sensor output)   output)            for nipping the peripheral edge of the struck surface of the
                                           portion sheet
                                                                                electronic pad 1 with fingers (the choke of the edge portion),
                                           sensor                               the signals of the edge lower portion sheet sensor 6 and the
     Second        Bl          Toneless    Piezoelectric     Edge upper         edge upper portion sheet sensor 7 are transmitted from the
     output jack                           sensor only       portion       10   terminals A2 and B2 to the sound generating device and the
                   B2          Edge tone   Piezoelectric     sheet
                                           sensor + edge     sensor only
                                                                                sound generating device performs a silencing operation.
                                           upper portion                           Furthermore, the sound generating device monitors not
                                           sheet sensor                         only the presence and absence of the output of the piezo-
                                                                                electric sensor 5 but also the magnitude of the output signal
                                                                           15
        In this case, only the first output jack 110 or only the                of the piezoelectric sensor 5. To produce the above-stated
     second output jack 120 can be connected to the sound                       respective tones, the sound generating device generates the
     generating device. If only the first output jack 110 is                    respective tones with volumes according to the magnitude of
     connected, the sound generating device produces a cup tone                 the output signal of the piezoelectric sensor 5. Normally, a
     and a bow tone and silence tones. If only the second output 2              sheet sensor detects on/off states as in the case of a switch.
     jack 120 is connected, the sound generating device produces           °    Compared with a conventional method or the like for
     only an edge tone and silence tones.                                       allowing a piezoelectric sensor or the like to monitor vibra-
        If the output signal of the piezoelectric sensor 5 is                   tion resulting from a strike and to determine a striking
     outputted from the terminal Al of the first output jack 110                position and then for selecting a tone, a method in which a
     and no signal is outputted from the terminal A2 of the first 25            sheet sensor is used and whether or not the sheet sensor is
     output jack 110, a bow tone is assigned as a produced tone.                turned on is monitored enables faster tone selection. In this
     If signals are outputted from both the terminals Al and A2                 embodiment, the sheet sensors are used and, therefore, it is
     of the first output jack 110, a cup tone is assigned. If the               possible to produce tones such as a cup tone used for
     output signal of the piezoelectric sensor 5 is not outputted               emphasis, i.e., tones required to be produced promptly for a
     from the terminal Al of the first output jack 110 and 30                   musical performance, the above-stated edge, tone and the
     outputted from the terminalA2 thereof (in this case, the edge              like. In this case, after the sound generating device promptly
     upper portion sheet sensor 6 is turned on), then silencing                 starts producing the tone with a certain volume, the sound
     operation is performed.                                                    generating device carries out an envelope processing to
                                                                                make the volume correspond to a striking sound.
        Further, if a signal is outputted from the terminal Bl of the
     second output jack 120 and no signal is outputted from the 35                 As can be seen, in this embodiment, tones corresponding
     terminal B2 thereof, then none of the tones are produced and               to struck regions such as the struck surface and peripheral
     silence is maintained. If signals are outputted from both the              edge of the struck surface of the electronic pad 1 are
     terminals Bl and B2, an edge tone is produced. Further, if                 produced with a volume corresponding to a striking force,
     no signal is outputted from the terminal Bl and a signal is                and the tone which is being produced is promptly silenced
     outputted from the terminal B2, i.e., the edge upper portion 40            by the silencing operation shown in FIG. 7, compared with
     sheet sensor 7 is turned on, then a silencing operation is                 a conventional method.
     performed. At this moment, a combination of the output of                     Even if only the first output jack 110 out of the first output
     the piezoelectric sensor 5 and that of the edge upper portion              jack 110 and the second output jack 120 is connected to the
     sensor 7 can instantly detect a silencing operation (edge                  sound generating device, the edge lower portion sheet sensor
     choking) without using the edge lower portion sheet sensor 45              6 provided at a position at which the sensor does not react
     6. It is noted, however, that the electronic pad 1 requires, as            to a strike may be turned on by the silencing operation. By
     a whole, the edge lower portion sheet sensor 6 which detects               doing so, a player can promptly silence a cup tone and a bow
     the choke of the edge portion but does not detect a strike, so             tone which are being produced compared with a conven-
     as to instantly detect a silencing operation (the choke of the             tional method.
     edge portion).                                                   50           FIG. 9 shows a state in which the electronic pad 1
        As can be seen from the above, if the cup portion 30 of                 supported by the pole 10 is struck with the stick 20 and
     the electronic pad 1 shown in FIG. 1 is struck, signals are                inclined. The rotation stopper member 21 shown in FIG. 9
     transmitted from the respective terminals of the terminals                 has a sharper wedge-shaped tip end portion 2la than the
     Al, A2 and Bl to the sound generating device and the sound                 rotation stopper member 9 shown in FIG. 3. Due to this, the
     generating device produces a cup tone. Likewise, if the 55                 wedge shape of the tip end portion 2la of the rotation
     intermediate bow portion 31 is struck, signals are transmit-               stopper member 21 is not completely fitted into the concave
     ted from both the terminals Al and Bl to the sound                         portion 4e of the second frame 4, i.e., there is some play. As
     generating device and the sound generating device produces                 a result, as shown in FIG. 9, when being struck, the
     a bow tone. If the edge portion 32 on the outer peripheral                 electronic pad 1 is easily inclined.
     edge of the electronic pad 1 is struck, signals are transmitted 60            As stated above, a plurality of types of rotation stopper
     from the terminals Al, Bl and B2 to the sound generating                   members having different wedge angles are prepared and
     device and the sound generating device produces an edge                    used depending on the magnitude or weight of an acoustic
     tone. As shown in Table 2, when an edge tone is produced,                  cymbal imitated by the electronic pad 1, whereby it is
     a bow tone is produced as well. The edge tone is often used                possible to adjust the degrees of vibration resulting from a
     for emphasis and the volume thereof is set large while the 65              strike and differing cymbals and to perform on the electronic
     bow tone is masked by the edge tone and the edge tone                      pad similarly to the acoustic cymbal while preventing the
     inherently includes the feature of the bow tone. Due to this,              rotation of the struck surface. Besides, it is possible to adjust
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     the degree of vibration according to the degree at which the           only on the half of the electronic pad on the player side,
     wing nut 13 of the screw portion lOa of the pole 10 is                 manufacturing cost can be reduced.
     fastened.                                                                 Moreover, by partially cutting off the outer peripheral
        Alternatively, the rotation member is fixed to one type             edge portion 43a of the frame 43, the shape of the frame 43
     capable of sufficiently vibrating and a spacer, an adapter or     5    is not rotationally symmetrical and the rigidity of the frame
     the like is used to adjust the gap between the rotation stopper        43 is off balance. By contrast, since the shape of the cover
     member and the concave portion 4e of the second frame 4.               2 is partially different as already stated above, the weight
     By doing so, it is possible to perform on the electronic pad           balance of the electronic pad 41 about the penetrating hole
     1 similarly to the acoustic cymbal which the electronic pad            4d is maintained but the rigidity of the frame 43 is slightly
     1 is to imitate, while preventing the rotation of the struck      10   off balance. Thus, acoustic resonance can be suppressed and
     surface.                                                               the electronic pad 41 in the second embodiment can further
        In addition, the central axis of the vibration of the               suppress unnecessary vibration generated on the frame 43.
     electronic pad 1 generated when the electronic pad 1 is                   While particular embodiments of the present invention
     struck is present in a cross section taken along line B-B as           have been shown and described, it will be obvious to those
     shown in FIG. 4. In this embodiment, since the output jack        15
                                                                            skilled in the art that the invention is not limited to the
     18 is arranged in the vicinity of the central axis of this             particular embodiments shown and described and that
     vibration, the vertical movement of the output cable 14                changes and modifications may be made without departing
     followed by the vibration can be suppressed. Accordingly, it           from the spirit and scope of the appended claims.
     is possible to prevent applying overload to the output cable              What is claimed is:
     14 itself caused by the weight of the output cable and to a       20
                                                                               1. An electronic pad receiving a strike, detecting the strike
     region to which the output cable 14 is connected and to,               and outputting a signal representative of the strike compris-
     therefore, expand the life of the electronic pad 1.                    ing:
        Next, the second embodiment according to the present                   a first frame;
     invention will be described.                                              a striking sensor detecting the strike transmitted to said
                                                                       25
        FIG. 10 shows an electronic pad 41 used as the second                      first frame; and
     embodiment according to the present invention. FIG. 10                    a second frame supporting said first frame from below,
     shows a frame 43 and a cover 42 covering the upper surface                    having an attachment hole with a pivotal joint; and
     of the frame 43. The left half of the cover 42 is removed so
                                                                               a rotation stopper member coupled to the second frame
     that the characteristic portions of the frame 43 to be            30          for preventing said first frame from circumferentially
     described later can be easily recognized. An outer peripheral
                                                                                   rotating about a pole of a stand, said pole being inserted
     edge portion 43a similar to the electronic pad 1 is provided
                                                                                   into said attachment hole, said attachment hole located
     on the outer peripheral edge of the frame 43 of the electronic
                                                                                   in said rotation stopper member, said pivotal joint being
     pad 41. A part 43b of the outer peripheral edge portion 43a
                                                                                   rockably fitted into said rotation stopper member with
     which part avoids a player's striking range is formed to be       35          resulting play.
     cut off as shown in FIG. 10.
                                                                               2. The electronic pad according to claim 1, wherein the
        A part 42b of the outer peripheral edge portion 42a of the          second frame is made of a softer material than a material for
     cover 42 is closely attached to this part 43b. Due to this, the        said first frame.
     part 42b of the cover 42 is formed into such a shape packed               3. The electronic pad according to claim 1, wherein said
     with a space corresponding to the part 43b obtained by            40   first frame has a larger opening portion than said attachment
     partially cutting off the frame 43.                                    hole of said second frame, the opening portion provided on
        The electronic pad 41 differs from the electronic pad 1             a central portion of the first frame; and
     shown in FIG. 1 only in two respects, i.e., that a part of the            said second frame includes a head portion having said
     outer peripheral edge portion 43a of the frame 43 is cut off                  attachment hole and inserted into said opening portion
     as stated above and that the shape of a part of the outer         45
                                                                                   from below in an upward direction, and a shoulder
     peripheral edge portion 42a of the cover 2 is changed.                        portion supporting a surrounding portion of said open-
     Accordingly, a protruding head portion 4a of the second                       ing portion of said first frame from below, the surround-
     frame 4 at the center of the electronic pad 41, a penetrating                 ing portion surrounding the head portion.
     hole 4d thereof and a cup portion sheet sensor 8 close to the             4. An electronic pad receiving a strike, detecting the strike
     center on the frame 43 shown in FIG. 10 as well as an edge        50
                                                                            and outputting a signal representative of the strike, com-
     upper portion sheet sensor 7 on the outer peripheral edge              prising:
     portion 43a of the frame 43 and the like are the same in type
                                                                               a first frame;
     as those used and shown in FIG. 3. Although not shown in
     FIG. 10, an edge lower portion sheet sensor 6 is provided on              a non-resonating cover covering an upper surface of said
     the lower surface of the outer peripheral edge portion 43a of     55
                                                                                   first frame, said covering having a cup portion formed
     the frame 43 as in the case of the electronic pad 1 shown in                  on a central portion of the cover; and
     FIG. 1.                                                                   a striking sensor detecting the strike transmitted to said
        Arrows C-C and D-D shown in FIG. 10 correspond to                          first frame through said cover;
     arrows A-A and B-B shown in FIG. 1, respectively. The                     wherein a space is formed between the cup portion and the
     edge upper portion sheet sensor 7, the edge lower portion         60          upper surface of the first frame, such that the cup
     sheet sensor 6 which is not shown, and the cup portion sheet                  portion of the cover makes no contact with said first
     sensor 8 in FIG. 10 are provided in the same range as that                    frame; and
     in which the corresponding sensors of the electronic pad 1                wherein said striking sensor adheres to a portion of said
     stated above are provided. That is, these sensors are arranged                first frame covered with the cup portion formed on the
     on the right half portion of FIG. 3, i.e., the lower right half   65          central portion of said cover.
     indicated by D-D of FIG. 10 and not arranged on the upper                 5. The electronic pad according to claim 4, wherein said
     left half indicated by D-D. Thus, by providing the sensors             cover has a dome-shaped core on the central portion, and
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                                                           US 6,632,989 B2
                                   15                                                                       16
        wherein portions of the cover other than the core are                    a first sheet sensor formed on said first frame between the
            formed out of a softer material than a material for said                 first frame and a dome-shaped peripheral edge portion
            first frame.                                                             formed on the central portion of said cover, and detect-
        6. The electronic pad according to claim 4, wherein                          ing a strike applied to said cup portion;
                                                                         5
        said first frame has an outer peripheral edge portion                    a second sheet sensor provided on an upper surface of a
            formed downward by an annulus step; and                                  peripheral edge portion of said first frame, and detect-
        wherein a portion of the cover covering said outer periph-                   ing a strike applied to the peripheral edge portion; and
            eral edge portion is thick, whereby an upper surface of              a third sheet sensor provided on a lower surface of the
            said cover contacting said step is fiat.                     10          peripheral edge portion of said first frame, and detect-
        7. The electronic pad according to claim 4, wherein said                     ing an operation with respect to the lower surface of the
     cover spreads beyond a peripheral edge of said first frame                      peripheral edge portion.
     and folds toward a rear surface side of the peripheral edge                 17. The electronic pad according to claim 16, further
     of the first frame.                                                      comprising
        8. The electronic pad according to claim 4, wherein said
                                                                         15      a first jack outputting signals from a channel connected to
     cover spreads over the entire rear surface side of the first
     frame.                                                                          said striking sensor and from a channel connected to
        9. The electronic pad according to claim 4, wherein said                     said first and third sheet sensors; and
     first frame is shaped such that a peripheral edge portion of                a second jack outputting signals from the channel con-
     the first frame is cut off; and                                     20
                                                                                     nected to said striking sensor and from a channel
        wherein a portion of said cover covering the cut off                         connected to said second sheet sensor.
            portion of the peripheral edge portion of said first frame           18. The electronic pad according to claim 17, wherein the
            is formed out of more material per unit length along the          electronic pad is rockably attached to a pole around a
            peripheral edge than a material for a portion of the              predetermined horizontal axis; and
            cover covering an uncut part of the peripheral edge          25      said first jack and said second jack are provided near said
            portion.                                                                 horizontal axis.
        10. The electronic pad according to claim 4, further
                                                                                 19. The electronic pad according to claim 17, wherein the
     comprising                                                               electronic pad comprises a second frame formed out of a
        a sheet sensor formed on said first frame, provided on a              softer material than a material for said first frame, supporting
            portion between the first frame and a dome-shaped            30   said first frame from below, and supported by the pole; and
            peripheral edge formed on said central portion of the                said first jack and said second jack are fixed to said second
            cover, extending in a circumferential direction, and                     frame.
            detecting a strike applied to said cup portion.                      20. The electronic pad according to claim 17, wherein said
        11. The electronic pad according to claim 10, wherein said            first jack and said second jack are fixed to said first frame.
     sheet sensor extends to only a portion of said first frame in       35
                                                                                 21. An electronic pad receiving a strike, detecting the
     a circumferential direction.                                             strike, and outputting a signal representative of the strike,
        12. The electronic pad according to claim 10, wherein said            comprising:
     sheet sensor extends over the entire first frame in a circum-
     ferential direction.                                                        a first frame;
        13. The electronic pad according to claim 4, further             40      a striking sensor detecting the strike transmitted to said
     comprising                                                                      first frame;
        a sheet sensor provided on an upper surface of a periph-                 a second frame supporting said first frame from below,
            eral edge portion of said first frame, and extending                     being rockably attached to a pole around a predeter-
            along no more than a part of the peripheral edge of said                 mined horizontal axis;
            first frame.                                                 45      a rotation stopper member coupled to the second frame
        14. The electronic pad according to claim 4, further                         for preventing said first frame from circumferentially
     comprising:                                                                     rotating about said pole, said pole being inserted into an
        a sheet sensor provided on an upper surface of a periph-                     attachment hole in said rotation stopper member; and
            eral edge portion of said first frame and extending                  a jack attached to the second frame and provided in
                                                                         50
            along the entire peripheral edge of said first frame.                    sufficiently close proximity to said horizontal axis in
        15. The electronic pad according to claim 4, wherein said                    order to minimize the stress placed on a cord attached
     first frame has a varying length from the center of the frame                   to the jack when the pad is rocking.
     to the edge of the frame.                                                   22. An electronic pad receiving a strike, detecting the
        16. An electronic pad receiving a strike on an upper                  strike, and outputting a signal representative of the strike,
                                                                         55
     surface, detecting the strike, and outputting a signal repre-            comprising:
     sentative of the strike; comprising:                                        a first frame;
        a disk-shaped first frame;                                               a non-resonating cover covering an upper surface of said
        a cover covering an upper surface of said first frame,                       first frame, said covering having a cup portion formed
            having a cup portion formed on a central portion of the      60          on a central portion of the cover, a space being formed
            cover, a space being formed between the cup portion                      between the cup portion and the upper surface of the
            and the upper surface of the first frame, such that the                  first frame, such that the cup portion of the cover makes
            cup portion of the cover makes no contact with said first                no contact with said first frame; and
            frame;                                                               a sheet sensor formed on said first frame between the first
        a striking sensor adhering to a portion of said first frame      65          frame and a dome-shaped peripheral edge portion
            covered with the cup portion formed on the central                      formed on the central portion of said cover, and detect-
            portion of said cover;                                                   ing a strike applied to said cup portion.
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                                                        US 6,632,989 B2
                                  17                                                                18
       23. The electronic pad according to claim 1, wherein the          a sheet sensor provided on an upper surface of a periph-
     first frame is disk-shaped.                                            eral edge portion of said first frame, and extending over
        24. The electronic pad according to claim 4, wherein the            the entire first frame in a circumferential direction.
     first frame is disk-shaped.                                         27. The electronic pad according to claim 24, wherein said
        25. The electronic pad according to claim 24, further 5
                                                                      first frame has a varying radius.
     comprising
                                                                         28. The electronic pad according to claim 21, wherein the
        a sheet sensor provided on an upper surface of a periph-
           eral edge portion of said first frame, and extending to    first frame is disk-shaped.
           only a part of said first frame in a circumferential          29.  The electronic pad according to claim 23, wherein the
           direction.                                              10 first frame is disk-shaped.
        26. The electronic pad according to claim 24, further
     comprising                                                                                * * * * *
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                          EXHIBIT H
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     c12)   United States Patent                                                    (10)   Patent No.:                      US 7,459,626 B2
            Yoshino et al.                                                          (45)   Date of Patent:                           Dec. 2, 2008

     (54)    APPARATUS AND METHOD FOR                                               5,872,416     A * 2/1999 Nogarede .............. 310/323.03
             DETECTING DISPLACEMENT OF A                                        2004/0262957      Al* 12/2004 Young et al. ............. 297/217.3
                                                                                2005/0145101      Al* 7/2005 Yoshino ... ... ... ... .. ... ... ... 84/723
             MOVABLE MEMBER OF AN ELECTRONIC
                                                                                2005/0145102      Al* 7/2005 Susarni . ... ... ... ... .. ... ... ... 84/735
             MUSICAL INSTRUMENT                                                 2005/0150349      Al* 7/2005 Susarni . ... ... ... ... .. ... ... ... 84/299
                                                                                2006/0099559      Al* 512006 Kohl et al. .................. 434/265
     (75)    Inventors: Kiyoshi Yoshino, Hosoe-cho (JP);                        2006/0139667      Al* 612006 Morimoto et al. ............ 358/1.9
                        Kazuhiro Arai, Hamamatsu (JP)                           200610156910      Al * 712006 Yoshino ....................... 84/723
                                                                                             FOREIGN PATENT DOCUMENTS
     (73)    Assignee: Roland Corporation, Hamamatsu (JP)
                                                                               JP                 04-014793                 1/1992
     ( *)    Notice:      Subject to any disclaimer, the term ofthis           JP                 09-097075                 4/1997
                          patent is extended or adjusted under 35              JP                2004-94036             *   3/2004
                          U.S.C. 154(b) by 272 days.                           * cited by examiner
     (21)    Appl. No.: 10/982,116                                             Primary Examiner-Marlon T Fletcher
                                                                               (74) Attorney, Agent, or Firm-Foley & Lardner LLP
     (22)    Filed:       Nov. 5, 2004
                                                                               (57)                            ABSTRACT
     (65)                     Prior Publication Data                           An apparatus for detecting the displacement of a movable
             US 2006/0096448 Al             May 11, 2006                       member of an electronic musical instrument. The apparatus
                                                                               has superior mechanical durability compared to displacement
     (51)    Int. Cl.                                                          sensors of the past and can withstand long-term use. The
             GJOH 3100                    (2006.01)                            apparatus includes a sensor that provides a detectable electri-
     (52)    U.S. Cl. ............................. 84/723; 84/725; 84/730;    cal characteristic having a value and a spring that, when
                                                             84/733; 84/734    compressed upon displacement of the movable member acts
     (58)    Field of Classification Search ....................... None       with the sensor, causing the value of the electrical character-
             See application file for complete search history.                 istic to change. The value of the electrical characteristic rep-
                                                                               resents the amount of displacement of the movable member
     (56)                     References Cited                                 and is used by a controller of the electronic musical instru-
                        U.S. PATENT DOCUMENTS                                  ment.

            5,474,289 A   *   12/1995 Pilling ................... 271/265.04                      27 Claims, 8 Drawing Sheets


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                        (a)
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                              llb




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                        14d                                          132d
                                                                     132c
                     FIG. IA                                         132e
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                                    14a                                   14c

                                                            14d
                                                 FIG. 1B
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                                      FIG. 4
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                (a)                                        37




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                                      FIG. 5A



                (b)




                                      FIG. 58
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                    FIG. 6A




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                                       FIG. 7
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           APPARATUS AND METHOD FOR                                        portion that is the cause of abrasion is excluded, the mechani-
          DETECTING DISPLACEMENT OF A                                      cal durability is superior and long-term use is possible.
        MOVABLE MEMBER OF AN ELECTRONIC                                       In addition, it is preferable that an embodiment of the
              MUSICAL INSTRUMENT                                           present invention be one in which the above mentioned sensor
                                                                           sheet is furnished with a sheet material that possesses elec-
             BACKGROUND OF THE INVENTION
                                                                           trical conductivity and with an electrode pattern that is dis-
                                                                           posed opposite the previously mentioned sheet material and is
      1. Field of the Invention
                                                                           formed by radial segments extending between the center of
      The present invention relates, generally, to electronic musi-
   cal instruments and, in preferred embodiments, to electronic       10
                                                                           the sensor sheet and its periphery.
   musical instruments having the capability of detecting the                 The direction over which the cone shaped coil spring
   amount of displacement of a pedal or of other movable mem-              presses the sensor sheet as the spring is compressed is from
   bers.                                                                   the outer periphery of the sensor sheet toward the centerofthe
      2. Description of Related Art                                        sensor sheet. The degree to which the spring presses the
      In electronic musical instruments, displacement sensors         15   sensor sheet is in proportion to the compression of the coil
   are used as sensors to detect the amount of displacement of,            spring. Since the electrode pattern described above is formed
   for example, a pedal.                                                   along the direction over which the spring presses the sensor
      Examples of prior methods for the detection of the amount            sheet, the resistance value of the above mentioned sensor
   of displacement are described below.                                    sheet changes with good efficiency due to the compression of
      Method 1: This is a method in which, for example, a dis-        20   the coil spring.
   placement sensor is configured with a rubber sensor that
                                                                              As has been explained above, an embodiment of the
   changes shape in conformance with the amount that a pedal is
   stepped on and a sensor sheet that is pressed by the rubber             present invention is superior in mechanical durability com-
   sensor as the rubber sensor changes shape. The resistance               pared to the displacement sensors of the past and can with-
   value of the sensor sheet changes in conformance with the          25   stand use for a long period of time.
   area of the sheet that is pressed.                                         These and other objects, features, and advantages of
      Method 2: This is a method in which the resistance value of          embodiments of the invention will be apparent to those
   a volume control changes in conformance with the amount                 skilled in the art from the following detailed description of
   that a pedal is stepped on.                                             embodiments of the invention, when read with the drawings
      The determination of the amount of displacement is pos-         30   and appended claims.
   sible with the use of any of the methods discussed above.
   However, in those cases where the displacement of a pedal is                    BRIEF DESCRIPTION OF THE FIGURES
   detected, the displacement sensor is required to have the
   durability to withstand the force that is repeatedly applied
   from the pedal over a long period of time. Each of the methods     35
                                                                              FIGS. la and lb are oblique view drawings that show a first
   mentioned above has problems such as those described                    preferred embodiment of the displacement sensor of the
   below.                                                                  present invention;
      In Method 1, when the rubber sensor is used over a long                 FIGS. 2a and 2b are drawings that shows the range in
   period of time and its shape is repeatedly changed in con-              which, when the conical coil spring is compressed and
   formance with the stepping operation of the pedal, the rubber      40   changes shape, the printed resistor sheet is pressed and comes
   sensor becomes deformed in shape such that it becomes                   into contact with a substrate having a conductive pattern, such
   impossible to accurately detect the amount that the pedal has           as a printed carbon substrate, due to the shape change;
   been stepped on.                                                           FIG. 3 is a lateral drawing that shows a partial cross-section
      In Method 2, when the volume control is used for a long
                                                                           of the state in which the displacement sensor has been
   period of time, the mechanical sliding portion is abraded and      45
                                                                           mounted in the pedal system of an electronic musical instru-
   that becomes a problem.
                                                                           ment;
              SUMMARY OF THE DISCLOSURE                                       FIG. 4 is a lateral drawing that shows a partial cross-section
                                                                           of the state in which the displacement sensor has been
      Therefore, it is an advantage of embodiments of the present     50   mounted between the upper cymbal and the lower cymbal of
   invention to provide an apparatus and method for providing a            an electronic high hat cymbal;
   displacement sensor that has superior mechanical durability                FIGS. Sa and Sb are lateral drawings that show an enlarged
   and that can withstand use over a long period of time.                  cross-section of the state in which the displacement sensor is
      An embodiment of the present invention that achieves the             mounted between the upper cymbal and the lower cymbal;
   object described above is characterized in that the displace-      55
   ment sensor is furnished with a sensor structure, such as a                FIGS. 6a and 6b are oblique view drawing that show a
   sensor sheet, for which the resistance value changes in con-            second preferred embodiment of the displacement sensor of
   formance with the area that has been pressed and a coil spring          the present invention;
   that has a conical shape. The wider end of said conical shape              FIGS. 7a and 7b are schematic drawings that show the state
   is in contact with the previously mentioned sensor sheet and       60   in which a portion of the resistive pattern of the base film has
   increases the area of pressing of said sensor sheet in propor-          come into contact with the metal pattern on the obverse sur-
   tion to the compression of the spring.                                  face of the substrate; and
      The coil spring with which an embodiment of the present                 FIG. 8 is a drawing that shows the change in the distance
   invention is furnished possesses durability with respect to the         between the contacted portions of the two locations shown in
   compression force that is received from the object that is         65   FIG. 7 that accompanies the increase in the portion of the
   displaced. In addition, since the displacement sensor is fur-           conical coil spring that is pushed and impacted on by the base
   nished with a structure in which the mechanical rubbing                 film.
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      DETAILED DESCRIPTION OF THE PREFERRED                                   The outer peripheral pattern 132a comprises a ring shaped
                  EMBODIMENTS                                              pattern that is disposed on the outer periphery of the substrate
                                                                           132 and a branch form pattern that extends from the inner
      In the following description of preferred embodiments,               circumference of the ring shaped pattern toward the center of
   reference is made to the accompanying drawings which form               the substrate 132. The branch form pattern of the outer periph-
   a part hereof, and in which is shown by way of illustration             eral pattern 132a is disposed between the branch form pattern
   specific embodiments in which the invention may be prac-                of the inner peripheral pattern 132b such that the former
   ticed. It is to be understood that other embodiments may be             branch form pattern does not come into contact with the latter
   utilized and structural changes may be made without depart-             branch form pattern. The ring shaped pattern of the outer
   ing from the scope of the preferred embodiments of the             10   peripheral pattern 132a is disconnected in one place near the
   present invention.                                                      protuberant section 132c such that the pattern does not inter-
      An explanation will be given below regarding preferred               sect with the terminal 132e of the inner peripheral pattern.
   embodiments of the present invention while referring to the             The linear pattern extends to the protuberant section 132c
   drawings.                                                               from one end of this pattern that is disconnected and becomes
      First, an explanation will be given regarding a first pre-      15   the electrical terminal 132d of the outer peripheral pattern. In
   ferred embodiment of the present invention.                             addition, carbon or another electrically conductive material is
      FIGS. l(a) and l(b) are oblique view drawings that show a            printed on the surface of the outer peripheral pattern 132a in
   first preferred embodiment of the displacement sensor of the            the same manner as the inner peripheral pattern 132b.
   present invention.                                                         The printed carbon substrate 132, the printed resistor sheet
      FIG. l(a) is an exterior oblique view drawing seen from         20   131, and the cushion sheet 12 are received in the concave
   diagonally above the displacement sensor 1 and FIG. l(b) is             portion 14e of the fixing frame 14 in that order, the printed
   a disassembled oblique view drawing of the displacement                 carbon substrate 132 received first. In addition, the conical
   sensor.                                                                 coil spring 11 is set into the concave portion 14e of the fixing
      The displacement sensor 1 that is shown in FIGS. l(a) and            frame 14, the wider end lla of the conical coil spring 11 first,
   l(b) comprises a conical coil spring 11, a circular cushion        25   and the wider end lla of the conical coil spring 11 is in
   sheet 12, a sensor structure, such as circular sensor sheet             contact with the cushion sheet 12.
   section 13, and a fixing frame 14.                                         With regard to the protuberant section 132c of the printed
      The fixing frame 14 has a cylindrical concave portion 14e.           carbon substrate 132, when the substrate 132 is accommo-
      The sensor sheet 13 is configured with resistive material,           dated in the fixing frame 14, the protuberant section 132c is
   such as the circular printed resistor sheet 131, and a substrate   30   set into the notched section 14c that is disposed in the outer
   having a conductive pattern, such as the circular printed car-          wall of the fixing frame 14, and by this means, the rotation of
   bon substrate 132, on which the circular printed resistor sheet         the substrate 132 within the fixing frame 14 is prevented.
   is superposed. On the printed carbon substrate 132, there is a             In the displacement sensor that is shown in FIG. l(a), the
   square shaped protuberant section 132c and this is arranged             attaching hole la is disposed in a position that is concentric
   such that, when the printed resistor sheet 131 is superposed on    35
                                                                           with the axis of the conical coil spring 11. This attaching hole
   the printed carbon substrate 132, the protuberant section 132c          la is a hole that passes through all of the components that are
   extends beyond the printed resistor sheet 131.                          shown in FIG. l(b) in their accommodated state from top to
      The printed resistor sheet 131 is made from a plastic and            bottom from the cushion sheet 12 through the fixing frame 14.
   like materials, and a conductive ink such as carbon and the
                                                                              The displacement sensor 1 is used in order to detect, for
   like is uniformly printed on the surface that faces the printed    40
                                                                           example, the displacement of a pedal. In this case, the dis-
   carbon substrate 132.
                                                                           placement sensor 1 is mounted in a position that is between
      There is a spacer 131 a between the printed resistor sheet
                                                                           the pedal and the facing bottom plate. In addition, the bottom
   131 and the printed carbon substrate 132, and it is arranged
                                                                           surface of the displacement sensor 1 is in contact with the
   such that, when the two are superposed and the conical coil
                                                                           bottom plate and the front end section of the conical coil
   spring 11 is not compressed, there is no direct contact. The       45
                                                                           spring 11 is in contact with the pedal. When the pedal is
   spacer 131a is in the shape of a ring and is placed on the
                                                                           stepped on, the displacement sensor 1 is subjected to a com-
   peripheral edge section of the printed resistor sheet 131 facing
                                                                           pression force from the tip section llb of the conical coil
   the printed carbon substrate 132. Incidentally, the spacer
                                                                           spring 11. The conical coil spring 11 is compressed and
   13 la may also be disposed in the center section in addition to
                                                                           changes shape due to this compression force.
   the peripheral edge section of the printed resistor sheet 131.     50
      The printed carbon substrate 132 is a printed board on                  One portion of the conical coil spring that has been com-
   which two independent electrode patterns, the inner periph-             pressed changes shape. This portion presses and impacts on
   eral pattern 132b and the outer peripheral pattern 132a, which          the cushion sheet 12. A portion of the printed resistor sheet
   are formed with copper foil or other electrically conductive            131 that is below the cushion sheet 12 is pressed onto the
   material, are disposed.                                            55   printed carbon substrate 132.
      The inner peripheral pattern 13 2b comprises a ring shaped              An advantage of using a cushion sheet 12 made of a elastic
   pattern that is disposed in the center of the substrate 132 and         material such as rubber is, when a pressing force is applied to
   a branch form pattern that extends in a radial shape from the           the surface of the cushion sheet 12 at one point, the pressing
   outer periphery of the ring shaped pattern toward the outer             force spreads and is also transmitted to the area around the
   periphery of the substrate 132. In addition, in the midst of the   60   one point to which it was applied.
   branch form pattern, a linear pattern extends from the end                 Since the conical coil spring 11 presses the printed resistor
   section of the pattern that is located closest to the previously        sheet 131 onto the printed carbon substrate 132 through the
   discussed protuberant section 132c to the protuberant section           cushion sheet 12, the force of the wire material of the conical
   132c and becomes the electrical terminal 132e of the inner              coil spring on the printed resistor sheet 131 is made more
   peripheral pattern.                                                65   uniform than if the sheet were directly pressed by the conical
      Also, carbon or another electrically conductive material is          coil spring 11. The pressing force that has been made uniform
   printed on the surface of the inner peripheral pattern 132b.            is transmitted to the printed carbon substrate 132.
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      Due to the fact that a portion of the printed resistor sheet         131 comes into contact with the printed carbon substrate 132
   131 is pressed onto the printed carbon substrate 132, the               due to the conical coil spring 11 being pressed strongly by the
   conductive ink that has been printed on the surface of the              large compression force P2.
   printed resistor sheet 131 and the carbon that has been printed            Next, an explanation will be given of an example in which
   on the surface of the inner peripheral pattern 132b and the        5    the displacement sensor 1 is used in order to detect the dis-
   outer peripheral pattern 132a of the printed carbon substrate           placement of a pedal in the pedal system of an electronic
   132 come into contact.                                                  musical instrument as a first utilization example of the present
                                                                           invention.
      At this time, the current that flows in the outer peripheral
                                                                              FIG. 3 is a lateral drawing that shows a partial cross-section
   pattern 132a passes through the carbon that has been printed       10   of the state in which the displacement sensor 1 has been
   on the surfaces of both patterns and the conductive ink that            mounted in the pedal system 2 ofan electronic musical instru-
   has been printed on the surface of the printed resistor sheet           ment.
   131 and flows into the inner peripheral pattern 13 2b. Accord-             The pedal 22 of the pedal system 2 that is shown in FIG. 3
   ingly, the carbon and the conductive ink through which the              is supported by the bottom plate 21 so that it can swing and,
   current passes become an electrical resistance between both        15   together with this, is impelled upward by the compression
   patterns.                                                               coil spring 26 that has been disposed between the pedal 22
      When the pedal is stepped on further, the compression that           and the bottom plate 21. The upper end of the compression
   is applied to the displacement sensor 1 increases and the               coil spring 26 is fixed to the back surface of the pedal 22, and
   compression shape change of the conical coil spring 11                  the lower end of the compression coil spring 26 is supported
   becomes greater.                                                   20   through the intervening support plate 27 by the butterfly nut
      When the compression shape change becomes greater, the               25 that has been screwed onto the bolt 28 that has been
   portions of the printed resistor sheet 131 that up to that point        disposed standing on the bottom plate 21. When the butterfly
   have not been in contact with the printed carbon substrate              nut 25 is turned by hand, the butterfly nut 25 moves in the
   132, are pressed onto the printed carbon substrate 132. As a            vertical direction and the degree of compression of the com-
   result, the current also flows through the portions that have      25   pression coil spring 26 is adjusted by means of the position of
   newly come into contact and, since the width of the path for            the butterfly nut 25, adjusting the operating weight of the
   the current that flows from the outer peripheral pattern 132a           pedal 22.
   to the inner peripheral pattern 132b becomes broader, the                  The lower part of the shaft that is shown in FIG. 3 passes
   electrical resistance between the two patterns decreases. The           through the pass-through hole (not shown in the drawing) that
   value of the electrical resistance is transmitted to, for          30   has been disposed in the shaft fixing block 210 which has
   example, the control section of the electronic musical instru-          been further fixed to the fixed plate 29 that has been fixed to
   ment (not shown in the drawing) and the like as the amount              the pedal 22, and the tube 211 that has been fixed to the lower
   that the pedal has been stepped on.                                     surface of the shaft fixing block 210 and extends between the
      FI GS. 2a and 2b are drawings that show the range in which,          pedal 22 and the bottom plate 21. In addition, the upper part
   when the conical coil spring 11 is compressed and changes          35   of the shaft 23 is linked to the controlled section of the
   shape, the printed resistor sheet 131 is pressed and comes into         electronic musical instrument-(not shown in the drawing) that
   contact with the printed carbon substrate 132 due to the com-           is operated by the pedal system 2.
   pression shape change.                                                     At this time, the displacement sensor 1 is mounted by being
      When the displacement sensor 1 is subjected to the com-              set in the pass-through hole la in the protuberant section 21a
   pression force to the tip section llb of the conical coil spring   40   that has been disposed on the bottom plate 21 in a position that
   11 in a direction along the center axis of the conical coil             is opposite the plate 23a that is attached to the lower end of the
   spring 11, the conical coil spring 11 changes shape. As the             shaft 23.
   conical coil spring 11 compresses, it presses and impacts on               When the pedal 22 is stepped on, the plate 23a on the lower
   the cushion sheet 12 that is shown in FIG. 1.                           end of the shaft 23 presses downward and pushes on the tip
                                                                      45   section llb of the conical coil spring 11 of the displacement
      FIG. 2(a) is a lateral drawing that shows the shape of the           sensor 1. Since the conical coil spring 11 that is pressed by the
   conical coil spring 11 when the spring is pressed weakly by a           tip section llb is compressed, the electrical resistance of the
   small compression force PO that is applied to the tip section           displacement sensor 1 changes. The value of the electrical
   llb of the conical coil spring 11, the shape of the conical coil        resistance is transmitted to the control section of the elec-
   spring 11 when the spring is pressed to a medium degree by a       50   tronic musical instrument (not shown in the drawing) as the
   medium level compression force Pl, and the shape of the                 amount that the pedal 22 of the pedal system 2 is stepped on.
   conical coil spring 11 when the spring is pressed strongly by              The initial angle adjustment bolt 212 is furnished on the left
   a large compression force P2.                                           part of the pedal system 2 of FIG. 3 and the fixed plate 29,
      FIG. 2(b) is a drawing that shows the range in which the             which is fixed to the pedal 22, extends to the lower end of the
   printed resistor sheet 131, which had been isolated from the       55   initial angle adjustment bolt 212. The height Hof the pedal 22
   printed carbon substrate 132 by the spacer 13la, is pressed             is adjusted by turning the initial angle adjustment bolt and
   onto and comes into contact with the printed carbon substrate           changing the height h of the head of the bolt.
   132 by the conical coil spring that is shown in FIG. 2(a).                 In addition, the shaft fixing bolt 24 is furnished in the shaft
      The SO that is shown in FIG. 2(b) indicates the narrow               fixing block 210 that is shown in FIG. 3 and presses the shaft
   range in which the printed resistor sheet 131 comes into           60   23 that passes through from the side fixing the shaft 23. By
   contact with the printed carbon substrate 132 due to the coni-          changing the length L of the portion of the lower end of the
   cal coil spring 11 being pressed weakly by the small com-               shaft 23 that protrudes from the tube 211, the amount of
   pression force PO. Sl indicates the medium range in which the           change in the electrical resistance of the displacement sensor
   printed resistor sheet 131 comes into contact with the printed          1 with respect to the change in the amount that the pedal is
   carbon substrate 132 due to the conical coil spring 11 being       65   stepped on is adjusted.
   pressed at a medium level by the compression force Pl, and                 With the displacement sensors of the past, as one example,
   S2 indicates the wide range in which the printed resistor sheet         a rubber sensor is used on the portion that is compressed by
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   the plate 23a on the lower end of the shaft 23, and when used            shape. If the two cymbals are arranged in a different configu-
   continuously for a long period of time and repeatedly com-               ration, then the displacement sensor 1 may be subjected to a
   pressed, there is a problem that the shape of the rubber sensor          compression force in an accordingly different direction.
   itself becomes deformed and there is a danger that it will                  The upper felt washer 40, the lower felt washer 39, the
   become impossible to accurately detect the amount that the          5    upper nut 42, the lower nut 41, the fixing component 43, and
   pedal has been stepped on. However, with the embodiment of               the securing bolt 44, provided in order, link the upper cymbal
   the displacement sensor 1 of the present invention, since a coil         37 to the extension rod 34.
   spring that is durable with respect to compression and                      The fixing component 43 is formed with the lower bolt 43a
   changes in shape in conformance with the degree to which it              extending on the lower surface of the upper block43b and-the
   is compressed is used, the sensor can be used for a long period     10   pass-through hole 43c is disposed in the center in order forthe
   of time compared to the displacement sensors of the past.                extension rod 34 to pass through. The upper nut 42 is screwed
      Next, an explanation will be given of an example of the use           onto the lower bolt 43a of the fixing component 43 until the
   of the displacement sensor 1 to detect the displacement of the           nut connects with and is stopped by the upper block 43b of the
   cymbals of an electronic high hat cymbal as a second utiliza-            fixing component 43. The lower bolt 43a of the fixing com-
   tion example of the present invention.                              15   ponent 43 is inserted through the pass-through holes that are
      FIG. 4 is a lateral drawing that shows a partial cross-section        disposed respectively in, from the bottom of the upper nut 42,
   of the state in which the displacement sensor 1 has been                 the upper felt washer 40, the upper cymbal 37, and the lower
   mounted between, for example, the upper cymbal 37 and the                felt washer 39. By additionally screwing the lower nut 41 onto
   lower cymbal 36 of the electronic high hat cymbal 3.                     the lower bolt 43a from the lower side of the lower felt washer
      The electronic high hat cymbal 3 is configured with the          20   39, the upper cymbal 37 is fixed by the fixing component 43.
   upper cymbal 37, the lower cymbal 36, the extension rod 34,                 The tip section 351b of the upper hollow shaft 351 has the
   which is linked to the upper cymbal, the hollow shaft section            felt 45 held between the shaft bearer 351a and the lower
   35, which is linked to the lower cymbal, the spring 38, which            cymbal 36 is supported from the bottom by the upper hollow
   is set into the inside lower end of the hollow shaft section 35,         shaft 351 by the insertion of the shaft into the pass-through
   the stepping type pedal 31, the joint 32, which is linked to the    25
                                                                            hole that is disposed in the center of the lower cymbal 36.
   extension rod 34 and the pedal 31, and the legs 33, which are
                                                                               The upper part of the extension rod 34 passes through
   linked to the hollow shaft section 35.
                                                                            center of the conical coil spring 11 of the displacement sensor
      The upper part of the extension rod 34 is linked to the upper
                                                                            1 and the displacement sensor 1 attachment hole la at the
   cymbal 37, the lower part is linked to the pedal 31 through the
                                                                            upper part of the upper hollow shaft 351 that supports the
   joint 32, and connecting and detaching is repeated from the         30
                                                                            lower cymbal 36 and additionally, passes through the pass-
   upper part of the upper cymbal 37 in conformance with the
                                                                            through hole 43c of the fixing component 43 with which the
   stepping operation for the pedal 31. Incidentally, the linkage
                                                                            upper cymbal 37 is fixed. The tip section llb of the conical
   of the upper cymbal 37 to the extension rod 34 will be dis-
                                                                            coil spring 11 of the displacement sensor 1 is in contact with
   cussed later.
                                                                            the tip section 351b of the upper hollow shaft 351, and the
      The hollow shaft section 35 comprises the upper hollow           35
                                                                            bottom surface 14d of the displacement sensor 1 is in contact
   shaft 351 and the lower hollow shaft 352, which has an inside
                                                                            with the lower end section 43d of the fixing component 43.
   diameter that is greater that the outside diameter of the upper
   hollow shaft 351. The upper hollow shaft 351 is inserted into               The upper block 43b of the fixing component 43 with
   the lower hollow shaft 352 and the height of the lower cymbal            which the upper cymbal 37 has been fixed is furnished with
   36 is determined by the depth to which the upper hollow shaft       40   the securing bolt 44 that presses the extension rod 34 that
   351 is inserted into the lower hollow shaft. Incidentally, the           passes through from the side and fixes the extension rod 34.
   joint section 352a is disposed on the lower end of the lower             The upper cymbal 37 is linked to the extension rod 34 through
   hollow shaft 352. The inside diameter of the joint section               the fixing component 43 by means of the securing bolt 44.
   352a is made somewhat narrow and supports the spring 38                     When the upper cymbal 37, which is linked to the extension
   that is set inside from the bottom.                                 45   rod 34 by the fixing component 43, moves downward in
      The lower section of the extension rod 34 passes through              conformance with the stepping on the pedal 31 that is shown
   the upper hollow shaft 351 and the lower hollow shaft 352                in FIG. 4, the displacement sensor 1 is subjected to a com-
   and, together with this, also passes through the spring 38 that          pression force on the bottom surface 14d from the lower end
   has been set inside the lower hollow shaft 352. Since due to             section 43d of the fixing component 43 that moves as a single
   the fact that the spring 38 is held between the lower surface of    50   unit with the upper cymbal 37. On the other hand, since the tip
   the joint section 34a of the extension rod 34 and the joint              section llb of the conical coil spring 11, which lies on the
   section 352a of the lower hollow shaft 352, the extension rod            other end of the displacement sensor 1, is in contact with the
   34 is always lifted upward, and when a stepping operation of             tip section 352b of the upper hollow shaft 351, which supports
   the pedal 31 is not being carried out, the upper cymbal 37 and           the lower cymbal 36, and does not move, the conical coil
   the lower cymbal 36 are separated at a prescribed interval.         55   spring of the displacement sensor 1 is compressed by the
      FIG. 5 is a lateral drawing that shows an enlarged cross-             compression force that has been applied to the bottom surface
   section of the state in which the displacement sensor 1 is               l4d of the displacement sensor 1. The electrical resistance of
   mounted between the upper cymbal 37 and the lower cymbal                 the displacement sensor 1 changes due to this compression.
   36.                                                                      The value of the electrical resistance is transmitted to the
      FIG. 5(a) is a lateral drawing in which the separated state of   60   control section of the electronic high hat cymbal (not shown
   the upper cymbal 37 and the lower cymbal 36 are shown in                 in the drawing) as the amount of displacement of the upper
   cross-section, and FIG. 5(b) is a lateral drawing that shows in          cymbal 37 of the electronic high hat cymbal 3.
   cross-section the state in which, as a result of the upper                  As has been explained above, the displacement of the upper
   cymbal 37 and the lower cymbal 36 having been brought into               cymbal in conformance with the stepping operation of the
   contact, the displacement sensor 1 is subjected to a compres-       65   pedal 31 of the high hat cymbal 3 that is shown in FIG. 4 can
   sion force in the vertical direction, and the conical coil spring        be detected using the displacement sensor 1 of the present
   11 of the displacement sensor 1 is compressed and changes                invention.
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      Incidentally, in those cases where the displacement sensor              The resistive pattern 511d is a pattern in which a resistive
   1 is mounted on the electronic high hat cymbal 3, since it is           material such as carbon and the like is printed superposed on
   possible to attach the electronic high hat cymbal 3 and the             the conductive pattern 511c described above on the substrate
   displacement sensor 1 to an ordinary acoustic high hat stand            512 side surface of the plastic sheet 511a. The resistive pat-
   without the addition of any other special components, in those     5    tern 511d is furnished with the branch shaped patterns
   cases where the user already possesses an acoustic high hat,            511d_l and 511d_2 that faces the outer edge of the plastic
   an acoustic high hat stand can be used. Then, it is possible to         sheet 511a from the ring shaped pattern that is superposed on
   plan for a reduction of the mounting expense.                           the conductive pattern 511c under the two bridge sections
      Next, an explanation will be given regarding a second                511b_l and 511b_2 of the pressing film 511b. When the
   preferred embodiment of the present invention.                     10
                                                                           conical coil spring 11 is compressed, a portion of each of the
      FIG. 6 is an oblique view drawing that shows a second
                                                                           two branch shaped patterns 511d_l and 511d_2 is pressed
   preferred embodiment of the displacement sensor of the
                                                                           onto the substrate 512 through the above mentioned two
   present invention.
      FIG. 6(a) is an exterior oblique view drawing seen from              bridge sections 511b_l and 511b_2.
   diagonally above the displacement sensor 5 and FIG. 6(b) is        15      The spacer film 511e is affixed on the resistive pattern 511d
   a disassembled oblique view drawing of the displacement                 on the substrate 512 side surface of the plastic sheet 511a. The
   sensor 5. The displacement sensor 5 that is shown in FIG. 6             two openings 511e_l and 511e_2 are disposed in two loca-
   here is furnished with the same conical coil spring and fixing          tions in positions that correspond to the two branch shaped
   frame as the conical coil spring 11 and fixing frame 14 with            patterns 511d_l and 511d_2 of the resistive pattern 511d
   which the displacement sensor 1 that is shown in FIG. I is         20   described above. When the conical coil spring is compressed,
   furnished but is furnished with components between the coni-            the two branch shaped patterns 511d_l and 511d_2 are
   cal coil spring and fixing frame that are different from the            pressed onto the substrate 512 through the openings 511e_l
   components that are furnished between the conical coil spring           and 511e_2 in the two corresponding locations. However, it
   11 and the fixing frame 14 of the displacement sensor 1 that is         should be noted that, in a state in which the conical coil spring
   shown in FIG. 1. The displacement sensor 5, except for the         25
                                                                           11 is not compressed, the two branch shaped patterns 511d_l
   areas in which the components with which the sensor is                  and 511d_2 described above are separated from the substrate
   furnished differ from those of the displacement sensor 1 that
                                                                           only by the thickness of the spacer film 511e.
   is shown in FIG. 1, has a structure that is the same as that of
   the displacement sensor 1 that is shown in FIG. 1. Therefore,              The substrate 512 is configured with a circular base mate-
   for the components that are the same as the components of the      30   rial on which a metal pattern is disposed on both sides. On the
   displacement sensor 1 that is shown in FIG. 1, (the conical             spacer film 511e side obverse surface, the two metal patterns
   coil spring 11 and the fixing frame 14), the same keys are              512a and 512b, which are mutually independent, are disposed
   assigned and shown in FIG. 6, and an explanation of these               in positions that correspond respectively to the two branch
   components and that duplicates a structure that is equivalent           shaped patterns 511d_l and 511d_2 of the resistive pattern
   to that of the displacement sensor 1 that is shown in FIG. 1 has   35   511d. On the other hand, on the reverse surface, the two
   been omitted.                                                           terminal patterns 512d and 512e, which extend to the protu-
      The displacement sensor 5 that is shown in FIG. 6 is fur-            berant section 512c of the substrate 512 and form electrical
   nished with the base film 511 and the substrate 512 between             terminals on the protuberant section 512c, are disposed
   the conical coil spring 11 and the fixing frame 14. These two           respectively below the two branch shaped patterns 511d_l
   components comprise the sensor sheet 51.                           40   and 511d_2 described above. In addition, the two branch
      The base film 511 and the substrate 512 respectively have            shaped patterns 511d_l and 511d_2 described above are
   the protuberant sections 511a_l and 512c and, when the base             respectively conducted through by through holes not shown
   film 511 and the substrate 512 are accommodated in the fixing           in the drawing to the corresponding terminal patterns 512d
   frame 14, the protuberant sections 511a_l and 512c are in a             and 512e. When the conical coil spring 11 is compressed, a
   mutually superposed state set into the concave portion 14e of      45   portion of each of the two branch shaped patterns 511d_l and
   the fixing frame 14. Because of this, the base film 511 and the         511d_2 described above comes into contact respectively with
   substrate 512 are prevented from turning in the fixing frame            the corresponding metal pattern 512a and 512b.
   14 and the relative positional relationships between the two               In the same manner as the displacement sensor of the first
   are maintained.                                                         preferred embodiment discussed previously, the displace-
      The pressing film 511b is furnished with the two bridge         50   ment sensor 5 of the second preferred embodiment also is
   sections 511b_l and 511b_2 along the center line of the                 used, for example, in order to detect the displacement of a
   circular plastic sheet 511a. The pressing film 511b, which is           pedal and the like. In this case, when the conical coil spring 11
   affixed to the circular plastic sheet 511a, forms the thick             is compressed by stepping on the pedal, as was discussed
   convex portion of the pressing film 511b on the conical coil            above, a portion of the resistive pattern 511d of the base film
   spring 11 side surface of the base film 511. When the conical      55   511 comes into contact with the metal patterns 512a and 512b
   coil spring 11 is compressed, a portion of the conical coil             on the obverse surface of the substrate 512. At this time, when
   spring 11 pushes and impacts particularly strongly against the          the current is conducted through the metal patterns 512a and
   two bridge sections 511b_l and 511b_2 and, as a result, the             512b and flows between the terminal patterns 512d and 512e
   area below the portion of these two bridge sections 511b_l              on the reverse surface of the substrate 512, the current flows
   and 511b_2 of the base film 511 that is pressed and impacted       60   passing through the resistive pattern 511d described above,
   by the conical coil spring 11 is pressed strongly on the sub-           the ring shaped pattern on the resistive pattern 511d, and the
   strate 512.                                                             conductive pattern 511c described above that is printed on the
      The conductive pattern 511c is printed with a conductive             plastic sheet 511a on which the patterns are superposed.
   ink such as carbon and the like on the substrate 512 side               Accordingly, the resistive pattern 511d and the conductive
   surface of the plastic sheet 511a and is a ring shaped pattern     65   pattern 511c through which the current passes become an
   that surrounds the attachment hole la of the displacement               electrical resistance between the terminal patterns 512d and
   sensor 5.                                                               512e.
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      FIGS. 7(a) and 7(b) are schematic drawings that show the                  That is to say, when the displacement of a pedal such as that
   state in which a portion of the resistive pattern of the base film        discussed above is detected by means of the utilization of the
   has come into contact with the metal pattern on the obverse               displacement sensor 5, in the same manner as in the first
   surface of the substrate.                                                 preferred embodiment discussed previously, the value of the
      In FIG. 7(a), the condition is shown in which, in a case in            electrical resistance is transmitted to, for example, the control
   which the displacement sensor 5 is utilized to detect the                 section of the electronic musical instrument (not shown in the
   displacement of, for example, a pedal and the like, the conical           drawing) and the like as the amount that the pedal has been
   coil spring 11 is compressed by the pedal being stepped on,               stepped on.
   the base film 511 is pushed and impacted on by a portion of                  The second preferred embodiment, in the same manner as
   the conical coil spring 11 and, in addition, a portion of the        10   in the first preferred embodiment discussed previously, is
   base film 511 is pushed and impacted on by the obverse side               utilized to detect the displacement of the pedal of the pedal
   of the substrate 511 through the openings 511e_l and 511e_2               system 2 of an electronic musical instrument shown in FIG. 3
   of the spacer film 511e. By this means, as was discussed                  or to detect the displacement of the cymbal in the electronic
   above, a portion of the resistive pattern 511d comes into                 high hat cymbal 3 shown in FIG. 4 and FIG. 5 and the like.
   contact with the metal patterns 512a and 512b on the obverse         15   However, with regard to these kinds of utilization embodi-
   surface of the substrate 512.                                             ments for the second preferred embodiment described above,
      In FIG. 7(b ), the two metal patterns 512a and 512b on the             since they are the same as the utilization embodiments of the
   obverse surface of the substrate 512 and the resistive pattern            first preferred embodiment for which explanations were
   511d, which is in contact with these metal patterns 512a and              given referring to FIG. 3 through FIG. 5, the duplicated expla-
   512b, are shown. As discussed above, when the base film 511          20   nations have been omitted.
   is pushed and impacted on by the substrate 512, a portion of                 In addition, as has been discussed previously, by means of
   each of the branch shaped patterns 511d_l and 511d_2 of the               the first preferred embodiment, advantageous results are that
   resistive pattern 511d come into contact, respectively, with              durability is increased with the use of a coil spring and that,
   the corresponding metal patterns 512a and 512b. In addition,              when the displacement sensor 1 is installed in the electronic
   the portions of the resistive pattern 511d that are in between       25   high hat cymbal 3 that is shown in FIG. 4, the installation
   these two locations (excluding 511d_5), the contact portions              expenses are reduced. It need scarcely be said that advanta-
   511d_3 and 512d_4, which are indicated by the diagonal lines              geous results that are the same as these advantageous results
   in FIG. 7(b), and the conductive pattern 511c become an                   can also be obtained by means of the displacement sensor 5 of
   electrical resistance between the metal patterns 512a and                 the second preferred embodiment of the present invention.
   512b as well as between the terminal patterns 512d and 512e          30      Incidentally, in the above preferred embodiments, as illus-
   that are shown in FIG. 6.                                                 trations of the sensor sheet of the present invention, an
                                                                             example in which a printed carbon substrate 132 and a printed
      When the pedal described above is stepped on further and               resistor sheet 131 having as conductive ink such as carbon and
   the conical coil spring 11 is further compressed, the portions            the like printed uniformly on a strong plastic sheet such as
   of the resistive pattern 511d that, up to this point, have not       35   polyester have been combined, and an example in which a
   been in contact with the metal patterns 512a and 512b also are            substrate 512 having metal patterns disposed on both surfaces
   pressed on by the metal patterns 512a and 512b. As a result,              and a base film 511 having a resistive pattern 511d printed on
   the distance La+Lb between the two locations described                    a plastic sheet have been combined were given. However, the
   above, the contacted portions 511d_3 and 511d_4, is short-
                                                                             sensor sheet in the embodiments of the present invention is
   ened and the value of the electrical resistance described above      40   not limited to these examples and, for example, a pressure
   is reduced.                                                               sensitive printed resistor sheet in which the resistance value
      FIG. 8 is a drawing that shows the change in the distance              changes in accordance with the pressing force and the like
   between the contacted portions of the two locations shown in              maybe used.
   FIG. 7 that accompanies the increase in the portion of the                   What is claimed is:
   conical coil spring that is pushed and impacts on the base film.     45      1. A sensor device comprising:
      In FIG. 8, the condition in which the conical coil spring 11              a sensor sheet having a surface area and providing electri-
   is weakly pressed with a small compression force PO and the                     cal resistance having a value, the value of the electrical
   base film is slightly pushed and impacted on by the conical                     resistance changing with the surface area of the sensor
   coil spring 11 is shown. At this time, the portion that corre-                  sheet that is pressed; and
   sponds to the long distance LaO+LbO between the contacted            50      a coil spring having a conical shape with a wider end, the
   portions described above of the resistive pattern 511d (refer to                wider end of the coil spring disposed opposite to the
   FIG. 7) becomes the electrical resistance between the termi-                    sensor sheet such that the coil spring presses an increas-
   nal patterns 512d and 512e that are shown in FIG. 6 and the                     ing surface area of the sensor sheet as the coil spring is
   value of the electrical resistance is large. In addition, when the              compressed.
   compression force that is applied to the conical coil spring 11      55      2. The sensor device as recited in claim 1, the sensor sheet
   is increased and becomes the medium level compression                     of the sensor device further comprising:
   force Pl, the base film is pushed and impacted on to a medium                a sheet material providing electrical conductivity; and
   degree by the conical coil spring 11 and the value of the                    an electrode pattern that is disposed opposite the sheet
   electrical resistance described above becomes a medium level                    material and is formed in a radial shape from a center of
   value that is proportional to the medium level distance Lal+         60         the pattern toward a peripheral edge of the pattern.
   Lbl shown in FIG. 8. When the compression force that is                      3. A sensor device for detecting displacement of a movable
   applied to the conical coil spring 11 is increased and becomes            object, comprising:
   the large compression force P2, a larger portion of the base                 a member providing a detectable electrical characteristic
   film is pushed and impacted on by the conical coil spring 11                    that has a value; and
   and the value of the electrical resistance described above           65      a spring that, upon displacement of the movable object, is
   becomes a small value that is proportional to the short dis-                    compressed and acts with the member providing the
   tance La2+Lb2 shown in FIG. 8.                                                  detectable electrical characteristic;
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      wherein action between the spring and the member provid-              16. The sensor device as recited in claim 12, wherein one of
         ing the detectable electrical characteristic causes the         the at least two electronically independent nodes of the sec-
         value of the electrical characteristic to change.               ond member comprises a connected series of radial segments
      4. The sensor device as recited in claim 3, wherein the            disposed between the center region of the second member and
   member providing the detectable electrical characteristic has         the peripheral region of the second member.
   the shape of a sheet.                                                    17. The sensor device as recited in claim 3, wherein:
      5. The sensor device as recited in claim 3, wherein the value         the spring has an axis, through which the spring is com-
   of the electrical characteristic represents an amount of dis-               pressed upon the displacement of the movable object;
   placement of the movable object and is input to a controller of             and
   a musical instrument that produces a sound signal dependent, 10
                                                                            the member providing the detectable electrical character-
   at least in part, on the value of the electrical characteristic.
                                                                               istic has a hole that is concentric with the axis of the
      6. The sensor device as recited in claim 3, wherein the
                                                                               spring.
   spring is a coil spring.
      7. The sensor device as recited in claim 3, wherein the
                                                                            18.  The sensor device as recited in claim 17, wherein the
   spring is a coil spring that has a conical shape.                  15
                                                                         hole in the member providing the detectable electrical char-
      8. The sensor device as recited in claim 3, wherein the
                                                                         acteristic receives a shaft disposed through the axis of the
   spring and the member providing the detectable electrical             spring.
   characteristic are contained within a frame.                             19. The sensor device as recited in claim 3, wherein:
      9. The sensor device as recited in claim 3, wherein                   the spring is a coil spring composed of a spring material
      the spring and the member providing the detectable elec- 20              having a length arranged in multiple loops; and
         trical characteristic are contained within a cylindrical           upon compression of the spring, one or more of the mul-
         frame that has a concave end surface; and                             tiple loops engage the member providing the detectable
      the frame is notched to receive a protuberant section of the             electrical characteristic such that the length of the spring
         member providing the detectable electrical characteris-               material engaging the member providing the detectable
         tic.                                                         25       electrical characteristic changes with an amount of com-
      10. The sensor device as recited in claim 3, wherein an                  pression of the spring.
   elastic member is disposed between the spring and the mem-               20. A method of making a displacement detector, compris-
   ber providing the detectable electrical characteristic to con-        ing:
   vey a force from the spring to the member providing the                  providing a member having a detectable electrical charac-
   detectable electrical characteristic.                              30
                                                                               teristic that has a value;
      11. The sensor device as recited in claim 3, wherein a
                                                                            disposing a spring opposite to the member having a detect-
   member that distributes force of the action between the spring
                                                                               able electrical characteristic; and
   and the member providing the detectable electrical character-
   istic is disposed between the spring and the member provid-              disposing    a movable object relative to the spring to com-
   ing the detectable electrical characteristic.                      35
                                                                               press the spring and cause the spring to act with the
      12. The sensor device as recited in claim 3, wherein the                 member having the detectable electrical characteristic
   member providing the detectable electrical characteristic                   upon displacement of the movable object,
   comprises:                                                               wherein action between the spring and the member having
      a first member having at least one surface that is electrically          the detectable electrical characteristic causes the value
         conductive;                                                  40       of the electrical characteristic to change.
      a second member having a center region, a peripheral                  21. The method as recited in claim 20, wherein the spring
         region, and at least two electronically independent             is a coil spring.
         nodes; and                                                         22. The method as recited in claim 20, wherein the spring
      a third member disposed between the first member and the           is a coil spring in a conical shape.
         second memberthat limits electrical conductance via the 45         23. The method as recited in claim 20, wherein providing
         at least one surface of the first member between the at         the member having the detectable electrical characteristic
         least two electronically independent nodes of the second        comprises:
         member when the spring is in a first state of compression          providing a first member having at least one surface that is
         and that facilitates electrical conductance via the at least          electrically conductive;
         one surface of the first member between the at least two 50
                                                                            providing a second member having a center region, a
         electronically independent nodes of the second member
                                                                               peripheral region, and at least two electronically inde-
         when the spring is in a second state of compression;
                                                                               pendent nodes; and
      wherein the spring is compressed to a greater degree when
         the spring is in the second state of compression relative          disposing a third member between the first member and the
         to when the spring is in the first state of compression. 55           second member that limits electrical conductance via the
      13. The sensor device as recited in claim 12, wherein in the             at least one surface of the first member between the at
   first state of compression the spring is uncompressed.                      least two electronically independent nodes of the second
      14. The sensor device as recited in claim 12, wherein:                   member when the spring is in a first state of compression
      the electrical characteristic is an electrical resistance; and           and that facilitates electrical conductance via the at least
      the electrical resistance changes with displacement of the 60            one surface of the first member between the at least two
         movable object, which changes a degree to which the                   electronically independent nodes of the second member
         spring is compressed.                                                 when the spring is in a second state of compression;
      15. The sensor device as recited in claim 14, wherein the             wherein the spring is compressed to a greater degree when
   degree to which the spring is compressed changes a degree to                the spring is in the second state of compression relative
   which the at least one surface of the first member provides 65              to when the spring is in the first state of compression.
   electrical conductance between the at least two electronically           24. The method as recited in claim 23, wherein in the first
   independent nodes of the second member.                               state of compression the spring is uncompressed.
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                                 15                                                                16
     25. The method as recited in claim 23, wherein:                   27. The method as recited in claim 23, wherein:
      the electrical characteristic is an electrical resistance; and   the spring is a coil spring composed of a spring material
                                                                          having a length arranged in multiple loops; and
      the electrical resistance changes with displacement of the
                                                                       upon compression of the spring, one or more of the mul-
         movable object, which changes a degree to which the
                                                                          tiple loops engage the member having the detectable
         spring is compressed.
                                                                          electrical characteristic such that the length of the spring
      26. The method as recited in claim 23, wherein a degree to          material engaging the member providing the detectable
   which the spring is compressed changes a degree to which the           electrical characteristic changes with an amount of com-
   at least one electrically conductive surface of the first member       pression of the spring.
   provides electrical conductance between the at least two elec-
   tronically independent nodes of the second member.                                       * * * * *
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